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                                                           Knapton 002
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                                                           Knapton 006
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                                                           Knapton 007
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                                                           Knapton 008
      Case 24-42912      Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                Desc
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                                     CAUSE NO. 141-335985-22                               DISTRICT CLERK


 KURT KNAPTON,                                      §
 Applicant,                                         §
                                                    §
                                                    §


 v.
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 CLICK VISION GROUP, LLC., DANA                     §
 BRENTON SIMPSON, AND ACUITY                        §
 ADVISORS, LLC,                                     §
 Respondents.                                       §           14P 1 .JUDICIAL DISTRICT


                               CORRECTED FINAL ,WPGMENT
         In an arbitration proceeding before the American Arbitration Association numbered 0 1-21-

0002-2315, Applicant Kurt Knapton and Respondents Click Vision Group, LLC, Dana Brent

(Brenton) Simpson, and Acuity Advisors, LLC entered into an Agreed Arbitration Consent Award,

and the arbitrator, the Honorable Jim Moseley, signed and entered a July 21, 2022 Consent Award

of Arbitrator that made the parties' Agreed Arbitration Consent Award the arbitrator's award.

         Therefore, the Court RENDERS judgment for Applicant Kmt Knapton on the Consent

Award of Arbitrator and orders that Applicant Kurt Knapton recover the following from

Respondents Click Vision Group, LLC, Dana Brenton Simpson, and Acuity Advisors, LLC,jointly

and severally:

      a. Actual damages in the amount of$850,000.00;

      b. Postjudgment interest on all the above at the rate of 5% compounded annually, from July

         28, 2022 until all amounts are paid in full;

      c. Postjudgment collection costs and attorney fees upon further order of the Court; and

      d. Court costs.                                                                                 A CERTIFIED COPY
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                                                                                 Knapton 009
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        This judgment finally disposes of all claims and all parties.

        The Com1 orders execution to issue for this judgment.


        SIGNED on
                                --         L         , 2022.



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                                               /RESIDING JUDGE




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                                                                                       DISTRICT CLERK
                                   CAUSE NO. 048-344226-23

  KURT KNAPTON,                                   §                IN THE DISTRICT COURT
  Applicant,                                      §
                                                  §
                                                  §
                                                  §
  v.                                              §
                                                  §             TARRANT COUNTY, TEXAS
                                                  §
  DANA BRENTON SIMPSON                            §
  Respondent.                                     §                48th JUDICIAL DISTRICT

                                             ORDER

         On September 25, 2024, the Court heard Applicant Kurt Knapton's Third Motion to Compel

and Motion for Death-Penalty Sanctions. The Applicant appeared by counsel. Respondent Dana

Brenton Simpson appeared in person,pro se, after being duly notified of the time and place of

 the hearing on the Motion.

        The Court, having considered the evidence and the arguments of counsel, is of the opinion

that the sanctions and relief set forth below should be GRANTED and further finds that Respondent

Dana Brenton Simpson has continuously refused to follow this Court's orders and engaged in the

following pattern of discovery abuse:     (1) Respondent failed to appear for his July 21, 2023

deposition; (2) Respondent refused to answer deposition questions sixty-two times in his October

11, 2023 deposition; (3) Respondent failed to obey this Court's February 5, 2024 Order compelling

him to respond to Applicant's discovery requests; (4) Respondent failed to obey this Court's August

12, 2024 Order compelling him to respond to Applicant's discovery requests; (5) Respondent failed

to appear for his September 9,




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                                                                                                  THOMAS A. WILDER
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                                                                                                TARRANT COUNTY, TEXAS
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                                                                               Knapton 011
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2024 deposition, as ordered by this Court's August 12, 2024, Order; (6) Respondent failed to obey

this Court's August 24, 2024, order requiring him to pay Applicant $3,500.00 as sanctions and an

award of expenses; and (9) Respondent failed to respond to Applicant's Fourth Request for

Production.

        This Court has already imposed lesser monetary sanctions against Respondent, but

 Respondent has continued to engage in discovery abuse and ignore this Court's orders to properly

 answer discovery and pay reasonable expenses. This Court therefore finds that Respondent's

 conduct in failing to respond to discovery justifies the Court's presumption that Respondent's defenses

 to Applicant's Motion for Declaratory Relief and for Turnover Relief lack merit and that lesser

 sanctions are ineffective. THEREFORE, the Court finds that Applicant's Motion for Death-Penalty

 Sanctions should be and hereby is GRANTED.

        IT IS THEREFORE ORDERED AND ADJUDGED that Respondent's pleadings are

 hereby stricken from the record, default is hereby entered against Respondent, and Applicants

 Motion for Turnover Relief is hereby GRANTED.

        In satisfaction of Applicant's judgment rendered on October 31, 2022, the Court makes the

 following findings and renders the following orders:

         1.    The real property located at 2621 Huntly Lane, Flower Mound, Denton County,

Texas and legally described as "Lot 39, in Block A, of Hillcrest At Wellington, Phase Two, an

addition of the Town of Flower Mound, Denton County, Texas, according to the Map or Plat thereof

recorded in/under Cabinet Q, Slide 12, Map/Plat Records, Denton County, Texas" is not the exempt

homestead of Respondent Dana Brenton Simpson.




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                                                                                   Knapton 012
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        2.    It is FURTHER ORDERED that Respondent Dana Brenton Simpson tum over to

the Denton County, Texas Constable Danny Fletcher the real property located at 2621 Huntly Lane,

Flower Mound, Denton County, Texas and legally described as "Lot 39, in Block A, of Hillcrest At

Wellington, Phase Two, an addition of the Town of Flower Mound, Denton County, Texas,

according to the Map or Plat thereof recorded in/under Cabinet Q, Slide 12, Map/Plat Records,

Denton County, Texas" for levy and execution sale.

        3.     It is FURTHER ORDERED that the District Clerk shall issue a writ of execution

directed to Denton County, Texas Constable Danny Fletcher, Precinct 4, 6200 Canyon Falls Drive,

Suite 300, SW Courthouse, Flower Mound, Texas 76226, to levy on the real property located at

2621 Huntly Lane, Flower Mound, Denton County, Texas and legally described as "Lot 39, in Block

A, of Hillcrest At Wellington, Phase Two, an addition of the Town of Flower Mound, Denton

County, Texas, according to the Map or Plat thereofrecorded in/under Cabinet Q, Slide 12, Map/Plat

Records, Denton County, Texas," and, after giving notice of sale, to sell the property at public

auction to the highest bidder for cash, applying the proceeds of the sale to payment of the expenses

of sale and court costs, with the balance paid over to Applicant Kurt Knapton for crediting on the

judgment dated October 31, 2022, attached as Exhibit A. In so doing, the Constable shall perform

all duties and procedures as required by the Texas Rules of Civil Procedure for sale under writ of

execution.

        4. It is FURTHER ORDERED that Applicant Kurt Knapton recover from Respondent

Dana Brenton Simpson the following sums from the balance of the proceeds of the sale:




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     a. Reasonable and necessary post-judgment attorney fees in the sum of
        $17.960.00,

     b. Reasonable and necessary post-judgment collection costs in the sum of $2.073.82,

     c. Cost of Court in an amount to be determined by the Clerk of the Court; and

     d. Post-judgment interest on $850,000.00 at the rate of 5% compounded annually
        from July 28, 2022, to September 25, 2024, in the amount of$95,956.21, and from
        September 26, 2024, until paid in full in the per diem amount of $121.31.


                                          , 2024.




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 KURT KNAPTON,                                      §
 Applicant,                                         §
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 CLICK VISION GROUP, LLC., DANA                     §
 BRENTON SIMPSON, AND ACUITY                        §
 ADVISORS, LLC,                                     §
 Respondents.                                       §           14P 1 .JUDICIAL DISTRICT


                               CORRECTED FINAL ,WPGMENT
         In an arbitration proceeding before the American Arbitration Association numbered 0 1-21-

0002-2315, Applicant Kurt Knapton and Respondents Click Vision Group, LLC, Dana Brent

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Award of Arbitrator and orders that Applicant Kurt Knapton recover the following from

Respondents Click Vision Group, LLC, Dana Brenton Simpson, and Acuity Advisors, LLC,jointly

and severally:

      a. Actual damages in the amount of$850,000.00;

      b. Postjudgment interest on all the above at the rate of 5% compounded annually, from July

         28, 2022 until all amounts are paid in full;

      c. Postjudgment collection costs and attorney fees upon further order of the Court; and

      d. Court costs.                                                                                 A CERTIFIED COPY
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                                                                                 Knapton 016
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        This judgment finally disposes of all claims and all parties.

        The Com1 orders execution to issue for this judgment.


        SIGNED on
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on the date and to the persons listed below. The rules governing
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Envelope ID: 93281220
Filing Code Description: No Fee Documents
Filing Description: ***ORDER***
Status as of 10/17/2024 2:42 PM CST

Associated Case Party: KURTKNAPTON

Name             BarNumber   Email                       TimestampSubmitted      Status

Douglas Hafer                dhafer@curnutthafer.com     10/17/2024 2:03:33 PM   SENT

Kelly Curnutt    787316      kcurnutt@curnutthafer.com   10/17/2024 2:03:33 PM   SENT

Stephen Kotara               skotara@curnutthafer.com    10/17/2024 2:03:33 PM   SENT

Hunter Rogers                hrogers@curnutthafer.com    10/17/2024 2:03:33 PM   SENT



Associated Case Party: DANABRENTONSIMPSON

Name                  BarNumber      Email                        TimestampSubmitted      Status

Benjamin Sanchez      24006288       service@sanchezlawfirm.com   10/17/2024 2:03:33 PM   SENT

Douglas Alford        24132234       civil@gonzalezlawgroup.net   10/17/2024 2:03:33 PM   SENT

Dana BrentonSimpson                  brent.simpson@me.com         10/17/2024 2:03:33 PM   SENT




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      IMO RECORDS INSPECTION / FORENSIC INVESTIGATION
      OF CLICK VISION GROUP, LLC

         Forensic Analysis / Investigation Report – Initial Issuance
         January 22, 2021
      _____________________________________________________________________________




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                                                                       Lubbock, Texas
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                         CLICK VISION GROUP, LLC
             FORENSIC ANALYSIS / INVESTIGATION REPORT – Initial Issuance
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____________________________________________________________________________________

                                       INITIAL ISSUANCE


This forensic investigation report (the “Report”) has been prepared based on an analysis of the
information provided through January 19, 2021.

The Report can also be considered to be a “predication” report that results in providing a basis
for probable cause to obtain additional information through a subpoena process. Additional
information provided could result in a modification of the presented victim losses for presentation
to a trier of fact for the rendering of a verdict.

As such, we reserve the right to amend and/or add to this report based on the receipt of additional
documentation and the various analyses performed on that information. Additionally, we reserve
the right to interview additional witnesses, including the suspect, as may be determined
necessary.




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                          CLICK VISION GROUP, LLC
             FORENSIC ANALYSIS / INVESTIGATION REPORT – Initial Issuance
                                 Executive Summary
____________________________________________________________________________________

                                            OVERVIEW


Victim Information / Engagement Scope
We have been contracted by accredited investor Kurt Knapton (“Knapton”), in his capacity as an
investor in the Click Vision Group, LLC, a Texas Limited Liability Company (“CVG”, the
“Company”), to perform a records inspection of CVG in accordance with Section 9.2.B of the
Company Agreement. This inspection was to cover the time period from December 20, 2016 to
December 9, 2020. Brent D. Simpson (“Simpson”) is noted as the President and serves as the
primary contact for CVG.

Our contract also extends to the performance of a forensic investigation of the records of CVG.
In the absence of cooperation by Simpson, our investigation is limited to information provided to
Knapton as an investor throughout the investment relationship. That information will be described
throughout this Report.



Historical Background
This engagement is predicated upon certain issues that surfaced following a failed due diligence
process in which a potential investor, Daniel Henn of MD Holdings, stepped away in October of
2020. Those issues included evidence of alleged fraud perpetrated by Simpson regarding
unverifiable financial information, altered / fictitious financial documents, and alleged fictitiously
created customer data.

During that due diligence process, Knapton held two convertible notes with CVG, one for
$100,000 coming due on October 24, 2020, and one for approximately $166,000 coming due on
December 16, 2020. Subsequent to the failed due diligence process, Knapton began considering
whether to exercise these convertible notes. Due to Knapton’s growing concerns, he decided not
to convert these notes to equity. Payment by CVG of the October 2020 convertible note did not
occur. Simpson subsequently ceased communication with Knapton. Based on this nonpayment,
the lack of communication, and the upcoming due date for the December 16, 2020 convertible
note, Knapton engaged our firm on December 4, 2020 for the performance of the previously
referenced services. Simpson had also ceased communication with another investor Reid Walker.
Subsequently, the December 16, 2020 convertible note was not paid. As of the date of this Report,
Simpson has not communicated with Knapton or Walker.

Upon contracting, we prepared our Notice of Inspection to Simpson and communicated the Notice
to Simpson on December 14, 2020 via email. We also noticed Simpson by Federal Express
service and obtained proof of delivery as of 11:23am on December 15, 2020. To date, we have
received no response from Simpson or any representative of CVG.

Accordingly, due to Simpson’s lack of response, the records inspection was not able to be
performed. This remains possible if the requested information is obtained through subpoena or a
future discovery process.

Regardless of Simpson’s lack of response, Knapton was in possession of some Company
information obtained through the normal course of his investment relationship with CVG.
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                         CLICK VISION GROUP, LLC
             FORENSIC ANALYSIS / INVESTIGATION REPORT – Initial Issuance
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____________________________________________________________________________________

                                           OVERVIEW


However, some of the most persuasive evidence includes information provided on May 22, 2020
to Henn as part of his due diligence process. Knapton testifies that the due diligence process was
plagued with delays in providing Henn with information that he had requested.

Finally, on May 22, 2020, the Friday before the Memorial Day holiday weekend, Simpson provided
a large portion of the information to Henn via email and a SharePoint link included in the email.
This information is referred to throughout this Report as the “May 2020 Data Release”.

Based on the issues that arose based on his analysis of this information, Henn stepped away
from the due diligence process in October of 2020. As Henn made his findings known to Knapton,
it became apparent that there may be an issue or issues of fraud on the part of Simpson. The
information included in this release represents significant evidence of the alleged perpetration of
fraudulent activity by Simpson and also served as a basis for certain decisions by Knapton, as
will be referenced in this Report.

Accordingly, the May 2020 Data Release is one of the most significant events in the history of
CVG.

Accordingly, we performed the forensic investigation portion of this engagement based on
information that Knapton had obtained throughout his investment relationship, along with the
significant information received as part of the May 2020 Data Release.




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             FORENSIC ANALYSIS / INVESTIGATION REPORT – Initial Issuance
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                                 STATEMENT OF PREDICATION


Before a forensic investigation can begin, there must be predication (probable cause) to conduct
the investigation. As such, the following Statement of Predication is presented:

As introduced in the Overview section of this report, a myriad of issues of potential fraud were
identified in and around October of 2020. The evidence includes, but is not limited to the following:

   •   Fictitiously Created Contact Information
   •   Fictitiously Created Customer Information
   •   Altered Bank Statements
   •   Creation of Fictitious Bank Statements / Bank Account Activity
   •   Fraudulent Financial Statements
   •   Fraudulent Representations of Fact

Based on our review of this evidence, we determined that significant predication existed to
commence a formal forensic investigation.

The result of that investigation is the subject matter of this Report.




                                                                                 Knapton 025
                                                                                                        DFG007
                                                                                                  18
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                              NATURE OF EVIDENCE OBTAINED


The accumulation of evidence obtained in a forensic investigation is normally obtained with the
following “ends” in mind:
       Commitment – The evidence is intended to provide information as to the allegation that a
       crime has been committed.
       Concealment – The evidence is provided to reflect that efforts were made to conceal the
       crime committed. Efforts to conceal serve to provide evidence as to the alleged
       perpetrator’s state of mind known as mens rea. Mens rea can be further classified into
       three categories as follows:
           •   Intent – acting with a deliberate, purposeful resolve to bring about a particular
               result (benefit personally)
           •   Knowledge – the deliberate indifference to one’s behavior that almost certainly
               creates a risk that results in a criminal outcome. Included is the concept that the
               offender is aware of their conduct and did not act through ignorance, mistake, or
               accident.
           •   Reckless Conduct – knowledge of a significant risk and acting with a conscious
               disregard that exposes others to that risk – a gross deviation from a standard of
               care that a reasonable person would take in a given situation.
           •   Reckless Negligence – acting without knowledge of a significant risk, yet in a
               position that the individual should have known the risk - a gross deviation from a
               standard of care that a reasonable person would take in a given situation.
       Conversion – The evidence is provided to reflect that the perpetrator of an alleged crime
       benefited personally from the transaction, while causing a loss to the victim organization.

The evidence included in this Report has been accumulated for the purpose of presenting that all
three elements of fraud exist in the matters under investigation.
                            ________________________________

                                         Types of Fraud

The evidence obtained in an investigation is used to classify the fraud according to the three types
of fraud (either as one type, or a combination of two or even three of the types of fraud) as
presented below:

       Misappropriation: The taking of company assets
       Corruption: Collusion involving more than one person to commit fraudulent acts, including
       but not limited to bribery, kickbacks, bid-rigging, and illegal gratuities
       Financial Statement: The intentional misrepresentation of the financial position and/or the
       results of operations of a company

Conclusions reached, based on the evidence included in this Report, have been classified as
referenced in accordance with these types of fraud.

                                                                                Knapton 026
                                                                                                       DFG008
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                                           PRINCIPALS


Suspect
Brent Dana Simpson
Click Vision Group, LLC

          Last Known Address
          Residence
          2901 Queen Mary Drive
          Flower Mound, Texas 75022
          Business
          14555 Dallas Parkway, Suite 100-272
          Dallas, Texas 75254
          Last Known Contact Information
          Phone: 972-807-3195 (Office)
          Phone: 214-532-2130 (Mobile)
          Email Address: brent@clickoptical.com


Victims
Kurt Knapton, Accredited Investor [Exposure of Approximately $566,000.00]
Email: krodk@sbcglobal.net
Phone: 817-307-2898

Other Investors [Cumulative Exposure of $1,500,000.00]

Cumulative Investor Loss Exposure - Approximately $2,066,000.00


Investigation performed by and under the direction of,

Steve Dawson CPA, CFE (President) and
Jeff Smith, CFE – Senior Investigator
                of
Dawson Forensic Analytics, P.L.L.C.
d/b/a DAWSON FORENSIC GROUP
P. O. Box 54462
Lubbock, Texas 79453
Phone: 806-368-5779
                for
Kurt Knapton, Accredited Investor; Dozens of Other Investors, and
Relevant Prosecuting Authorities and Law Enforcement Officials
                                                                            Knapton 027
                                                                                          DFG009
                                                                                     20
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                         HYPOTHESES (ALLEGATIONS) OF FRAUD


Based on the information presented in the Overview and Statement of Predication Sections of
this Report, the general hypothesis is that CVG is not an actual operating company but rather the
manifestation of a Ponzi scheme.

The information obtained provides evidence that CVG was the Company used by Simpson to
effectuate and perpetuate a continuing Ponzi scheme. No evidence exists that provides proof that
CVG ever operated as a legitimate company. However, a significant amount of evidence exists
that the ability to obtain funds from investors was based on Simpson’s creation of fictitious
documentation and representations regarding the success of CVG.

Accordingly, the following allegations of fraud were developed:


Allegations of Fraud (Type – Financial Statement)

   1. Brent D. Simpson, as President of Click Vision Group, LLC, with willful Intent and
      Knowledge, used his position to benefit personally and to defraud investors of Click Vision
      Group, LLC through the perpetuation of a Ponzi scheme effectuated to persuade
      investment in the Company.


Allegation of Fraud (Type – Misappropriation)

   1. Brent D. Simpson, as President of Click Vision Group, LLC, with willful Intent and
      Knowledge, used his position to benefit personally and to defraud investors of Click Vision
      Group, LLC through the use of funds for purposes other than for the operation of Click
      Vision Group, LLC.




                                                                              Knapton 028
                                                                                                    DFG010
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                            INVESTIGATION SCOPE / OBJECTIVES


The primary objective of this investigation is to determine if evidence exists that could support a
presentation of fraud to a trier of fact for the rendering of a verdict regarding the allegations as
presented.

The determination of guilt or innocence (a verdict) is the responsibility of the trier of fact and
cannot be relegated to the contents of this Report. This Report provides conclusions regarding
what the evidence suggests. These conclusions can be used in the forensic presentation of the
evidence to a trier of fact, who retains the responsibility for the rendering of the verdict.

The information that follows provides a detail of the evidence obtained that could be used to
accomplish these objectives.




                                                                                Knapton 029
                                                                                                       DFG011
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                                METHOD OF PRESENTATION


The presentation of the volume and nature of the issues included in this Report is considered to
be somewhat problematic. In the context of the allegations of the fraud types of Financial
Statement Fraud and Misappropriation, the issues relate to and support both types of fraud. As
such, though narrative in format, we have chosen to present the History and Chronology of
financial events as noted in the following Report section and have included any reference to
supporting evidence within this narrative.

Exhibit Sections A - C provide additional examples of the types of evidence that exists to support
a presentation of fraud to a trier of fact for the rendering of a verdict.

Supporting Exhibits referenced throughout these sections of the Report are included in the Exhibit
Section of this Report.




                                                                              Knapton 030
                                                                                                     DFG012
                                                                                               23
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                                HISTORY AND CHRONOLOGY


Click Vision Group, LLC is a Texas Limited Liability Company reflecting a Certificate Filing Date
of December 20, 2016; File Number 0802608289. Brent D. Simpson is listed as the President and
a Director of the Company. As of January 12, 2021, the Texas State Comptroller’s Franchise Tax
Account Status lists the Company as “Active”.


Initial Investments

Simpson presumably funded a total of $150,000 as a capital injection at the establishment of the
Company in 2016.
   •   As referenced throughout this Report, there has been no evidence provided that would
       support this capital injection.
   •   The general ledger does not reflect an account for Simpson’s equity, yet the Balance
       Sheet financial statement does reflect a balance.

On December 29, 2016, CVG executed a $50,000 revenue sharing agreement with Dr. David
Moore of Clear Eye Associates & Optical of Fort Worth, Texas. CVG’s records (specifically the
Chase Bank operating bank statement) reflect that this amount was paid in full in the amount of
$110,000 on November 28, 2019.

On January 30, 2017, CVG executed a $50,000 revenue sharing agreement with Michael and
Carol Moore of Durango, Colorado. On December 8, 2017, the Moores sued Click Vision Group,
Simpson, and Jake Nelan (allegedly another founding owner of CVG) in District Court alleging
fraudulent inducement, fraudulent acts by the defendants, and alleging that this revenue sharing
agreement was an unregistered security and thus in violation of the Colorado Securities Act. This
lawsuit was settled on August 24, 2018.

       [DFG Note: Knapton initially invested in CVG in June of 2018. Knapton testifies that there
       was never any disclosure of the existence of this lawsuit by Simpson during the time period
       that Knapton was analyzing whether to invest in CVG. Additionally, Simpson presented at
       the North Texas Angel Network (“NTAN”) meeting on May 15, 2018 and also did not
       disclose the existence of the lawsuit. Knapton testifies that the major contributing factor in
       his decision to invest in CVG was based on information presented in the NTAN
       presentations.]


Additional Investors

During 2017, two additional investors; the J&J Ainsworth Family LP (“J&J”), and MCT Texas
Partners LP (“MCT”), each invested $250,000 for an 8% equity stake in CVG.

In March of 2018, CVG executed a term loan for $25,000 with a 6% interest rate with investor
Michael G. Carrigan. The note was paid in full, with interest, on August 14, 2018.



                                                                                 Knapton 031
                                                                                                        DFG013
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                               HISTORY AND CHRONOLOGY


In March of 2018, CVG executed a term loan for $25,000 with a 6% interest rate with investor
Rodriquez Capital. The existence of this debt was represented as providing Rodriquez Capital
with a .6% equity stake. This loan was paid in full, with interest, on December 8, 2018.

       [DFG Note: Knapton initially invested in CVG in June of 2018. Simpson presented at the
       North Texas Angel Network (“NTAN”) meeting on May 15, 2018. As part of that
       presentation was a slide regarding “Capitalization”. As will be presented in the Financial
       Statement Fraud section of this Report, this slide contained significant misrepresentations
       associated with these notes and ownership of CVG. These misrepresentations contributed
       to the ability to continue the alleged Ponzi scheme for an extended period of time. Knapton
       testifies that the major contributing factor in his decision to invest in CVG was based on
       information presented in the NTAN presentation.]


April 2, 2018 Amended and Restated Company Agreement

In April of 2018, the parties executed an Amended and Restated Company Agreement (the
“Agreement”), signed by Simpson, J&J, and MCT. The purpose stated in the Agreement was to
convert J&J’s and MCT’s capital contributions to debt. A joinder to the Agreement memorialized
that Jake Nelan withdrew and resigned from the Company in all respects.

The notes executed by this Agreement for each of J&J and MCT are represented by a 15%, one-
year term note due April 2, 2019 in the amount of $125,000, and a 15%, two-year convertible note
due April 2, 2020 in the amount of $125,000. As such, these notes totaled $500,000. The security
agreements for these notes generally collateralize the assets, current and future, of CVG, along
with Simpson’s personal assets.

       [DFG Note: Knapton initially invested in CVG in June of 2018. Simpson presented at the
       North Texas Angel Network (“NTAN”) meeting on May 15, 2018. As part of that
       presentation was a slide regarding “Capitalization”. As will be presented in detail in this
       Report, this slide contained significant misrepresentations associated with these notes
       and ownership of CVG. These misrepresentations contributed to the ability to continue the
       alleged Ponzi scheme for an extended period of time. Knapton testifies that the major
       contributing factor in his decision to invest in CVG was based on information presented in
       the NTAN presentations.

       Other issues exist regarding the adherence to and/or reporting of the terms of this
       Agreement. It appears that J&J and MCT retained their respective 8% equity stake in CVG
       as part of the Agreement. CVG’s tax returns reflect that each received a distribution of
       $250,000, then recapitalized their position with the new notes referenced above. As will
       be explained further in the Fraudulent Financial Statements section of this Report, it
       appears that J&J and MCT reflect equity positions and notes payable due to them in the
       same amounts. However, it is noted that no new funds were injected into CVG as a part
       of the Agreement.]



                                                                              Knapton 032
                                                                                                     DFG014
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                                HISTORY AND CHRONOLOGY


Knapton’s and Others’ Investment Activity: 2018-2019

Knapton began investing in CVG beginning in June of 2018 through October of 2018 by executing
several convertible notes totaling $400,000. These notes are referenced in this Report as follows:

   •    #1 – Two-year term, dated June 19, 2018 for $100,000
   •    #2 – Two-year term, dated August 13, 2018 for $200,000
   •    #3 – Two-year term, dated October 24, 2018 for $100,000

Investor Reid Walker also executed a two-year term, $500,000 convertible note with CVG on
October 24, 2018.

On March 1, 2019, Knapton executed a one-year consulting agreement with CVG for $30,000.
This amount was eventually rolled into convertible note #4 on December 16, 2019.

On June 1, 2019, Knapton executed a $100,000 bridge loan with CVG that was eventually rolled
into convertible note #4 on December 16, 2019, along with approximately $10,000 of capitalized
interest.

On September 30, 2019, Knapton executed a $25,000 bridge loan with CVG that was eventually
rolled into convertible note #4 on December 16, 2019, along with approximately $1,000 of
capitalized interest.

As such, Knapton’s convertible note #4, due December 16, 2019, amounted to approximately
$166,000.

On September 13, 2019, Matt Bowman executed a bridge loan with CVG for $50,000. This loan
was paid in full, with interest, in December of 2019.

Effective August 13, 2020, two of Knapton’s convertible notes (#1 and #2) were exercised for
conversion to member’s equity, along with payment to Knapton of approximately $39,000 in
interest on the notes.


Failed Due Diligence: 2019

In July of 2019, Simpson introduced Knapton to several investors (Dave Gibson and Marty Quinn),
who were interested in performing due diligence on CVG (the “Gibson Due Diligence”). On
December 9, 2019, these investors stepped away from the due diligence process due to certain
factors including, but not limited to,

    •   Incomplete and unresponsive data sets provided by Simpson,
    •   Perceived minimal oversight over the financial processes, and
    •   Discrepancies in purported vendor payments (specifically to Bulkley Capital).


                                                                              Knapton 033
                                                                                                     DFG015
                                                                                               26
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    [DFG Note: Specific evidence associated with these issues is presented in detail in the
    Financial Statement Fraud section of this Report. This evidence provides additional
    information that supports a presentation that Simpson was perpetuating a Ponzi scheme
    using fictitiously created documentation.]

In January of 2020, CVG hired Sean Ketterick as the Chief Operating Officer.


Investor Buyout

On January 10, 2020, an investor buy-out agreement was executed which effectively represented
a change of control from Simpson, J&J, and MCT to a new entity, Acuity Advisors, LLC (“Acuity”).
This Agreement thus resulted in these parties no longer being members of CVG.

Acuity is a Delaware domestic limited liability company properly established on November 28,
2019 as noted in file number 7699157 with the Division of Corporations of the Delaware
Department of State. Simpson represented to Knapton that he funded Acuity with $640,490 from
friends and others.

CVG’s records reflect that the J&J and MCT combined loan amounts were paid in the amount of
$640,490.00 on November 28, 2019, using $640,490.00 of funds provided by Acuity through a
one-year convertible note in the amount of $640,490.00.

CVG’s records reflect that CVG paid back a total of $315,923 on the Acuity note in December of
2019.

Additionally, as part of the buy-out agreement, both J&J and MCT were paid $125,000 on January
10, 2020 and an additional $303,500 on May 30, 2020 for a total of $428,500. Thus, the total buy-
out amounted to $857,000. Simpson was paid a total of $100.00.

Due to the “change of control”, all of Knapton’s and Walker’s convertible notes were subject to
immediate payout. However, that has not occurred as of the writing of this Report.


Other Investors – 2020

On January 20, 2020, a total of three Camillo Investor Group investors executed a $500,000, 6%,
two-year convertible note with CVG.

On March 31, 2020, a total of twelve Baylor Angel Network investors executed a $497,000, 6%,
two-year convertible note with CVG. It was represented to these investors that the funds would
be used for debt reduction, working capital, and for sales and marketing growth. It appears that
the funds were used for debt reduction only.




                                                                               Knapton 034
                                                                                                    DFG016
                                                                                              27
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Failed Due Diligence: October 2020

As previously referenced, during 2020, potential investor Daniel Henn, a Partner at MD Holdings
(“Henn”) began his due diligence process to analyze the possibility of investing in CVG.

As part of Henn’s due diligence process, after delays in providing information responsive to his
requests, Simpson provided the May 2020 Data Release to Henn.

           [DFG Note: The information provided is presented in detail in the Financial Statement
           Fraud section of this Report. This detail provides evidence that the information provided
           to Henn was fictitious and was created by Simpson to encourage Henn’s investment in
           CVG, thus keeping the Ponzi scheme active.]

On October 27, 2020, Henn stepped away from the due diligence process due to certain factors
including, but not limited to,
       •    Lack of response from Simpson relative to basic data requests,
       •    Inability to reconcile CVG’s books,
       •    Failed cash proof,
       •    Fictitious contact information,
       •    Simpson’s providing of bogus/doctored data including order data, revenue sharing data,
            and customer click-through data.

Subsequent to Henn ending his due diligence process, evidence was identified that Simpson had
provided Henn and other potential investors with,
    •      Altered / Manipulated bank statements,
    •      Fictitious contact information,
    •      Fictitious customer data,
    •      Fictitious order data,
    •      Fictitious revenue sharing data,
    •      Fictitious expense information, and
    •      Fictitious customer-click-through data.

Additionally, Sean Ketterick, the previously referenced Chief Operating Officer, informed Knapton
of issues with Simpson’s recent behavior including,
   •       Deceptive communication and behavior,
   •       Providing of customer and customer-click-through data with material discrepancies,
   •       Stonewalling accounting firms,
   •       Ghosting meetings,
   •       Procrastination,
   •       Supplying misinformation,
   •       Hoarding access to data,



                                                                                 Knapton 035
                                                                                                       DFG017
                                                                                                 28
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   •   No proof of customer activity or IT integrations,
   •   Inability to make payroll,
   •   Not paying vendors,
   •   Collection inquiries to the Company,
   •   Cancellation of employee health care benefits for nonpayment, and
   •   Ketterick’s termination.

Knapton did not exercise the option of conversion for his $100,000 convertible note #3 which
came due on October 24, 2020, or his approximate $166,000 convertible note which came due
on December 16, 2020. CVG has not honored payment of these notes. Reid Walker also did not
exercise his option of his $500,000 convertible note which came due on October 24, 2020. Walker
extended the due date by six months rather than call in the note as due and payable. Simpson
has become completely nonresponsive to Knapton, Walker, and our requests regarding the
records inspection.
                                       _______________

The following sections provide more detailed examples of the alleged fraud perpetrated
throughout the life of CVG.




                                                                            Knapton 036
                                                                                                  DFG018
                                                                                            29
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                    FINANCIAL STATEMENT FRAUD:
 CONCEALMENT OF MISAPPROPRIATION AND PERPETRATION OF A PONZI SCHEME
                                     Exhibit Sections A - C


Synopsis

Financial Statement Fraud encompasses the Production of Fraudulent Financial Statements
(e.g., Balance Sheet, Income Statement, Statement of Cash Flows), the Production of Fraudulent
Financial Documents (e.g., altered and/or created bank statements), as well as Statements that
are Fraudulent.

Per this investigation, the following evidence supports the alleged existence of all three of these
Financial Statement Fraud categories:


Exhibit Section A: Production of Fraudulent Financial Statements
Simpson provided a general ledger, allegedly from the QuickBooks accounting records, to Dan
Henn for his use in his due diligence process. This general ledger covered the period from June
of 2017 through September of 2019. Notable observations from a review of the general ledger
are as follows:

   •   Since the general ledger begins six months after the formation of the Company, there is
       no trail of activity for the first six months of the Company’s history. Of note, Simpson
       allegedly credited $150,000 for his capital contribution to the Company, yet no bank
       statements have been provided to validate this, and the ledger cannot validate this since
       it did not exist.

   •   Financial statements provided to Knapton throughout the investment relationship indicate
       that, for 2016, the Company incurred a total of $154,178 in expenses. To date, we have
       been provided the Forms 1065 partnership tax returns for 2017 and 2018. However, we
       have been provided no tax reporting information for 2016 or 2019. Again, since there is
       no general ledger until June of 2017, we have no manner in which to verify this information.

   •   Exhibit A1 to this Report are the referenced financial statements that include the periods
       2016 – 2019. The financial statements were provided as part of the May 2020 Data
       Release from Simpson to Henn. Notable observations are as follows:

           o   The Amended and Restated Company Agreement that was executed April 2, 2018
               involved the conversion of J&J’s and MCT’s equity to debt. However, the general
               ledger for all periods reflects J&J and MCT equity in the amount of $250,000 each.
               Conversely, the Balance Sheet financial statement reflects that the equity has
               been converted to debt. Finally, the Form 1065 “partnership tax return” reflects the
               conversion of this equity to debt.

           o   The general ledger does not reflect an equity account for Brent Simpson, yet the
               Balance Sheet financial statement reflects the previously referenced $150,000.

                                                                               Knapton 037
                                                                                                      DFG019
                                                                                                30
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                     FINANCIAL STATEMENT FRAUD:
  CONCEALMENT OF MISAPPROPRIATION AND PERPETRATION OF A PONZI SCHEME
                                        Exhibit Sections A - C


            o   As an additional example of mismatch between the financial statements and the
                general ledger, retail sales for 2018 per the general ledger amounted to
                $10,926,455.00. Retail sales per the Income Statement financial statement
                amounts to $10,461,816.87. This results in a discrepancy of over $460,000 for that
                single line-item alone.


Exhibit A2 represents the extract of the equity section of the general ledger. It is evident that the
equity accounts activity is not reflective of the actual activity that is presented in the financial
statements or the bank accounts.

Exhibit A3 represents the extract of the notes payable section of the general ledger. It is evident
that the notes payable activity is not reflective of the actual activity that is presented in the financial
statements or the bank accounts.

Exhibit A4 is a Balance Sheet produced from the QuickBooks accounting records as of May 21,
2020 provided by Simpson in the May 2020 Data Release to Henn. The equity section still reflects
J&J and MCT equity balances of $250,000.00 each. Again, the other balance sheets referenced
previously do not include these investors in the equity section. This balance sheet does not
include an equity balance for Simpson. As referenced previously, Acuity Advisors, LLC, wholly
owned by Simpson, executed an asset purchase agreement with CVG, thus becoming the sole
member of CVG. Accordingly, one would expect to see Accuity as the member, not J&J and MCT.
As such, material questions result from attempting to determine who owns what based on the
conflicting information provided.

        [DFG Note: Based on just these examples of the inconsistency and errancy of the financial
        statements and accounting records, there cannot be any reliance placed on their validity.
        Additionally, when considered in conjunction with the evidence provided in Exhibit
        Sections B and C, these inconsistencies and errors are not categorized as issues of poor
        accounting or errors, but rather additional evidence of the efforts Simpson expended to
        maintain the façade of the Ponzi scheme.]


Exhibit Section B: Production of Fraudulent Financial Documents

Bank Statements – Chase Bank Operating Account

The bank statements provided by Simpson in the May 2020 Data Release include the period from
May of 2019 through November of 2019. These bank statements clearly indicate that the
statements were altered and/or fictitiously created altogether.

Exhibit B1 presents our analysis of the cosmetic content of these bank statements that indicate
the altering and/or creation of fictitious bank statements.

                                                                                      Knapton 038
                                                                                                              DFG020
                                                                                                       31
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These specific bank statements are included as Exhibit B2 to this Report.

Each of these statements include the following cosmetic issues that differ from a normal, standard
Chase bank statement:

   •   The customer service information on page one references www.Chase.com. Normal
       Chase bank statements do not include the “www” in this reference.

   •   The statements are missing the Chase internal design bar code that is typically located
       above the mailing address on the left side of page one.

   •   The statements include a bar code on the right side of alternating pages. We read these
       bar codes with a scanner and determined that, for those that could be interpreted, the bar
       codes did not represent valid information but rather a USPS shipping address unrelated
       to the parties to this case.

Other specific noted alterations are as follows presented by month:

May 2019

   •   The ATM & Debit Card Withdrawals section totals $20,779.98. However, the actual entries
       in this section total $15,274.71, representing a difference of $5,505.27.

   •   The Electronic Withdrawals section totals $129,919.14. However, the actual entries in this
       section total $130,640.64, representing a difference of $721.50.

       •    According to Knapton, he wired the Company $100,000 as a bridge loan on May 31,
            2019. This wire does not appear in this bank statement, nor does it appear in the
            general ledger for the bank account or the notes payable account. Exhibit B3
            represents the wire transfer documentation that reflects the wire to this CVG bank
            account at Chase Bank.

   •   The Ending Daily Balances are off starting May 7, 2019 due to the ATM & Debit Card
       Withdrawals difference noted above. By May 30, 2019, the total difference is $4,783.77.

June 2019

   •   The $100,000 missing wire from Knapton referenced for the May 2019 statement also
       does not appear in this statement.

   •   In the Electronic Withdrawals section, the 06/17 Headstrong Sunwear Billing for
       $12,400.00 is truncated to $12,400. The trailing decimal and zeros are missing.


                                                                              Knapton 039
                                                                                                     DFG021
                                                                                               32
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   •   The Ending Daily Balance is off on June 14, 2019 by a total of $333.00.

   •   The date range for this statement is June 1, 2019 through June 28, 2019 which is a shorter
       period than a standard bank statement.

July 2019

   •   The date range for this statement is June 29, 2019 through July 31, 2019 which is a longer
       period than a standard bank statement.

   •   The Daily Balance is off on July 17, 2019 by a total of $47,442.23.

August 2019

   •   The date range for this statement does not include August 31, 2019. The date range for
       the following month’s statement also does not include August 31, 2019.

September 2019

   •   As noted above, the date range for this statement does not include August 31, 2019.

       •    According to Knapton, he wired the Company $25,000 as a bridge loan on September
            17, 2019. This wire does not appear in this bank statement, nor does it appear in the
            general ledger for the bank account or the notes payable account. Exhibit B4
            represents the wire transfer documentation that reflects the wire to this CVG bank
            account at Chase Bank.

   •   When zoomed in, the solid line above Total Electronic Withdrawals reflects tampering on
       the left side. This imperfection reveals that this is not a genuine bank statement format
       line. The words “rt*daily ending balance2” appear in white font within this black line and is
       a clear indicator of the alteration or creation of a bank statement. The last page of Exhibit
       B2 provides an example of this tampering in the “zoomed in” state.

October 2019

   •   The Checking Summary section totals $280,566.40. However, the actual entries in this
       section total $280,566.04, representing a difference of $.36.
   •   The Electronic Withdrawals section totals $190,596.48. However, the actual entries in this
       section total $187,109.98, representing a difference of $3,486.50.
   •   The Checking Summary notes 16 electronic withdrawals. The number of electronic
       withdrawals per the statement section totals 15.


                                                                                Knapton 040
                                                                                                       DFG022
                                                                                                 33
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   •   According to Knapton, Bulkley Capital denied ever having received $30,000 and thus
       invalidates the 10/11 withdrawal for that amount. Additional information is provided in
       Exhibit Section C regarding the fictitious nature of this transaction.

   •   When zoomed in, the solid line above Total Electronic Withdrawals reflects tampering on
       the left side. This imperfection reveals that this is not a genuine bank statement format
       line. The words “rt*daily ending balance2” appear in white font within this black line and
       is a clear indicator of the alteration or creation of a bank statement.

   •   The Ending Daily Balances are off starting October 17, 2019. By October 31, 2019, the
       total difference is $3,486.50.


November 2019

   •   The date range on page one goes through November 31, 2019. There is no such date as
       November 31st. The date range on the remaining pages is properly stated as November
       30, 2019.

   •   The Checking Summary section totals $246,537.61. However, the actual entries in this
       section total $246,547.61, representing a difference of $10.00.

   •   The Deposits and Additions section totals $1,040,490.00. However, the actual entries in
       this section total $1,140,490.00, representing a difference of $100,000.00.

   •   The ATM & Debit Card Withdrawals section totals $72,575.90. However, the actual
       entries in this section total $67,575.90, representing a difference of $5,000.00.

   •   The Electronic Withdrawals section totals $1,001,932.89. However, the actual entries in
       this section total $1,038,225.89, representing a difference of $36,293.00.

   •   When zoomed in, the solid line above Total Electronic Withdrawals reflects tampering on
       the left side. This imperfection reveals that this is not a genuine bank statement format
       line. The words “rt*daily ending balance2” appear in white font within this black line and
       is a clear indicator of the alteration or creation of a bank statement.

   •   The Ending Daily Balances section of this statement is missing altogether.




                                                                             Knapton 041
                                                                                                    DFG023
                                                                                              34
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Bank Statements – AZLO Business, Inc. Retail Account

As part of the May 2020 Data Release, Simpson provided Henn with a file representing activity
with customers in this retail bank account. Exhibit B5 represents an extract from this file that
notes the following:

    •   There was a $700,000.00 transfer from this account to the Operating account at Chase
        Bank dated April 2, 2019. There are three other transfers (one in August 2019 for
        $700,000.00, one in November 2019 for $500,000.00, and one in December 2019 for
        $500,000.00), that all include the exact same Description transaction identification
        number AND date as included on the April 2, 2019 transfer. As such, these transfers total
        $2,400,000.00.

        [DFG Note: This type of transaction identification is not possible in an authentic bank
        statement. This provides evidence of the performance of a cut-and-paste action that
        supports that these statements, and activity reflected in the statements was created as a
        fictitious document.]

Exhibit B6 to this Report represents the pages of the fictitiously created statements that reflect
these transfers.

        [DFG Note: Not only does this exhibit reflect the noted transfer transactions, but it also
        provides evidence of the efforts Simpson expended to create a letterhead for an AZLO
        bank account that would appear to be legitimate on its surface.

        As will be described in further detail in Exhibit Section C, even the revenue sharing
        transactions reflected in these statements are indicated as fictitious.]


Exhibit Section C: Statements That Are Fraudulent

In this aspect of Financial Statement Fraud, the focus is on “Statements” that are fraudulent.
These “statements” are not the financial statements such as a balance sheet or income statement,
but rather are defined as verbal or written “representations”. As such, the information in this
section includes these types of representations, along with the accompanying evidence that
renders them to be considered fraudulent.

NTAN Presentation

Exhibit C1 represents the “Capitalization” slide from the NTAN presentation referenced in the
History and Chronology section of this Report. As noted, Knapton based his decision on investing
in CVG largely based on the information represented in this presentation.


                                                                               Knapton 042
                                                                                                     DFG024
                                                                                               35
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The following describes the gross misrepresentations included on this slide:

    •   Brent Simpson is represented as having invested $150,000 into CVG. As presented
        previously, there is no evidence that supports this as a fact.

    •   J&J and MCT each reflect a total of $250,000 in notes due from CVG, thus totaling
        $500,000. The footnotes on the slide indicate that these notes are due “4/2/2020”. In fact,
        per the actual note terms, one-half of this amount, or $250,000 is due 4/2/2019. This
        represents a gross misrepresentation of future debt service that misleads potential
        investors.

    •   The debt outstanding due to Rodriguez Capital indicates a .6% ownership interest in CVG.
        There is no evidence that supports Rodriquez capital as ever holding an equity stake.

    •   Also as noted in the History and Chronology section of this Report, the Amended and
        Restated Company Agreement of April 2, 2018 indicates that J&J’s and MCT’s equity was
        converted to debt. This is consistent with this slide yet is inconsistent within itself in that
        the are each reflected as 8% equity holders. Additionally, as noted previously in Exhibit
        Section A, whether or not these investors are equity holders depends on which version
        of the alleged fictitious financial statements are being referenced. Additionally, as noted
        previously in Exhibit Section A, whether or not these investors are note holders depends
        on whether to accept the conflicting alleged fictitious financial statements, or the general
        ledger activity.

        [DFG Note: Generally, the financial statements, the general ledger, and the tax returns all
        provide different and/or conflicting information regarding the investments of J&J and MCT.
        When considered in conjunction with the misrepresentations noted on this slide
        presentation, the ability to ascertain truth is not present.]


The Gibson Due Diligence

As noted in Exhibit Section B, one of the Chase Bank transactions was a $30,000 payment to
Bulkley Capital (“Bulkley”). It was noted that Bulkley disputed that they ever received this
payment. The significance of this evidence is illustrated by the fact that Gibson knew the Bulkley
representative well and thus knew of the problem with the payment. Simpson’s story regarding
the payment to Bulkley is best presented in an email from Gibson to Simpson dated December 5,
2019. This email is included as Exhibit C2 to this Report. As stated previously in this Report,
Gibson stepped away from the due diligence process on December 9, 2019.




                                                                                  Knapton 043
                                                                                                          DFG025
                                                                                                   36
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Fictitious Contact Information

The May 2020 Data Release to Henn was transmitted via email from Simpson to Henn on Friday,
May 22, 2020 at 5:02pm. This was the Friday before the start of the three-day memorial holiday
weekend.

Knapton testifies that the due diligence process was not going well and feared that Henn would
eventually withdraw from the process. In response, Simpson provided the data release to continue
the due diligence process. Knapton also testifies that once this data was finally provided, he felt
more comfortable in making the decision to convert his currently maturing convertible notes to
equity.

This email is included as Exhibit C3 to this Report. The content of the email includes evidence of
Statements That Are Fraudulent as follows:

Accounting Firm / External Accountant Issue

Simpson states that he terminated the internal bookkeeper and hired Bill Thompson, PC, “a small
local firm”. No evidence could be located that proves this is a real person or firm. Per Knapton’s
testimony, Simpson subsequently stated that Bill Thompson passed away and that the matters
would be handled by another CPA Tom Howell (“Howell”). No evidence could be located that
proves Howell is a real person or that he has a valid firm association. Attempts by Knapton and
Ketterick to contact Howell have proved fruitless. Howell did not attend scheduled meetings for
which he was to attend. No one has ever seen Howell.

Exhibit C4 represents copies of emails where Knapton and Ketterick attempted to contact and
obtain information from Howell. No response was ever received.

In addition to the lack of ability to validate that Thompson or Howell are real individuals that
performed work for CVG, Simpson introduced a third firm, William Atkinson Assoc., for which no
evidence exists that this is a real person or firm that has ever performed work for CVG. Exhibit
C5 is a page from a December 2020 strategic planning meeting where Atkinson was referenced.

       [DFG Note: There is no evidence that proves any of these CPA service providers are real
       and ever performed services for CVG. This provides additional evidence that Simpson
       controlled all information and went to great lengths such as to create fictitious contact
       information to continue to perpetrate the Ponzi scheme.]


Fictitious Customer Contact Information

The email presented as Exhibit C2 also includes the contact information for two of the business
managers of specific customers that Simpson instructed Henn were available for discussion
(Matthew Sanders of Tacoma Eye Care and Chad Reynolds of Vision People).
                                                                               Knapton 044
                                                                                                      DFG026
                                                                                                37
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Knapton testifies that he contacted these individuals and neither of them knew of CVG or Simpson
and had certainly never conducted business with either.

As part of the May 2020 Data Release, Simpson provided the contact information for the
approximate 390 practices which allegedly conducted business with CVG. Knapton contacted
dozens of these companies (business managers and the actual service providers) and without
fail, was informed that they did not conduct business with CVG and/or Simpson.

        [DFG Note: This evidence indicates that the database of information, more of which will
        be described below in this Report, is fictitious information. None of the contact information
        provided evidence that these companies had done any business with CVG and/or
        Simpson. As is common in a Ponzi scheme, there is no real operating company with real
        customers. The evidence indicates that this is the case with CVG.]


Fictitious Customer Data

Some of the most compelling evidence that CVG is not an operating company is the customer
data that was provided in the May 2020 Data Release. Simpson provided an Excel workbook
entitled “Practice (Volume Revenue Response Demographic).xlsx”. This workbook provides
information according to three categories as follows:
    •   Customer Order Data
    •   Revenue Sharing Data
    •   Customer Click-Through Data


Customer Order Data

Exhibit C6 represents a chart of the Active Customer Practices. This chart was produced by
Knapton from the Excel workbook. As is evident, growth was quite linear and reflects a total of
over 350 practices as customers of CVG.
Exhibit C7 represents a chart of the Order Data by product type over 6 periods of time. As is
evident from this chart, there is uniformity in product type and time period that is outside of
reasonable expectation. Expectation is that a more scattered reflection of orders would be valid.
This chart leads one to the conclusion that all products were ordered by customers at the same
time, and also NOT ordered by customers at the same time. This pattern is too uniform to be
considered believable (e.g., all products peak at period 2, all products reflect the valley at period
3, all products basically flat line from period 4 to 5).
        [DFG Note: The order data, as presented, is not “believable” as a normal pattern of
        expectancy regarding these products. This evidence provides additional support that the
        data is fictitious. This is a consistent conclusion when considered in conjunction with the
        evidence of the previously referenced fictitious creation of customer contact data.]
                                                                                 Knapton 045
                                                                                                        DFG027
                                                                                                  38
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Revenue Sharing Data

As established in Exhibit Section B, the transactions reflected in the alleged fictitiously created
AZLO bank account are also fictitious. The revenue sharing occurs when a customer of one of
the practices orders through CVG. As a reward incentive, the optometrists’ practices receive a
revenue share from CVG.

       [DFG Note: It has been previously presented in this Report that the evidence indicates
       that the customers (optometry practices) do not conduct business with CVG, and that the
       AZLO revenue sharing account is fictitiously created. Accordingly, this evidence indicates
       that the revenue sharing data included in this Excel workbook is also fictitious. The
       analysis of the customer click-through information that follows lends additional support to
       the fictitiously created nature of the information provided for revenue sharing.]


Customer Click-Through Data

In the May 2020 Data Release, specifically in the Excel workbook, Simpson provided Customer
Contact Lens Click-Through and Direct Response Data. Knapton, Henn, and Ketterick analyzed
this data, which is represented as Exhibit C8 to this Report.

This analysis reflects information that one could say “clearly indicates’ that the underlying
information was fictitiously created. As is evident, the results are “tightly compacted” and reflect
“no outliers”.

       [DFG Note: This analysis provides some of the more compelling evidence of the fictitious
       nature of the data provided for due diligence.]




                                                                                Knapton 046
                                                                                                       DFG028
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                          SUMMARY OF EVIDENCE OF MENS REA


Evidence of Mens Rea (Concealment)

The evidence referenced in this Report, along with the evidence presentations provided in Exhibit
Sections A - C, could be used to provide evidence of mens rea according to the categories as
follows:

       Intent – The evidence indicates that Simpson went to great lengths to present financial
       information that was not valid. This includes the alleged creation of fictitious financial
       statements, fictitious financial transactions within bank statements, omission of financial
       transactions in the general ledger, altering and/or creation of fictitious bank statements,
       and creation of fictitious contacts and customer data.

       The nature of these issues supports a presentation to a trier of fact that these were
       deliberate, purposeful acts to bring about a particular result (to benefit personally and/or
       to entice further investment).

       Knowledge – Based on the volume of transactions, along with the exhibited extent to which
       fraudulent information was allegedly created, the evidence could be used to support that
       Simpson was aware of his conduct and did not act through ignorance, mistake, or
       accident. The creation of fictitious documents is cannot be considered an accidental
       occurrence.


The evidence presented in this Report could be used to establish that Simpson controlled ALL
information of CVG and went to great effort to maintain that control and to maintain the façade
that CVG was an actual operating company.

With this control, Simpson could create documentation and data that, when properly analyzed,
reveals its fictitious nature.




                                                                               Knapton 047
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              CONCLUSIONS REGARDING THE ALLEGATIONS PRESENTED


The evidence obtained and presented in this Report could be used to support a presentation of
fraud to a trier of fact for the rendering of a verdict regarding the allegations as presented.

The evidence indicates that crimes allegedly have been committed as follows:

    •   Financial Statement Fraud (all three categories)
    •   Misappropriation through the use of investor funds for unauthorized / unsupported
        purposes

The evidence indicates that methods were employed to conceal the existence of these alleged
crimes as follows:

   •    Willful Intent and Knowledge are present as evidenced by the alteration of documentation
        and the creation of extensive fictitious information.

The evidence indicates that Simpson benefitted personally while subjecting the investor victims
to financial loss as follows:

   •    Use of investor funds for unauthorized / unsupported purposes.
   •    Conveyance of funds from CVG to Acuity, a new entity under Simpson’s control.




                                                                             Knapton 048
                                                                                                   DFG030
                                                                                             41
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             COMPLETION ISSUES / PREDICATION SUPPORT FOR SUBPOENA
                                         Exhibit Section D


Synopsis

The information presented in this Report provides the evidence necessary to present a case of
alleged fraud to a trier of fact for the rendering of a verdict.

In addition to the information presented, we believe the receipt of the additional requested
information can lead to a modification of the amounts and types of alleged fraud presented in this
Report.


Support for Subpoena Request

Since this is an open report pending the receipt of additional requested information, one of its
primary purposes is to also serve as predication (or probable cause) to support a subpoena of
additional information. Based on the evidence analyzed to date, receipt of the information
requested for the original records inspection is considered necessary to complete a proper
forensic investigation. It is believed that the receipt of this information will reveal the true nature
and extent of alleged fraudulent activities perpetrated by Simpson.

Our original Notice of Records Inspection is included as Exhibit D1 to this Report as support for
the information requested.


Affidavit of Kurt Knapton

Much of the representations included in this Report are based on the testimony of Kurt Knapton.
As such, Knapton’s sworn affidavit to his referenced testimony is included as Exhibit D2 to this
Report.


Information Not Exhibited in This Report

The Exhibits referenced in this Report are provided as support for the examples presented.
Additional documentation that may be referenced but not included in this Report as an “Initial
Issuance” report are on file at the offices of Kurt Knapton and the Dawson Forensic Group and
are available upon request for prosecution and/or litigation purposes.


Open Reporting

Since this is an Initial Issuance Report, we reserve the right to modify or supplement the Report
based on the receipt of additional information, if any.



                                                                                  Knapton 049
                                                                                                          DFG031
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                                  EXHIBIT A1

           Financial Statements: Click Vision Group, LLC; 2016 - 2019




                                                                        Knapton 050
                                                                                         DFG032
                                                                                    43
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Click Vision Group LLC                                                                                   Income Statement
                                                                                             January 1, 2017 through December 31, 2019

Revenue                                                           2019           2018                2017                      2016
       Gross sales                                                 22,111,022     10,926,455             1,723,573
       (Less sales returns and allowances)
       Net Sales                                                   22,111,022     10,926,455             1,723,573


Cost of Goods Sold
       Goods Purchased from Distributors                           13,715,637      6,682,947               989,621
       Payments to Practices                                        4,196,836      2,455,394               362,976
       Transaction Processing                                         641,199        320,535                51,532
       Shipping                                                       680,509        344,908                63,826
       Returns                                                        171,347         56,999
       Consumer Discounts                                                                                   79,566
                                             Cost of Goods Sold    19,405,528      9,860,783             1,547,521

       Gross Profit (Loss)                                          2,705,494      1,065,672              176,052

Expenses
       EHR Partnership                                                346,551        136,239                30,163
       Advertising and Marketing                                      546,831        310,452               120,749                    7,830
       Legal and Accounting                                           296,172         59,104                35,362                    2,875
       Sales Operations                                               396,182        202,019                35,342
       Employee Benefits                                               16,435         13,398                18,402
       Furniture and equipment                                         21,514          8,662                                          6,722
       Payroll taxes                                                    7,763         11,860                13,870
       Rent                                                            27,960         11,052                 6,600
       IT Development                                                 633,304        259,776               170,713                 116,077
       Salaries and wages                                              82,176        149,747               169,651
       Business Operations                                            146,623         94,198                26,700                   16,454
       Travel                                                          71,880         65,443                21,437                    4,220
       Data Warehouse and Hosting                                      54,291         19,437
       Other
       Total Operating Expenses                                     2,647,681      1,341,387               648,989                 154,178

Income From Operating Income (Loss)                                   57,813        (275,715)             (472,937)                (154,178)

Non-Operating Expenses
       Accrued Interest                                               193,376           73,101
       Escrow Account Payments (MyVisionExpress)                      (57,000)
       Deferred Income Tax

       Total Non-Operating Expenses                                  149,114         73,101
      {42}                                                                                                           [42]                  [42]




Net Income                                                          (91,301)      (348,816)             (442,775)              (154,178)




                                                                                                       Knapton 051
                                                                                                                                           DFG033
                                                                                                                                   44
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  Click Vision Group LLC                                                                                            Balance Sheet
                                                                                                 January 1, 2018 through December 31, 2019


  Assets                                                                        2019           2018           2017                2016
  Current Assets
                   Cash                                                           493,392        697,170          122,885           45,822
                   Accounts receivable
                   Inventory
                   Prepaid expenses
                   Short-term investments
                                                        Total current assets      493,392        697,170          122,885           45,822
  Fixed (Long-Term) Assets
                 Long-term investments (Data Extraction)
                   Property, plant, and equipment
                   (Less accumulated depreciation)
                   Intangible assets (Development Costs of Data)
                   Intangible assets (Trademarks)
                                                          Total fixed assets
  Other Assets
                   Deferred income tax
                   Escrowed Funds (MyVisionExpress)                                57,000
                   Other
                                                         Total Other Assets        57,000


  Total Assets                                                                    550,392        697,170         122,885            45,822


  Liabilities and Owner's Equity
  Current Liabilities
                   Accounts payable
                   Short-term debt (Revenue Share Agreement)
                   Short-term debt (J&J)
                   Short-term debt (MCT)
                   Short-term debt (Kurt Knapton)                                 565,923
                   Short-term debt (Reid Walker)                                  500,000
                   Short-term debt (Acuity Advisors)                              324,567
                   Income taxes payable
                   Accrued salaries and wages
                   Unearned revenue
                   Current portion of long-term debt
                                                   Total current liabilities     1,390,490
  Long-Term Liabilities
                   Long-term debt (Revenue Share Agreement)                                       50,000          100,000           50,000
                   Long-term debt (Revenue Share Agreement)
                   Long-term debt (J&J)                                                          250,000
                   Long-term debt (MCT)                                                          250,000
                   Long-term debt (Kurt Knapton)                                                 400,000
                   Long-term debt (Reid Walker)                                                  500,000
                   Deferred income tax
                   Other
                                                  Total long-term liabilities                   1,450,000         100,000           50,000
  Interest
                   Accrued Interest                                                77,137         73,101
  Owner's Equity
                   Owner's investment                                              150,000       150,000          650,000           150,000
                   Retained earnings                                            (1,067,235)     (975,931)        (627,115)         (154,178)
                   Other
                                                        Total owner's equity     (917,235)      (825,931)          22,885            (4,178)


  Total Liabilities and Owner's Equity                                            550,392        697,170         122,885            45,822
                                                                                                                           {42}              {42}




  Common Financial Ratios
  Debt Ratio(Total Liabilities / Total Assets)                                         2.53           2.18            0.65             1.09
  Current Ratio(Current Assets / Current Liabilities)                                  0.40
  Working Capital(Current Assets - Current Liabilities)                          (897,098)       697,170          122,885           45,822
  Assets-to-Equity Ratio(Total Assets / Owner's Equity)                              -0.60          -0.84             5.37           -10.97
  Debt-to-Equity Ratio(Total Liabilities / Owner's Equity)                             -1.52          -1.76           4.37           -11.97



                                                                                                                       Knapton 052
                                                                                                                                                         DFG034
                                                                                                                                                    45
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Click Vision Group LLC                                                                      Cash Flow Statement
                                                                                    January 1, 2018 through December 31, 2019

                                                                     2019            2018           2017           2016
                                        Cash at Beginning of Year:      697,170        122,885         45,822        150,000

Operations
Cash receipts from
           Customers                                                 22,111,022      10,926,455     1,723,573
           Other Operations
Cash paid for
           Cost of Goods                                             (19,405,528)    (9,860,783)   (1,547,521)
           General operating and administrative expenses              (2,541,308)    (1,166,382)     (447,066)       (154,178)
           Wage expenses                                                (106,373)      (175,005)     (201,923)
           Income taxes
Net Cash Flow from Operations                                            57,813        (275,715)     (472,937)       (154,178)

Financing Activities
Cash receipts from
           Issuance of stock                                                                          500,000
           Borrowing                                                    640,490        900,000         50,000           50000
Cash paid for
           Repurchase of stock (treasury stock)
           Repayment of loans                                          (700,000)        (50,000)
           Interest                                                    (202,078)
           Dividends
Net Cash Flow from Financing Activities                                (261,588)       850,000        550,000         50,000

Net Increase in Cash                                                 (203,778)        574,285        77,063       (104,178)

                                              Cash at End of Year:      493,392        697,170       122,885          45,822




                                                                                                   Knapton 053
                                                                                                                            DFG035
                                                                                                                     46
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Click Vision Group LLC                                                                         Capital Accounts
                                                                                                          December 31, 2019


Nondiluted Ownership
                                   Nondiluted
  Name             Capital
                                   Ownership
Brent Simpson        150,000                    84.00%
J&J Family Trust                                 8.00%
MCT Family Trust                                 8.00%


Convertible Notes
                    Note                                             Note Due Conversion Conversion
  Name                             Note Date             Note Rate                                  Payoff Provision
                   Amount                                              Date      Date     Valuation
Kurt Knapton         100,000         6/19/18                6%           6/19/20   Elective   3,500,000       No
Kurt Knapton         200,000         8/13/18                6%           8/13/20   Elective   3,500,000       No
Reid Walker          500,000         10/24/18               6%          10/24/20   Elective   9,250,000       No
Kurt Knapton          100,000        10/24/18               6%          10/24/20   Elective   9,250,000       No
Kurt Knapton          165,923        12/19/19               6%          12/19/20   Elective   9,250,000       No
   Total Notes      1,065,923



Diluted Ownership
  Name             Capital      Diluted Ownership
Brent Simpson        150,000                    67.1 %
J&J Family Trust                                 8.00%
MCT Family Trust                                 8.00%
Reid Walker                                      5.41%
Kurt Knapton                                    11.45%
          Total      150,000                      100%




                                                                                                 Knapton 054
                                                                                                                         DFG036
                                                                                                                   47
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                                 EXHIBIT A2

                  QuickBooks General Ledger – Equity Extract




                                                               Knapton 055
                                                                                DFG037
                                                                           48
                                            KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                                                     Exhibit A2
                                            General Ledger Extract - Owners' Equity




                                                                                                                                                                                                             Knapton 056
                                                                                                                                                                                                                           49
Desc




                                                                                        Transaction
                                                           Account           Date          Type                  Name              Memo/Description           Split/Account       Debit    Credit      Balance
                                            Owner's Equity
Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02




                                                    J&J Equity
                                                                           03/20/2017    Deposit      J&J Ainsworth Family Trust                      Owner's Equity:J&J Equity           175,000.00   175,000.00
                                                                           11/22/2017    Deposit      J&J Ainsworth Family Trust                      Owner's Equity:J&J Equity            75,000.00   250,000.00
                                                    Total for J&J Equity                                                                                                                  250,000.00
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                                                    MCT Equity
                                                                           03/20/2017    Deposit      MCT Family Trust                                Owner's Equity:MCT Equity           175,000.00   175,000.00
                                                                           11/24/2017    Deposit      MCT Family Trust                                Owner's Equity:MCT Equity            75,000.00   250,000.00
                                                    Total for MCT Equity                                                                                                                  250,000.00
                                            Total for Owner's Equity                                                                                                                      500,000.00
Case 24-42912                                                                                                                                                                                               DFG038
Case 24-42912    Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02       Desc
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                                   EXHIBIT A3

                QuickBooks General Ledger – Notes Payable Extract




                                                                    Knapton 057
                                                                                     DFG039
                                                                                50
                                           KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                                                  Exhibit A3
                                           General Ledger Extract - Notes Payable




                                                                                                                                                                                                             Knapton 058
                                                                                                                                                                                                                           51
                                                                                  Transaction
Desc




                                                    Account            Date          Type                 Name             Memo/Description            Spit/Account    Debit        Credit         Balance
                                           Notes Payable
                                                                     12/29/2016    Deposit      David Moore        Dr. David Moore Revenue Share   Notes Payable                     50,000.00       50,000.00
Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02




                                                                     01/23/2017    Deposit      Michael Moore                                      Notes Payable                     50,000.00      100,000.00
                                                                     03/13/2018    Deposit                         Note Payable                    Notes Payable                     25,000.00      125,000.00
                                                                     03/13/2018    Deposit                         Note Payable                    Notes Payable                     25,000.00      150,000.00
                                                                     06/21/2018    Deposit      Kurt Knapton                                       Notes Payable                    100,000.00      250,000.00
                                                                     08/14/2018    Deposit      Kurt Knapton                                       Notes Payable                    200,000.00      450,000.00
Appendix (Exhibits A - M) Page 58 of 318




                                                                     08/14/2018    Check        Michael Carrigan                                   Notes Payable       26,555.26                    423,444.74
                                                                     10/25/2018    Deposit      Reid Walker                                        Notes Payable                    500,000.00      923,444.74
                                                                     10/26/2018    Deposit      Kurt Knapton                                       Notes Payable                    100,000.00    1,023,444.74
                                                                     12/10/2018    Check        Marcos Rodriguez                                   Notes Payable       27,268.68                    996,176.06
                                                                     04/29/2019    Check        David Moore                                        Notes Payable      110,000.00                    886,176.06
                                           Total for Notes Payable                                                                                                    163,823.94   1,050,000.00
Case 24-42912                                                                                                                                                                                            DFG040
Case 24-42912    Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02      Desc
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                                  EXHIBIT A4

                QuickBooks Balance Sheet – Produced May 21, 2020




                                                                   Knapton 059
                                                                                    DFG041
                                                                               52
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                              Click Vision Group LLC
                                   Balance Sheet
                                             All Dates

                                                                        Total
         ASSETS
          Current Assets
            Bank Accounts
              Click Optical - Retail                                            1,831,048.70
              CVG - Business Operations                                          165,332.39
            Total Bank Accounts                                $                1,996,381.09
          Total Current Assets                                 $                1,996,381.09
          Fixed Assets
            Furniture and Equipment                                               19,599.00
          Total Fixed Assets                                   $                  19,599.00
         TOTAL ASSETS                                          $                2,015,980.09
         LIABILITIES AND EQUITY
          Liabilities
            Current Liabilities
              Other Current Liabilities
                Notes Payable                                                    886,176.06
              Total Other Current Liabilities                  $                 886,176.06
            Total Current Liabilities                          $                 886,176.06
          Total Liabilities                                    $                 886,176.06
          Equity
            Owner's Equity
              J&J Equity                                                         250,000.00
              MCT Equity                                                         250,000.00
            Total Owner's Equity                               $                 500,000.00
            Retained Earnings
            Net Income                                                           629,804.03
          Total Equity                                         $                1,129,804.03
         TOTAL LIABILITIES AND EQUITY                          $                2,015,980.09




                        Thursday, May 21, 2020 05:29:50 PM GMT-7 - Cash Basis




                                                                                         Knapton 060
                                                                                                           DFG042
                                                                                                      53
Case 24-42912    Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02        Desc
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                                   EXHIBIT B1

                Bank Statement Analysis: Chase Bank Account *7310;
                            May 2019 – November 2019




                                                                     Knapton 061
                                                                                      DFG043
                                                                                 54
             Case 24-42912             Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                               Desc
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KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                            Exhibit B1
Bank Statement Analysis
Chase Bank Account *7310; May 2019 - November 2019




                                                             May 2019 Statement

                                                             Numerical Alterations

                                                    Totals          Detail           Difference

                                                              Checking Summary

                                                  398,275.23       398,275.23               0.00


                                                       ATM & Debit Card Withdrawals

                                                   20,779.98        15,274.71          (5,505.27)


                                                             Electronic Withdrawals

                                                  129,919.14       130,640.64            721.50


                                                              Format Alterations

   Page 1

   The customer service information on genuine statements do not include the "www" before Chase.com.

   The statement is missing a Chase internal design bar code above the mailing address on left hand side.

   According to Knapton's testimony, there should be a $100,000 wire IN for May 31st. This is not on the statement.

   Page 2

   The Daily Ending Balance is incorrect starting on May 7th because of the issues in the ATM & Debit Card Withdrawals section.




                                                                                                             Knapton 062
                                                                                                                                       DFG044
                                                                                                                                  55
             Case 24-42912             Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                                   Desc
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KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                               Exhibit B1
Bank Statement Analysis
Chase Bank Account *7310; May 2019 - November 2019




                                                             June 2019 Statement

                                                             Numerical Alterations

                                                    Totals          Detail           Difference

                                                              Checking Summary

                                                   266,812.88      266,812.88               0.00


                                                        ATM & Debit Card Withdrawals

                                                    13,173.02       13,173.02               0.00


                                                             Electronic Withdrawals

                                                   118,289.33      118,289.33               0.00


                                                              Format Alterations

   Page 1

   The date range for this month's statement does not conform to the typical date range of a full genuine statement (<full month).

   The customer service information on genuine statements do not include the "www" before Chase.com.

   The statement is missing a Chase internal design bar code above the mailing address on left hand side.

   The previously referenced expected $100,000 wire IN does not occur at the beginning of this month.

   Page 2

   The "6/17 Headstrong Sunwear Billing" amount is written in a truncated 12,400 and should read 12,400.00.

   The Daily Ending Balance is off $333.00 on June 14th.




                                                                                                               Knapton 063
                                                                                                                                          DFG045
                                                                                                                                     56
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KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                  Exhibit B1
Bank Statement Analysis
Chase Bank Account *7310; May 2019 - November 2019




                                                              July 2019 Statement

                                                              Numerical Alterations

                                                   Totals            Detail           Difference

                                                               Checking Summary

                                                  123,330.75        123,330.75               0.00


                                                       ATM & Debit Card Withdrawals

                                                   29,041.90         29,041.90               0.00


                                                              Electronic Withdrawals

                                                  114,440.23        114,440.23               0.00


                                                               Format Alterations

   Page 1

   The date range for this month's statement runs more than 31 days - the most on a genuine MONTHLY statement

   The customer service information on genuine statements do not include the "www" before Chase.com.

   The statement is missing a Chase internal design bar code above the mailing address on left hand side.

   Page 2

   The Daily Ending Balance is off $47,442.23 on July 17th.




                                                                                                            Knapton 064
                                                                                                                             DFG046
                                                                                                                        57
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KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                            Exhibit B1
Bank Statement Analysis
Chase Bank Account *7310; May 2019 - November 2019




                                                          August 2019 Statement

                                                             Numerical Alterations

                                                    Totals          Detail           Difference

                                                              Checking Summary

                                                  655,870.45       655,870.45               0.00


                                                       ATM & Debit Card Withdrawals

                                                   37,619.32        37,619.32               0.00


                                                             Electronic Withdrawals

                                                  129,840.98       129,840.98               0.00


                                                              Format Alterations

   Page 1

   The date range for this month's statement does not include August 31st. The next month's statement also does not include it.

   The customer service information on genuine statements do not include the "www" before Chase.com.

   The statement is missing a Chase internal design bar code above the mailing address on left hand side.




                                                                                                             Knapton 065
                                                                                                                                       DFG047
                                                                                                                                  58
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KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                                   Exhibit B1
Bank Statement Analysis
Chase Bank Account *7310; May 2019 - November 2019




                                                          September 2019 Statement

                                                               Numerical Alterations

                                                      Totals           Detail          Difference

                                                                Checking Summary

                                                    496,595.98       496,595.98               0.00


                                                          ATM & Debit Card Withdrawals

                                                      17,775.17       17,775.17               0.00


                                                               Electronic Withdrawals

                                                    141,499.30       141,499.30               0.00


                                                                Format Alterations

   Page 1

   The date range for this month's statement does not include August 31st. The previous month's statement also does not include it.

   The customer service information on genuine statements do not include the "www" before Chase.com.

   The statement is missing a Chase internal design bar code above the mailing address on left hand side.

   According to Knapton's testimony, there should be a $25,000.00 wire IN on September 17th. This is not on the statement.

   Page 2

   The solid line above Total Electronic Withdrawals shows tampering on the left side. When zoomed in, there is a small, visible
   imperfection reflecting that this line is not a genuine statement line. You can see "rt*daily ending balance2" in white font within
   the black line.




                                                                                                                  Knapton 066
                                                                                                                                              DFG048
                                                                                                                                         59
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                                        Appendix (Exhibits A - M) Page 67 of 318
KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                                   Exhibit B1
Bank Statement Analysis
Chase Bank Account *7310; May 2019 - November 2019




                                                            October 2019 Statement

                                                               Numerical Alterations

                                                      Totals           Detail          Difference

                                                                Checking Summary

                                                    280,566.40       280,566.04              (0.36)


                                                          ATM & Debit Card Withdrawals

                                                      25,433.46       25,433.46               0.00


                                                               Electronic Withdrawals

                                                    190,596.48       187,109.98          (3,486.50)


                                                                Format Alterations

   Page 1

   The customer service information on genuine statements do not include the "www" before Chase.com.

   The statement is missing a Chase internal design bar code above the mailing address on left hand side.

   The Checking Summary notes there are 16 electronic withdrawals. There are only 15 noted on page 2.

   Page 2

   According to Knapton's testimony, Bulkley Capital denies having ever received $30,000 from Click Vision Optical, thus invalidating
   the 10/11 withdrawal listed in the Total Electronic Withdrawals section.

   The solid line above Total Electronic Withdrawals shows tampering on the left side. When zoomed in, there is a small, visible
   imperfection reflecting that this line is not a genuine statement line. You can see "rt*daily ending balance2" in white font within
   the black line.




                                                                                                                  Knapton 067
                                                                                                                                              DFG049
                                                                                                                                         60
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KURT KNAPTON - CLICK VISION GROUP, LLC                                                                                                   Exhibit B1
Bank Statement Analysis
Chase Bank Account *7310; May 2019 - November 2019




                                                           November 2019 Statement

                                                               Numerical Alterations

                                                      Totals           Detail          Difference

                                                                Checking Summary

                                                    246,537.61       246,547.61              10.00


                                                               Deposits and Additions

                                                  1,040,490.00     1,140,490.00        100,000.00


                                                          ATM & Debit Card Withdrawals

                                                      72,575.90       67,575.90          (5,000.00)


                                                               Electronic Withdrawals

                                                  1,001,932.89     1,038,225.89         36,293.00


                                                                Format Alterations

   Page 1

   The date range reflects that this statement goes through November 31st, which is not a real date.

   The customer service information on genuine statements do not include the "www" before Chase.com.

   The statement is missing a Chase internal design bar code above the mailing address on left hand side.

   Page 2

   The date range on this page for the statement is corrected to reflect November 30th.

   The solid line above Total Electronic Withdrawals shows tampering on the left side. When zoomed in, there is a small, visible
   imperfection reflecting that this line is not a genuine statement line. You can see "rt*daily ending balance2" in white font within
   the black line.

   The Daily Ending Balance section is missing from this statement entirely.




                                                                                                                  Knapton 068
                                                                                                                                              DFG050
                                                                                                                                         61
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                                EXHIBIT B2

                 Bank Statements: Chase Bank Account *7310;
                          May 2019 – November 2019




                                                              Knapton 069
                                                                                DFG051
                                                                           62
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                                                                         Appendix (Exhibits A - M) Page 70 of 318
                                                                                                                      May 01, 2019 through May 31, 2019
                                            JPMorgan Chase Bank, N.A.
                                            P O Box 182051                                                        Account Number:
                                            Columbus, OH 43218- 2051



                                                                                                                Web site:                www.Chase.com
                                                                                                                Service Center:           1-877-425-8100
                                                                                                                Deaf and Hard of Hearing: 1-800-242-7383
                                            CLICK VISION GROUP LLC                                              Para Espanol:             1-888-622-4273
                                            14241 DALLAS PKWY STE 650                                           International Calls:      1-713-262-1679
                                            DALLAS TX 75254-2953




                                                                                                                                                                             00171910201000000022
               *start*summary




                                                                             Chase Platinum Business Checking
                              CHECKING SUMMARY
                            Beginning Balance                                                           $548,974.35
                            ATM & Debit Card Withdrawals                                 7               -20,779.98
                            Electronic Withdrawals                                      15              -129,919.14
                            Ending Balance                                                              $398, 75. 3


               *end*summary



        *start*post summary message1




                Your Chase Platinum Business Checking account provides:
                    No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
                    500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
                    $25,000 in cash deposits per statement cycle
                    Unlimited return deposited items with no fee

                There are additional fee waivers and benefits associated with your account – please refer to your Deposit Account
                Agreement for more information.
        *end*post summary message1




        *start*deposits and additions




                 ATM & DEBIT CARD WITHDRAWALS

                   05/02                       Card Purchase       05/01 Pentavision US 310-637-8765 Card 9682                                      $13,123.00
                   05/06                       Recurring Card Purchase 05/05 MSFT * Dynamics365 800-642-7676 WA Card 9682                             1,617.70
                   05/06                       Recurring Card Purchase 05/05 MSFT * Office 800-642-7676 WA Card 9682                                    303.81
                   05/06                       Recurring Card Purchase 05/05 Wework 855-593-9675 NY Card 9682                                           157.21
                   05/08                       Card Purchase       05/07 Sendgrid 800-736-0098 WA 05/01 Card 9682                                        14.92
                   05/24                       Card Purchase       05/23 American Air00172717338 Fort Worth TX Card 9682                                 32.49
                   05/24                       Card Purchase       05/23 Hotels.com/Expedia Card 9682                                                    25.58
                    Total ATM & Debit Card Withdrawals                                                                                              $     ,779.98
        *end*atm debit withdrawal


        *start*atm and debit card summary
     *end*atm debit withdrawal


     *start*atm and debit card summary




                                    ATM & DEBIT CARD SUMMARY
                              Brent Simpson Card 9682
                                                             Total ATM Withdrawals & Debits                                                             $0.00
                                                             Total Card Purchases                                                                  $20,779.98
                                                             Total Card Deposits & Credits                                                              $0.00


                                                                                                                                        Knapton 070
                                                                                                                                            Page 1 of 4             DFG052

*end*atm and debit card summary
                                                                                                                                                               63
                                               Case 24-42912         Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                          Desc
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                                                                                                                May 01, 2019 through May 31, 2019
                                                                                                            Account Number:



 *end*atm debit withdrawal


 *start*atm and debit card summary




            ATM & DEBIT CARD SUMMARY                                                  (continued)


                 ATM & Debit Card Totals
                                                          Total ATM Withdrawals & Debits                                                             $0.00
                                                          Total Card Purchases                                                                  $20,779.98
         *end*atm and debit card summary
                                                          Total Card Deposits & Credits                                                              $0.00

 *start*electronic withdrawal




         ELECTRONIC WITHDRAWALS

         05/01                             Tipit, Inc illing 1066576774        CCD ID: 9305953001                                               $13,215.00
         05/02                             ADP Payroll Fee Billing 106670959            CCD ID 9659605001                                            40.00
         05/07                             United Healthcare Billing 106630665          CCD ID: 2837428417                                        1,127.00
         05/07                             WP Engine Httpswpengine TX illing          1066287561 CCD ID 3627439912                                4,217.00
         05/08                             Ferg son raswell Fraser          asta PC illing 1067346383 CCD ID 8374756628                           7,727.00
         05/13                             ADP Payroll       illing 1066737483 CCD ID 9659605001                                                  4,217.00
         05/13                             MPD Vent res Billing 1066234745 CCD ID 3648112316                                                     26,750.00
         05/15                               iwitech Inc illing 1062735456 CCD ID 2637772551                                                      8,379.27
         05/16                             Online Domestic Wire Transfer Via Citi ank/107113746 A/C Crystalpm A stin TX                          28,630.00
         05/16                             Headstrong S nwear illing          1067364639 CCD ID 9274626772                                       11,400.00
         05/16                              rent Simpson           ickpay 1062347266                                                              4,988.11
         05/16                               ichard ardon           ickpay 1062846562                                                             2,593.76
         05/20                             Chris Fernande Billing 1062643553 CCD ID 2928576784                                                    4,000.00
         05/29                             Tipit, Inc illing 1064157557        CCD ID: 9305953001                                                 9,861.00
         05/30                             ADP Payroll Billing 1066898745            CCD ID: 9659605001                                           3,495.50

          Total Electronic Withdrawals                                                                                                      $    9,9 9. 4

*start*daily ending balance3




            DAILY ENDING BALANCE

            05/01                                                                    $535,759.35
            05/02                                                                     535,719.35
            05/07                                                                     511,951.80
            05/08                                                                     504,224.80
            05/13                                                                     473,229.30
            05/15                                                                     464,850.03
            05/16                                                                     417,238.16
            05/20                                                                     413,238.16
            05/29                                                                     401,770.73
*end*daily ending balance3




            05/30                                                                     398,275.23
*end*daily ending balance3




  *start*service charge summary2




                 SERVICE CHARGE SUMMARY
  *start*service charge summary2 part1




              Monthly Service Fee                                                                   $0.00
              Other Service Charges                                                                 $0.00
              Total Service Charges
  *end*service charge summary2
                                                                                                    $0.00


                                                                                                                                   Knapton 071
                                                                                                                                       Page 2 of 4           DFG053
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                                                                                                                     May 01, 2019 through May 31, 2019
                                                                                                                 Account Number:


*start*dre portrait disclosure message area




                  IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                  address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                  incorrect or if you need more information about a transfer listed on the statement or receipt.
                  For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                  appeared. Be prepared to give us the following information:
                                 Your name and account number
                                 The dollar amount of the suspected error




                                                                                                                                                                                    10171910202000000062
                                 A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                  We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                  accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                  us to complete our investigation.
                  IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                  incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                  you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                  Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                  JPMorgan Chase Bank, N.A. Member FDIC

                                                                                                                       JPMorgan Chase Bank, N.A. Member FDIC
*end*dre portrait disclosure message area




                                                                                                                                           Knapton 072
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                                                                                                   66
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                                    JPMorgan Chase Bank, N.A.
                                    P O Box 182051                                                         Account Number:
                                    Columbus, OH 43218- 2051



                                                                                                         Web site:                www.Chase.com
                                                                                                         Service Center:           1-877-425-8100
                                                                                                         Deaf and Hard of Hearing: 1-800-242-7383
                                    CLICK VISION GROUP LLC                                               Para Espanol:             1-888-622-4273
                                    14241 DALLAS PKWY STE 650                                            International Calls:      1-713-262-1679
                                    DALLAS TX 75254-2953




                                                                                                                                                                        00172510201000000022
          *start*summary




                                                                      Chase Platinum Business Checking
                         CHECKING SUMMARY
                       Beginning Balance                                                         $398, 75. 3
                       ATM & Debit Card Withdrawals                              6                 -13,173.02
                       Electronic Withdrawals                                   14               -118,289.33
                       Ending Balance                                                            $    ,8 .88


          *end*summary



   *start*post summary message1




           Your Chase Platinum Business Checking account provides:
               No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
               500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
               $25,000 in cash deposits per statement cycle
               Unlimited return deposited items with no fee

           There are additional fee waivers and benefits associated with your account – please refer to your Deposit Account
           Agreement for more information.
   *end*post summary message1




   *start*checks paid section3




             ATM & DEBIT CARD WITHDRAWALS

             06/05                      ec rring Card P rchase 06/04 MSFT * Dynamics365 800-642-7676 WA Card 9682                                   $955.36
             06/05                      ec rring Card P rchase 06/04 MSFT * Office 800-642-7676 WA Card 9682                                          477.68
             06/05                      ec rring Card P rchase 06/03 Wework 855-593-9675 NY Card 9682                                               2,874.00
             06/07
  *end*atm debit withdrawal
                                        ec rring Card P rchase 06/06 Sendgrid 800-736-0098 WA Card 9682                                               750.00
             06/10                     Card P rchase       06/09 American Air00172717338 Fort Worth TX Card 9682                                    4,788.43
             06/10                     Card P rchase       06/09 Hotels.com/Expedia Card 9682                                                       3,327.55
             Total ATM & Debit Card Withdrawals                                                                                              $ 3, 73.
*end*atm debit withdrawal


*start*atm and debit card summary




                     ATM & DEBIT CARD SUMMARY
                       rent Simpson Card 9682
                                                      Total ATM Withdrawals & Debits                                                              $0.00
                                                      Total Card Purchases                                                                   $13,173.02
                                                      Total Card Deposits & Credits                                                               $0.00



                                                                                                                                 Knapton 074
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                                                                                                                                                          67
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                                                                                                                            Account Number:



            *end*atm debit withdrawal


            *start*atm and debit card summary




                       ATM & DEBIT CARD SUMMARY                                                  (continued)


                             ATM & Debit Card Totals
                                                                     Total ATM Withdrawals & Debits                                                                 $0.00
                                                                     Total Card Purchases                                                                      $13,173.02
                    *end*atm and debit card summary
                                                                     Total Card Deposits & Credits                                                                  $0.00

           *start*electronic withdrawal




                   ELECTRONIC WITHDRAWALS

                   06/04                              ADP Payroll Fee illing 1093947576         CCD ID 9659605001                                                  40.00
                   06/06                              United Healthcare illing 1092248348        CCD ID 2837428417                                              1,127.00
                   06/06                              WP Engine Httpswpengine TX illing       1076287561 CCD ID 3627439912                                      4,819.00
                   06/07                              Peter Monica illing 1073743991 CCD ID 2837463822                                                         22,530.00
                   06/10                              MPD Vent res illing 1091574445 CCD ID 3648112316                                                         26,350.00
                   06/10                              Ferg son raswell Fraser       asta PC illing 1077346354 CCD ID 8374756628                                 8,111.00
                   06/13                              ADP Payroll    illing 1076737483 CCD ID 9659605001                                                        3,495.50
                   06/14                               iwitech Inc illing 1073745456 CCD ID 2637772551                                                          4,641.88
                   06/17                              Online Domestic Wire Transfer Via Citi ank/107113746 A/C Crystalpm A stin TX                             25,472.00
                   06/17                              Headstrong S nwear illing      1077366239 CCD ID 9274626772                                                 12,400
                   06/17                               rent Simpson        ickpay 1092347266                                                                    3,722.35
                   06/17                               ichard ardon         ickpay 1092846253                                                                   2,047.10
                   06/18                              ADP Payroll Fee illing 1076703467         CCD ID 9659605001                                                  39.00
                   06/27                              ADP Payroll    illing 1073589001 CCD ID 9659605001                                                        3,494.50
                       Total Electronic Withdrawals                                                                                                         $118,289.33
           *end*electronic withdrawal


        *start*daily ending balance2




                  DAILY ENDING BALANCE

       06/04                                                     $398,235.23          06/13                    318,629.71
       06/05                                                      393,928.19          06/14                    313,654.83
       06/06                                                      387,982.19          06/17                    270,346.38
       06/07                                                      364,702.19          06/18                    270,307.38
       06/10
  *end*daily ending balance2
                                                                  322,125.21          06/27                    266,812.88

*start*service charge summary2




              SERVICE CHARGE SUMMARY
*start*service charge summary2 part1




            Monthly Service Fee                                                                            $0.00
            Other Service Charges                                                                          $0.00
            Total Service Charges
*end*service charge summary2
                                                                                                           $0.00




                                                                                                                                                   Knapton 075
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*start*dre
   *start*atm
           portrait
              and debit
                    disclosure
                          card summary
                               message area




                  IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                  address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                  incorrect or if you need more information about a transfer listed on the statement or receipt.
                  For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                  appeared. Be prepared to give us the following information:
                                 Your name and account number
                                 The dollar amount of the suspected error




                                                                                                                                                                                    10172510202000000062
                                 A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                  We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                  accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                  us to complete our investigation.
                  IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                  incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                  you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                  Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                  JPMorgan Chase Bank, N.A. Member FDIC

                                                                                                                       JPMorgan Chase Bank, N.A. Member FDIC
*end*dre portrait disclosure message area




                                                                                                                                           Knapton 076
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                                                                                                                                                                 69
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                                       JPMorgan Chase Bank, N.A.
                                       P O Box 182051                                                        Account Number:
                                       Columbus, OH 43218- 2051



                                                                                                           Web site:                www.Chase.com
                                                                                                           Service Center:           1-877-425-8100
                                                                                                           Deaf and Hard of Hearing: 1-800-242-7383
                                       CLICK VISION GROUP LLC                                              Para Espanol:             1-888-622-4273
                                       14241 DALLAS PKWY STE 650                                           International Calls:      1-713-262-1679
                                       DALLAS TX 75254-2953




                                                                                                                                                                         00173880201000000022
          *start*summary




                                                                        Chase Platinum Business Checking
                         CHECKING SUMMARY
                       Beginning Balance                                                            2   ,812.88
                       ATM & Debit Card Withdrawals                                 8               -29,041.90
                       Electronic Withdrawals                                      15              -114,440.23
                       Ending Balance                                              23               123,33 .


          *end*summary



   *start*post summary message1




           Your Chase Platinum Business Checking account provides:
               No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
               500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
               $25,000 in cash deposits per statement cycle
               Unlimited return deposited items with no fee

           There are additional fee waivers and benefits associated with your account – please refer to your Deposit Account
           Agreement for more information.
   *end*post summary message1




   *start*checks paid section3




            ATM & DEBIT CARD WITHDRAWALS

              07/05                        ec rring Card P rchase 07/03 Wework 855-593-9675 NY Card 9682                                           $2,874.00
              07/07                        ec rring Card P rchase 07/06 Sendgrid 800-736-0098 WA Card 9682                                            480.00
              07/08                       Recurring Card Purchase 07/07 MSFT * Office 800-642-7676 WA Card 9682                                       593.69
              07/08                        ec rring Card P rchase 07/07 MSFT * Dynamics365 800-642-7676 WA Card 9682                                1,652.71
              07/11                       Card P rchase       07/10 Pentavision US 310-637-8765 Card 9682                                          11,751.00
              07/15                       Card Purchase       07/14 American Air00172717338 Fort Worth TX Card 9682                                 3,580.18
              07/17                       Card P rchase       07/16 American Air00172717338 Fort Worth TX Card 9682                                 3,934.34
              07/22                       Card P rchase       07/21 American Air00172717338 Fort Worth TX Card 9682                                 4,175.98
               Total ATM & Debit Card Withdrawals                                                                                                 $ 9,   1.9
   *end*atm debit withdrawal


   *start*atm and debit card summary
*end*atm debit withdrawal


*start*atm and debit card summary




                       ATM & DEBIT CARD SUMMARY
                         rent Simpson Card 9682
                                                         Total ATM Withdrawals & Debits                                                               $0.00
                                                         Total Card Purchases                                                                    $29,041.90
                                                         Total Card Deposits & Credits                                                                $0.00
                                                                                                                                     Knapton 077
                                                                                                                                          Page 1 of 4           DFG059
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                                                                                                                         Account Number:



      *end*atm debit withdrawal


      *start*atm and debit card summary




                 ATM & DEBIT CARD SUMMARY                                                    (continued)


                       ATM & Debit Card Totals
                                                                 Total ATM Withdrawals & Debits                                                                  $0.00
                                                                 Total Card Purchases                                                                       $29,041.90
              *end*atm and debit card summary
                                                                 Total Card Deposits & Credits                                                                   $0.00

     *start*electronic withdrawal




             ELECTRONIC WITHDRAWALS

             07/02                                ADP Payroll Fee illing 1073947576            CCD ID 9659605001                                                38.00
             07/06                                United Healthcare illing 1073748348           CCD ID 2837428417                                            1,127.00
             07/06                                WP Engine Httpswpengine TX illing         1076287561 CCD ID 3627439912                                     5,301.00
             07/07                                Peter Monica illing 1073743991 CCD ID 2837463822                                                          28,500.00
             07/10                                Ferg son raswell Fraser          asta PC illing 1077346354 CCD ID 8374756628                               9,023.00
             07/11                                ADP Payroll       illing 1076737483 CCD ID 9659605001                                                      3,493.50
             07/12                                Tipit, Inc illing 1066576774 CCD ID 9305953001                                                            10,798.00
             07/14                                 iwitech Inc illing 1073745456 CCD ID 2637772551                                                           5,152.00
             07/16                                ADP Payroll Fee illing 1076703467            CCD ID 9659605001                                                37.00
             07/17                                Online Domestic Wire Transfer Via Citi ank/107113746 A/C Crystalpm A stin TX                              26,491.00
             07/17                                Headstrong S nwear illing         1077366239 CCD ID 9274626772                                            16,120.00
             07/17                                 rent Simpson           ickpay 1072347266                                                                  2,464.71
             07/17                                 ichard ardon            ickpay 1072846253                                                                 2,366.52
             07/25                                ADP Payroll       illing 1073589001 CCD ID 9659605001                                                      3,492.50
             07/30                                ADP Payroll Fee illing 1076703467            CCD ID 9659605001                                                36.00
               Total Electronic Withdrawals                                                                                                              $114,440.23
   *end*electronic withdrawal


*start*daily ending balance2




                    DAILY ENDING BALANCE

         07/02                                                $266,774.88          07/10                    217,223.48            07/16                      182,411.80
         07/05                                                 263,900.88          07/11                    201,978.98            07/17                      178,477.46
         07/06                                                 257,472.88          07/12                    191,180.98            07/22                      126,859.25
         07/07                                                 228,492.88          07/14                    186,028.98            07/25                      123,366.75
         07/08                                                 226,246.48          07/15                    182,448.80            07/30                      123,330.75
   *end*daily ending balance2




   *start*service charge summary2




                  SERVICE CHARGE SUMMARY
   *start*service charge summary2 part1




                Monthly Service Fee                                                                        $0.00
                Other Service Charges                                                                      $0.00
                Total Service Charges
   *end*service charge summary2
                                                                                                           $0.00
    *start*dre portrait disclosure message area




                                                                                                                                                Knapton 078
                                                                                                                                                    Page 2 of 4           DFG060
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                                                                                                                Account Number:




                 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                 address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                 incorrect or if you need more information about a transfer listed on the statement or receipt.
                 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                 appeared. Be prepared to give us the following information:
                                Your name and account number
                                The dollar amount of the suspected error
                                A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.




                                                                                                                                                                                   10173880202000000062
                 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                 us to complete our investigation.
                 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                 incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                 you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                 Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                 JPMorgan Chase Bank, N.A. Member FDIC

                                                                                                                      JPMorgan Chase Bank, N.A. Member FDIC
*end*dre portrait disclosure message area




                                                                                                                                          Knapton 079
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                                          JPMorgan Chase Bank, N.A.
                                          P O Box 182051                                                         Account Number:
                                          Columbus, OH 43218- 2051



                                                                                                               Web site:                www.Chase.com
                                                                                                               Service Center:           1-877-425-8100
                                                                                                               Deaf and Hard of Hearing: 1-800-242-7383
                                          CLICK VISION GROUP LLC                                               Para Espanol:             1-888-622-4273
                                          14241 DALLAS PKWY STE 650                                            International Calls:      1-713-262-1679
                                          DALLAS TX 75254-2953




                                                                                                                                                                              00175520201000000022
       *start*summary




                                                                            Chase Platinum Business Checking
                     CHECKING SUMMARY
                   Beg nn ng Ba ance                                                                    12 ,     0.75
                   Deposits and Additions                                              1                700,000.00
                   ATM & Debit Card Withdrawals                                        8                -37,619.32
                   Electronic Withdrawals                                            14                -129,840.98
       *end*summaryEn ng Ba ance                                                     2                   55,870.45
*start*post summary message1




        Your Chase Platinum Business Checking account provides:
      *end*summary




            No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
            500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
            $25,000 in cash deposits per statement cycle
            Unlimited return deposited items with no fee

        There are additional fee waivers and benefits associated with your account – please refer to your Deposit Account
        Agreement for more information.
*end*post summary message1




 *start*atm debit withdrawal




           DEPOSITS AND ADDITIONS

            08 15                               Account Transfer From Chk    6813 Transaction : 2638475888                                        $700,000.00
               To a De os s an A                               ons                                                                                  700,000.00


               ATM                              DEBIT CARD             ITHDRA ALS

                 08 04                        ec rring Card P rchase 08/03 Wework 855-593-9675 NY Card 9682                                           $2,874.00
                 08 06                       Card Purchase       08 05 Hotels.com Expedia Card 9682                                                   12,734.77
                 08 06                       Recurring Card Purchase 08 05 Sendgrid 800-736-0098 WA Card 9682                                            601.00
                 08 08                        ec rring Card P rchase 08/07 MSFT * Dynamics365 800-642-7676 WA Card 9682                                1,587.71
                 08 08                       Recurring Card Purchase 08 07 MSFT Office 800-642-7676 WA Card 9682                                         542.43
                 08 13                       Card Purchase       08 12 Pentavision US 310-637-8765 Card 9682                                          10,711.00
                 08 20                       Card P rchase       08/19 American Air00172717338 Fort Worth TX Card 9682                                 4,454.08
                 08 25                       Card P rchase       08/24 American Air00172717338 Fort Worth TX Card 9682                                 4,114.33
                  To a ATM                        Deb Car        h rawa s                                                                                 7, 1 . 2
      *end*atm debit withdrawal


      *start*atm and debit card summary




                                                                                                                                        Knapton 081
                                                                                                                                            Page 1 of 4              DFG063
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                                                                                                                    Account Number:



                                         ATM & DEBIT CARD SUMMARY
                            Brent Simpson Card 9682
                                                                    Total ATM Withdrawals & Debits                                                                $0.00
                                                                    Total Card Purchases                                                                     $37,619.32
                                                                    Total Card Deposits & Credits                                                                 $0.00
                            ATM & Debit Card Totals
                                                                    Total ATM Withdrawals & Debits                                                                $0.00
                                                                    Total Card Purchases                                                                     $37,619.32
                   *end*atm and debit card summary
                                                                    Total Card Deposits & Credits                                                                 $0.00

                     *start*electronic withdrawal




                             ELECTRONIC WITHDRAWALS

                             08 05                   United Healthcare illing 1073748348        CCD ID 2837428417                                              1,127.00
                             08 05                   WP Engine Httpswpengine TX illing        1076287561 CCD ID 3627439912                                     5,831.00
                             08 06                   Peter Monica illing 1073743991 CCD ID 2837463822                                                         32,260.00
                             08 08                   ADP Payroll Billing 1076737483 CCD ID: 9659605001                                                         3,491.50
                             08 09                   Ferguson Braswell Fraser Kubasta PC Billing 1077346354 CCD ID: 8374756628                                11,641.00
                             08 13                   ADP Payroll Fee Billing 1076703467         CCD ID: 9659605001                                                35.00
                             08 13                    iwitech Inc illing 1073745456 CCD ID 2637772551                                                          5,719.00
                             08 16                   Online Domestic Wire Transfer Via: Citibank 107113746 A C: Crystalpm Austin TX                           27,551.00
                             08 16                   Headstrong Sunwear Billing        1077366239 CCD ID: 9274626772                                          20,956.00
                             08 16                   Brent Simpson Quickpay 1072347266                                                                         2,798.75
                             08 16                   Richard Bardon Quickpay 1072846253                                                                         2,461.23
                             08 19                   Tipit, Inc Billing 1066576774 CCD ID: 9305953001                                                          12,445.00
                             08 22                   ADP Payroll        illing 1091589001 CCD ID 9659605001                                                     3,490.50
                             08 27                   ADP Payroll Fee illing 1093703467          CCD ID 9659605001                                                  34.00
                               Total Electronic Withdrawals                                                                                                  $129,840.98
                  *end*electronic withdrawal


               *start*daily ending balance2




                  DAILY ENDING BALANCE

       08 04                                                   $120,456.75           08/13                   34,175.34           08 22                        660,018.78
       08 05                                                     113,498.75          08 15                  734,175.34           08 25                        655,904.45
       08 06                                                      67,902.98          08 16                  680,408.36           08 27                        655,870.45
       08 08                                                      62,281.34          08 19                  667,963.36
       08 09
  *end*daily ending balance2
                                                                  50,640.34          08 20                  663,509.28

*start*service charge summary2




              SERVICE CHARGE SUMMARY
*start*service charge summary2 part1




            Monthly Service Fee                                                                           $0.00
            Other Service Charges                                                                         $0.00
            Total Service Charges
*end*service charge summary2
                                                                                                          $0.00
*start*dre portrait disclosure message area




                                                                                                                                           Knapton 082
                                                                                                                                               Page 2 of 4                 DFG064
                                                                                                                                                                  75
                                              Case 24-42912   Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                                          Desc
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                                                                                                                  August 01, 2019 through August 30, 2019
                                                                                                                 Account Number:


*start*dre portrait disclosure message area




                  IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                  address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                  incorrect or if you need more information about a transfer listed on the statement or receipt.
                  For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                  appeared. Be prepared to give us the following information:
                                 Your name and account number
                                 The dollar amount of the suspected error




                                                                                                                                                                                    10175520202000000062
                                 A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                  We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                  accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                  us to complete our investigation.
                  IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statement is
                  incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                  you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                  Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                  JPMorgan Chase Bank, N.A. Member FDIC

                                                                                                                       JPMorgan Chase Bank, N.A. Member FDIC
*end*dre portrait disclosure message area




                                                                                                                                           Knapton 083
                                                                                                                                                Page 3 of 4                DFG065
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                                                          Account Number:




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                                                                                Knapton 084
                                                                                    Page 4 of 4
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                                             JPMorgan Chase Bank, N.A.                                               Account Number:
                                             P O Box 182051
                                             Columbus, OH 43218- 2051



                                                                                                                   Web site:                www.Chase.com
                                                                                                                   Service Center:           1-877-425-8100
                                                                                                                   Deaf and Hard of Hearing: 1-800-242-7383
                                             CLICK VISION GROUP LLC                                                Para Espanol:             1-888-622-4273
                                             14241 DALLAS PKWY STE 650                                             International Calls:      1-713-262-1679
                                             DALLAS TX 75254-2953




                                                                                                                                                                             00165820201000000022
        *start*after address message area1




        Goo news     e re mak ng                                           eas er o ge a re acemen acco n n mber                       o r acco n s
        com rom se .
        Starting November 17, 2019, if your account is compromised, we can simply issue you a replacement account number
        without the hassle of closing your existing account and opening a new one. This will allow you to continue using your existing
        debit card.

        We ve updated our Deposit Account Agreement to explain this change:

                                              We can assign and transfer your account information and documentation to a replacement account number at our
                                              discretion. We may make this assignment when your account is reported compromised by you or any signer. If we
                                              issue you a replacement account number, this Deposit Account Agreement governing you and your account will
                                              continue to apply, without interruption, as if you retained the discontinued account number.

        Please call us at the number at the top of this statement if you have any uestions.
        *end*after address message area1




      *start*summary




                                                                                Chase Platinum Business Checking
                     CHECKING SUMMARY

                 Beg nn ng Ba ance                                                                                ,8 .
                 ATM & Debit Card Withdrawals                                              5                   -17,775.17
                 Electronic Withdrawals                                                   14                 -141,499.30
                 En ng Ba ance                                                            19                   9 , 9 .98
      *end*summary



*start*post summary message1




        Your Chase Platinum Business Checking account provides:
            No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
            500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
            $25,000 in cash deposits per statement cycle
            Unlimited return deposited items with no fee

        There are additional fee waivers and benefits associated with your account – please refer to your Deposit Account
        Agreement for more information.
*end*post summary message1




                                                                                                                                           Knapton 085
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                                                                                                                                                               78
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                                                                                                                September 1, 2019 through September 30, 2019
                                                                                                                Account Number:




         ATM & DEBIT CARD WITHDRAWALS

           09 03                                 Recurring Card Purchase 09 02 Wework 855-593-9675 NY Card 9682                                          $2,874.00
           09/05                                 Recurring Card Purchase 09 04 Sendgrid 800-736-0098 WA Card 9682                                           672.00
           09/09                                 Recurring Card Purchase 09/08 MSFT Dynamics365 800-642-7676 WA Card 9682                                 1,615.51
           09/09
*end*atm debit withdrawal
                                                 Recurring Card Purchase 09/08 MSFT Office 800-642-7676 WA Card 9682                                        576.66
           09 10                                 Card Purchase      09/09 Pentavision US 310-637-8765 Card 9682                                          12,037.00
           Total ATM & Debit Card Withdrawals                                                                                                           $1 ,    .1
      *end*atm debit withdrawal


      *start*atm and debit card summary




                            ATM                     DEBIT CARD SUMMARY
              Brent Simpson Card 9682
                                                                Total ATM Withdrawals & Debits                                                               $0.00
                                                                Total Card Purchases                                                                    $17,775.17
                                                                Total Card Deposits & Credits                                                                $0.00
              ATM & Debit Card Totals
                                                                Total ATM Withdrawals & Debits                                                               $0.00
                                                                Total Card Purchases                                                                    $17,775.17
      *end*atm and debit card summary
                                                                Total Card Deposits & Credits                                                                $0.00


                  *start*electronic withdrawal




                            ELECTRONIC WITHDRAWALS

                            09 04                 United Healthcare illing 1083748348         CCD ID 2837428417                                            1,127.00
                            09/04                 WP Engine Httpswpengine TX illing        1086287561 CCD ID 3627439912                                    6,414.00
                            09/05                 ADP Payroll       illing 1083589001 CCD ID 9659605001                                                    3,489.50
                            09 05                 Peter Monica Billing 1083743991 CCD ID: 2837463822                                                      32,260.00
                            09 08                 Ferg son raswell Fraser        asta PC illing 1087346354 CCD ID 5381063721                              13,886.00
                            09 10                 ADP Payroll Fee illing 1086703467          CCD ID 9659605001                                                33.00
                            09 12                  iwitech Inc illing 1083745456 CCD ID 8208226230                                                         6,348.00
                            09 12                 Tipit, Inc illing 1086576774 CCD ID 9305953001                                                          12,068.00
                            09 15                 Online Domestic Wire Transfer Via: Citibank 107113746 A C: Crystalpm Austin TX                          28,653.00
                            09 15                 Headstrong Sunwear Billing       1087366239 CCD ID: 9274626772                                          27,243.00
                            09 15                 Brent Simpson Quickpay 1082347266                                                                        3,613.98
                            09 15                 Richard Bardon Quickpay 1082846253                                                                       2,843.32
                            09 19                 ADP Payroll       illing 1083589001 CCD ID 9659605001                                                    3,488.50
                            09 24                 ADP Payroll Fee Billing 1086703467         CCD ID: 9659605001                                               32.00
           *start*daily ending balance2




                            Total Electronic Withdrawals                                                                                                $1 1, 99.3
               *end*electronic withdrawal




                       DAILY ENDING BALANCE

                      09/03                                                                 $652,996.45
                      09/04                                                                  645,455.45
                      09/05                                                                  609,033.95
                      09/08                                                                  595,147.95
                      09/09                                                                  592,922.78
                      09/10                                                                  580,885.78
                      09/12                                                                  562,469.78
                                                                                                                                      Knapton 086
                                                                                                                                          Page 2 of 4                DFG068
                                                                                                                                                               79
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                                                                                                                                              Account Number:




                                                           DAILY ENDING BALANCE                                    (continued)


                                                                  09/15                                                     $500,116.48
                                                                  09/19                                                      496,627.98
                                                                  09/24                                                      496,595.98




                                                                                                                                                                                                      10165820202000000062
                                            *start*service charge summary2




                                                          SERVICE CHARGE SUMMARY
                                            *start*service charge summary2 part1




                                                        Monthly Service Fee                                                           $0.00
                                                        Other Service Charges                                                         $0.00
                                                        Total Service Charges
                                            *end*service charge summary2
                                                                                                                                      $0.00
                                            *start*dre portrait disclosure message area




                 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                 address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
                 incorrect or if you need more information about a transfer listed on the statement or receipt.
                 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                 appeared. Be prepared to give us the following information:
                                Your name and account number
                                The dollar amount of the suspected error
                                A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                 us to complete our investigation.
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                 incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any such error appears,
                 you must notify the bank in writing no later than 30 days after the statement was made available to you. For more complete details, see the
                 Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                 JPMorgan Chase Bank, N.A. Member FDIC

                                                                                                                                                    JPMorgan Chase Bank, N.A. Member FDIC
*end*dre portrait disclosure message area




                                                                                                                                                                    Knapton 087
                                                                                                                                                                        Page 3 of 4          DFG069
                                                                                                                                                                                        80
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                                   JPMorgan Chase Bank, N.A.
                                   P O Box 182051                                                           Account Number:
                                   Columbus, OH 43218- 2051



                                                                                                          Web site:                www.Chase.com
                                                                                                          Service Center:           1-877-425-8100
                                                                                                          Deaf and Hard of Hearing: 1-800-242-7383
                                   CLICK VISION GROUP LLC                                                 Para Espanol:             1-888-622-4273
                                   5215 N O CONNOR BLVD FL 11                                             International Calls:      1-713-262-1679
                                   IRVING TX 75039-3713




                                                                                                                                                                            00178810201000000022
       *start*summary




                                                                       Chase Platinum Business Checking
                      CHECKING SUMMARY
                    Beginning Balance                                                              $496,595.98
                    ATM & Debit Card Withdrawals                                                    - 4 4
                    Electronic Withdrawals                                                         -         4
                    Ending Balance                                               23                $280,566.40



       *end*summary



*start*post summary message1




        Your Chase Platinum Business Checking account provides:
            No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
            500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
            $25,000 in cash deposits per statement cycle
            Unlimited return deposited items with no fee

        There are additional fee waivers and benefits associated with your account – please refer to your Deposit Account
        Agreement for more information.
*end*post summary message1




*start*checks paid section3




          ATM & DEBIT CARD WITHDRAWALS

                                                                                                                                                 $            4
                                                                                                                                                          4
                                                                   4
*end*atm debit withdrawal




                               /                                                               4                                                      4
                               /                                                        4                                                                     4
                                                                                                                                                     4
           Total ATM & Debit Card Withdrawals                                                                                                 $25,4       .46



               ATM & DEBIT CARD SUMMARY
                                            Card
                                                     Total ATM Withdrawals & Debits                                                                   $0.00
                                                     Total Card Purchases                                                                    $       4 4
                                                     Total Card Deposits & Credits                                                                    $0.00
                                                                                                                                   Knapton 089
                                                                                                                                       Page 1 of 4                 DFG071
                                                                                                                                                              82
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                                                                                                                        Account Number:



     *end*atm debit withdrawal


     *start*atm and debit card summary




                 ATM & DEBIT CARD SUMMARY                                                (continued)


                      ATM & Debit Card Totals
                                                           Total ATM Withdrawals & Debits                                                                         $0.00
                                                           Total Card Purchases                                                                            $     4 4
             *end*atm and debit card summary
                                                           Total Card Deposits & Credits                                                                          $0.00

    *start*electronic withdrawal




            ELECTRONIC WITHDRAWALS

                                                                         4                                                                                       4
                                                4                            4       4                  4       4
                                                4                                                                   4
                                                                    4                     4
                                                                                 4
                                                                                                   4        4
                                                                       4     4 4                   4            4                                          3
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                                                                                                            4                                                    4
                                                                             4                                                                                   4   4
                                                                                 4                                                                                   4
                                                                    4
                                                                                 4
                                                                                                                                                                 4
*start*daily ending balance2




                Total Electronic Withdrawals                                                                                                            $ 90,596.48
   *end*electronic withdrawal




                    DAILY ENDING BALANCE

                    10/0                                                                 $4
                    10/04                                                                 4
                    10/0                                                                  44
                    10/0                                                                  44
                    10/                                                                   4        44
                    10/1                                                                  4
                    10/1
                    10/
       *end*daily ending balance3




                    10/                                                                                 4
                    10/
        *end*daily ending balance3
                                                                                               4        4
                    10/                                                                        4        4
                    10/                                                                                 4

 *start*service charge summary2




                SERVICE CHARGE SUMMARY
 *start*service charge summary2 part1




              Monthly Service Fee                                                                       $0.00
              Other Service Charges                                                                     $0.00
              Total Service Charges                                                                     $0.00
                                                                                                                                               Knapton 090
 *end*service charge summary2




  *start*dre portrait disclosure message area




                                                                                                                                                   Page 2 of 4            DFG072
                                                                                                                                                                     83
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                                                                                                                 Account Number:




                 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
                 address on the front of this statement (non-personal accounts contact Customer Service) immediately if you think your statement or receipt is
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                 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                 appeared. Be prepared to give us the following information:
                                Your name and account number
                                The dollar amount of the suspected error




                                                                                                                                                                                   10178810202000000062
                                A description of the error or transfer you are unsure of, why you believe it is an error, or why you need more information.
                 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                 us to complete our investigation.
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                 Account Rules and Regulations or other applicable account agreement that governs your account. Deposit products and services are offered by
                 JPMorgan Chase Bank, N.A. Member FDIC

                                                                                                                      JPMorgan Chase Bank, N.A. Member FDIC
*end*dre portrait disclosure message area




                                                                                                                                           Knapton 091
                                                                                                                                                Page 3 of 4               DFG073
                                                                                                                                                                  84
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                                                          Account Number:




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                                                                                                     85
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                                                                                                                                                eb te                                             www.Chase.com
                                                                                                                                               Ser e e ter                                         1-877-425-8100
                                                                                                                                                e       r                     e r
                                                S                                                                                                r    p
                                                                                                                                                ter t




       *start*summary




                                                                                             e    t           m           e       e
                      CHECKING SUMMARY
                    Beginning Balance                                                                                                 $
                    Deposits and Additions
                             eb t   r    t r
                     e tr         t r      Ending                                                     5                           1,001,932.89
                    Balance                                                                           2                               $246,537.61


       *end*summary



*start*post summary message1




                                r        e       t       m         e     e           t pr e
                                    tr          t        ee      r    m te e e tr    ep t                                                          re         e        ep                     t
                                         eb t                  e e tr      ep t t    em e                             e       r               br         e   per t teme t                         e
                                                             ep t per t teme t       e
                                    m te ret r               ep te tem       t    ee

                               ere re            t    ee      er                be e t            te              t       r           t       pe       e re er t          r   ep          t               t
                               reeme t         r m re    rm t
*end*post summary message1




*start*checks paid section3




           DEPOSITS AND ADDITIONS

                                                     e r          er r m                     r            t
                                                     m            re r     er                                                     t                r             er
               To a De os s an A                                    ons                                                                                                                                   1,040,490.00



          ATM & DEBIT CARD WITHDRAWALS

                                          e     rr           r      r     e          e       r                                        r
                                          e     rr           r      r     e         Se       r                                            r
                                          e     rr           r      r     e          S                m                                                      r
*end*atm debit withdrawal
                                          e     rr           r      r     e          S                e                                            r
                                           r         r       e                   te      m       pe
                                           r         r        e                 r e      t       m
                                           r         r        e                 e t              S                                r
           Total ATM & Debit Card Withdrawals                                                                                                                                                                 $
                                                                                                                                                                                      Knapton 093
                                                                                                                                                                                                      e                   DFG075
                                                                                                                                                                                                                     86
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                                                                                                                                        t   mber




                      ATM & DEBIT CARD SUMMARY
                        re t S mp                             r
                                                                        t             t r            eb t
                                                                        t    r        r   e
                                                                        t    r       ep t         re t

                                              eb t        r         t
                                                                        t             t r            eb t
                                                                        t    r        r   e
       *end*atm and debit card summary
                                                                        t    r       ep t         re t

    *start*electronic withdrawal




            ELECTRONIC WITHDRAWALS

                                                 te           e t   re
            11/03                                              e ttp pe          e
            11/03                              eter
            11/03                                             r       ee                                                                                         80.00
            11/03                              er                  r    e r er       b    t
            11/14                                     e            me t                       e
            11/14                                     e           me t    re r       er                     e   re e   er   e
                                                              r
             1/28                                  e    me t    re r     er       tb                     r t pm     t
             1/28                              e     tr  S    e r
            11/28                             Online Domestic Wire Transfer Via PMC A/C Eyecare eaders acksonville F                                          50,000.00
             1/28                             ADP Payroll CCD ID 9659605001                                                                                   14,990.43
             1/28                             Online Payment 3902928374 To Dr David Moore                                                                    110,000.00
             1/28                             Online Domestic Wire Transfer Via PMC Internal Acco nts Processing Mark Travis                                 320,245.00
             1 28                             Online Domestic Wire Transfer Via Citi ank N.A./02107364747 /O     Ainsworth Family P                          320,245.00
*start*daily ending balance2




               Total Electronic Withdrawals                                                                                                             $1,001,932.89
   *end*electronic withdrawal




*start*dre portrait disclosure message area                                                                                                          Knapton 094
                                                                                                                                                        e                  DFG076
                                                                                                                                                                      87
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                                                                                                                                   ember          t r            0
                                                                                                                                           t   mber


                                            *start*service charge summary2




                                                          SERVICE CHARGE SUMMARY
                                            *start*service charge summary2 part1




                                                            t   Ser e ee
                                                         t er Ser e      r e
                                                        Total Service Charges
                                            *end*service charge summary2
                                                                                                                         $0.00



                      IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                    t               r r te     tt e
                            re      t e r t t      t teme t        per              t       t t     t mer Ser e mme te           t     r t teme t r re e pt
                            rre t r        ee m re      rm t      b t tr      er te          t e t teme t r re e pt
                         r per              t        em t e r r m                ter t                ter e e t     t e   S t teme t         t e pr b em r err r
                       ppe re        e prep re t     e    t e              rm t
                                          r me              t mber
                                        e     r m     t t e      pe te err r
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                                                                                                                                   JPMorgan Chase Bank, N.A. Member FDIC




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DFG079




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                                 EXHIBIT B3

                Wire Transfer Documentation for $100,000 Loan
                               on May 31, 2019




                                                                Knapton 098
                                                                                 DFG080
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                                                           Knapton 099
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                                                           Knapton 100
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                                 EXHIBIT B4

                 Wire Transfer Documentation for $25,000 Loan
                            on September 17, 2019




                                                                Knapton 101
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                                  EXHIBIT B5

                Bank Statement Analysis: Azlo Bank Account *6318
                          January 2019 - December 2019




                                                                   Knapton 103
                                                                                    DFG085
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                                            KURT KNAPTON - CLICK VISION GROUP, LLC                                                                Exhibit B5
                                            Bank Account Activity Analysis
                                            AZLO Bank Account *6318; January 2019 - December 2019




                                                                                                                                                                Knapton 104
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Desc




                                                      Date                                   Description                         Amount           Type
Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02




                                                     4/2/2019    ONLINE TRANSFER TO CHK …7310 TRANSACTION#: 8021846326   04/02   (700,000.00)   ACCT_XFER
                                                    8/15/2019    ONLINE TRANSFER TO CHK …7310 TRANSACTION#: 8021846326   04/02   (700,000.00)   ACCT_XFER
                                                    11/26/2019   ONLINE TRANSFER TO CHK …7310 TRANSACTION#: 8021846326   04/02   (500,000.00)   ACCT_XFER
                                                    12/28/2019   ONLINE TRANSFER TO CHK …7310 TRANSACTION#: 8021846326   04/02   (500,000.00)   ACCT_XFER
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                                  EXHIBIT B6

                Bank Statement Extracts: Azlo Bank Account *6318
                          January 2019 - December 2019




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                                 EXHIBIT C1

                   NTAN Presentation: “Capitalization” Slide




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                                   EXHIBIT C2

     December 5, 2019 Email from Gibson to Simpson RE Bulkley Capital Issues




                                                                    Knapton 113
                                                                                        DFG095
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AT&T Yahoo Mail - Recap of 12/4 Discussion Points                                                 Desc   12/28/20, 9)13 AM
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     Recap of 12/4 Discussion Points

     From: Dave Gibson (davegibsongfr@gmail.com)
     To:      brent@clickoptical.com; krodk@sbcglobal.net

     Cc:      bbulkley@bulkleycapital.com; soochie52@gmail.com; marty.ccrg@gmail.com
     Date: Thursday, December 5, 2019, 10:15 PM CST



     Gents,



     Thank you both for your notes today and for hearing my thoughts yesterday.



     Memorializing the discussion points:



           1. Our QofE wasn’t effective. My QofE analysis requires a comparison of TTM bank
              statements to books/financials for the same period.
                 a. Spot checking the data we believed was supplied by the bank suggested it wasn’t
                    directly downloaded from the bank.
                 b. Brent confirmed that it was assembled by Janie and was not directly from the bank,
                    which makes the QofE ineffective.
                 c. A detailed discussion of Click’s AP process last night identified that three transactions for
                    $10,000 each (to Bulkley Capital) in May, June and July were actually one check written
                    in October, then split and backdated, which would be atypical for a cash accounting
                    business that captures the expense (on the books) in the month the payment was made.
                      This practice suggests that a deeper analysis of the financials would be necessary for a
                    QofE.

           2. I delayed closing. I pulled back on 11/14 because I hadn’t received a complete TTM data
              set, which was representative of previous requests for data; but also because the above
              payments were to Bulkley Capital, which are the only transactions(s) with which I have direct
              awareness.
                 a. I knew that Bulkley was engaged in June, suggesting that the May payment couldn’t
                    have occurred when both the books and the bank statements indicate. This concern
                    cast doubt on both data sets.
                 b. In conversation with Brad on the 19th, I asked him if he had received those payments.
                    He indicated a) he had not received any payment from Click and b) that Brent was aware
                    that he was sharing that information with me, and c) Click had issued a check to Bulkley
                    sometime prior, but that the check had not arrived.
                 c. Brent was given wire information sometime prior to the 19th so payment could be made
                    via wire.
                 d. I was not able to verify how/when the missing payment had been made because the data
                    set I believed to be from the bank ended on 6/17, and the financials did not indicate a

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AT&T Yahoo Mail - Recap of 12/4 Discussion Points                                                 Desc   12/28/20, 9)13 AM
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                      recent payment to Bulkley.


         3. Inconsistencies in Bulkley transactions. Brent and I spoke on 11/20 about the delay of
            payments to Bulkley. He explained that there had been a misunderstanding of the contract
            between Bulkley and Click.
               a. Brent mentioned that he initially believed the invoices indicated $0 due, which was
                  consistent with his then (June-July-Aug) understanding of the contract.
               b. Brent’s belief was that the monthly retainer would be captured during closing, but that the
                  misunderstanding resulted in his issuance of a payment for $30K in November. Brent
                  mentioned that it was a Chase-Pay check, which means that Chase was provided the
                  payables detail and they issued the check. Brent was aware it had not been received,
                  requested a stop payment, and the funds had been redeposited in his account. ( Note:
                  last night I mentioned to Brent that the latest bank statement file I had did not indicate the
                  funds had been redeposited. He mentioned that he believed the funds had been
                  returned when we spoke, but they had not. His discussion with Chase indicates a 3
                  week turnaround time. )
               c. I suggested there was a high urgency in resolving the situation with Bulkley.


         4. Unresolved Bulkley transactions. I reached out to Brad on 12/3; he mentioned that he not
            received a payment, but that Brent told him Richard was on his way over with a physical
            check. Late on 12/4, I reached out to Brad and he indicated he didn’t receive the payment.
               a. Brad mentioned on 12/4 that a check for $20K had been delivered to his office.
               b. Note: last night Brent explained that Richard’s wife was sick on 12/3 and Richard didn’t
                  understand the urgency. He also explained that the $20K did not replace the $30K
                  payment, but was additional to satisfy the complete $50K owed to date. He mentioned
                  that he would issue another check for $30K once the original $30K was returned to his
                  account from Chase.


         5. Request for cooperation on J&J and MCT agreements. In conversation between Marty,
            Brent and me on 10/29, I told Brent I needed my attorney to review the agreement(s) that
            would purchase equity owned by J&J and MCT and satisfy all commitments because any
            claims that J&J or MCT would have against Click, or any legacy risk of claims, would involve
            me post our transaction. Given that their equity acquisition was integral to my acquisition of
            equity, I believed this to be a fair request.
               a. Although Brent was clear that he believes my concerns were discussed with his counsel
                  and captured in the agreements, I was not given the opportunity to review prior to the
                  submittal of those agreements to J&J and MCT.


     Summary:



         1. Concerns identified in due diligence aren’t actually about Bulkley, this happened to be the only
            transaction I knew about, and the only point I chose to push deeper. The transactions we
            knew to be errant identified some accounting entries that we perceive as unusual and create

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AT&T Yahoo Mail - Recap of 12/4 Discussion Points                                                 Desc   12/28/20, 9)13 AM
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               doubt about our data sets.

         2. Disconnects in the payment process suggest a lack of cohesion and oversight in Click’s
            financial processes. Brent shared yesterday that he had delegated much of the financial
            processes to Janie. He didn’t have direct access to the books, nor did he access the Chase
            account to provide the requested data. Janie prepared the data he provided to me.
            Incidentally, Janie has been terminated and at least some financial processes are being
            handled by a CPA firm presently.


         3. Misunderstandings of the terms in the contract with Bulkley, or not resolving a perceived
            inconsistency; and submitting the J&J and MCT agreements without my counsel’s review
            (counter to my request) create concern to my mind, especially in consideration of a minority
            position post transaction.

         4. Abby and Marty are both aware of some of these details, but not all. I need to align their
            schedules so all three of us can discuss this in detail and proceed with a clear and focused
            path. I intend to do this and report back to both of you presently.

         5. Whether we choose to proceed, or Click chooses to proceed with another investor, I believe
            the data sets must be made complete and prepared such that they can withstand scrutiny, and
            the misunderstandings surrounding the Bulkley contract need be resolved. Should we opt to
            proceed, we would need a full understanding of what led to the misunderstandings in the
            contract and the delay is satisfying Click’s responsibilities in the contract.


     Respectfully,

     Dave Gibson

     davegibsongfr@gmail.com

     214-558-8941 (call or text)

     (gmt-6)




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                                EXHIBIT C3

                 May 22, 2020 Email from Simpson to Henn RE
                           “May 2020 Data Release”




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                                                                             DFG099
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AT&T Yahoo Mail - Re: Requested Items and Status                                                 Desc 12/28/20, 6)49 AM
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     Re: Requested Items and Status

     From: Brent Simpson (brent@clickoptical.com)
     To:       dhenn@mdholdings.com

     Cc:       sean@clickoptical.com
     Date: Friday, May 22, 2020, 5:25 PM CDT



     I see the link is being restrictive. The updated Sharepoint link is: https://clickoptical-
     my.sharepoint.com/:f:/p/brent/EgpusVCfGntNuwKB2weyvmcBovECzPQwMn2vSjSSTC7dcw?e=wANdAS

     Thank you for your understanding.

     Brent


        On May 22, 2020, at 5:02 PM, Brent Simpson <brent@clickoptical.com> wrote:

        Dan,
        I hope you are planning a relaxing Memorial Day Weekend and appreciate your patience as
        we’ve been navigating the challenges of the last several weeks. In hopes of getting much of the
        information we discussed last week, I am providing much of the information and am working
        with appropriate parties to get any remaining requests as quickly as possible.

        As a reminder or history of our accounting, we have remained focused on growth; but realized
        one of our greatest risks was on Accounts Payable and Financial Reporting. We had been
        processing all items internally. To keep moving at scale, I opted to first tackle securing Accounts
        Payable while seeking an internal Controller. In December 2019, I terminated our internal
        bookkeeper and replaced her with Bill Thompson PC, a small local firm that could process
        payments to vendors and ECPs. I opted for them to not tackle financial reporting since we knew
        we would be bringing that in house. In January 2020, we were required to diversify retail
        accounts due to us having higher monthly transactions, but still keeping no chargebacks. This
        triggered routine audits that could freeze a merchant-associated account for 2-3 weeks. All of
        that is a long way of stating we are working through Financial Reporting and look forward to
        having a dedicated resource.

              1. Financial Statements (2016 through YTD) – As we’ve discussed, it’s reported a cash basis
                 and does not necessarily reflect account balances. In light of COVID, I am thankful we
                 took a conservative approach and did not utilize the float of Retail accounts. After
                 promotional discounts to patients, we had Gross Revenue of $812K, very respectable for
                 such a treacherous month.
              2. I have lined up business managers at two of our practices. They said they are available to
                 talk at your convenience. If wanting information about the practice before or after your
                 conversation, I am glad to discuss. Both are ready to talk whenever you would like.
                    a. Mathew Sanders at Tacoma Eye Care – 253-330-8226
                    b. Chad Reynolds at Vision People – 516-882-2675
              3. The following items are available

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AT&T Yahoo Mail - Re: Requested Items and Status                                                 Desc 12/28/20, 6)49 AM
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                 at https://clickoptical.sharepoint.com/:f:/s/AccountingandFinance/Eojf3UmT4U9JvwBBcw5
                 _9hIBHb7XJ_FHLji0gAdmpWpQQg?e=lrdgZH
                     a. An export from our Quickbooks, providing the GL for all accounts from 1/1/2017 to
                         9/30/2019. All transactions from October on are with Bill Thompson PC and they
                         are having an issue exporting, but working on it over the holiday weekend.
                     b. To complement the bank statements previously provided from Azlo/BBVA, I have
                         provided an Excel version providing all transactions through 12/31/2019. I am
                         going through 2020 reports since that is when we started rotating bank accounts.
                     c. Operational Bank Statements for 2019.
              4. The response rate report from MPD came back incorrect and it is being re-run, per edits. I
                 anticipate it being complete by Monday.

        Again, I very much appreciate your patience, diligence and insight you bring and look forward to
        connecting to answer any questions as they arise.

        Brent


        Brent Simpson
        President
        Click Vision Group LLC
        Brent@clickoptical.com | O: 972-807-3195 | M: 214-532-2130 | www.clickoptical.com




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                                    EXHIBIT C4

                Emails from Knapton and Ketterick to Tom Howell, CPA




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AT&T Yahoo Mail - Fw: Thank you and schedule check                                                                                   Desc       1/19/21, 12'39 PM
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     Fw: Thank you and schedule check

     From: KURT KNAPTON (krodk@sbcglobal.net)
     To:      sean.ketterick@gmail.com

     Date: Tuesday, May 26, 2020, 3:14 PM CDT


     Sean-

     FYI, this e-mail message has not been returned yet. Sent it on Friday just after 6pm.

     Kurt


       ----- Forwarded Message -----
       From: KURT KNAPTON <krodk@sbcglobal.net>
       To: howelltom1971@gmail.com <howelltom1971@gmail.com>
       Cc: Brent Simpson <brent@clickoptical.com>
       Sent: Friday, May 22, 2020, 6:11:16 PM CDT
       Subject: Thank you and schedule check

       Tom-

       I'm a strategic advisor and investor in Click Optical (a.k.a Click Vision Group). Brent Simpson is copied.

       Just wanted to reach out to you and personally say thank you for your support of Click Optical in regards to bookkeeping and accounting services
       since the beginning of the year. In particular, I understand that you also helped Brent with some data extracts today (and will continue to provide
       support early next week as needed) for some important due diligence requests that have hit. I really appreciate that because the timeliness of the
       due diligence requests are strategic to the business.

       Brent gave me your e-mail address because I had asked to meet you, either on Zoom, or in person now that COVID restrictions are starting to lift a
       bit. I live in Arlington, so Grapevine isn't to far to travel for a coﬀee, etc.

       It would work best for the three of us to meet together. I'm pretty open next week if there are some days and times that could work on you side.

       Best Regards,

       Kurt

       Kurt Knapton
       817.307.2898
       RealmResources.net




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AT&T Yahoo Mail - Re: Confirming Click Accounting Call with investor Dan Henn                     Desc   1/19/21, 12'39 PM
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     Re: Confirming Click Accounting Call with investor Dan Henn

     From: Sean Ketterick (sean@clickoptical.com)
     To:      tomhowell1971@gmail.com

     Cc:      brent@clickoptical.com
     Date: Tuesday, June 9, 2020, 11:38 AM CDT



     Tom,

     Wanted to follow-up again from last Thursday; could you provide specific times this week you're
     available to meet with our investors for cash reconciliation?

     Best, Sean

     Seán D. Ketterick | COO
     972-807-3179
     www.GetClickOptical.com



       From: Sean Ketterick <sean@clickoptical.com>
       Sent: Monday, June 8, 2020 3:59 PM
       To: tomhowell1971@gmail.com <tomhowell1971@gmail.com>
       Cc: Brent Simpson <brent@clickoptical.com>
       Subject: Re: Confirming Click Accounting Call with investor Dan Henn

       Tom,

       Could you provide a few specific windows of time for this cash reconciliation meeting so we can
       schedule it this week with our potential investor, Dan Henn?

       Thanks, Sean

       Seán D. Ketterick | COO
       972-807-3179
       www.GetClickOptical.com



       From: Sean Ketterick
       Sent: Thursday, June 4, 2020 10:58 AM
       To: tomhowell1971@gmail.com <tomhowell1971@gmail.com>
       Cc: Brent Simpson <brent@clickoptical.com>
       Subject: Confirming Click Accounting Call with investor Dan Henn

       Tom,

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AT&T Yahoo Mail - Re: Confirming Click Accounting Call with investor Dan Henn                     Desc   1/19/21, 12'39 PM
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       Really important for Brent and me, could you confirm a specific hour between 2-5pm Today that
       you're available for a Zoom video call with Brent, myself, and our potential investor, Dan Henn for
       wrapping up cash reconciliation?

       **I have Brent CC'd on the e-mail as he's busy with some other stuff at the moment so I'm
       reaching out to help close the loop.

       Dan's just trying to figure out how to reduce the variance when he's reconciling cash. Brent and I
       suspect that the cash left in the Azlo accounts accounts for a lot of the variance since it's really a
       short-term accounts payable to the distributors.

       Again, just need a specific hour you're good between 2-5pm today.

       Thanks, Sean

       Seán D. Ketterick | COO
       972-807-3179
       www.GetClickOptical.com




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                                 EXHIBIT C5

                December 2020 Strategic Planning Meeting Slide
                   That References William Atkinson Assoc.




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                                 EXHIBIT C6

                  Chart Reflecting Active Customer Practices




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                             Active Accounts
400
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350

300

250

200

150

100

50

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                               EXHIBIT C7

                        Chart Reflecting Order Data




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                         Series1    Series2    Series3    Series4    Series5    Series6
                         Series7    Series8    Series9    Series10   Series11   Series12
                         Series13   Series14   Series15   Series16   Series17   Series18
                         Series19
                         Series25
                                    Series20
                                    Series26
                                               Series21   Series22   Series23   Series24
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                                    EXHIBIT C8

                Analysis of Customer Contact Lens Click-Through and
                                Direct Response Data




                                                                      Knapton 130
                                                                                    DFG112
                                                                              123
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Analysis of Customer Contact Lens Click-Through and Direct Response Data (provided by Brent
Simpson during Dan Henn investment due diligence data request)

Data provided to Dan Henn, Kurt Knapton, and Reid Walker

Analysis done by Dan Henn, Sean Ketterick and Kurt Knapton




                                                                          Knapton 131
                                                                                              DFG113
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                                EXHIBIT D1

                    Original Notice of Records Inspection




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                                                                             DFG115
                                                                       126
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Steve Dawson CPA, CFE                                                           P.O. Box 54462                                                                    Jeff D. Smith CFE
steve@dawsonforensics.com                                                    Lubbock, Texas 79453                                                         jeff@dawsonforensics.com
                                                                                (806) 368-5779
              ____________________________________________________________________________________________________________________________________________________________




                                                                            December 14, 2020




Via Email to Brent Simpson at brent@clickoptical.com
and Via Federal Express to:

Brent Simpson, CEO
Click Vision Group, LLC
14555 Dallas Parkway, Suite 100-272
Dallas, Texas 75254

                                                                                     RE: Records Inspection / Audit


As you are aware, Kurt Knapton has engaged our firm to perform an inspection of the records of Click Vision Group, LLC
(the “Company”) in accordance with Section 9.2.B of the Company Agreement. This inspection will include the time period
from December 20, 2016 to December 9, 2020.

Our inspection will include an analysis of the Company’s “Accounting Records”. To remove any doubt as to what we define
as “Accounting Records”, the following information is provided:

Definition:
Accounting Records represent the accounting of all financial transactions of an organization, which includes the ultimate
financial reporting, along with the underlying documentation that supports those transactions.

Levels:

The Levels of accounting records are presented below beginning with the highest “level”:

Financial Statements (Balance Sheet, Income Statement, Statement of Cash Flows)

    •     This represents the highest level of Accounting Records in that the financial statements represent the final results
          of the accounting process. Financial statement line-items include the grouping of Accounts, and their respective
          account balances, in a manner that presents Assets, Liabilities, Equities, Revenues, Expenses, and Net Income for
          a time period.

Trial Balance

    •     A Trial Balance provides a listing of each individual Account and its balance. The trial balance thus is a breakdown
          of the accounts that are presented in a grouped format on the Financial Statements.


________________________________________________________________________________________________________________________
The Institute for Business Internal Control Design                                                DawsonForensicGroup.com                      Knapton 134
                                                                                                                                                                              DFG116
                                                                                                                                                                        127
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Brent Simpson, CEO                 Appendix (Exhibits A - M) Page 135 of 318
Click Vision Group, LLC
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General Ledger

    •   The General Ledger provides the detail of each Transaction included within each Account. Accordingly, the General
        Ledger provides the minutiae necessary to determine “how” transactions are recorded and presented.

The above three “records” are typically contained in the digital file of the accounting software used by an organization.

Underlying Documentation

    •   The Financial Statements, Trial Balances, and General Ledgers provide the financial information in a format that
        addresses the question of “what is”, and how the “what is” was derived (“what is” the financial position and results
        of operations of the organization, and how was it derived?).

        The Underlying Documentation provides the information necessary to determine that the “what is” is “what it should
        be” (e.g., is supported and is properly classified).

        Underlying Documentation is represented by any valid source document that supports a specific transaction. For
        revenues this can be billing records, billing statements, and the like. For expenses, this is typically inclusive of
        invoices for disbursements, purchase orders, and the like.

Bank Statements

    •   The Bank Statement is considered to be a third-party document that provides information into what actually went
        through the financial processes of the organization (deposits and disbursements). The Bank Statement provides
        information that typically assists in converting financial statement information from an accrual basis to a cash basis.
        A comparison of bank statement information with general ledger recorded information reveals discrepancies in
        recording, if any exist.

Tax Returns

    •   Tax returns provide information as to how the financial results were reported for various tax purposes (state and
        federal income tax, sales and use tax, etc.). Tax returns are utilized to determine completeness and propriety of
        reporting the results of operations.

This engagement can be performed via an on-site visit at the location where these records are maintained, and/or through
the exchange of documentation utilizing electronic data / file sharing methods.

Please contact Steve Dawson CPA, CFE of the Dawson Forensic Group by phone at 806-368-5779 or by email to
steve@dawsonforensics.com to coordinate the process of information exchange. We thank you in advance for your
immediate attention to this matter.


                                                           Respectfully submitted,




                                                           Steve Dawson CPA, CFE
                                                           Dawson Forensic Group

________________________________________________________________________________________________________________________
The Institute for Business Internal Control Design                                               Knapton 135
                                                                                                  DawsonForensicGroup.com
                                                                                                                         DFG117
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                               EXHIBIT D2

                         Affidavit of Kurt Knapton




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                                                                             DFG118
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STATE OF TEXAS §

____________ COUNTY §




                                    AFFIDAVIT OF KURT KNAPTON


         BEFORE ME, the undersigned notary, on this day personally appeared Kurt Knapton attesting to
the following:

       “My name is Kurt Knapton, an accredited investor in Click Vision Group, LLC. I am over the age of
18 and am of sound mind and capable of making this affidavit. The facts stated in this affidavit are within
my personal knowledge and are true and correct.

     I have reviewed the contents of the Forensic Analysis / Investigation - Initial Issuance Report dated
January 22, 2021 issued by the Dawson Forensic Group to which this affidavit is attached. Regarding the
contents of the Report, I attest to the following:

     •    All statements in the Executive Summary that are attributed to me represent a true and accurate
          representation of statements made by me to the investigation team of the Dawson Forensic
          Group.

     Further affiant sayeth not”.

                                                 _______________________________________
                                                 Kurt Knapton


         SWORN TO and subscribed before me by Kurt Knapton on this _______ day of ________ 2021.


                                                 _______________________________________
                                                 Notary Public in and for the State of Texas
                                                 My commission expires: _________________




                                                                                      Knapton 137
                                                                                                              DFG119
                                                                                                      130
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                           EXHIBIT E




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                                                               $1,851,232.00   $1,851,232.00.   539




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    Documenting all transactions for Personal Benefit of Brent Simpson

    - By Category


Source: Bank Statements:

    Click Vision Group LLC - Chase Operating Bank Account                             7310
    CLICK VISION GROUP LLC OPERATING – PNC BANK Account                             5004
    CLICK VISION GROUP LLC – BBVA Account                      5346
        later converted to
    BRENT SIMPSON – PNC BANK Account                       1801
    CLICK VISION GROUP LLC – AZLO BUSINESS CHECKING Account                            7990
    ACUITY ADVISORS LLC – AZLO BUSINESS CHECKING Account                            9316
    CLICK VISION GROUP LLC RETAIL – AZLO Account                        6318 (not located)



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                      EXHIBIT F


  Authentic Bank Statements obtained by subpoena:
      Click Vision Group LLC
      Chase Operating Bank Account              7310
      - May 1, 2019 through November 29, 2019


  Compared to…

  Fraudulent, Falsified and Doctored statements:
      Click Vision Group LLC
      Operating Bank Account                7310
      - May 1, 2019 through November 29, 2019




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                                                     1065                                      U.S. Return of Partnership Income                                                                                     OMB No. 1545-0123

                                                                                                                                                                                                                      2017
Form                                                                     For calendar year 2017, or tax year beginning                              , 2017, ending                    , 20             .
Department of the Treasury                                                         a Go to www.irs.gov/Form1065 for instructions and the latest information.
Internal Revenue Service
A Principal business activity                                                       Name of partnership                                                                                                        D Employer identification number

       Computer / IT related services                                               Click Vision Group LLC                                                                                                                    2893
B Principal product or service                                            Type      Number, street, and room or suite no. If a P.O. box, see the instructions.                                                 E Date business started

       Healthcare Data Services                                            or       14241 Dallas Parkway, Suite 650                                                                                            12/20/2016
C Business code number                                                    Print     City or town, state or province, country, and ZIP or foreign postal code                                                   F Total assets (see the
                                                                                                                                                                                                                 instructions)

       518210                                                                       Dallas                                                                       TX           75254                              $     122,884.

    G                                                Check applicable boxes:   (1)     Initial return (2)   Final return (3)       Name change (4)      Address change (5)                                                    Amended return
                                                                               (6)    Technical termination - also check (1) or (2)
     H                                               Check accounting method: (1)     Cash            (2)   Accrual      (3)       Other (specify) a
        I                                            Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year a                                                                                 4
        J                                            Check if Schedules C and M-3 are attached           .   .    .   .   .   .   .     .   .   .    .   .   .     .    .     .   .   .   .   .    .       .     .    .   .     .    .   .

Caution. Include only trade or business income and expenses on lines 1a through 22 below. See the instructions for more information.

                                                       1a   Gross receipts or sales . . . . . . . . . . . . .                   1a    1,723,573.
                                                        b   Returns and allowances . . . . . . . . . . . .                     1b
                                                        c   Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . .                                                            1c              1,723,573.
                                                       2    Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . .                                                                2              1,547,521.
                                                       3    Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . .                                                           3                176,052.
                                                       4    Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) . .                                             4
 Income




                                                       5    Net farm profit (loss) (attach Schedule F (Form 1040)) . . . . . . . . . . . .                                                         5
                                                       6    Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . .                                                    6
                                                       7    Other income (loss) (attach statement) . . . . . . . . . . . . . . . . .                                                               7
                                                       8    Total income (loss). Combine lines 3 through 7 . . . . . . . . . . . . . .                                                             8                   176,052.
                                                       9    Salaries and wages (other than to partners) (less employment credits) . . . . . . .                                                    9                   169,651.
 Deductions (see the instructions for limitations)




                                                      10    Guaranteed payments to partners . . . . . . . . . . . . . . . . . . .                                                                 10
                                                      11    Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . .                                                                   11
                                                      12    Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       12
                                                      13    Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                        13                       6,600.
                                                      14    Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . .                                                                    14                      13,870.
                                                      15    Interest . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      15
                                                      16a   Depreciation (if required, attach Form 4562) . . . . . .           16a
                                                        b   Less depreciation reported on Form 1125-A and elsewhere on return 16b                                                                 16c
                                                      17    Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . .                                                             17
                                                      18    Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . .                                                                   18
                                                      19    Employee benefit programs . . . . . . . . . . . . . . . . . . . . .                                                                    19                  18,402.
                                                      20    Other deductions (attach statement) See  . . Stmt
                                                                                                           . . . . . . . . . . . . . . . .                                                         20                 440,467.
                                                      21    Total deductions. Add the amounts shown in the far right column for lines 9 through 20 .                                               21                 648,990.
                                                      22    Ordinary business income (loss). Subtract line 21 from line 8 . . . . . . . . .                                                        22                -472,938.
                                                               Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my
                                                               knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all
Sign                                                           information of which preparer has any knowledge.
                                                                                                                                                                                                       May the IRS discuss this return with the
Here                                                                                                                                                                                                   preparer shown below (see
                                                                F




                                                                                                                                                             F




                                                                                                                                                                       03/13/2018                      instructions)?    Yes             No
                                                                    Signature of partner or limited liability company member                                           Date
                                                               Print/Type preparer’s name                        Preparer’s signature                                         Date                                            PTIN
Paid                                                                                                                                                                                              Check       if
                                                                                                                                                                                                  self-employed
Preparer
                                                               Firm’s name                                                                                                                        Firm’s EIN a
Use Only
                                                                               a

                                                               Firm’s address a                                                                                                                   Phone no.
For Paperwork Reduction Act Notice, see separate instructions.                                                                                               BAA                                                          Form 1065 (2017)




                                                                                                                          REV 09/11/18 TTBIZ

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Form 1065 (2017)                                                                                                                                         Page 2
 Schedule B           Other Information
  1     What type of entity is filing this return? Check the applicable box:                                                                         Yes     No
    a       Domestic general partnership                    b      Domestic limited partnership
    c       Domestic limited liability company              d      Domestic limited liability partnership
    e       Foreign partnership                             f      Other a
  2     At any time during the tax year, was any partner in the partnership a disregarded entity, a partnership (including
        an entity treated as a partnership), a trust, an S corporation, an estate (other than an estate of a deceased partner),
        or a nominee or similar person? . . . . . . . . . . . . . . . . . . . . . . . . . . .
  3     At the end of the tax year:
    a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
        exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
        loss, or capital of the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule
        B-1, Information on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . .
    b Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
      the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule B-1, Information
      on Partners Owning 50% or More of the Partnership         . . . . . . . . . . . . . . . . . . . .
  4     At the end of the tax year, did the partnership:
    a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
        stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see
        instructions. If “Yes,” complete (i) through (iv) below . . . . . . . . . . . . . . . . . . . . .
                         (i) Name of Corporation                             (ii) Employer Identification       (iii) Country of         (iv) Percentage
                                                                                    Number (if any)              Incorporation         Owned in Voting Stock




    b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
      or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
      interest of a trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . .
                                                                      (ii) Employer                                                           (v) Maximum
                                                                      Identification
                                                                                                (iii) Type of        (iv) Country of     Percentage Owned in
                         (i) Name of Entity
                                                                     Number (if any)                 Entity           Organization       Profit, Loss, or Capital




                                                                                                                                                     Yes     No
  5     Did the partnership file Form 8893, Election of Partnership Level Tax Treatment, or an election statement under
        section 6231(a)(1)(B)(ii) for partnership-level tax treatment, that is in effect for this tax year? See Form 8893 for
        more details . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  6   Does the partnership satisfy all four of the following conditions?
    a The partnership’s total receipts for the tax year were less than $250,000.
    b The partnership’s total assets at the end of the tax year were less than $1 million.
    c Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
      extensions) for the partnership return.
   d The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . .
     If “Yes,” the partnership is not required to complete Schedules L, M-1, and M-2; Item F on page 1 of Form 1065;
     or Item L on Schedule K-1.
  7  Is this partnership a publicly traded partnership as defined in section 469(k)(2)? . . . . . . . . . . . .
  8  During the tax year, did the partnership have any debt that was cancelled, was forgiven, or had the terms
     modified so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . .
  9  Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
     information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . .
 10     At any time during calendar year 2017, did the partnership have an interest in or a signature or other authority over a financial
        account in a foreign country (such as a bank account, securities account, or other financial account)? See the instructions for
        exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts (FBAR). If “Yes,”
        enter the name of the foreign country. a

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 Schedule B              Other Information (continued)
                                                                                                                                            Yes   No
 11     At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
        transferor to, a foreign trust? If “Yes,” the partnership may have to file Form 3520, Annual Return To Report
        Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . . .
 12a  Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . .
      See instructions for details regarding a section 754 election.
    b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If “Yes,”
      attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . .
    c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a
        substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
        734(d))? If “Yes,” attach a statement showing the computation and allocation of the basis adjustment. See instructions
 13     Check this box if, during the current or prior tax year, the partnership distributed any property received in a
        like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
        owned by the partnership throughout the tax year) . . . . . . . . . . . . . . . . . . . a
 14     At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
        undivided interest in partnership property? . . . . . . . . . . . . . . . . . . . . . . . .
 15     If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
        Disregarded Entities, enter the number of Forms 8858 attached. See instructions a
 16     Does the partnership have any foreign partners? If “Yes,” enter the number of Forms 8805, Foreign Partner’s
        Information Statement of Section 1446 Withholding Tax, filed for this partnership. a
 17     Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
        to this return. a
 18a Did you make any payments in 2017 that would require you to file Form(s) 1099? See instructions . . . . .
    b If “Yes,” did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . .
 19   Enter the number of Form(s) 5471, Information Return of U.S. Persons With Respect To Certain Foreign
      Corporations, attached to this return. a
 20     Enter the number of partners that are foreign governments under section 892. a
 21     During the partnership’s tax year, did the partnership make any payments that would require it to file Form 1042
        and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . .
 22     Was the partnership a specified domestic entity required to file Form 8938 for the tax year (See the Instructions for
        Form 8938)? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
Designation of Tax Matters Partner (see instructions)
Enter below the general partner or member-manager designated as the tax matters partner (TMP) for the tax year of this return:

 Name of
              F




                                                                                                           F




 designated                                                                               Identifying
 TMP               Brent Simpson                                                          number of TMP                          410
 If the TMP is an
                         F




                                                                                                           F




 entity, name                                                                             Phone number
 of TMP representative                                                                    of TMP

 Address of
              F




 designated
 TMP                2901 Queen Mary Dr Flower Mound, TX 75022

                                                                                                                                       Form 1065 (2017)




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    Schedule K                              Partners’ Distributive Share Items                                                               Total amount
                                 1       Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . .                    1     -472,938.
                                 2       Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . .                  2
                                 3a      Other gross rental income (loss) . . . . . . . .                   3a
                                     b   Expenses from other rental activities (attach statement)           3b
                                     c   Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . .               3c
                                 4       Guaranteed payments        . . . . . . . . . . . . . . . . . . . . .                           4
         Income (Loss)




                                 5       Interest income . . . . . . . . . . . . . . . . . . . . . . . .                                5
                                 6       Dividends:      a Ordinary dividends . . . . . . . . . . . . . . . . .                        6a
                                                         b Qualified dividends       . . . . . .            6b
                                 7       Royalties . . . . . . . . . . . . . . . . . . . . . . . . . .                                  7
                                 8       Net short-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . .               8
                                 9a      Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . .               9a
                                     b   Collectibles (28%) gain (loss) . . . . . . . . .                   9b
                                     c   Unrecaptured section 1250 gain (attach statement) . .              9c
                                10       Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . .                     10
                                11       Other income (loss) (see instructions) Type a                                                 11
                                12       Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . .                        12
  Employ- Deductions




                                13a      Contributions . . . . . . . . . . . . . . . . . . . . . . . .                                13a
                                   b     Investment interest expense       . . . . . . . . . . . . . . . . . . .                      13b
                                   c     Section 59(e)(2) expenditures:      (1) Type a                              (2) Amount a 13c(2)
                                   d     Other deductions (see instructions) Type a                                                   13d
                                14a      Net earnings (loss) from self-employment . . . . . . . . . . . . . . .                       14a     -316,958.
                                   b     Gross farming or fishing income . . . . . . . . . . . . . . . . . .                          14b
  ment
  Self-




                                   c     Gross nonfarm income . . . . . . . . . . . . . . . . . . . . .                               14c       176,052.
                                15a      Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . .                     15a
                                   b     Low-income housing credit (other)       . . . . . . . . . . . . . . . . .                    15b
         Credits




                                   c     Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) 15c
                                   d     Other rental real estate credits (see instructions)    Type a                                15d
                                   e     Other rental credits (see instructions)                Type a                                15e
                                   f     Other credits (see instructions)                       Type a                                 15f
                                16a      Name of country or U.S. possession a
                                   b     Gross income from all sources . . . . . . . . . . . . . . . . . . .                          16b
         Foreign Transactions




                                   c     Gross income sourced at partner level . . . . . . . . . . . . . . . .                        16c
                                         Foreign gross income sourced at partnership level
                                     d   Passive category a                      e General category a                      f Other a   16f
                                         Deductions allocated and apportioned at partner level
                                     g   Interest expense a                              h Other . . . . . . . . . . a                16h
                                         Deductions allocated and apportioned at partnership level to foreign source income
                                  i      Passive category a                      j General category a                      k Other a 16k
                                  l      Total foreign taxes (check one):  a   Paid       Accrued             . . . . . . . .          16l
                                  m      Reduction in taxes available for credit (attach statement) . . . . . . . . . .               16m
                                  n      Other foreign tax information (attach statement) . . . . . . . . . . . . .
                                17a      Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . .                          17a
Other Information Minimum Tax
                  (AMT) Items




                                  b      Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . .                            17b
                  Alternative




                                  c      Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . .                       17c
                                  d      Oil, gas, and geothermal properties—gross income . . . . . . . . . . . .                     17d
                                  e      Oil, gas, and geothermal properties—deductions . . . . . . . . . . . . .                     17e
                                  f      Other AMT items (attach statement) . . . . . . . . . . . . . . . . .                          17f
                                18a      Tax-exempt interest income . . . . . . . . . . . . . . . . . . . .                           18a
                                  b      Other tax-exempt income . . . . . . . . . . . . . . . . . . . .                              18b
                                  c      Nondeductible expenses . . . . . . . . . . . . . . . . . . . . .                             18c
                                19a      Distributions of cash and marketable securities . . . . . . . . . . . . .                    19a
                                  b      Distributions of other property . . . . . . . . . . . . . . . . . . .                        19b
                                20a      Investment income . . . . . . . . . . . . . . . . . . . . . . .                              20a
                                  b      Investment expenses . . . . . . . . . . . . . . . . . . . . . .                              20b
                                  c      Other items and amounts (attach statement) . . . . . . . . . . . . . .
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Analysis of Net Income (Loss)
  1      Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
         Schedule K, lines 12 through 13d, and 16l . . . . . . . . . . . . . . . . . .                      1     -472,938.
  2      Analysis by                            (ii) Individual  (iii) Individual                     (v) Exempt         (vi)
                               (i) Corporate                                      (iv) Partnership
         partner type:                              (active)         (passive)                       Organization   Nominee/Other
      a General partners
      b Limited partners                     -316,958.                        -112,728.                                                                 -43,252.
 Schedule L            Balance Sheets per Books                             Beginning of tax year                                     End of tax year
                            Assets                                         (a)                 (b)                              (c)                     (d)
  1      Cash . . . . . . . . . . . . .                                                               45,822.                                           122,884.
  2a     Trade notes and accounts receivable . . .
    b    Less allowance for bad debts . . . . .
  3      Inventories . . . . . . . . . . .
  4      U.S. government obligations . . . . .
  5      Tax-exempt securities      . . . . . . .
  6      Other current assets (attach statement) . .
  7a     Loans to partners (or persons related to partners)
    b    Mortgage and real estate loans       . . . .
  8      Other investments (attach statement) . . .
  9a     Buildings and other depreciable assets . .
    b    Less accumulated depreciation . . . .
 10a     Depletable assets . . . . . . . . .
    b    Less accumulated depletion        . . . . .
 11      Land (net of any amortization) . . . . .
 12a     Intangible assets (amortizable only) . . .
    b    Less accumulated amortization        . . . .
 13      Other assets (attach statement) . . . .
 14      Total assets . . . . . . . . . . .                                                           45,822.                                           122,884.
                   Liabilities and Capital
 15      Accounts payable . . . . . . . . .
 16      Mortgages, notes, bonds payable in less than 1 year
 17      Other current liabilities (attach statement)         .
 18      All nonrecourse loans . . . . . . .                  .                                       50,000.                                           100,000.
 19a     Loans from partners (or persons related to partners)
    b    Mortgages, notes, bonds payable in 1 year or more
 20      Other liabilities (attach statement) .      .    .   .
 21      Partners’ capital accounts . . .            .    .   .              -4,178.                                                                     22,884.
 22      Total liabilities and capital . . .         .    .   .              45,822.                                                                    122,884.
 Schedule M-1             Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                        Note. The partnership may be required to file Schedule M-3 (see instructions).
  1      Net income (loss) per books . . . .        -472,938. 6 Income recorded on books this year not included
                                                                                         on Schedule K, lines 1 through 11 (itemize):
  2      Income included on Schedule K, lines 1, 2, 3c,
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on                                a   Tax-exempt interest $
         books this year (itemize):
  3      Guaranteed payments (other than                                         7       Deductions included on Schedule K, lines
         health insurance) . . . . . . .                                                 1 through 13d, and 16l, not charged
  4      Expenses recorded on books this year                                            against book income this year (itemize):
         not included on Schedule K, lines 1                                         a   Depreciation $
         through 13d, and 16l (itemize):
    a Depreciation $                                                             8       Add lines 6 and 7 . . . . . . . .
    b Travel and entertainment $                                                 9       Income (loss) (Analysis of Net Income
  5   Add lines 1 through 4 . . .     . . .       -472,938.                              (Loss), line 1). Subtract line 8 from line 5 .              -472,938.
 Schedule M-2           Analysis of Partners’ Capital Accounts
  1      Balance at beginning of year . . .          -4,178. 6                           Distributions: a Cash    . .            .    .   .   .
  2      Capital contributed: a Cash  . . .        500,000.                                             b Property .             .    .   .   .
                              b Property         .   .                           7       Other decreases (itemize):
  3      Net income (loss) per books . .         .   .            -472,938.
  4      Other increases (itemize):                                              8       Add lines 6 and 7 .        .   .   .    .    .   .   .
  5      Add lines 1 through 4 . . . .           .   .             22,884.       9                                              Knapton 18722,884.
                                                                                         Balance at end of year. Subtract line 8 from line 5
                                                                                                                                                  Form 1065 (2017)
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Form       1125-A                                                     Cost of Goods Sold
(Rev. October 2016)                                                                                                                                             OMB No. 1545-0123
                                                a Attach to Form 1120, 1120-C, 1120-F, 1120S, 1065, or 1065-B.
Department of the Treasury        a Information about Form 1125-A and its instructions is at www.irs.gov/form1125a.
Internal Revenue Service
Name                                                                                                                                                Employer identification number
Click Vision Group LLC                                                                                                                                          2893
   1       Inventory at beginning of year   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           1
   2       Purchases . . . . . .            .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           2                   1,547,521
   3       Cost of labor . . . . . . . . . . .                        .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           3
   4       Additional section 263A costs (attach schedule) .          .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . . .                  .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           5
   6       Total. Add lines 1 through 5 .   .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           6                   1,547,521
   7       Inventory at end of year . .     .    .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           7
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                              8                   1,547,521
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii) Lower of cost or market
           (iii) Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods   . . .                  .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .   .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                             .   .   .   .   .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                         .           Yes        No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                            Yes        No


Section references are to the Internal                          Under this accounting method, inventory                       ending on or after December 31, 2000, has
Revenue Code unless otherwise noted.                         costs for raw materials purchased for use                        average annual gross receipts of $10
                                                             in producing finished goods and                                  million or less for the 3 prior tax years, (b)
General Instructions                                         merchandise purchased for resale are                             whose principal business activity is not an
                                                             deductible in the year the finished goods or                     ineligible activity, and (c) whose business is
Purpose of Form                                              merchandise are sold (but not before the                         not a tax shelter (as defined in section 448
Use Form 1125-A to calculate and deduct                      year you paid for the raw materials or                           (d)(3)). See Rev. Proc. 2002-28, 2002-18
cost of goods sold for certain entities.                     merchandise, if you are also using the cash                      I.R.B. 815.
                                                             method).                                                         Uniform capitalization rules. The uniform
Who Must File
                                                                If you account for inventoriable items in                     capitalization rules of section 263A
Filers of Form 1120, 1120-C, 1120-F,
                                                             the same manner as materials and supplies                        generally require you to capitalize, or
1120S, 1065, or 1065-B, must complete
                                                             that are not incidental, you can currently                       include in inventory, certain costs incurred
and attach Form 1125-A if the applicable
                                                             deduct expenditures for direct labor and all                     in connection with the following.
entity reports a deduction for cost of goods
                                                             indirect costs that would otherwise be                           • The production of real property and
sold.
                                                             included in inventory costs. See the                             tangible personal property held in inventory
Inventories                                                  instructions for lines 2 and 7.                                  or held for sale in the ordinary course of
Generally, inventories are required at the                      For additional guidance on this method                        business.
beginning and end of each tax year if the                    of accounting, see Pub. 538, Accounting                          • Real property or personal property
production, purchase, or sale of                             Periods and Methods. For guidance on                             (tangible and intangible) acquired for resale.
merchandise is an income-producing                           adopting or changing to this method of
                                                                                                                              • The production of real property and
factor. See Regulations section 1.471-1. If                  accounting, see Form 3115, Application for
                                                                                                                              tangible personal property by a corporation
inventories are required, you generally                      Change in Accounting Method, and its
                                                                                                                              for use in its trade or business or in an
must use an accrual method of accounting                     instructions.
                                                                                                                              activity engaged in for profit.
for sales and purchases of inventory items.                     Qualifying taxpayer. A qualifying
                                                                                                                                 See the discussion on section 263A
Exception for certain taxpayers. If you                      taxpayer is a taxpayer that, (a) for each
                                                                                                                              uniform capitalization rules in the
are a qualifying taxpayer or a qualifying                    prior tax year ending after December 16,
                                                                                                                              instructions for your tax return before
small business taxpayer (defined below),                     1998, has average annual gross receipts of
                                                                                                                              completing Form 1125-A. Also see
you can adopt or change your accounting                      $1 million or less for the 3 prior tax years,
                                                                                                                              Regulations sections 1.263A-1 through
method to account for inventoriable items                    and (b) its business is not a tax shelter (as
                                                                                                                              1.263A-3. See Regulations section
in the same manner as materials and                          defined in section 448(d)(3)). See Rev.
                                                                                                                              1.263A-4 for rules for property produced in
supplies that are not incidental.                            Proc. 2001-10, 2001-2 I.R.B. 272.
                                                                                                                              a farming business.
                                                                Qualifying small business taxpayer. A
                                                             qualifying small business taxpayer is a
                                                             taxpayer that, (a) for each prior tax year




For Paperwork Reduction Act Notice, see instructions. BAA                                                                                   Knapton 188
                                                                                                                                                 1125-A
                                                                                                                               REV 11/13/17 TTBIZ Form  (Rev. 10-2016)



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                                                                                                                             Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                      2017                            Part III Partner’s Share of Current Year Income,
                                                                                                                          Deductions, Credits, and Other Items
Department of the Treasury                                                                                      1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                            For calendar year 2017, or tax year
                                                                                                                                                -316,958.
            beginning              /           /       2017         ending            /     /                   2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                          3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I      Information About the Partnership                                                             4            Guaranteed payments

 A      Partnership’s employer identification number
                    2893                                                                                        5            Interest income

 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                               6a              Ordinary dividends
        14241 Dallas Parkway, Suite 650
        Dallas, TX 75254                                                                                    6b               Qualified dividends


 C      IRS Center where partnership filed return                                                               7            Royalties
        Ogden, UT
 D           Check if this is a publicly traded partnership (PTP)                                               8            Net short-term capital gain (loss)


      Part II     Information About the Partner                                                              9a              Net long-term capital gain (loss)      17   Alternative minimum tax (AMT) items

 E      Partner’s identifying number
                         410                                                                                9b               Collectibles (28%) gain (loss)

 F      Partner’s name, address, city, state, and ZIP code
        Brent Simpson                                                                                        9c              Unrecaptured section 1250 gain
        2901 Queen Mary Dr
        Flower Mound, TX 75022                                                                               10              Net section 1231 gain (loss)           18   Tax-exempt income and
                                                                                                                                                                         nondeductible expenses

 G           General partner or LLC                                 Limited partner or other LLC             11              Other income (loss)
             member-manager                                         member

 H           Domestic partner                                       Foreign partner


 I1     What type of entity is this partner?                Individual
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                                                                       19   Distributions

 J      Partner’s share of profit, loss, and capital (see instructions):                                     12              Section 179 deduction
                         Beginning                                   Ending

        Profit                     100.00000 %                                     54.00000 %                13              Other deductions

        Loss                       100.00000 %                                     54.00000 %                                                                       20   Other information
        Capital                     70.00000 %                                     54.00000 %

 K      Partner’s share of liabilities at year end:
        Nonrecourse      .     .       .   .       .    .     $                           54,000.
        Qualified nonrecourse financing                 .     $                                              14              Self-employment earnings (loss)
        Recourse     .   .     .       .   .       .    .     $                                           A                                     -316,958.

 L      Partner’s capital account analysis:                                                               C                                       117,989.
        Beginning capital account .                .    .     $                           -4,178.            *See attached statement for additional information.
        Capital contributed during the year                   $
        Current year increase (decrease)                .     $                       -316,958.
        Withdrawals & distributions                .    .     $ (                                     )
                                                                                                          For IRS Use Only




        Ending capital account .           .       .    .     $                       -321,136.

             Tax basis                     GAAP                       Section 704(b) book
             Other (explain)


 M      Did the partner contribute property with a built-in gain or loss?
             Yes                    No
             If “Yes,” attach statement (see instructions)

                                                                                                                                                                    Knapton 189
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                             www.irs.gov/Form1065                       BAA                           Schedule K-1 (Form 1065) 2017
                                                                                                                                         REV 12/21/17 TTBIZ
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Schedule K-1 (Form 1065) 2017             Brent Simpson                                                                                2893                   Page 2

This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.




                                                                                                                             }
1. Ordinary business income (loss). Determine whether the income (loss) is               Code                                      Report on
   passive or nonpassive and enter on your return as follows.                             L Empowerment zone
                                              Report on                                       employment credit
     Passive loss                             See the Partner’s Instructions             M Credit for increasing research
     Passive income                           Schedule E, line 28, column (g)                 activities
                                                                                          N Credit for employer social             See the Partner’s Instructions
     Nonpassive loss                          See the Partner's Instructions
     Nonpassive income                        Schedule E, line 28, column (j)                 security and Medicare taxes
  2. Net rental real estate income (loss) See the Partner’s Instructions                 O Backup withholding
  3. Other net rental income (loss)                                                       P Other credits




                                                                                                                              }
     Net income                               Schedule E, line 28, column (g)        16. Foreign transactions
     Net loss                                 See the Partner’s Instructions             A Name of country or U.S.
  4. Guaranteed payments                      Schedule E, line 28, column (j)                possession
  5. Interest income                          Form 1040, line 8a                         B Gross income from all sources           Form 1116, Part I
 6a. Ordinary dividends                       Form 1040, line 9a                         C Gross income sourced at
 6b. Qualified dividends                      Form 1040, line 9b                             partner level
  7. Royalties                                Schedule E, line 4                         Foreign gross income sourced at partnership level

                                                                                                                              }
  8. Net short-term capital gain (loss)       Schedule D, line 5                         D Passive category
 9a. Net long-term capital gain (loss)        Schedule D, line 12                        E General category                        Form 1116, Part I
 9b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4            F Other
                                              (Schedule D instructions)                  Deductions allocated and apportioned at partner level
 9c. Unrecaptured section 1250 gain           See the Partner’s Instructions             G Interest expense                        Form 1116, Part I
10. Net section 1231 gain (loss)              See the Partner’s Instructions             H Other                                   Form 1116, Part I
11. Other income (loss)                                                                  Deductions allocated and apportioned at partnership level to foreign source
     Code                                                                                income


                                                                                                                              }
     A Other portfolio income (loss)          See the Partner’s Instructions             I Passive category
     B Involuntary conversions                See the Partner’s Instructions             J General category                        Form 1116, Part I
     C Sec. 1256 contracts & straddles        Form 6781, line 1                          K Other
     D Mining exploration costs recapture See Pub. 535                                   Other information
     E Cancellation of debt                   Form 1040, line 21 or Form 982             L Total foreign taxes paid                Form 1116, Part II
     F Other income (loss)                    See the Partner’s Instructions             M Total foreign taxes accrued             Form 1116, Part II
12. Section 179 deduction                     See the Partner’s Instructions             N Reduction in taxes available for credit Form 1116, line 12




                                         }
13. Other deductions                                                                     O Foreign trading gross receipts          Form 8873
     A Cash contributions (50%)                                                          P Extraterritorial income exclusion       Form 8873
     B Cash contributions (30%)                                                          Q Other foreign transactions              See the Partner’s Instructions




                                                                                                                              }
     C Noncash contributions (50%)                                                   17. Alternative minimum tax (AMT) items
     D Noncash contributions (30%)            See the Partner’s                          A Post-1986 depreciation adjustment
     E Capital gain property to a 50%         Instructions                               B Adjusted gain or loss                   See the Partner’s
          organization (30%)                                                             C Depletion (other than oil & gas)        Instructions and
     F Capital gain property (20%)                                                       D Oil, gas, & geothermal—gross income     the Instructions for
     G Contributions (100%)                                                              E Oil, gas, & geothermal—deductions       Form 6251
     H Investment interest expense            Form 4952, line 1                          F Other AMT items
      I Deductions—royalty income             Schedule E, line 19                    18. Tax-exempt income and nondeductible expenses
     J Section 59(e)(2) expenditures          See the Partner’s Instructions             A Tax-exempt interest income              Form 1040, line 8b
     K Deductions—portfolio (2% floor)        Schedule A, line 23                        B Other tax-exempt income                 See the Partner’s Instructions
     L Deductions—portfolio (other)           Schedule A, line 28                        C Nondeductible expenses                  See the Partner’s Instructions
     M Amounts paid for medical insurance Schedule A, line 1 or Form 1040, line 29   19. Distributions

                                                                                                                              }
     N Educational assistance benefits        See the Partner’s Instructions             A Cash and marketable securities
     O Dependent care benefits                Form 2441, line 12                         B Distribution subject to section 737     See the Partner’s Instructions
     P Preproductive period expenses          See the Partner’s Instructions             C Other property
     Q Commercial revitalization deduction                                           20. Other information
          from rental real estate activities  See Form 8582 instructions                 A Investment income                       Form 4952, line 4a
     R Pensions and IRAs                      See the Partner’s Instructions             B Investment expenses                     Form 4952, line 5
     S Reforestation expense deduction        See the Partner’s Instructions             C Fuel tax credit information             Form 4136
      T Domestic production activities                                                   D Qualified rehabilitation expenditures
          information                         See Form 8903 instructions                     (other than rental real estate)       See the Partner’s Instructions
     U Qualified production activities income Form 8903, line 7b                         E Basis of energy property                See the Partner’s Instructions
     V Employer’s Form W-2 wages              Form 8903, line 17                         F Recapture of low-income housing
     W Other deductions                       See the Partner’s Instructions                 credit (section 42(j)(5))             Form 8611, line 8
14. Self-employment earnings (loss)                                                      G Recapture of low-income housing
Note: If you have a section 179 deduction or any partner-level deductions, see the           credit (other)                        Form 8611, line 8
Partner’s Instructions before completing Schedule SE.                                    H Recapture of investment credit          See Form 4255
     A Net earnings (loss) from                                                          I Recapture of other credits              See the Partner’s Instructions




                                                                                                                             }
          self-employment                     Schedule SE, Section A or B                J Look-back interest—completed




                                         }
     B Gross farming or fishing income        See the Partner’s Instructions                 long-term contracts                   See Form 8697
     C Gross non-farm income                  See the Partner’s Instructions             K Look-back interest—income forecast
15. Credits                                                                                  method                                See Form 8866
     A Low-income housing credit                                                         L Dispositions of property with
          (section 42(j)(5)) from pre-2008                                                   section 179 deductions
          buildings                                                                      M Recapture of section 179 deduction
     B Low-income housing credit                                                         N Interest expense for corporate
          (other) from pre-2008 buildings                                                    partners
     C Low-income housing credit                                                         O Section 453(l)(3) information
          (section 42(j)(5)) from                                                        P Section 453A(c) information
          post-2007 buildings                 See the Partner’s Instructions             Q Section 1260(b) information
     D Low-income housing credit                                                         R Interest allocable to production        See the Partner’s
          (other) from post-2007                                                             expenditures                          Instructions
          buildings                                                                      S CCF nonqualified withdrawals
     E Qualified rehabilitation                                                          T Depletion information—oil and gas
          expenditures (rental real estate)                                              U Reserved
      F Other rental real estate credits                                                 V Unrelated business taxable income
     G Other rental credits                                                              W Precontribution gain (loss)
     H Undistributed capital gains credit     Form 1040, line 73; check box a            X Section 108(i) information


                                         }
      I Biofuel producer credit                                                          Y Net investment income
     J Work opportunity credit                                                           Z Other information

                                                                                                                              Knapton 190
                                              See the Partner's Instructions
     K Disabled access credit
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Click Vision Group LLC                                                                      2893                 1



Additional information from your Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (Brent Simpson)

Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (Brent Simpson)
Supplemental Information                                                      Continuation Statement
                                    Description                                                 Amount
Item L (c) - Capital account adjustments:
  Ordinary income (loss)                                                                               -316,958.
      Total                                                                                            -316,958.




                                                                                        Knapton 191
                                                                                                       333
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                                                                                                                             Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                      2017                            Part III Partner’s Share of Current Year Income,
                                                                                                                          Deductions, Credits, and Other Items
Department of the Treasury                                                                                      1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                            For calendar year 2017, or tax year
                                                                                                                                                  -21,626.
            beginning              /           /       2017         ending            /      /                  2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                          3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I      Information About the Partnership                                                             4            Guaranteed payments

 A      Partnership’s employer identification number
                    2893                                                                                        5            Interest income

 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                               6a              Ordinary dividends
        14241 Dallas Parkway, Suite 650
        Dallas, TX 75254                                                                                    6b               Qualified dividends


 C      IRS Center where partnership filed return                                                               7            Royalties
        Ogden, UT
 D           Check if this is a publicly traded partnership (PTP)                                               8            Net short-term capital gain (loss)


      Part II     Information About the Partner                                                              9a              Net long-term capital gain (loss)      17   Alternative minimum tax (AMT) items

 E      Partner’s identifying number
                                                                                                            9b               Collectibles (28%) gain (loss)

 F      Partner’s name, address, city, state, and ZIP code
        J&J Ainsworth Family LP                                                                              9c              Unrecaptured section 1250 gain
        1709 Burning Tree Lane
        Plano, TX 75093                                                                                      10              Net section 1231 gain (loss)           18   Tax-exempt income and
                                                                                                                                                                         nondeductible expenses

 G           General partner or LLC                                 Limited partner or other LLC             11              Other income (loss)
             member-manager                                         member

 H           Domestic partner                                       Foreign partner


 I1     What type of entity is this partner?                Trust
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                                                                       19   Distributions

 J      Partner’s share of profit, loss, and capital (see instructions):                                     12              Section 179 deduction
                         Beginning                                   Ending

        Profit                             8.00000 %                                      8.00000 %          13              Other deductions

        Loss                               8.00000 %                                      8.00000 %                                                                 20   Other information
        Capital                            8.00000 %                                      8.00000 %

 K      Partner’s share of liabilities at year end:
        Nonrecourse      .     .       .   .       .    .     $                             8,000.
        Qualified nonrecourse financing                 .     $                                              14              Self-employment earnings (loss)
        Recourse     .   .     .       .   .       .    .     $


 L      Partner’s capital account analysis:
        Beginning capital account .                .    .     $                                              *See attached statement for additional information.
        Capital contributed during the year                   $                           250,000.
        Current year increase (decrease)                .     $                           -21,626.
        Withdrawals & distributions                .    .     $ (                                     )
                                                                                                          For IRS Use Only




        Ending capital account .           .       .    .     $                           228,374.

             Tax basis                     GAAP                       Section 704(b) book
             Other (explain)


 M      Did the partner contribute property with a built-in gain or loss?
             Yes                    No
             If “Yes,” attach statement (see instructions)

                                                                                                                                                                    Knapton 192
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                              www.irs.gov/Form1065                      BAA                           Schedule K-1 (Form 1065) 2017
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Schedule K-1 (Form 1065) 2017             J&J Ainsworth Family LP                                                                      2893                   Page 2

This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.




                                                                                                                             }
1. Ordinary business income (loss). Determine whether the income (loss) is               Code                                      Report on
   passive or nonpassive and enter on your return as follows.                             L Empowerment zone
                                              Report on                                       employment credit
     Passive loss                             See the Partner’s Instructions             M Credit for increasing research
     Passive income                           Schedule E, line 28, column (g)                 activities
                                                                                          N Credit for employer social             See the Partner’s Instructions
     Nonpassive loss                          See the Partner's Instructions
     Nonpassive income                        Schedule E, line 28, column (j)                 security and Medicare taxes
  2. Net rental real estate income (loss) See the Partner’s Instructions                 O Backup withholding
  3. Other net rental income (loss)                                                       P Other credits




                                                                                                                              }
     Net income                               Schedule E, line 28, column (g)        16. Foreign transactions
     Net loss                                 See the Partner’s Instructions             A Name of country or U.S.
  4. Guaranteed payments                      Schedule E, line 28, column (j)                possession
  5. Interest income                          Form 1040, line 8a                         B Gross income from all sources           Form 1116, Part I
 6a. Ordinary dividends                       Form 1040, line 9a                         C Gross income sourced at
 6b. Qualified dividends                      Form 1040, line 9b                             partner level
  7. Royalties                                Schedule E, line 4                         Foreign gross income sourced at partnership level

                                                                                                                              }
  8. Net short-term capital gain (loss)       Schedule D, line 5                         D Passive category
 9a. Net long-term capital gain (loss)        Schedule D, line 12                        E General category                        Form 1116, Part I
 9b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4            F Other
                                              (Schedule D instructions)                  Deductions allocated and apportioned at partner level
 9c. Unrecaptured section 1250 gain           See the Partner’s Instructions             G Interest expense                        Form 1116, Part I
10. Net section 1231 gain (loss)              See the Partner’s Instructions             H Other                                   Form 1116, Part I
11. Other income (loss)                                                                  Deductions allocated and apportioned at partnership level to foreign source
     Code                                                                                income


                                                                                                                              }
     A Other portfolio income (loss)          See the Partner’s Instructions             I Passive category
     B Involuntary conversions                See the Partner’s Instructions             J General category                        Form 1116, Part I
     C Sec. 1256 contracts & straddles        Form 6781, line 1                          K Other
     D Mining exploration costs recapture See Pub. 535                                   Other information
     E Cancellation of debt                   Form 1040, line 21 or Form 982             L Total foreign taxes paid                Form 1116, Part II
     F Other income (loss)                    See the Partner’s Instructions             M Total foreign taxes accrued             Form 1116, Part II
12. Section 179 deduction                     See the Partner’s Instructions             N Reduction in taxes available for credit Form 1116, line 12




                                         }
13. Other deductions                                                                     O Foreign trading gross receipts          Form 8873
     A Cash contributions (50%)                                                          P Extraterritorial income exclusion       Form 8873
     B Cash contributions (30%)                                                          Q Other foreign transactions              See the Partner’s Instructions




                                                                                                                              }
     C Noncash contributions (50%)                                                   17. Alternative minimum tax (AMT) items
     D Noncash contributions (30%)            See the Partner’s                          A Post-1986 depreciation adjustment
     E Capital gain property to a 50%         Instructions                               B Adjusted gain or loss                   See the Partner’s
          organization (30%)                                                             C Depletion (other than oil & gas)        Instructions and
     F Capital gain property (20%)                                                       D Oil, gas, & geothermal—gross income     the Instructions for
     G Contributions (100%)                                                              E Oil, gas, & geothermal—deductions       Form 6251
     H Investment interest expense            Form 4952, line 1                          F Other AMT items
      I Deductions—royalty income             Schedule E, line 19                    18. Tax-exempt income and nondeductible expenses
     J Section 59(e)(2) expenditures          See the Partner’s Instructions             A Tax-exempt interest income              Form 1040, line 8b
     K Deductions—portfolio (2% floor)        Schedule A, line 23                        B Other tax-exempt income                 See the Partner’s Instructions
     L Deductions—portfolio (other)           Schedule A, line 28                        C Nondeductible expenses                  See the Partner’s Instructions
     M Amounts paid for medical insurance Schedule A, line 1 or Form 1040, line 29   19. Distributions

                                                                                                                              }
     N Educational assistance benefits        See the Partner’s Instructions             A Cash and marketable securities
     O Dependent care benefits                Form 2441, line 12                         B Distribution subject to section 737     See the Partner’s Instructions
     P Preproductive period expenses          See the Partner’s Instructions             C Other property
     Q Commercial revitalization deduction                                           20. Other information
          from rental real estate activities  See Form 8582 instructions                 A Investment income                       Form 4952, line 4a
     R Pensions and IRAs                      See the Partner’s Instructions             B Investment expenses                     Form 4952, line 5
     S Reforestation expense deduction        See the Partner’s Instructions             C Fuel tax credit information             Form 4136
      T Domestic production activities                                                   D Qualified rehabilitation expenditures
          information                         See Form 8903 instructions                     (other than rental real estate)       See the Partner’s Instructions
     U Qualified production activities income Form 8903, line 7b                         E Basis of energy property                See the Partner’s Instructions
     V Employer’s Form W-2 wages              Form 8903, line 17                         F Recapture of low-income housing
     W Other deductions                       See the Partner’s Instructions                 credit (section 42(j)(5))             Form 8611, line 8
14. Self-employment earnings (loss)                                                      G Recapture of low-income housing
Note: If you have a section 179 deduction or any partner-level deductions, see the           credit (other)                        Form 8611, line 8
Partner’s Instructions before completing Schedule SE.                                    H Recapture of investment credit          See Form 4255
     A Net earnings (loss) from                                                          I Recapture of other credits              See the Partner’s Instructions




                                                                                                                             }
          self-employment                     Schedule SE, Section A or B                J Look-back interest—completed




                                         }
     B Gross farming or fishing income        See the Partner’s Instructions                 long-term contracts                   See Form 8697
     C Gross non-farm income                  See the Partner’s Instructions             K Look-back interest—income forecast
15. Credits                                                                                  method                                See Form 8866
     A Low-income housing credit                                                         L Dispositions of property with
          (section 42(j)(5)) from pre-2008                                                   section 179 deductions
          buildings                                                                      M Recapture of section 179 deduction
     B Low-income housing credit                                                         N Interest expense for corporate
          (other) from pre-2008 buildings                                                    partners
     C Low-income housing credit                                                         O Section 453(l)(3) information
          (section 42(j)(5)) from                                                        P Section 453A(c) information
          post-2007 buildings                 See the Partner’s Instructions             Q Section 1260(b) information
     D Low-income housing credit                                                         R Interest allocable to production        See the Partner’s
          (other) from post-2007                                                             expenditures                          Instructions
          buildings                                                                      S CCF nonqualified withdrawals
     E Qualified rehabilitation                                                          T Depletion information—oil and gas
          expenditures (rental real estate)                                              U Reserved
      F Other rental real estate credits                                                 V Unrelated business taxable income
     G Other rental credits                                                              W Precontribution gain (loss)
     H Undistributed capital gains credit     Form 1040, line 73; check box a            X Section 108(i) information


                                         }
      I Biofuel producer credit                                                          Y Net investment income
     J Work opportunity credit                                                           Z Other information

                                                                                                                              Knapton 193
                                              See the Partner's Instructions
     K Disabled access credit
                                                                                       REV 12/21/17 TTBIZ


                                                                                                                                                    335
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Click Vision Group LLC                                                                              2893                   1



Additional information from your Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (J&J Ainsworth Family LP)

Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (J&J Ainsworth Family LP)
Supplemental Information                                                     Continuation Statement
                                       Description                                                      Amount
Item L (c) - Capital account adjustments:
  Ordinary income (loss)                                                                                          -21,626.
      Total                                                                                                       -21,626.




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                                                                                                                336
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                                                                                                                             Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                      2017                            Part III Partner’s Share of Current Year Income,
                                                                                                                          Deductions, Credits, and Other Items
Department of the Treasury                                                                                      1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                            For calendar year 2017, or tax year
                                                                                                                                                  -21,626.
            beginning              /           /       2017         ending            /      /                  2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                          3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I      Information About the Partnership                                                             4            Guaranteed payments

 A      Partnership’s employer identification number
                    2893                                                                                        5            Interest income

 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                               6a              Ordinary dividends
        14241 Dallas Parkway, Suite 650
        Dallas, TX 75254                                                                                    6b               Qualified dividends


 C      IRS Center where partnership filed return                                                               7            Royalties
        Ogden, UT
 D           Check if this is a publicly traded partnership (PTP)                                               8            Net short-term capital gain (loss)


      Part II     Information About the Partner                                                              9a              Net long-term capital gain (loss)      17   Alternative minimum tax (AMT) items

 E      Partner’s identifying number
                                                                                                            9b               Collectibles (28%) gain (loss)

 F      Partner’s name, address, city, state, and ZIP code
        MCT Texas Partners LP                                                                                9c              Unrecaptured section 1250 gain
        4911 Cape Coral Dr
        Dallas, TX 75287                                                                                     10              Net section 1231 gain (loss)           18   Tax-exempt income and
                                                                                                                                                                         nondeductible expenses

 G           General partner or LLC                                 Limited partner or other LLC             11              Other income (loss)
             member-manager                                         member

 H           Domestic partner                                       Foreign partner


 I1     What type of entity is this partner?                Trust
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                                                                       19   Distributions

 J      Partner’s share of profit, loss, and capital (see instructions):                                     12              Section 179 deduction
                         Beginning                                   Ending

        Profit                             8.00000 %                                      8.00000 %          13              Other deductions

        Loss                               8.00000 %                                      8.00000 %                                                                 20   Other information
        Capital                            8.00000 %                                      8.00000 %

 K      Partner’s share of liabilities at year end:
        Nonrecourse      .     .       .   .       .    .     $                             8,000.
        Qualified nonrecourse financing                 .     $                                              14              Self-employment earnings (loss)
        Recourse     .   .     .       .   .       .    .     $


 L      Partner’s capital account analysis:
        Beginning capital account .                .    .     $                                              *See attached statement for additional information.
        Capital contributed during the year                   $                           250,000.
        Current year increase (decrease)                .     $                           -21,626.
        Withdrawals & distributions                .    .     $ (                                     )
                                                                                                          For IRS Use Only




        Ending capital account .           .       .    .     $                           228,374.

             Tax basis                     GAAP                       Section 704(b) book
             Other (explain)


 M      Did the partner contribute property with a built-in gain or loss?
             Yes                    No
             If “Yes,” attach statement (see instructions)

                                                                                                                                                                    Knapton 195
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                              www.irs.gov/Form1065                      BAA                           Schedule K-1 (Form 1065) 2017
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This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.




                                                                                                                             }
1. Ordinary business income (loss). Determine whether the income (loss) is               Code                                      Report on
   passive or nonpassive and enter on your return as follows.                             L Empowerment zone
                                              Report on                                       employment credit
     Passive loss                             See the Partner’s Instructions             M Credit for increasing research
     Passive income                           Schedule E, line 28, column (g)                 activities
                                                                                          N Credit for employer social             See the Partner’s Instructions
     Nonpassive loss                          See the Partner's Instructions
     Nonpassive income                        Schedule E, line 28, column (j)                 security and Medicare taxes
  2. Net rental real estate income (loss) See the Partner’s Instructions                 O Backup withholding
  3. Other net rental income (loss)                                                       P Other credits




                                                                                                                              }
     Net income                               Schedule E, line 28, column (g)        16. Foreign transactions
     Net loss                                 See the Partner’s Instructions             A Name of country or U.S.
  4. Guaranteed payments                      Schedule E, line 28, column (j)                possession
  5. Interest income                          Form 1040, line 8a                         B Gross income from all sources           Form 1116, Part I
 6a. Ordinary dividends                       Form 1040, line 9a                         C Gross income sourced at
 6b. Qualified dividends                      Form 1040, line 9b                             partner level
  7. Royalties                                Schedule E, line 4                         Foreign gross income sourced at partnership level

                                                                                                                              }
  8. Net short-term capital gain (loss)       Schedule D, line 5                         D Passive category
 9a. Net long-term capital gain (loss)        Schedule D, line 12                        E General category                        Form 1116, Part I
 9b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4            F Other
                                              (Schedule D instructions)                  Deductions allocated and apportioned at partner level
 9c. Unrecaptured section 1250 gain           See the Partner’s Instructions             G Interest expense                        Form 1116, Part I
10. Net section 1231 gain (loss)              See the Partner’s Instructions             H Other                                   Form 1116, Part I
11. Other income (loss)                                                                  Deductions allocated and apportioned at partnership level to foreign source
     Code                                                                                income


                                                                                                                              }
     A Other portfolio income (loss)          See the Partner’s Instructions             I Passive category
     B Involuntary conversions                See the Partner’s Instructions             J General category                        Form 1116, Part I
     C Sec. 1256 contracts & straddles        Form 6781, line 1                          K Other
     D Mining exploration costs recapture See Pub. 535                                   Other information
     E Cancellation of debt                   Form 1040, line 21 or Form 982             L Total foreign taxes paid                Form 1116, Part II
     F Other income (loss)                    See the Partner’s Instructions             M Total foreign taxes accrued             Form 1116, Part II
12. Section 179 deduction                     See the Partner’s Instructions             N Reduction in taxes available for credit Form 1116, line 12




                                         }
13. Other deductions                                                                     O Foreign trading gross receipts          Form 8873
     A Cash contributions (50%)                                                          P Extraterritorial income exclusion       Form 8873
     B Cash contributions (30%)                                                          Q Other foreign transactions              See the Partner’s Instructions




                                                                                                                              }
     C Noncash contributions (50%)                                                   17. Alternative minimum tax (AMT) items
     D Noncash contributions (30%)            See the Partner’s                          A Post-1986 depreciation adjustment
     E Capital gain property to a 50%         Instructions                               B Adjusted gain or loss                   See the Partner’s
          organization (30%)                                                             C Depletion (other than oil & gas)        Instructions and
     F Capital gain property (20%)                                                       D Oil, gas, & geothermal—gross income     the Instructions for
     G Contributions (100%)                                                              E Oil, gas, & geothermal—deductions       Form 6251
     H Investment interest expense            Form 4952, line 1                          F Other AMT items
      I Deductions—royalty income             Schedule E, line 19                    18. Tax-exempt income and nondeductible expenses
     J Section 59(e)(2) expenditures          See the Partner’s Instructions             A Tax-exempt interest income              Form 1040, line 8b
     K Deductions—portfolio (2% floor)        Schedule A, line 23                        B Other tax-exempt income                 See the Partner’s Instructions
     L Deductions—portfolio (other)           Schedule A, line 28                        C Nondeductible expenses                  See the Partner’s Instructions
     M Amounts paid for medical insurance Schedule A, line 1 or Form 1040, line 29   19. Distributions

                                                                                                                              }
     N Educational assistance benefits        See the Partner’s Instructions             A Cash and marketable securities
     O Dependent care benefits                Form 2441, line 12                         B Distribution subject to section 737     See the Partner’s Instructions
     P Preproductive period expenses          See the Partner’s Instructions             C Other property
     Q Commercial revitalization deduction                                           20. Other information
          from rental real estate activities  See Form 8582 instructions                 A Investment income                       Form 4952, line 4a
     R Pensions and IRAs                      See the Partner’s Instructions             B Investment expenses                     Form 4952, line 5
     S Reforestation expense deduction        See the Partner’s Instructions             C Fuel tax credit information             Form 4136
      T Domestic production activities                                                   D Qualified rehabilitation expenditures
          information                         See Form 8903 instructions                     (other than rental real estate)       See the Partner’s Instructions
     U Qualified production activities income Form 8903, line 7b                         E Basis of energy property                See the Partner’s Instructions
     V Employer’s Form W-2 wages              Form 8903, line 17                         F Recapture of low-income housing
     W Other deductions                       See the Partner’s Instructions                 credit (section 42(j)(5))             Form 8611, line 8
14. Self-employment earnings (loss)                                                      G Recapture of low-income housing
Note: If you have a section 179 deduction or any partner-level deductions, see the           credit (other)                        Form 8611, line 8
Partner’s Instructions before completing Schedule SE.                                    H Recapture of investment credit          See Form 4255
     A Net earnings (loss) from                                                          I Recapture of other credits              See the Partner’s Instructions




                                                                                                                             }
          self-employment                     Schedule SE, Section A or B                J Look-back interest—completed




                                         }
     B Gross farming or fishing income        See the Partner’s Instructions                 long-term contracts                   See Form 8697
     C Gross non-farm income                  See the Partner’s Instructions             K Look-back interest—income forecast
15. Credits                                                                                  method                                See Form 8866
     A Low-income housing credit                                                         L Dispositions of property with
          (section 42(j)(5)) from pre-2008                                                   section 179 deductions
          buildings                                                                      M Recapture of section 179 deduction
     B Low-income housing credit                                                         N Interest expense for corporate
          (other) from pre-2008 buildings                                                    partners
     C Low-income housing credit                                                         O Section 453(l)(3) information
          (section 42(j)(5)) from                                                        P Section 453A(c) information
          post-2007 buildings                 See the Partner’s Instructions             Q Section 1260(b) information
     D Low-income housing credit                                                         R Interest allocable to production        See the Partner’s
          (other) from post-2007                                                             expenditures                          Instructions
          buildings                                                                      S CCF nonqualified withdrawals
     E Qualified rehabilitation                                                          T Depletion information—oil and gas
          expenditures (rental real estate)                                              U Reserved
      F Other rental real estate credits                                                 V Unrelated business taxable income
     G Other rental credits                                                              W Precontribution gain (loss)
     H Undistributed capital gains credit     Form 1040, line 73; check box a            X Section 108(i) information


                                         }
      I Biofuel producer credit                                                          Y Net investment income
     J Work opportunity credit                                                           Z Other information

                                                                                                                              Knapton 196
                                              See the Partner's Instructions
     K Disabled access credit
                                                                                       REV 12/21/17 TTBIZ


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Click Vision Group LLC                                                                            2893                   1



Additional information from your Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (MCT Texas Partners LP)

Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (MCT Texas Partners LP)
Supplemental Information                                                     Continuation Statement
                                      Description                                                     Amount
Item L (c) - Capital account adjustments:
  Ordinary income (loss)                                                                                        -21,626.
      Total                                                                                                     -21,626.




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                                                                                                              339
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                                                                                                                             Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                      2017                            Part III Partner’s Share of Current Year Income,
                                                                                                                          Deductions, Credits, and Other Items
Department of the Treasury                                                                                      1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                            For calendar year 2017, or tax year
                                                                                                                                                -112,728.
            beginning              /           /       2017         ending            /     /                   2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                          3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I      Information About the Partnership                                                             4            Guaranteed payments

 A      Partnership’s employer identification number
                    2893                                                                                        5            Interest income

 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                               6a              Ordinary dividends
        14241 Dallas Parkway, Suite 650
        Dallas, TX 75254                                                                                    6b               Qualified dividends


 C      IRS Center where partnership filed return                                                               7            Royalties
        Ogden, UT
 D           Check if this is a publicly traded partnership (PTP)                                               8            Net short-term capital gain (loss)


      Part II     Information About the Partner                                                              9a              Net long-term capital gain (loss)      17   Alternative minimum tax (AMT) items

 E      Partner’s identifying number
                                                                                                            9b               Collectibles (28%) gain (loss)

 F      Partner’s name, address, city, state, and ZIP code
        Jacob Nelan                                                                                          9c              Unrecaptured section 1250 gain
        9756 Delmonico Dr
        Fort Worth, TX 76244                                                                                 10              Net section 1231 gain (loss)           18   Tax-exempt income and
                                                                                                                                                                         nondeductible expenses

 G           General partner or LLC                                 Limited partner or other LLC             11              Other income (loss)
             member-manager                                         member

 H           Domestic partner                                       Foreign partner


 I1     What type of entity is this partner?                Individual
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                                                                       19   Distributions

 J      Partner’s share of profit, loss, and capital (see instructions):                                     12              Section 179 deduction
                         Beginning                                   Ending

        Profit                         30.00000 %                                  30.00000 %                13              Other deductions

        Loss                           30.00000 %                                  30.00000 %                                                                       20   Other information
        Capital                        30.00000 %                                  30.00000 %

 K      Partner’s share of liabilities at year end:
        Nonrecourse      .     .       .   .       .    .     $                           30,000.
        Qualified nonrecourse financing                 .     $                                              14              Self-employment earnings (loss)
        Recourse     .   .     .       .   .       .    .     $


 L      Partner’s capital account analysis:
        Beginning capital account .                .    .     $                                              *See attached statement for additional information.
        Capital contributed during the year                   $
        Current year increase (decrease)                .     $                       -112,728.
        Withdrawals & distributions                .    .     $ (                                     )
                                                                                                          For IRS Use Only




        Ending capital account .           .       .    .     $                       -112,728.

             Tax basis                     GAAP                       Section 704(b) book
             Other (explain)


 M      Did the partner contribute property with a built-in gain or loss?
             Yes                    No
             If “Yes,” attach statement (see instructions)

                                                                                                                                                                    Knapton 198
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                             www.irs.gov/Form1065                       BAA                           Schedule K-1 (Form 1065) 2017
                                                                                                                                         REV 12/21/17 TTBIZ
                                                                                                                                                                                           340
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Schedule K-1 (Form 1065) 2017             Jacob Nelan                                                                                  2893                   Page 2

This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.




                                                                                                                             }
1. Ordinary business income (loss). Determine whether the income (loss) is               Code                                      Report on
   passive or nonpassive and enter on your return as follows.                             L Empowerment zone
                                              Report on                                       employment credit
     Passive loss                             See the Partner’s Instructions             M Credit for increasing research
     Passive income                           Schedule E, line 28, column (g)                 activities
                                                                                          N Credit for employer social             See the Partner’s Instructions
     Nonpassive loss                          See the Partner's Instructions
     Nonpassive income                        Schedule E, line 28, column (j)                 security and Medicare taxes
  2. Net rental real estate income (loss) See the Partner’s Instructions                 O Backup withholding
  3. Other net rental income (loss)                                                       P Other credits




                                                                                                                              }
     Net income                               Schedule E, line 28, column (g)        16. Foreign transactions
     Net loss                                 See the Partner’s Instructions             A Name of country or U.S.
  4. Guaranteed payments                      Schedule E, line 28, column (j)                possession
  5. Interest income                          Form 1040, line 8a                         B Gross income from all sources           Form 1116, Part I
 6a. Ordinary dividends                       Form 1040, line 9a                         C Gross income sourced at
 6b. Qualified dividends                      Form 1040, line 9b                             partner level
  7. Royalties                                Schedule E, line 4                         Foreign gross income sourced at partnership level

                                                                                                                              }
  8. Net short-term capital gain (loss)       Schedule D, line 5                         D Passive category
 9a. Net long-term capital gain (loss)        Schedule D, line 12                        E General category                        Form 1116, Part I
 9b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4            F Other
                                              (Schedule D instructions)                  Deductions allocated and apportioned at partner level
 9c. Unrecaptured section 1250 gain           See the Partner’s Instructions             G Interest expense                        Form 1116, Part I
10. Net section 1231 gain (loss)              See the Partner’s Instructions             H Other                                   Form 1116, Part I
11. Other income (loss)                                                                  Deductions allocated and apportioned at partnership level to foreign source
     Code                                                                                income


                                                                                                                              }
     A Other portfolio income (loss)          See the Partner’s Instructions             I Passive category
     B Involuntary conversions                See the Partner’s Instructions             J General category                        Form 1116, Part I
     C Sec. 1256 contracts & straddles        Form 6781, line 1                          K Other
     D Mining exploration costs recapture See Pub. 535                                   Other information
     E Cancellation of debt                   Form 1040, line 21 or Form 982             L Total foreign taxes paid                Form 1116, Part II
     F Other income (loss)                    See the Partner’s Instructions             M Total foreign taxes accrued             Form 1116, Part II
12. Section 179 deduction                     See the Partner’s Instructions             N Reduction in taxes available for credit Form 1116, line 12




                                         }
13. Other deductions                                                                     O Foreign trading gross receipts          Form 8873
     A Cash contributions (50%)                                                          P Extraterritorial income exclusion       Form 8873
     B Cash contributions (30%)                                                          Q Other foreign transactions              See the Partner’s Instructions




                                                                                                                              }
     C Noncash contributions (50%)                                                   17. Alternative minimum tax (AMT) items
     D Noncash contributions (30%)            See the Partner’s                          A Post-1986 depreciation adjustment
     E Capital gain property to a 50%         Instructions                               B Adjusted gain or loss                   See the Partner’s
          organization (30%)                                                             C Depletion (other than oil & gas)        Instructions and
     F Capital gain property (20%)                                                       D Oil, gas, & geothermal—gross income     the Instructions for
     G Contributions (100%)                                                              E Oil, gas, & geothermal—deductions       Form 6251
     H Investment interest expense            Form 4952, line 1                          F Other AMT items
      I Deductions—royalty income             Schedule E, line 19                    18. Tax-exempt income and nondeductible expenses
     J Section 59(e)(2) expenditures          See the Partner’s Instructions             A Tax-exempt interest income              Form 1040, line 8b
     K Deductions—portfolio (2% floor)        Schedule A, line 23                        B Other tax-exempt income                 See the Partner’s Instructions
     L Deductions—portfolio (other)           Schedule A, line 28                        C Nondeductible expenses                  See the Partner’s Instructions
     M Amounts paid for medical insurance Schedule A, line 1 or Form 1040, line 29   19. Distributions

                                                                                                                              }
     N Educational assistance benefits        See the Partner’s Instructions             A Cash and marketable securities
     O Dependent care benefits                Form 2441, line 12                         B Distribution subject to section 737     See the Partner’s Instructions
     P Preproductive period expenses          See the Partner’s Instructions             C Other property
     Q Commercial revitalization deduction                                           20. Other information
          from rental real estate activities  See Form 8582 instructions                 A Investment income                       Form 4952, line 4a
     R Pensions and IRAs                      See the Partner’s Instructions             B Investment expenses                     Form 4952, line 5
     S Reforestation expense deduction        See the Partner’s Instructions             C Fuel tax credit information             Form 4136
      T Domestic production activities                                                   D Qualified rehabilitation expenditures
          information                         See Form 8903 instructions                     (other than rental real estate)       See the Partner’s Instructions
     U Qualified production activities income Form 8903, line 7b                         E Basis of energy property                See the Partner’s Instructions
     V Employer’s Form W-2 wages              Form 8903, line 17                         F Recapture of low-income housing
     W Other deductions                       See the Partner’s Instructions                 credit (section 42(j)(5))             Form 8611, line 8
14. Self-employment earnings (loss)                                                      G Recapture of low-income housing
Note: If you have a section 179 deduction or any partner-level deductions, see the           credit (other)                        Form 8611, line 8
Partner’s Instructions before completing Schedule SE.                                    H Recapture of investment credit          See Form 4255
     A Net earnings (loss) from                                                          I Recapture of other credits              See the Partner’s Instructions




                                                                                                                             }
          self-employment                     Schedule SE, Section A or B                J Look-back interest—completed




                                         }
     B Gross farming or fishing income        See the Partner’s Instructions                 long-term contracts                   See Form 8697
     C Gross non-farm income                  See the Partner’s Instructions             K Look-back interest—income forecast
15. Credits                                                                                  method                                See Form 8866
     A Low-income housing credit                                                         L Dispositions of property with
          (section 42(j)(5)) from pre-2008                                                   section 179 deductions
          buildings                                                                      M Recapture of section 179 deduction
     B Low-income housing credit                                                         N Interest expense for corporate
          (other) from pre-2008 buildings                                                    partners
     C Low-income housing credit                                                         O Section 453(l)(3) information
          (section 42(j)(5)) from                                                        P Section 453A(c) information
          post-2007 buildings                 See the Partner’s Instructions             Q Section 1260(b) information
     D Low-income housing credit                                                         R Interest allocable to production        See the Partner’s
          (other) from post-2007                                                             expenditures                          Instructions
          buildings                                                                      S CCF nonqualified withdrawals
     E Qualified rehabilitation                                                          T Depletion information—oil and gas
          expenditures (rental real estate)                                              U Reserved
      F Other rental real estate credits                                                 V Unrelated business taxable income
     G Other rental credits                                                              W Precontribution gain (loss)
     H Undistributed capital gains credit     Form 1040, line 73; check box a            X Section 108(i) information


                                         }
      I Biofuel producer credit                                                          Y Net investment income
     J Work opportunity credit                                                           Z Other information

                                                                                                                              Knapton 199
                                              See the Partner's Instructions
     K Disabled access credit
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Click Vision Group LLC                                                                    2893                 1



Additional information from your Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (Jacob Nelan)

Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (Jacob Nelan)
Supplemental Information                                                      Continuation Statement
                                   Description                                                Amount
Item L (c) - Capital account adjustments:
  Ordinary income (loss)                                                                             -112,728.
      Total                                                                                          -112,728.




                                                                                      Knapton 200
                                                                                                     342
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Click Vision Group LLC                                                       2893                 1



Additional information from your 2017 Federal Partnership Tax Return

Form 1065: Partnership Tax Return
Line 20, Other Deductions                                             Continuation Statement
                                    Description                                      Amount
Accounting                                                                                  11,240.
Advertising                                                                                 68,702.
Commissions                                                                                 35,342.
Legal and professional                                                                      24,122.
Office expense                                                                              19,959.
Outside services/independent contractors                                                   222,761.
Telephone                                                                                    6,741.
Travel                                                                                      21,437.
EHR Data Partnerships                                                                       30,163.
                                                                     Total                 440,467.




                                                                      Knapton 201
                                                                                       343
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                                         1065                                      U.S. Return of Partnership Income                                                                                      OMB No. 1545-0123

                                                                                                                                                                                                           2018
Form                                                         For calendar year 2018, or tax year beginning                              , 2018, ending                    , 20              .
Department of the Treasury                                             a Go to www.irs.gov/Form1065 for instructions and the latest information.
Internal Revenue Service
A Principal business activity                                            Name of partnership                                                                                                        D Employer identification number

  Computer / IT related services                                        Click Vision Group LLC                                                                                                                     2893
B Principal product or service                                Type       Number, street, and room or suite no. If a P.O. box, see instructions.                                                     E Date business started

  Healthcare Data Services                                     or       14241 Dallas Parkway, Suite 650                                                                                             12/20/2016
C Business code number                                        Print      City or town, state or province, country, and ZIP or foreign postal code                                                   F Total assets (see
                                                                                                                                                                                                      instructions)

  518210                                                                Dallas                                                                       TX           75254                               $     698,459.

  G                                      Check applicable boxes:   (1)     Initial return (2)  Final return (3)     Name change (4)         Address change (5)                                                     Amended return
  H                                      Check accounting method: (1)     Cash            (2)  Accrual      (3)     Other (specify) a
  I                                      Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year. a                                                                                  4
   J                                     Check if Schedules C and M-3 are attached .         .   .    .   .   .   .   .     .   .   .    .   .   .     .    .     .   .   .   .    .    .       .     .    .   .     .    .   .a

Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.

                                           1a   Gross receipts or sales . . . . . . . . . . . . .                   1a 10,926,455.
                                            b   Returns and allowances . . . . . . . . . . . .                     1b
                                            c   Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . .                                                             1c            10,926,455.
                                           2    Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . .                                                                 2             9,860,783.
                                           3    Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . .                                                            3             1,065,672.
                                           4    Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) . .                                              4
 Income




                                           5    Net farm profit (loss) (attach Schedule F (Form 1040)) . . . . . . . . . . . .                                                          5
                                           6    Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . .                                                     6
                                           7    Other income (loss) (attach statement) . . . . . . . . . . . . . . . . .                                                                7
                                           8    Total income (loss). Combine lines 3 through 7 . . . . . . . . . . . . . .                                                              8              1,065,672.
                                           9    Salaries and wages (other than to partners) (less employment credits) . . . . . . .                                                     9                148,459.
    (see instructions for limitations)




                                          10    Guaranteed payments to partners . . . . . . . . . . . . . . . . . . .                                                                  10
                                          11    Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . .                                                                    11
                                          12    Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                        12
                                          13    Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                         13                      11,052.
                                          14    Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . .                                                                     14                      11,860.
                                          15    Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . .                                                                15
                                          16a   Depreciation (if required, attach Form 4562) . . . . . .           16a
                                            b   Less depreciation reported on Form 1125-A and elsewhere on return 16b                                                                  16c
                                          17    Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . .                                                              17
 Deductions




                                          18    Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . .                                                                    18
                                          19    Employee benefit programs . . . . . . . . . . . . . . . . . . . . .                                                                     19                13,398.
                                          20    Other deductions (attach statement) See  . . Stmt
                                                                                               . . . . . . . . . . . . . . . .                                                          20             1,155,328.
                                          21    Total deductions. Add the amounts shown in the far right column for lines 9 through 20 .                                                21             1,340,097.
                                          22    Ordinary business income (loss). Subtract line 21 from line 8 . . . . . . . . .                                                         22              -274,425.
                                          23    Interest due under the look-back method—completed long-term contracts (attach Form 8697)                                                23
 Tax and Payment




                                          24    Interest due under the look-back method—income forecast method (attach Form 8866) .                                                     24
                                          25    BBA AAR imputed underpayment (see instructions) . . . . . . . . . . . . .                                                               25
                                          26    Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . .                                                                  26
                                          27    Total balance due. Add lines 23 through 27 . . . . . . . . . . . . . . .                                                                27
                                          28    Payment (see instructions) . . . . . . . . . . . . . . . . . . . . .                                                                    28
                                          29    Amount owed. If line 28 is smaller than line 27, enter amount owed . . . . . . . .                                                      29
                                          30    Overpayment. If line 28 is larger than line 27, enter overpayment . . . . . . . . .                                                     30                                0.
                                                   Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my
                                                   knowledge and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all
Sign                                               information of which preparer has any knowledge.
                                                                                                                                                                                            May the IRS discuss this return with the
Here                                                                                                                                                                                        preparer shown below? See
                                                    F




                                                                                                                                                 F




                                                                                                                                                           03/09/2019                       instructions.     Yes             No
                                                         Signature of partner or limited liability company member                                          Date
                                                   Print/Type preparer’s name                        Preparer’s signature                                         Date                                             PTIN
Paid                                                                                                                                                                                   Check       if
                                                                                                                                                                                       self-employed
Preparer
                                                   Firm’s name                                                                                                                         Firm’s EIN a
Use Only
                                                                  a

                                                   Firm’s address a                                                                                                                    Phone no.
For Paperwork Reduction Act Notice, see separate instructions.                                                                                   BAA                              Knapton 202
                                                                                                                                                                                          Form 1065 (2018)



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Form 1065 (2018)                                                                                                                                    Page 2
 Schedule B           Other Information
  1     What type of entity is filing this return? Check the applicable box:                                                                    Yes     No
    a       Domestic general partnership                   b       Domestic limited partnership
    c       Domestic limited liability company             d       Domestic limited liability partnership
    e       Foreign partnership                             f      Other a
  2     At the end of the tax year:
    a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
        exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
        loss, or capital of the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule
        B-1, Information on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . .
    b Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
      the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule B-1, Information
      on Partners Owning 50% or More of the Partnership          . . . . . . . . . . . . . . . . . . . .
  3     At the end of the tax year, did the partnership:
    a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
        stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
        If “Yes,” complete (i) through (iv) below . . . . . . . . . . . . . . . . . . . . . . . . .
                        (i) Name of Corporation                         (ii) Employer Identification       (iii) Country of         (iv) Percentage
                                                                               Number (if any)              Incorporation         Owned in Voting Stock




    b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
      or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
      interest of a trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . .
                                                                 (ii) Employer                                                           (v) Maximum
                                                                 Identification
                                                                                           (iii) Type of        (iv) Country of     Percentage Owned in
                        (i) Name of Entity
                                                                Number (if any)                 Entity           Organization       Profit, Loss, or Capital




  4   Does the partnership satisfy all four of the following conditions?                                                                        Yes     No
    a The partnership’s total receipts for the tax year were less than $250,000.
    b The partnership’s total assets at the end of the tax year were less than $1 million.
    c Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
      extensions) for the partnership return.
    d The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . .
      If “Yes,” the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
      or item L on Schedule K-1.
  5   Is this partnership a publicly traded partnership, as defined in section 469(k)(2)? . . . . . . . . . . .
  6   During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
      so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . .
  7   Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
      information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . .
  8     At any time during calendar year 2018, did the partnership have an interest in or a signature or other authority over
        a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
        See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
        Financial Accounts (FBAR). If “Yes,” enter the name of the foreign country. a
  9     At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
        transferor to, a foreign trust? If “Yes,” the partnership may have to file Form 3520, Annual Return To Report
        Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . .                         .
 10a  Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . .
      See instructions for details regarding a section 754 election.
    b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If “Yes,”
      attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . .

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  Schedule B                  Other Information (continued)
                                                                                                                                                            Yes   No
     c    Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a
          substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
          734(d))? If “Yes,” attach a statement showing the computation and allocation of the basis adjustment. See instructions
 11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a
          like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
          owned by the partnership throughout the tax year) . . . . . . . . . . . . . . . . . . . a
 12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
          undivided interest in partnership property? . . . . . . . . . . . . . . . . . . . . . . . .
 13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
          Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
          instructions . . . . . . . . . . . . . . . . . . . . . . . a
 14       Does the partnership have any foreign partners? If “Yes,” enter the number of Forms 8805, Foreign Partner’s
          Information Statement of Section 1446 Withholding Tax, filed for this partnership. a
 15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
          to this return. a
 16a Did you make any payments in 2018 that would require you to file Form(s) 1099? See instructions . . . . .
    b If “Yes,” did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . .
 17   Enter the number of Form(s) 5471, Information Return of U.S. Persons With Respect To Certain Foreign
      Corporations, attached to this return. a
 18       Enter the number of partners that are foreign governments under section 892. a
 19       During the partnership’s tax year, did the partnership make any payments that would require it to file Form 1042
          and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . .
 20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
          for Form 8938 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 21   Is the partnership a section 721(c) partnership, as defined in Treasury Regulations section 1.721(c)-1T(b)(14)?             .
 22   During the tax year, did the partnership pay or accrue any interest or royalty for which the deduction is not allowed under
      section 267A? See instructions. If “Yes,” enter the total amount of the disallowed deductions. a $
 23   Did the partnership have an election under section 163(j) for any real property trade or business or any farming
      business in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . .
 24   Does the partnership satisfy one of the following conditions and the partnership does not own a pass-through
      entity with current year, or prior year, carryover excess business interest expense? See instructions . . . . .
    a The partnership’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
      preceding the current tax year do not exceed $25 million, and the partnership is not a tax shelter, or
    b The partnership only has business interest expense from (1) an electing real property trade or business, (2) an
      electing farming business, or (3) certain utility businesses under section 163(j)(7).
          If “No,” complete and attach Form 8990.
 25       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.
          If “Yes,” the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
          line 3. a
          If “No,” complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
                                                                                             U.S. taxpayer
            F




                                                                                                                  F




Name of                                                                                      identification
PR              Brent Simpson                                                                number of PR                             410
                          F




                                                                                                                      F




U.S. address of PR
                     2901 Queen Mary Dr                 Flower Mound TX 75022 U.S. phone
                                                                                             number of PR

If the PR is an                                                                              U.S. taxpayer
entity, name of                                                                              identification
the designated                                                                               number of the
                  F




                                                                                                              F




individual for                                                                               designated
the PR                                                                                       individual
                                                                                             U.S. phone
U.S. address of                                                                              number of
                      F




                                                                                                              F




designated                                                                                   designated
individual                                                                                   individual
 26       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?                      .   .   .   .   .   .   .   .   .   .
          If “Yes,” enter the amount from Form 8996, line 13. a $
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    Schedule K                               Partners’ Distributive Share Items                                                                 Total amount
                                 1        Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . .                     1      -274,425.
                                 2        Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . .                   2
                                 3a       Other gross rental income (loss) . . . . . . . .                   3a
                                     b    Expenses from other rental activities (attach statement)           3b
                                     c    Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . .                3c
                                 4        Guaranteed payments        . . . . . . . . . . . . . . . . . . . . .                            4
         Income (Loss)




                                 5        Interest income . . . . . . . . . . . . . . . . . . . . . . . .                                 5
                                 6        Dividends and dividend equivalents: a Ordinary dividends . . . . . . . . .                     6a
                                                                                  b Qualified dividends      6b
                                                                                  c Dividend equivalents 6c
                                 7        Royalties . . . . . . . . . . . . . . . . . . . . . . . . . .                                   7
                                 8        Net short-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . .                8
                                 9a       Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . .                9a
                                     b    Collectibles (28%) gain (loss) . . . . . . . . .                   9b
                                     c    Unrecaptured section 1250 gain (attach statement) . .              9c
                                10        Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . .                      10
                                11        Other income (loss) (see instructions) Type a                                                  11
                                12        Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . .                         12
  Employ- Deductions




                                13a       Contributions . . . . . . . . . . . . . . . . . . . . . . . .                                 13a
                                   b      Investment interest expense       . . . . . . . . . . . . . . . . . . .                       13b
                                   c      Section 59(e)(2) expenditures:      (1) Type a                                  (2) Amount a 13c(2)
                                   d      Other deductions (see instructions) Type a                                                    13d
                                14a       Net earnings (loss) from self-employment . . . . . . . . . . . . . . .                        14a      -230,517.
                                   b      Gross farming or fishing income . . . . . . . . . . . . . . . . . .                           14b
  ment
  Self-




                                   c      Gross nonfarm income . . . . . . . . . . . . . . . . . . . . .                                14c     1,065,672.
                                15a       Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . .                      15a
                                   b      Low-income housing credit (other)       . . . . . . . . . . . . . . . . .                     15b
         Credits




                                   c      Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) 15c
                                   d      Other rental real estate credits (see instructions)    Type a                                 15d
                                   e      Other rental credits (see instructions)                Type a                                 15e
                                   f      Other credits (see instructions)                       Type a                                 15f
                                16a       Name of country or U.S. possession a
                                   b      Gross income from all sources . . . . . . . . . . . . . . . . . . .                           16b
                                   c      Gross income sourced at partner level . . . . . . . . . . . . . . . .                         16c
         Foreign Transactions




                                          Foreign gross income sourced at partnership level
                                     d    Section 951A category a                     e Foreign branch category a                       16e
                                     f    Passive category a             g General category a           h Other (attach statement) .  a 16h
                                          Deductions allocated and apportioned at partner level
                                     i    Interest expense a                              j Other     . . . . . . . . . . a             16j
                                          Deductions allocated and apportioned at partnership level to foreign source income
                                     k    Section 951A category a                     l Foreign branch category a                       16l
                                  m       Passive category a               n General category a            o Other (attach statement) a 16o
                                  p       Total foreign taxes (check one): a Paid           Accrued            . . . . . . . .          16p
                                  q       Reduction in taxes available for credit (attach statement) . . . . . . . . . .                16q
                                  r       Other foreign tax information (attach statement)
                                17a       Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . .                           17a
Other Information Minimum Tax
                  (AMT) Items




                                  b       Adjusted gain or loss . . . . . . . . . . . . . . . . . . . . . .                             17b
                  Alternative




                                  c       Depletion (other than oil and gas) . . . . . . . . . . . . . . . . . .                        17c
                                  d       Oil, gas, and geothermal properties—gross income . . . . . . . . . . . .                      17d
                                  e       Oil, gas, and geothermal properties—deductions . . . . . . . . . . . . .                      17e
                                  f       Other AMT items (attach statement) . . . . . . . . . . . . . . . . .                          17f
                                18a       Tax-exempt interest income . . . . . . . . . . . . . . . . . . . .                            18a
                                  b       Other tax-exempt income . . . . . . . . . . . . . . . . . . . .                               18b
                                  c       Nondeductible expenses . . . . . . . . . . . . . . . . . . . . .                              18c
                                19a       Distributions of cash and marketable securities . . . . . . . . . . . . .                     19a
                                  b       Distributions of other property . . . . . . . . . . . . . . . . . . .                         19b        500,000.
                                20a       Investment income . . . . . . . . . . . . . . . . . . . . . . .                               20a
                                  b       Investment expenses . . . . . . . . . . . . . . . . . . . . . .                               20b
                                  c       Other items and amounts (attach statement) See Stmt                                       Knapton 205
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Analysis of Net Income (Loss)
  1      Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
         Schedule K, lines 12 through 13d, and 16p . . . . . . . . . . . . . . . . . .                      1     -274,425.
  2      Analysis by                            (ii) Individual  (iii) Individual                     (v) Exempt         (vi)
                               (i) Corporate                                      (iv) Partnership
         partner type:                              (active)         (passive)                       Organization   Nominee/Other
      a General partners
      b Limited partners                     -230,517.                                                                                                  -43,908.
 Schedule L            Balance Sheets per Books                             Beginning of tax year                                     End of tax year
                            Assets                                         (a)                 (b)                              (c)                     (d)
  1      Cash . . . . . . . . . . . . .                                                             122,884.                                            698,459.
  2a     Trade notes and accounts receivable . . .
    b    Less allowance for bad debts . . . . .
  3      Inventories . . . . . . . . . . .
  4      U.S. government obligations . . . . .
  5      Tax-exempt securities      . . . . . . .
  6      Other current assets (attach statement) . .
  7a     Loans to partners (or persons related to partners)
    b    Mortgage and real estate loans       . . . .
  8      Other investments (attach statement) . . .
  9a     Buildings and other depreciable assets . .
    b    Less accumulated depreciation . . . .
 10a     Depletable assets . . . . . . . . .
    b    Less accumulated depletion        . . . . .
 11      Land (net of any amortization) . . . . .
 12a     Intangible assets (amortizable only) . . .
    b    Less accumulated amortization        . . . .
 13      Other assets (attach statement) . . . .
 14      Total assets . . . . . . . . . . .                                                         122,884.                                            698,459.
                   Liabilities and Capital
 15      Accounts payable . . . . . . . . .
 16      Mortgages, notes, bonds payable in less than 1 year
 17      Other current liabilities (attach statement)         .
 18      All nonrecourse loans . . . . . . .                  .                                     100,000.                                             50,000.
 19a     Loans from partners (or persons related to partners)
    b    Mortgages, notes, bonds payable in 1 year or more                                                                                        1,400,000.
 20      Other liabilities (attach statement) .      .    .   .
 21      Partners’ capital accounts . . .            .    .   .              22,884.                                                                 -751,541.
 22      Total liabilities and capital . . .         .    .   .             122,884.                                                                  698,459.
 Schedule M-1             Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                        Note: The partnership may be required to file Schedule M-3. See instructions.
  1      Net income (loss) per books . . . .        -274,425. 6 Income recorded on books this year not included
                                                                                         on Schedule K, lines 1 through 11 (itemize):
  2      Income included on Schedule K, lines 1, 2, 3c,
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on                                a   Tax-exempt interest $
         books this year (itemize):
  3      Guaranteed payments (other than                                         7       Deductions included on Schedule K, lines
         health insurance) . . . . . .               .                                   1 through 13d, and 16p, not charged
  4      Expenses recorded on books this year                                            against book income this year (itemize):
         not included on Schedule K, lines 1                                         a   Depreciation $
         through 13d, and 16p (itemize):
    a Depreciation $                                                             8       Add lines 6 and 7 . . . . . . . .
    b Travel and entertainment $                                                 9       Income (loss) (Analysis of Net Income
  5   Add lines 1 through 4 . . .     . . .      -274,425.                               (Loss), line 1). Subtract line 8 from line 5 .              -274,425.
 Schedule M-2          Analysis of Partners’ Capital Accounts
  1      Balance at beginning of year . . .         22,884. 6                            Distributions: a Cash    . .            .    .   .   .
  2      Capital contributed: a Cash     .       .   .                                                  b Property .             .    .   .   .         500,000.
                              b Property         .   .                           7       Other decreases (itemize):
  3      Net income (loss) per books . .         .   .            -274,425.
  4      Other increases (itemize):                                              8       Add lines 6 and 7 .        .   .   .    .    .   .   .         500,000.
  5      Add lines 1 through 4 . . . .           .   .            -251,541.      9                                              Knapton 206
                                                                                         Balance at end of year. Subtract line 8 from line 5
                                                                                                                                         -751,541.
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Form       1125-A                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                             OMB No. 1545-0123
                                                     a Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury                          a Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                                                 Employer identification number
Click Vision Group LLC                                                                                                                                           2893
   1       Inventory at beginning of year   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           1
   2       Purchases . . . . . .            .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           2                   9,860,783
   3       Cost of labor . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           3
   4       Additional section 263A costs (attach schedule) .           .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . . .                   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           5
   6       Total. Add lines 1 through 5 .   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           6                   9,860,783
   7       Inventory at end of year . .     .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           7
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                               8                   9,860,783
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii)  Lower of cost or market
           (iii)  Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods    . . .                  .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .   .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                              .   .   .   .   .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                          .           Yes        No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             Yes        No


Section references are to the Internal                        merchandise is an income-producing                                  Small business taxpayer. A small
Revenue Code unless otherwise noted.                          factor. See Regulations section 1.471-1. If                      business taxpayer is a taxpayer that (a) has
                                                              inventories are required, you generally                          average annual gross receipts of $25
What's New                                                    must use an accrual method of accounting                         million or less (indexed for inflation) for the
Small business taxpayers. For tax years                       for sales and purchases of inventory items.                      3 prior tax years, and (b) is not a tax shelter
beginning after December 31, 2017, the                        Exception for certain taxpayers. A small                         (as defined in section 448(d)(3)). See Pub.
following apply.                                              business taxpayer (defined below), can                           538.
• A small business taxpayer (defined                          adopt or change its accounting method to                         Uniform capitalization rules. The uniform
below), may use a method of accounting for                    account for inventories in the same manner                       capitalization rules of section 263A
inventories that either: (1) treats inventories               as material and supplies that are non-                           generally require you to capitalize, or
as nonincidental materials and supplies, or                   incidental, or conform to its treatment of                       include in inventory, certain costs incurred
(2) conforms to the taxpayer's financial                      inventories in an applicable financial                           in connection with the following.
accounting treatment of inventories.                          statement (as defined in section 451(b)(3)),                     • The production of real property and
• A small business taxpayer is not required                   or if it does not have an applicable financial                   tangible personal property held in inventory
to capitalize costs under section 263A.                       statement, the method of accounting used                         or held for sale in the ordinary course of
                                                              in its books and records prepared in                             business.
General Instructions                                          accordance with its accounting
                                                                                                                               • Real property or personal property
                                                              procedures. See section 471(c)(3).
Purpose of Form                                                                                                                (tangible and intangible) acquired for resale.
                                                                 A small business taxpayer claiming
Use Form 1125-A to calculate and deduct                                                                                        • The production of real property and
                                                              exemption from the requirement to keep
cost of goods sold for certain entities.                                                                                       tangible personal property for use in its
                                                              inventories is changing its method of
                                                                                                                               trade or business or in an activity engaged
Who Must File                                                 accounting for purposes of section 481.
                                                                                                                               in for profit.
                                                              For additional guidance on this method of
Filers of Form 1120, 1120-C, 1120-F,                          accounting, see Pub. 538, Accounting                                A small business taxpayer (defined
1120S, or 1065, must complete and attach                      Periods and Methods. For guidance on                             above) is not required to capitalize costs
Form 1125-A if the applicable entity reports                  changing to this method of accounting, see                       under section 263A. See section 263A(i).
a deduction for cost of goods sold.                           Form 3115 and the Instructions for Form                             See the discussion on section 263A
Inventories                                                   3115.                                                            uniform capitalization rules in the
                                                                                                                               instructions for your tax return before
Generally, inventories are required at the                                                                                     completing Form 1125-A. Also see
beginning and end of each tax year if the                                                                                      Regulations sections 1.263A-1 through
production, purchase, or sale of                                                                                               1.263A-3. See Regulations section
                                                                                                                               1.263A-4 for rules for property produced in
                                                                                                                               a farming business.




For Paperwork Reduction Act Notice, see instructions. BAA                                                                                    Knapton 207
                                                                                                                                                  1125-A
                                                                                                                                REV 01/26/19 TTBIZ Form  (Rev. 11-2018)



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SCHEDULE B-1                                    Information on Partners Owning 50% or
(Form 1065)
(Rev. September 2017)                                  More of the Partnership                                                                      OMB No. 1545-0123
                                                                      a Attach to Form 1065.
Department of the Treasury
Internal Revenue Service                             a Go to www.irs.gov/Form1065 for the latest information.
Name of partnership                                                                                                        Employer identification number (EIN)
Click Vision Group LLC                                                                                                                  2893
 Part I        Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 3a)
Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a
partnership), trust, tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in
the profit, loss, or capital of the partnership (see instructions).
                                                                                                                                                        (v) Maximum
                                                                     (ii) Employer
                                                                                                                                   (iv)              Percentage Owned
                        (i) Name of Entity                       Identification Number          (iii) Type of Entity
                                                                                                                         Country of Organization       in Profit, Loss,
                                                                          (if any)
                                                                                                                                                          or Capital




 Part II       Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 3b)
Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the
profit, loss, or capital of the partnership (see instructions).

                                                                                                                                                        (iv) Maximum
                                                                 (ii) Identifying Number                                                            Percentage Owned in
                 (i) Name of Individual or Estate                                               (iii) Country of Citizenship (see instructions)
                                                                           (if any)                                                                      Profit, Loss,
                                                                                                                                                           or Capital


Brent Simpson                                                                 410          US                                                               84.0000




For Paperwork Reduction Act Notice, see the Instructions for Form 1065. BAA                                     REV 01/26/19 TTBIZ Schedule B-1 (Form 1065) (Rev. 9-2017)




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                                                                                                                                 Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                        2018                              Part III Partner’s Share of Current Year Income,
                                                                                                                              Deductions, Credits, and Other Items
Department of the Treasury                                                                                          1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                              For calendar year 2018, or tax year
                                                                                                                                                    -230,517.
            beginning              /            /       2018          ending            /       /                   2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                              3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I       Information About the Partnership                                                                4            Guaranteed payments
 A      Partnership’s employer identification number
                    2893                                                                                            5            Interest income
 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                                   6a              Ordinary dividends
        14241 Dallas Parkway, Suite 650
        Dallas, TX 75254                                                                                        6b               Qualified dividends


 C      IRS Center where partnership filed return                                                                6c              Dividend equivalents
        Ogden, UT
 D           Check if this is a publicly traded partnership (PTP)                                                   7            Royalties


      Part II      Information About the Partner                                                                    8            Net short-term capital gain (loss)     17   Alternative minimum tax (AMT) items
 E      Partner’s identifying number
                         410                                                                                     9a              Net long-term capital gain (loss)
 F      Partner’s name, address, city, state, and ZIP code
        Brent Simpson                                                                                           9b               Collectibles (28%) gain (loss)
        2901 Queen Mary Dr
        Flower Mound TX 75022                                                                                    9c              Unrecaptured section 1250 gain         18   Tax-exempt income and
                                                                                                                                                                             nondeductible expenses

 G           General partner or LLC                                   Limited partner or other LLC               10              Net section 1231 gain (loss)
             member-manager                                           member

 H           Domestic partner                                         Foreign partner                            11              Other income (loss)


 I1     What type of entity is this partner?                 Individual
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                                                                           19   Distributions

 J      Partner’s share of profit, loss, and capital (see instructions):
                         Beginning                                   Ending

        Profit                         84.00000 %                                    84.00000 %                  12              Section 179 deduction

        Loss                           84.00000 %                                    84.00000 %                                                                         20   Other information
        Capital                        54.00000 %                                    84.00000 %                  13              Other deductions
                                                                                                                                                                        Z * STMT
 K      Partner’s share of liabilities:
                                               Beginning                                    Ending                                                                      AA* STMT
        Nonrecourse       .    .       $                     84,000.           $              42,000.
        Qualified nonrecourse
        financing . . .                $                                       $     1,176,000.                  14              Self-employment earnings (loss)
        Recourse     .    .    .       $                                       $                              A                                     -230,517.
 L      Partner’s capital account analysis:
        Beginning capital account .                 .    .    .   $                     -321,136.             C                                       895,164.
        Capital contributed during the year                   .   $                                              *See attached statement for additional information.
        Current year increase (decrease)                 .    .   $                     -230,517.
        Withdrawals & distributions                 .    .    .   $(                                      )
                                                                                                              For IRS Use Only




        Ending capital account .           .        .    .    .   $                     -551,653.

             Tax basis                     GAAP                         Section 704(b) book
             Other (explain)


 M      Did the partner contribute property with a built-in gain or loss?
             Yes                    No
             If “Yes,” attach statement (see instructions)
                                                                                                                                                                        Knapton 209
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                  www.irs.gov/Form1065                      BAA                           Schedule K-1 (Form 1065) 2018
                                                                                                                                             REV 01/26/19 TTBIZ
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Schedule K-1 (Form 1065) 2018             Brent Simpson                                                                                      2893                 Page 2
This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.




                                                                                                                                    }
1. Ordinary business income (loss). Determine whether the income (loss) is                 Code                                      Report on
   passive or nonpassive and enter on your return as follows.                              J Work opportunity credit
                                              Report on                                    K Disabled access credit
     Passive loss                             See the Partner’s Instructions               L Empowerment zone
     Passive income                           Schedule E, line 28, column (h)                  employment credit
                                                                                           M Credit for increasing research
     Nonpassive loss                          See the Partner’s Instructions                   activities                            See the Partner’s Instructions
     Nonpassive income                        Schedule E, line 28, column (k)              N Credit for employer social
  2. Net rental real estate income (loss) See the Partner’s Instructions                       security and Medicare taxes
  3. Other net rental income (loss)                                                        O Backup withholding
     Net income                               Schedule E, line 28, column (h)              P Other credits
     Net loss                                 See the Partner’s Instructions           16. Foreign transactions



                                                                                                                                    }
  4. Guaranteed payments                      Schedule E, line 28, column (k)              A Name of country or U.S.
  5. Interest income                          Form 1040, line 2b                               possession
 6a. Ordinary dividends                       Form 1040, line 3b                           B Gross income from all sources           Form 1116, Part I
 6b. Qualified dividends                      Form 1040, line 3a                           C Gross income sourced at
 6c. Dividend equivalents                     See the Partner’s Instructions                   partner level
                                                                                           Foreign gross income sourced at partnership level



                                                                                                                                    }
  7. Royalties                                Schedule E, line 4
  8. Net short-term capital gain (loss)       Schedule D, line 5                           D Section 951A category
 9a. Net long-term capital gain (loss)        Schedule D, line 12                          E Foreign branch category
 9b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4              F Passive category                        Form 1116, Part I
                                              (Schedule D instructions)                    G General category
 9c. Unrecaptured section 1250 gain           See the Partner’s Instructions               H Other
10. Net section 1231 gain (loss)              See the Partner’s Instructions               Deductions allocated and apportioned at partner level
11. Other income (loss)                                                                     I Interest expense                       Form 1116, Part I
     Code                                                                                  J Other                                   Form 1116, Part I
     A Other portfolio income (loss)          See the Partner’s Instructions               Deductions allocated and apportioned at partnership level to foreign source
     B Involuntary conversions                See the Partner’s Instructions               income



                                                                                                                                    }
     C Sec. 1256 contracts & straddles        Form 6781, line 1                            K Section 951A category
     D Mining exploration costs recapture See Pub. 535                                     L Foreign branch category
     E Cancellation of debt                   Schedule 1 (Form 1040), line 21 or           M Passive category                        Form 1116, Part I
                                              Form 982                                     N General category



                                          }
     F Section 951A income                                                                 O Other
     G Section 965(a) inclusion                                                            Other information
     H Subpart F income other than            See the Partner’s Instructions               P Total foreign taxes paid                Form 1116, Part II
          sections 951A and 965 inclusion                                                  Q Total foreign taxes accrued             Form 1116, Part II
      I Other income (loss)                                                                R Reduction in taxes available for credit Form 1116, line 12
12. Section 179 deduction                     See the Partner’s Instructions               S Foreign trading gross receipts          Form 8873




                                          }
13. Other deductions                                                                       T Extraterritorial income exclusion       Form 8873


                                                                                                                                    }
     A Cash contributions (60%)                                                            U Section 951A(c)(1)(A) tested income
     B Cash contributions (30%)                                                            V Tested foreign income tax
     C Noncash contributions (50%)                                                         W Section 965 information                 See the Partner’s Instructions
     D Noncash contributions (30%)            See the Partner’s                            X Other foreign transactions




                                                                                                                                    }
     E Capital gain property to a 50%         Instructions                             17. Alternative minimum tax (AMT) items
          organization (30%)                                                               A Post-1986 depreciation adjustment
     F Capital gain property (20%)                                                         B Adjusted gain or loss                   See the Partner’s
     G Contributions (100%)                                                                C Depletion (other than oil & gas)        Instructions and
     H Investment interest expense            Form 4952, line 1                            D Oil, gas, & geothermal—gross income     the Instructions for
      I Deductions—royalty income             Schedule E, line 19                          E Oil, gas, & geothermal—deductions       Form 6251
     J Section 59(e)(2) expenditures          See the Partner’s Instructions               F Other AMT items
     K Excess business interest expense See the Partner’s Instructions                 18. Tax-exempt income and nondeductible expenses
     L Deductions—portfolio (other)           Schedule A, line 16                          A Tax-exempt interest income              Form 1040, line 2a
     M Amounts paid for medical insurance Schedule A, line 1 or Schedule 1                 B Other tax-exempt income                 See the Partner’s Instructions
                                              (Form 1040), line 29                         C Nondeductible expenses                  See the Partner’s Instructions
     N Educational assistance benefits        See the Partner’s Instructions           19. Distributions

                                                                                                                                    }
     O Dependent care benefits                Form 2441, line 12                           A Cash and marketable securities
     P Preproductive period expenses          See the Partner’s Instructions               B Distribution subject to section 737     See the Partner’s Instructions
     Q Commercial revitalization deduction                                                 C Other property
          from rental real estate activities  See Form 8582 instructions               20. Other information
     R Pensions and IRAs                      See the Partner’s Instructions
                                                                                           A Investment income                       Form 4952, line 4a
     S Reforestation expense deduction        See the Partner’s Instructions
                                                                                           B Investment expenses                     Form 4952, line 5
      T through V                             Reserved for future use                      C Fuel tax credit information             Form 4136
     W Other deductions                       See the Partner’s Instructions
                                                                                           D Qualified rehabilitation expenditures See the Partner’s Instructions
     X Section 965(c) deduction               See the Partner’s Instructions                   (other than rental real estate)
14. Self-employment earnings (loss)                                                        E Basis of energy property                See the Partner’s Instructions
Note: If you have a section 179 deduction or any partner-level deductions, see the         F Recapture of low-income housing Form 8611, line 8
Partner’s Instructions before completing Schedule SE.                                          credit (section 42(j)(5))
     A Net earnings (loss) from                                                            G Recapture of low-income housing Form 8611, line 8
          self-employment                     Schedule SE, Section A or B                      credit (other)




                                          }
     B Gross farming or fishing income        See the Partner’s Instructions               H Recapture of investment credit          See Form 4255
     C Gross non-farm income                  See the Partner’s Instructions               I Recapture of other credits              See the Partner’s Instructions
                                                                                           J Look-back interest—completed            See Form 8697




                                                                                                                                    }
15. Credits
      A Low-income housing credit                                                              long-term contracts
          (section 42(j)(5)) from pre-2008                                                 K   Look-back  interest—income   forecast See Form 8866
                                                                                               method
          buildings                                                                        L   Dispositions of property with
     B Low-income housing credit
          (other) from pre-2008 buildings                                                      section 179 deductions
                                                                                           M   Recapture of section 179 deduction
     C Low-income housing credit                                                           N   Interest expense for corporate
          (section 42(j)(5)) from                                                              partners
          post-2007 buildings                 See the Partner’s Instructions              O    through Y
     D Low-income housing credit                                                          Z    Section 199A income
          (other) from post-2007                                                         AA    Section 199A W-2 wages                   See the Partner’s
          buildings                                                                      AB    Section 199A unadjusted basis            Instructions
      E Qualified rehabilitation                                                         AC    Section 199A REIT dividends
          expenditures (rental real estate)                                              AD    Section 199A PTP income
      F Other rental real estate credits
                                                                                         AE    Excess taxable income
     G Other rental credits
     H Undistributed capital gains credit     Schedule 5 (Form 1040), line 74, box a     AF    Excess business interest income
      I Biofuel producer credit               See the Partner’s Instructions
                                                                                         AG
                                                                                         AH
                                                                                               Gross receipts for section 59A(e)
                                                                                               Other information
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    Form 1065             Schedule K-1 - 199A Supplement (Line 20)                           2018


Name as Shown on Return                                                       Employer Identification No.
Click Vision Group LLC                                                                 2893
Partner Name                                                                  ID Number
Brent Simpson                                                                             410

                              Partner’s Share of Section 199A Information

                                 QBI          Wages        UBIA         REIT Div      PTP Inc         SS
 Activity                       Code Z       Code AA      Code AB       Code AC       Code AD         TB
 1065 Line 22                 -230,517.     124,705.                                                  X




 Totals                       -230,517.     124,705.              0.           0.               0.

               Note: Section 179 deductions are included in QBI
spsw9908.SCR 12/05/18




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    Form 1065                          199A Summary Worksheet                                         2018


Name as Shown on Return                                                                Employer Identification No.
Click Vision Group LLC                                                                          2893


                                               Important Information

     Note: The program will not automatically allocate 199A items in the event special allocations
           are used for ordinary, rental, or other rental income. Allocation of QBI amounts from
           this summary will need to be manually entered on each partner’s Schedule K-1.

              See Tax Help for more details.



                                           Total Amounts By Activity
                                      QBI          Wages        UBIA            REIT Div       PTP Inc         SS
 Activity                            Code Z       Code AA     Code AB           Code AC        Code AD         TB
 1065 Line 22                     -274,425.        148,459.                                                    X




 Totals                           -274,425.        148,459.              0.             0.               0.

   Check box to opt out of including Sec 179 deduction in QBI
spsw9907.SCR 02/12/19




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                                                                                                                                 Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                        2018                              Part III Partner’s Share of Current Year Income,
                                                                                                                              Deductions, Credits, and Other Items
Department of the Treasury                                                                                          1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                              For calendar year 2018, or tax year
                                                                                                                                                      -21,954.
            beginning              /            /       2018          ending            /       /                   2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                              3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I       Information About the Partnership                                                                4            Guaranteed payments
 A      Partnership’s employer identification number
                    2893                                                                                            5            Interest income
 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                                   6a              Ordinary dividends
        14241 Dallas Parkway, Suite 650
        Dallas, TX 75254                                                                                        6b               Qualified dividends


 C      IRS Center where partnership filed return                                                                6c              Dividend equivalents
        Ogden, UT
 D           Check if this is a publicly traded partnership (PTP)                                                   7            Royalties


      Part II      Information About the Partner                                                                    8            Net short-term capital gain (loss)     17   Alternative minimum tax (AMT) items
 E      Partner’s identifying number
                                                                                                                 9a              Net long-term capital gain (loss)
 F      Partner’s name, address, city, state, and ZIP code
        J&J Ainsworth Family LP                                                                                 9b               Collectibles (28%) gain (loss)
        1709 Burning Tree Lane
        Plano TX 75093                                                                                           9c              Unrecaptured section 1250 gain         18   Tax-exempt income and
                                                                                                                                                                             nondeductible expenses

 G           General partner or LLC                                   Limited partner or other LLC               10              Net section 1231 gain (loss)
             member-manager                                           member

 H           Domestic partner                                         Foreign partner                            11              Other income (loss)


 I1     What type of entity is this partner?                 Trust
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                                                                           19   Distributions

 J      Partner’s share of profit, loss, and capital (see instructions):                                                                                                C                        250,000.
                         Beginning                                   Ending

        Profit                             8.00000 %                                        8.00000 %            12              Section 179 deduction

        Loss                               8.00000 %                                        8.00000 %                                                                   20   Other information
        Capital                            8.00000 %                                        8.00000 %            13              Other deductions
                                                                                                                                                                        Z * STMT
 K      Partner’s share of liabilities:
                                               Beginning                                    Ending                                                                      AA* STMT
        Nonrecourse       .    .       $                     8,000.            $                4,000.
        Qualified nonrecourse
        financing . . .                $                                       $             112,000.            14              Self-employment earnings (loss)
        Recourse     .    .    .       $                                       $
 L      Partner’s capital account analysis:
        Beginning capital account .                 .    .    .   $                         228,374.
        Capital contributed during the year                   .   $                                              *See attached statement for additional information.
        Current year increase (decrease)                 .    .   $                         -21,954.
        Withdrawals & distributions                 .    .    .   $(                        250,000. )
                                                                                                              For IRS Use Only




        Ending capital account .           .        .    .    .   $                         -43,580.

             Tax basis                     GAAP                         Section 704(b) book
             Other (explain)


 M      Did the partner contribute property with a built-in gain or loss?
             Yes                    No
             If “Yes,” attach statement (see instructions)
                                                                                                                                                                        Knapton 213
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                  www.irs.gov/Form1065                      BAA                           Schedule K-1 (Form 1065) 2018
                                                                                                                                             REV 01/26/19 TTBIZ
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Schedule K-1 (Form 1065) 2018             J&J Ainsworth Family LP                                                                            2893                 Page 2
This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.




                                                                                                                                    }
1. Ordinary business income (loss). Determine whether the income (loss) is                 Code                                      Report on
   passive or nonpassive and enter on your return as follows.                              J Work opportunity credit
                                              Report on                                    K Disabled access credit
     Passive loss                             See the Partner’s Instructions               L Empowerment zone
     Passive income                           Schedule E, line 28, column (h)                  employment credit
                                                                                           M Credit for increasing research
     Nonpassive loss                          See the Partner’s Instructions                   activities                            See the Partner’s Instructions
     Nonpassive income                        Schedule E, line 28, column (k)              N Credit for employer social
  2. Net rental real estate income (loss) See the Partner’s Instructions                       security and Medicare taxes
  3. Other net rental income (loss)                                                        O Backup withholding
     Net income                               Schedule E, line 28, column (h)              P Other credits
     Net loss                                 See the Partner’s Instructions           16. Foreign transactions



                                                                                                                                    }
  4. Guaranteed payments                      Schedule E, line 28, column (k)              A Name of country or U.S.
  5. Interest income                          Form 1040, line 2b                               possession
 6a. Ordinary dividends                       Form 1040, line 3b                           B Gross income from all sources           Form 1116, Part I
 6b. Qualified dividends                      Form 1040, line 3a                           C Gross income sourced at
 6c. Dividend equivalents                     See the Partner’s Instructions                   partner level
                                                                                           Foreign gross income sourced at partnership level



                                                                                                                                    }
  7. Royalties                                Schedule E, line 4
  8. Net short-term capital gain (loss)       Schedule D, line 5                           D Section 951A category
 9a. Net long-term capital gain (loss)        Schedule D, line 12                          E Foreign branch category
 9b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4              F Passive category                        Form 1116, Part I
                                              (Schedule D instructions)                    G General category
 9c. Unrecaptured section 1250 gain           See the Partner’s Instructions               H Other
10. Net section 1231 gain (loss)              See the Partner’s Instructions               Deductions allocated and apportioned at partner level
11. Other income (loss)                                                                     I Interest expense                       Form 1116, Part I
     Code                                                                                  J Other                                   Form 1116, Part I
     A Other portfolio income (loss)          See the Partner’s Instructions               Deductions allocated and apportioned at partnership level to foreign source
     B Involuntary conversions                See the Partner’s Instructions               income



                                                                                                                                    }
     C Sec. 1256 contracts & straddles        Form 6781, line 1                            K Section 951A category
     D Mining exploration costs recapture See Pub. 535                                     L Foreign branch category
     E Cancellation of debt                   Schedule 1 (Form 1040), line 21 or           M Passive category                        Form 1116, Part I
                                              Form 982                                     N General category



                                          }
     F Section 951A income                                                                 O Other
     G Section 965(a) inclusion                                                            Other information
     H Subpart F income other than            See the Partner’s Instructions               P Total foreign taxes paid                Form 1116, Part II
          sections 951A and 965 inclusion                                                  Q Total foreign taxes accrued             Form 1116, Part II
      I Other income (loss)                                                                R Reduction in taxes available for credit Form 1116, line 12
12. Section 179 deduction                     See the Partner’s Instructions               S Foreign trading gross receipts          Form 8873




                                          }
13. Other deductions                                                                       T Extraterritorial income exclusion       Form 8873


                                                                                                                                    }
     A Cash contributions (60%)                                                            U Section 951A(c)(1)(A) tested income
     B Cash contributions (30%)                                                            V Tested foreign income tax
     C Noncash contributions (50%)                                                         W Section 965 information                 See the Partner’s Instructions
     D Noncash contributions (30%)            See the Partner’s                            X Other foreign transactions




                                                                                                                                    }
     E Capital gain property to a 50%         Instructions                             17. Alternative minimum tax (AMT) items
          organization (30%)                                                               A Post-1986 depreciation adjustment
     F Capital gain property (20%)                                                         B Adjusted gain or loss                   See the Partner’s
     G Contributions (100%)                                                                C Depletion (other than oil & gas)        Instructions and
     H Investment interest expense            Form 4952, line 1                            D Oil, gas, & geothermal—gross income     the Instructions for
      I Deductions—royalty income             Schedule E, line 19                          E Oil, gas, & geothermal—deductions       Form 6251
     J Section 59(e)(2) expenditures          See the Partner’s Instructions               F Other AMT items
     K Excess business interest expense See the Partner’s Instructions                 18. Tax-exempt income and nondeductible expenses
     L Deductions—portfolio (other)           Schedule A, line 16                          A Tax-exempt interest income              Form 1040, line 2a
     M Amounts paid for medical insurance Schedule A, line 1 or Schedule 1                 B Other tax-exempt income                 See the Partner’s Instructions
                                              (Form 1040), line 29                         C Nondeductible expenses                  See the Partner’s Instructions
     N Educational assistance benefits        See the Partner’s Instructions           19. Distributions

                                                                                                                                    }
     O Dependent care benefits                Form 2441, line 12                           A Cash and marketable securities
     P Preproductive period expenses          See the Partner’s Instructions               B Distribution subject to section 737     See the Partner’s Instructions
     Q Commercial revitalization deduction                                                 C Other property
          from rental real estate activities  See Form 8582 instructions               20. Other information
     R Pensions and IRAs                      See the Partner’s Instructions
                                                                                           A Investment income                       Form 4952, line 4a
     S Reforestation expense deduction        See the Partner’s Instructions
                                                                                           B Investment expenses                     Form 4952, line 5
      T through V                             Reserved for future use                      C Fuel tax credit information             Form 4136
     W Other deductions                       See the Partner’s Instructions
                                                                                           D Qualified rehabilitation expenditures See the Partner’s Instructions
     X Section 965(c) deduction               See the Partner’s Instructions                   (other than rental real estate)
14. Self-employment earnings (loss)                                                        E Basis of energy property                See the Partner’s Instructions
Note: If you have a section 179 deduction or any partner-level deductions, see the         F Recapture of low-income housing Form 8611, line 8
Partner’s Instructions before completing Schedule SE.                                          credit (section 42(j)(5))
     A Net earnings (loss) from                                                            G Recapture of low-income housing Form 8611, line 8
          self-employment                     Schedule SE, Section A or B                      credit (other)




                                          }
     B Gross farming or fishing income        See the Partner’s Instructions               H Recapture of investment credit          See Form 4255
     C Gross non-farm income                  See the Partner’s Instructions               I Recapture of other credits              See the Partner’s Instructions
                                                                                           J Look-back interest—completed            See Form 8697




                                                                                                                                    }
15. Credits
      A Low-income housing credit                                                              long-term contracts
          (section 42(j)(5)) from pre-2008                                                 K   Look-back  interest—income   forecast See Form 8866
                                                                                               method
          buildings                                                                        L   Dispositions of property with
     B Low-income housing credit
          (other) from pre-2008 buildings                                                      section 179 deductions
                                                                                           M   Recapture of section 179 deduction
     C Low-income housing credit                                                           N   Interest expense for corporate
          (section 42(j)(5)) from                                                              partners
          post-2007 buildings                 See the Partner’s Instructions              O    through Y
     D Low-income housing credit                                                          Z    Section 199A income
          (other) from post-2007                                                         AA    Section 199A W-2 wages                   See the Partner’s
          buildings                                                                      AB    Section 199A unadjusted basis            Instructions
      E Qualified rehabilitation                                                         AC    Section 199A REIT dividends
          expenditures (rental real estate)                                              AD    Section 199A PTP income
      F Other rental real estate credits
                                                                                         AE    Excess taxable income
     G Other rental credits
     H Undistributed capital gains credit     Schedule 5 (Form 1040), line 74, box a     AF    Excess business interest income
      I Biofuel producer credit               See the Partner’s Instructions
                                                                                         AG
                                                                                         AH
                                                                                               Gross receipts for section 59A(e)
                                                                                               Other information
                                                                                         REV 01/26/19 TTBIZ
                                                                                                                                    Knapton 214
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    Form 1065             Schedule K-1 - 199A Supplement (Line 20)                           2018


Name as Shown on Return                                                       Employer Identification No.
Click Vision Group LLC                                                                 2893
Partner Name                                                                  ID Number
J&J Ainsworth Family LP

                              Partner’s Share of Section 199A Information

                                 QBI          Wages        UBIA         REIT Div      PTP Inc         SS
 Activity                       Code Z       Code AA      Code AB       Code AC       Code AD         TB
 1065 Line 22                  -21,954.      11,877.                                                  X




 Totals                        -21,954.      11,877.              0.           0.               0.

               Note: Section 179 deductions are included in QBI
spsw9908.SCR 12/05/18




                                                                                    Knapton 215
                                                                                                          357
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                                                                                                                                 Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                        2018                              Part III Partner’s Share of Current Year Income,
                                                                                                                              Deductions, Credits, and Other Items
Department of the Treasury                                                                                          1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                              For calendar year 2018, or tax year
                                                                                                                                                      -21,954.
            beginning              /            /       2018          ending            /       /                   2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                              3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I       Information About the Partnership                                                                4            Guaranteed payments
 A      Partnership’s employer identification number
                    2893                                                                                            5            Interest income
 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                                   6a              Ordinary dividends
        14241 Dallas Parkway, Suite 650
        Dallas, TX 75254                                                                                        6b               Qualified dividends


 C      IRS Center where partnership filed return                                                                6c              Dividend equivalents
        Ogden, UT
 D           Check if this is a publicly traded partnership (PTP)                                                   7            Royalties


      Part II      Information About the Partner                                                                    8            Net short-term capital gain (loss)     17   Alternative minimum tax (AMT) items
 E      Partner’s identifying number
                                                                                                                 9a              Net long-term capital gain (loss)
 F      Partner’s name, address, city, state, and ZIP code
        MCT Texas Partners LP                                                                                   9b               Collectibles (28%) gain (loss)
        4911 Cape Coral Dr
        Dallas TX 75287                                                                                          9c              Unrecaptured section 1250 gain         18   Tax-exempt income and
                                                                                                                                                                             nondeductible expenses

 G           General partner or LLC                                   Limited partner or other LLC               10              Net section 1231 gain (loss)
             member-manager                                           member

 H           Domestic partner                                         Foreign partner                            11              Other income (loss)


 I1     What type of entity is this partner?                 Trust
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                                                                           19   Distributions

 J      Partner’s share of profit, loss, and capital (see instructions):                                                                                                C                        250,000.
                         Beginning                                   Ending

        Profit                             8.00000 %                                        8.00000 %            12              Section 179 deduction

        Loss                               8.00000 %                                        8.00000 %                                                                   20   Other information
        Capital                            8.00000 %                                        8.00000 %            13              Other deductions
                                                                                                                                                                        Z * STMT
 K      Partner’s share of liabilities:
                                               Beginning                                    Ending                                                                      AA* STMT
        Nonrecourse       .    .       $                     8,000.            $                4,000.
        Qualified nonrecourse
        financing . . .                $                                       $             112,000.            14              Self-employment earnings (loss)
        Recourse     .    .    .       $                                       $
 L      Partner’s capital account analysis:
        Beginning capital account .                 .    .    .   $                         228,374.
        Capital contributed during the year                   .   $                                              *See attached statement for additional information.
        Current year increase (decrease)                 .    .   $                         -21,954.
        Withdrawals & distributions                 .    .    .   $(                        250,000. )
                                                                                                              For IRS Use Only




        Ending capital account .           .        .    .    .   $                         -43,580.

             Tax basis                     GAAP                         Section 704(b) book
             Other (explain)


 M      Did the partner contribute property with a built-in gain or loss?
             Yes                    No
             If “Yes,” attach statement (see instructions)
                                                                                                                                                                        Knapton 216
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                  www.irs.gov/Form1065                      BAA                           Schedule K-1 (Form 1065) 2018
                                                                                                                                             REV 01/26/19 TTBIZ
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Schedule K-1 (Form 1065) 2018             MCT Texas Partners LP                                                                              2893                 Page 2
This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.




                                                                                                                                    }
1. Ordinary business income (loss). Determine whether the income (loss) is                 Code                                      Report on
   passive or nonpassive and enter on your return as follows.                              J Work opportunity credit
                                              Report on                                    K Disabled access credit
     Passive loss                             See the Partner’s Instructions               L Empowerment zone
     Passive income                           Schedule E, line 28, column (h)                  employment credit
                                                                                           M Credit for increasing research
     Nonpassive loss                          See the Partner’s Instructions                   activities                            See the Partner’s Instructions
     Nonpassive income                        Schedule E, line 28, column (k)              N Credit for employer social
  2. Net rental real estate income (loss) See the Partner’s Instructions                       security and Medicare taxes
  3. Other net rental income (loss)                                                        O Backup withholding
     Net income                               Schedule E, line 28, column (h)              P Other credits
     Net loss                                 See the Partner’s Instructions           16. Foreign transactions



                                                                                                                                    }
  4. Guaranteed payments                      Schedule E, line 28, column (k)              A Name of country or U.S.
  5. Interest income                          Form 1040, line 2b                               possession
 6a. Ordinary dividends                       Form 1040, line 3b                           B Gross income from all sources           Form 1116, Part I
 6b. Qualified dividends                      Form 1040, line 3a                           C Gross income sourced at
 6c. Dividend equivalents                     See the Partner’s Instructions                   partner level
                                                                                           Foreign gross income sourced at partnership level



                                                                                                                                    }
  7. Royalties                                Schedule E, line 4
  8. Net short-term capital gain (loss)       Schedule D, line 5                           D Section 951A category
 9a. Net long-term capital gain (loss)        Schedule D, line 12                          E Foreign branch category
 9b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4              F Passive category                        Form 1116, Part I
                                              (Schedule D instructions)                    G General category
 9c. Unrecaptured section 1250 gain           See the Partner’s Instructions               H Other
10. Net section 1231 gain (loss)              See the Partner’s Instructions               Deductions allocated and apportioned at partner level
11. Other income (loss)                                                                     I Interest expense                       Form 1116, Part I
     Code                                                                                  J Other                                   Form 1116, Part I
     A Other portfolio income (loss)          See the Partner’s Instructions               Deductions allocated and apportioned at partnership level to foreign source
     B Involuntary conversions                See the Partner’s Instructions               income



                                                                                                                                    }
     C Sec. 1256 contracts & straddles        Form 6781, line 1                            K Section 951A category
     D Mining exploration costs recapture See Pub. 535                                     L Foreign branch category
     E Cancellation of debt                   Schedule 1 (Form 1040), line 21 or           M Passive category                        Form 1116, Part I
                                              Form 982                                     N General category



                                          }
     F Section 951A income                                                                 O Other
     G Section 965(a) inclusion                                                            Other information
     H Subpart F income other than            See the Partner’s Instructions               P Total foreign taxes paid                Form 1116, Part II
          sections 951A and 965 inclusion                                                  Q Total foreign taxes accrued             Form 1116, Part II
      I Other income (loss)                                                                R Reduction in taxes available for credit Form 1116, line 12
12. Section 179 deduction                     See the Partner’s Instructions               S Foreign trading gross receipts          Form 8873




                                          }
13. Other deductions                                                                       T Extraterritorial income exclusion       Form 8873


                                                                                                                                    }
     A Cash contributions (60%)                                                            U Section 951A(c)(1)(A) tested income
     B Cash contributions (30%)                                                            V Tested foreign income tax
     C Noncash contributions (50%)                                                         W Section 965 information                 See the Partner’s Instructions
     D Noncash contributions (30%)            See the Partner’s                            X Other foreign transactions




                                                                                                                                    }
     E Capital gain property to a 50%         Instructions                             17. Alternative minimum tax (AMT) items
          organization (30%)                                                               A Post-1986 depreciation adjustment
     F Capital gain property (20%)                                                         B Adjusted gain or loss                   See the Partner’s
     G Contributions (100%)                                                                C Depletion (other than oil & gas)        Instructions and
     H Investment interest expense            Form 4952, line 1                            D Oil, gas, & geothermal—gross income     the Instructions for
      I Deductions—royalty income             Schedule E, line 19                          E Oil, gas, & geothermal—deductions       Form 6251
     J Section 59(e)(2) expenditures          See the Partner’s Instructions               F Other AMT items
     K Excess business interest expense See the Partner’s Instructions                 18. Tax-exempt income and nondeductible expenses
     L Deductions—portfolio (other)           Schedule A, line 16                          A Tax-exempt interest income              Form 1040, line 2a
     M Amounts paid for medical insurance Schedule A, line 1 or Schedule 1                 B Other tax-exempt income                 See the Partner’s Instructions
                                              (Form 1040), line 29                         C Nondeductible expenses                  See the Partner’s Instructions
     N Educational assistance benefits        See the Partner’s Instructions           19. Distributions

                                                                                                                                    }
     O Dependent care benefits                Form 2441, line 12                           A Cash and marketable securities
     P Preproductive period expenses          See the Partner’s Instructions               B Distribution subject to section 737     See the Partner’s Instructions
     Q Commercial revitalization deduction                                                 C Other property
          from rental real estate activities  See Form 8582 instructions               20. Other information
     R Pensions and IRAs                      See the Partner’s Instructions
                                                                                           A Investment income                       Form 4952, line 4a
     S Reforestation expense deduction        See the Partner’s Instructions
                                                                                           B Investment expenses                     Form 4952, line 5
      T through V                             Reserved for future use                      C Fuel tax credit information             Form 4136
     W Other deductions                       See the Partner’s Instructions
                                                                                           D Qualified rehabilitation expenditures See the Partner’s Instructions
     X Section 965(c) deduction               See the Partner’s Instructions                   (other than rental real estate)
14. Self-employment earnings (loss)                                                        E Basis of energy property                See the Partner’s Instructions
Note: If you have a section 179 deduction or any partner-level deductions, see the         F Recapture of low-income housing Form 8611, line 8
Partner’s Instructions before completing Schedule SE.                                          credit (section 42(j)(5))
     A Net earnings (loss) from                                                            G Recapture of low-income housing Form 8611, line 8
          self-employment                     Schedule SE, Section A or B                      credit (other)




                                          }
     B Gross farming or fishing income        See the Partner’s Instructions               H Recapture of investment credit          See Form 4255
     C Gross non-farm income                  See the Partner’s Instructions               I Recapture of other credits              See the Partner’s Instructions
                                                                                           J Look-back interest—completed            See Form 8697




                                                                                                                                    }
15. Credits
      A Low-income housing credit                                                              long-term contracts
          (section 42(j)(5)) from pre-2008                                                 K   Look-back  interest—income   forecast See Form 8866
                                                                                               method
          buildings                                                                        L   Dispositions of property with
     B Low-income housing credit
          (other) from pre-2008 buildings                                                      section 179 deductions
                                                                                           M   Recapture of section 179 deduction
     C Low-income housing credit                                                           N   Interest expense for corporate
          (section 42(j)(5)) from                                                              partners
          post-2007 buildings                 See the Partner’s Instructions              O    through Y
     D Low-income housing credit                                                          Z    Section 199A income
          (other) from post-2007                                                         AA    Section 199A W-2 wages                   See the Partner’s
          buildings                                                                      AB    Section 199A unadjusted basis            Instructions
      E Qualified rehabilitation                                                         AC    Section 199A REIT dividends
          expenditures (rental real estate)                                              AD    Section 199A PTP income
      F Other rental real estate credits
                                                                                         AE    Excess taxable income
     G Other rental credits
     H Undistributed capital gains credit     Schedule 5 (Form 1040), line 74, box a     AF    Excess business interest income
      I Biofuel producer credit               See the Partner’s Instructions
                                                                                         AG
                                                                                         AH
                                                                                               Gross receipts for section 59A(e)
                                                                                               Other information
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    Form 1065             Schedule K-1 - 199A Supplement (Line 20)                           2018


Name as Shown on Return                                                       Employer Identification No.
Click Vision Group LLC                                                                 2893
Partner Name                                                                  ID Number
MCT Texas Partners LP

                              Partner’s Share of Section 199A Information

                                 QBI          Wages        UBIA         REIT Div      PTP Inc         SS
 Activity                       Code Z       Code AA      Code AB       Code AC       Code AD         TB
 1065 Line 22                  -21,954.      11,877.                                                  X




 Totals                        -21,954.      11,877.              0.           0.               0.

               Note: Section 179 deductions are included in QBI
spsw9908.SCR 12/05/18




                                                                                    Knapton 218
                                                                                                          360
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                                                                                                                                 Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                        2018                              Part III Partner’s Share of Current Year Income,
                                                                                                                              Deductions, Credits, and Other Items
Department of the Treasury                                                                                          1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                              For calendar year 2018, or tax year

            beginning              /            /       2018          ending            /       /                   2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                              3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I       Information About the Partnership                                                                4            Guaranteed payments
 A      Partnership’s employer identification number
                    2893                                                                                            5            Interest income
 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                                   6a              Ordinary dividends
        14241 Dallas Parkway, Suite 650
        Dallas, TX 75254                                                                                        6b               Qualified dividends


 C      IRS Center where partnership filed return                                                                6c              Dividend equivalents
        Ogden, UT
 D           Check if this is a publicly traded partnership (PTP)                                                   7            Royalties


      Part II      Information About the Partner                                                                    8            Net short-term capital gain (loss)     17   Alternative minimum tax (AMT) items
 E      Partner’s identifying number
                                                                                                                 9a              Net long-term capital gain (loss)
 F      Partner’s name, address, city, state, and ZIP code
        Jacob Nelan                                                                                             9b               Collectibles (28%) gain (loss)
        9756 Delmonico Dr
        Fort Worth TX 76244                                                                                      9c              Unrecaptured section 1250 gain         18   Tax-exempt income and
                                                                                                                                                                             nondeductible expenses

 G           General partner or LLC                                   Limited partner or other LLC               10              Net section 1231 gain (loss)
             member-manager                                           member

 H           Domestic partner                                         Foreign partner                            11              Other income (loss)


 I1     What type of entity is this partner?                 Individual
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                                                                           19   Distributions

 J      Partner’s share of profit, loss, and capital (see instructions):
                         Beginning                                   Ending

        Profit                          0.00000 %                                     0.00000 %                  12              Section 179 deduction

        Loss                            0.00000 %                                     0.00000 %                                                                         20   Other information
        Capital                        30.00000 %                                    0.00000 %                  13              Other deductions


 K      Partner’s share of liabilities:
                                               Beginning                                    Ending

        Nonrecourse       .    .       $                                0.     $                       0.
        Qualified nonrecourse
        financing . . .                $                                       $                       0.        14              Self-employment earnings (loss)
        Recourse     .    .    .       $                                       $
 L      Partner’s capital account analysis:
        Beginning capital account .                 .    .    .   $                     -112,728.
        Capital contributed during the year                   .   $                                              *See attached statement for additional information.
        Current year increase (decrease)                 .    .   $
        Withdrawals & distributions                 .    .    .   $(                                      )
                                                                                                              For IRS Use Only




        Ending capital account .           .        .    .    .   $                     -112,728.

             Tax basis                     GAAP                         Section 704(b) book
             Other (explain)


 M      Did the partner contribute property with a built-in gain or loss?
             Yes                    No
             If “Yes,” attach statement (see instructions)
                                                                                                                                                                        Knapton 219
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                  www.irs.gov/Form1065                      BAA                           Schedule K-1 (Form 1065) 2018
                                                                                                                                             REV 01/26/19 TTBIZ
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Schedule K-1 (Form 1065) 2018             Jacob Nelan                                                                                        2893                 Page 2
This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.




                                                                                                                                    }
1. Ordinary business income (loss). Determine whether the income (loss) is                 Code                                      Report on
   passive or nonpassive and enter on your return as follows.                              J Work opportunity credit
                                              Report on                                    K Disabled access credit
     Passive loss                             See the Partner’s Instructions               L Empowerment zone
     Passive income                           Schedule E, line 28, column (h)                  employment credit
                                                                                           M Credit for increasing research
     Nonpassive loss                          See the Partner’s Instructions                   activities                            See the Partner’s Instructions
     Nonpassive income                        Schedule E, line 28, column (k)              N Credit for employer social
  2. Net rental real estate income (loss) See the Partner’s Instructions                       security and Medicare taxes
  3. Other net rental income (loss)                                                        O Backup withholding
     Net income                               Schedule E, line 28, column (h)              P Other credits
     Net loss                                 See the Partner’s Instructions           16. Foreign transactions



                                                                                                                                    }
  4. Guaranteed payments                      Schedule E, line 28, column (k)              A Name of country or U.S.
  5. Interest income                          Form 1040, line 2b                               possession
 6a. Ordinary dividends                       Form 1040, line 3b                           B Gross income from all sources           Form 1116, Part I
 6b. Qualified dividends                      Form 1040, line 3a                           C Gross income sourced at
 6c. Dividend equivalents                     See the Partner’s Instructions                   partner level
                                                                                           Foreign gross income sourced at partnership level



                                                                                                                                    }
  7. Royalties                                Schedule E, line 4
  8. Net short-term capital gain (loss)       Schedule D, line 5                           D Section 951A category
 9a. Net long-term capital gain (loss)        Schedule D, line 12                          E Foreign branch category
 9b. Collectibles (28%) gain (loss)           28% Rate Gain Worksheet, line 4              F Passive category                        Form 1116, Part I
                                              (Schedule D instructions)                    G General category
 9c. Unrecaptured section 1250 gain           See the Partner’s Instructions               H Other
10. Net section 1231 gain (loss)              See the Partner’s Instructions               Deductions allocated and apportioned at partner level
11. Other income (loss)                                                                     I Interest expense                       Form 1116, Part I
     Code                                                                                  J Other                                   Form 1116, Part I
     A Other portfolio income (loss)          See the Partner’s Instructions               Deductions allocated and apportioned at partnership level to foreign source
     B Involuntary conversions                See the Partner’s Instructions               income



                                                                                                                                    }
     C Sec. 1256 contracts & straddles        Form 6781, line 1                            K Section 951A category
     D Mining exploration costs recapture See Pub. 535                                     L Foreign branch category
     E Cancellation of debt                   Schedule 1 (Form 1040), line 21 or           M Passive category                        Form 1116, Part I
                                              Form 982                                     N General category



                                          }
     F Section 951A income                                                                 O Other
     G Section 965(a) inclusion                                                            Other information
     H Subpart F income other than            See the Partner’s Instructions               P Total foreign taxes paid                Form 1116, Part II
          sections 951A and 965 inclusion                                                  Q Total foreign taxes accrued             Form 1116, Part II
      I Other income (loss)                                                                R Reduction in taxes available for credit Form 1116, line 12
12. Section 179 deduction                     See the Partner’s Instructions               S Foreign trading gross receipts          Form 8873




                                          }
13. Other deductions                                                                       T Extraterritorial income exclusion       Form 8873


                                                                                                                                    }
     A Cash contributions (60%)                                                            U Section 951A(c)(1)(A) tested income
     B Cash contributions (30%)                                                            V Tested foreign income tax
     C Noncash contributions (50%)                                                         W Section 965 information                 See the Partner’s Instructions
     D Noncash contributions (30%)            See the Partner’s                            X Other foreign transactions




                                                                                                                                    }
     E Capital gain property to a 50%         Instructions                             17. Alternative minimum tax (AMT) items
          organization (30%)                                                               A Post-1986 depreciation adjustment
     F Capital gain property (20%)                                                         B Adjusted gain or loss                   See the Partner’s
     G Contributions (100%)                                                                C Depletion (other than oil & gas)        Instructions and
     H Investment interest expense            Form 4952, line 1                            D Oil, gas, & geothermal—gross income     the Instructions for
      I Deductions—royalty income             Schedule E, line 19                          E Oil, gas, & geothermal—deductions       Form 6251
     J Section 59(e)(2) expenditures          See the Partner’s Instructions               F Other AMT items
     K Excess business interest expense See the Partner’s Instructions                 18. Tax-exempt income and nondeductible expenses
     L Deductions—portfolio (other)           Schedule A, line 16                          A Tax-exempt interest income              Form 1040, line 2a
     M Amounts paid for medical insurance Schedule A, line 1 or Schedule 1                 B Other tax-exempt income                 See the Partner’s Instructions
                                              (Form 1040), line 29                         C Nondeductible expenses                  See the Partner’s Instructions
     N Educational assistance benefits        See the Partner’s Instructions           19. Distributions

                                                                                                                                    }
     O Dependent care benefits                Form 2441, line 12                           A Cash and marketable securities
     P Preproductive period expenses          See the Partner’s Instructions               B Distribution subject to section 737     See the Partner’s Instructions
     Q Commercial revitalization deduction                                                 C Other property
          from rental real estate activities  See Form 8582 instructions               20. Other information
     R Pensions and IRAs                      See the Partner’s Instructions
                                                                                           A Investment income                       Form 4952, line 4a
     S Reforestation expense deduction        See the Partner’s Instructions
                                                                                           B Investment expenses                     Form 4952, line 5
      T through V                             Reserved for future use                      C Fuel tax credit information             Form 4136
     W Other deductions                       See the Partner’s Instructions
                                                                                           D Qualified rehabilitation expenditures See the Partner’s Instructions
     X Section 965(c) deduction               See the Partner’s Instructions                   (other than rental real estate)
14. Self-employment earnings (loss)                                                        E Basis of energy property                See the Partner’s Instructions
Note: If you have a section 179 deduction or any partner-level deductions, see the         F Recapture of low-income housing Form 8611, line 8
Partner’s Instructions before completing Schedule SE.                                          credit (section 42(j)(5))
     A Net earnings (loss) from                                                            G Recapture of low-income housing Form 8611, line 8
          self-employment                     Schedule SE, Section A or B                      credit (other)




                                          }
     B Gross farming or fishing income        See the Partner’s Instructions               H Recapture of investment credit          See Form 4255
     C Gross non-farm income                  See the Partner’s Instructions               I Recapture of other credits              See the Partner’s Instructions
                                                                                           J Look-back interest—completed            See Form 8697




                                                                                                                                    }
15. Credits
      A Low-income housing credit                                                              long-term contracts
          (section 42(j)(5)) from pre-2008                                                 K   Look-back  interest—income   forecast See Form 8866
                                                                                               method
          buildings                                                                        L   Dispositions of property with
     B Low-income housing credit
          (other) from pre-2008 buildings                                                      section 179 deductions
                                                                                           M   Recapture of section 179 deduction
     C Low-income housing credit                                                           N   Interest expense for corporate
          (section 42(j)(5)) from                                                              partners
          post-2007 buildings                 See the Partner’s Instructions              O    through Y
     D Low-income housing credit                                                          Z    Section 199A income
          (other) from post-2007                                                         AA    Section 199A W-2 wages                   See the Partner’s
          buildings                                                                      AB    Section 199A unadjusted basis            Instructions
      E Qualified rehabilitation                                                         AC    Section 199A REIT dividends
          expenditures (rental real estate)                                              AD    Section 199A PTP income
      F Other rental real estate credits
                                                                                         AE    Excess taxable income
     G Other rental credits
     H Undistributed capital gains credit     Schedule 5 (Form 1040), line 74, box a     AF    Excess business interest income
      I Biofuel producer credit               See the Partner’s Instructions
                                                                                         AG
                                                                                         AH
                                                                                               Gross receipts for section 59A(e)
                                                                                               Other information
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    Form 1065             Schedule K-1 - 199A Supplement (Line 20)                           2018


Name as Shown on Return                                                       Employer Identification No.
Click Vision Group LLC                                                                 2893
Partner Name                                                                  ID Number
Jacob Nelan

                              Partner’s Share of Section 199A Information

                                 QBI          Wages        UBIA         REIT Div      PTP Inc         SS
 Activity                       Code Z       Code AA      Code AB       Code AC       Code AD         TB
 1065 Line 22                                                                                         X




 Totals                                0.           0.            0.           0.               0.

               Note: Section 179 deductions are included in QBI
spsw9908.SCR 12/05/18




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                                                                                                          363
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                                       199A Worksheet by Activity                                2018
                                              G Keep for your records

Name as Shown on Return                                                           Employer Identification No.
Click Vision Group LLC                                                                     2893

Activity                1065           Line 22

       Check if activity is NOT a qualified trade/business
 1     Qualified Business Income                                     1a   -274,425.
       Adjustments                                                    b
       Adjusted Qualified Business Income                                               1c        -274,425.
 2a    Wages                                                         2a    148,459.
  b    Adjustments                                                    b
  c    Adjusted Wages                                                                   2c          148,459.
 3a    Unadjusted Basis Immediately after Acquisition                3a
  b    Adjustments                                                    b
  c    Adjusted UBIA                                                                    3c

 4     Specified Service Trade or Business?                  X Yes           No

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Click Vision Group LLC                                                             2893                   1



Additional information from your 2018 Federal Partnership Tax Return

Form 1065: Partnership Tax Return
Line 20, Other Deductions                                                   Continuation Statement
                                     Description                                           Amount
Accounting                                                                                        12,002.
Advertising                                                                                      128,981.
Computer services and supplies                                                                    19,437.
Legal and professional                                                                            41,102.
Office expense                                                                                    26,442.
Outside services/independent contractors                                                         702,813.
Telephone                                                                                          6,442.
Travel                                                                                            65,443.
Utilities                                                                                          7,765.
EHR Data Partnerships                                                                            136,239.
MacBook Pros                                                                                       8,662.
                                                                           Total             1,155,328.

Form 1065: Partnership Tax Return
Sch K, Line 20c, Other Items and Amounts                                    Continuation Statement
                         Code                                Description                         Amount
Z                                              Section 199A income                            -274,425.
AA                                             Section 199A W-2 wages                            148,459.
                                                                                      Total -125,966.




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                                                                                             365
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                                            Instructions for Filing
                                   2019 U.S. Partnership Return of Income
                                                                                           September 23, 2020
         Signature:
                A general partner or a limited liability company member should sign and date the
                return at the bottom of the first page.

         Due Date:
                File your 2019 Form 1065 on or before:                       March 16, 2020
                        (Note: Your state return may be due on a different date. Please review your state filing instructions.)
                The IRS may treat tax returns that are lost in the mail as not filed on time, unless you
                send them by registered or certified mail. To avoid the risk of your tax return being lost,
                mail it via (1) certified U.S. mail, return receipt requested, or (2) one of the private delivery
                services listed in the IRS instructions under "When to File." Save the receipt, and you will
                be presumed to have timely filed your return - even if it is not received by the IRS.

         Filing:
                File your 2019 Form 1065, U.S. Partnership Return of Income, with:

                                    DEPARTMENT OF THE TREASURY
                                    INTERNAL REVENUE SERVICE CENTER
                                    Ogden, UT 84201-0011
                Prior to filing your return, make sure you have reviewed the return for omissions or
                misstatements of material information.

         Print Extra Copies For:
              Partners:      Print an extra copy of the Schedules K-1 and partner transmittal
                                     letter to give to each of your partners.

                State Return:        Some state taxing agencies require that you attach a copy of your
                                     federal Form 1065 to your state partnership return. If your state
                                     requires a copy of the federal Form 1065, make sure an additional
                                     filing copy has been printed and attached to the state return.

                Your Records: Always print an extra copy of your return for your records.

         Tax Due or Refund:
             No tax is due with your Federal income tax return.


         Other Instructions:
             Elections:      If you have completed any election forms, you will need to attach
                                     a copy of each to your return.




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Form                                             1065                                 U.S. Return of Partnership Income                                                                   OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service
                                                              For calendar year 2019, or tax year beginning                          , 2019, ending
                                                                             a Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                         , 20       .
                                                                                                                                                                                              2019
A Principal business activity                                           Name of partnership                                                                                             D Employer identification number
      Computer / IT related services                                         Click Vision Group LLC                                                                                                  2893
B Principal product or service                                 Type     Number, street, and room or suite no. If a P.O. box, see instructions.                                          E Date business started

      Healthcare Data Services                                  or           14555 Dallas Parkway, Suite 100                                                                            12/20/2016
C Business code number                                         Print    City or town, state or province, country, and ZIP or foreign postal code                                        F Total assets
                                                                                                                                                                                          (see instructions)

      518210                                                                 Dallas                                                                TX      75254                          $         550,392.
G Check applicable boxes:          Initial return (2)   Final return   (1)
                                                                      (3)     Name change (4)         Address change                                                                    (5)      Amended return
H Check accounting method:         Cash           (2)   Accrual        (1)
                                                                      (3)     Other (specify) a
I Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year a                                                                                                           3
J Check if Schedules C and M-3 are attached . . . . . . . . . . .                                                                     . .        . . . . . . . . . . . . . . . a
K Check if partnership: (1)  Aggregated activities for section 465 at-risk purposes                                                   (2)        Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
       1a Gross receipts or sales . . . . . . . . . . . . . . . . .                        1a 22,111,022.
        b Returns and allowances . . . . . . . . . . . . . . . .                           1b       171,347.
        c Balance. Subtract line 1b from line 1a . . . . . . . . . . . . . . . . . . . .                      1c 21,939,675.
       2    Cost of goods sold (attach Form 1125-A) . . . . . . . . . . . . . . . . . .                        2 15,037,345.
 Income




       3    Gross profit. Subtract line 2 from line 1c . . . . . . . . . . . . . . . . . . .                   3    6,902,330.
       4    Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) . . . .     4
       5    Net farm profit (loss) (attach Schedule F (Form 1040 or 1040-SR)) . . . . . . . . . .              5
       6    Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) . . . . . . . . . .            6
       7    Other income (loss) (attach statement) . . . . . . . . . . . . . . . . . . .                       7
       8    Total income (loss). Combine lines 3 through 7 . . . . . . . . . . . . . . . .                     8    6,902,330.
       9    Salaries and wages (other than to partners) (less employment credits) . . . . . . . . .            9         82,176.
 Deductions (see instructions for limitations)




      10    Guaranteed payments to partners . . . . . . . . . . . . . . . . . . . . .                         10
      11    Repairs and maintenance . . . . . . . . . . . . . . . . . . . . . . . .                           11
      12    Bad debts . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                               12
      13    Rent . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                13         27,960.
      14    Taxes and licenses . . . . . . . . . . . . . . . . . . . . . . . . . .                            14          7,763.
      15    Interest (see instructions) . . . . . . . . . . . . . . . . . . . . . . . .                       15       202,078.
      16a Depreciation (if required, attach Form 4562) . . . . . . . . . .                16a
        b Less depreciation reported on Form 1125-A and elsewhere on return .             16b                16c
      17    Depletion (Do not deduct oil and gas depletion.) . . . . . . . . . . . . . . .                    17
      18    Retirement plans, etc. . . . . . . . . . . . . . . . . . . . . . . . . .                          18
      19    Employee benefit programs . . . . . . . . . . . . . . . . . . . . . . .                           19         16,435.
      20    Other deductions (attach statement) . .See     . .Stmt
                                                                 . . . . . . . . . . . . . . . .              20    6,710,184.
      21    Total deductions. Add the amounts shown in the far right column for lines 9 through 20 . . .      21    7,046,596.
      22    Ordinary business income (loss). Subtract line 21 from line 8 . . . . . . . . . . .               22      -144,266.
      23    Interest due under the look-back method—completed long-term contracts (attach Form 8697) .        23
 Tax and Payment




      24    Interest due under the look-back method—income forecast method (attach Form 8866) . . .           24
      25    BBA AAR imputed underpayment (see instructions) . . . . . . . . . . . . . . .                     25
      26    Other taxes (see instructions) . . . . . . . . . . . . . . . . . . . . . .                        26
      27    Total balance due. Add lines 23 through 26 . . . . . . . . . . . . . . . . .                      27
      28    Payment (see instructions) . . . . . . . . . . . . . . . . . . . . . . .                          28
      29    Amount owed. If line 28 is smaller than line 27, enter amount owed . . . . . . . . . .            29
      30    Overpayment. If line 28 is larger than line 27, enter overpayment . . . . . . . . . .             30                 0.
                                                   Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                   and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
Sign                                               which preparer has any knowledge.
                                                                                                                                                                                 May the IRS discuss this return
Here                                                                                                                                                                             with the preparer shown below?
                                                   F




                                                                                                                                          F




                                                                                                                                                        03/01/2020
                                                                                                                                                                                 See instructions.  Yes      No
                                                       Signature of partner or limited liability company member                                  Date
                                                   Print/Type preparer’s name                       Preparer’s signature                                   Date                                    PTIN
Paid                                                                                                                                                                            Check       if
                                                                                                                                                                                self-employed
Preparer
                                                   Firm’s name    a          Self-Prepared                                                                                  Firm’s EIN a
Use Only                                           Firm’s address a                                                                                                         Phone no.
For Paperwork Reduction Act Notice, see separate instructions.                                                                                BAA                      Knapton 225
                                                                                                                                                                               Form 1065 (2019)



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Form 1065 (2019)                                                                                                                                       Page 2
 Schedule B            Other Information
  1       What type of entity is filing this return? Check the applicable box:                                                                     Yes     No
    a        Domestic general partnership                   b     Domestic limited partnership
    c        Domestic limited liability company             d     Domestic limited liability partnership
    e        Foreign partnership                            f     Other a
  2       At the end of the tax year:
    a     Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
          exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
          loss, or capital of the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule
          B-1, Information on Partners Owning 50% or More of the Partnership . . . . . . . . . . . . . . .
    b Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
      the partnership? For rules of constructive ownership, see instructions. If “Yes,” attach Schedule B-1, Information
      on Partners Owning 50% or More of the Partnership         . . . . . . . . . . . . . . . . . . . .
  3       At the end of the tax year, did the partnership:
      a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
          stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
          If “Yes,” complete (i) through (iv) below . . . . . . . . . . . . . . . . . . . . . . . . .
                          (i) Name of Corporation                      (ii) Employer Identification         (iii) Country of           (iv) Percentage
                                                                              Number (if any)                Incorporation           Owned in Voting Stock




      b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
        or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
        interest of a trust? For rules of constructive ownership, see instructions. If “Yes,” complete (i) through (v) below . .
                          (i) Name of Entity                       (ii) Employer            (iii) Type of          (iv) Country of          (v) Maximum
                                                                   Identification                                                      Percentage Owned in
                                                                  Number (if any)                Entity             Organization       Profit, Loss, or Capital




  4   Does the partnership satisfy all four of the following conditions?                                                                           Yes     No
    a The partnership’s total receipts for the tax year were less than $250,000.
    b The partnership’s total assets at the end of the tax year were less than $1 million.
    c Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
      extensions) for the partnership return.
   d The partnership is not filing and is not required to file Schedule M-3 . . . . . . . . . . . . . . .
      If “Yes,” the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
      or item L on Schedule K-1.
  5   Is this partnership a publicly traded partnership, as defined in section 469(k)(2)? . . . . . . . . . . .
  6   During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
      so as to reduce the principal amount of the debt? . . . . . . . . . . . . . . . . . . . . .
  7   Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
      information on any reportable transaction? . . . . . . . . . . . . . . . . . . . . . . . .
  8       At any time during calendar year 2019, did the partnership have an interest in or a signature or other authority over
          a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
          See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
          Financial Accounts (FBAR). If “Yes,” enter the name of the foreign country a
  9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
          transferor to, a foreign trust? If “Yes,” the partnership may have to file Form 3520, Annual Return To Report
          Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions . . . . . . . . .
 10a    Is the partnership making, or had it previously made (and not revoked), a section 754 election? . . . . . .
        See instructions for details regarding a section 754 election.
      b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If “Yes,”
        attach a statement showing the computation and allocation of the basis adjustment. See instructions . . . .

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Form 1065 (2019)                                                                                                                     Page 3
 Schedule B             Other Information (continued)
    c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a        Yes   No
        substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
        734(d))? If “Yes,” attach a statement showing the computation and allocation of the basis adjustment. See
        instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 11     Check this box if, during the current or prior tax year, the partnership distributed any property received in a like-
        kind exchange or contributed such property to another entity (other than disregarded entities wholly owned by the
        partnership throughout the tax year) . . . . . . . . . . . . . . . . . . . . . . . . a
 12     At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
        undivided interest in partnership property? . . . . . . . . . . . . . . . . . . . . . . . .
 13    If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
       Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
       instructions . . . . . . . . . . . . . . . . . . . . . . . . . . a
 14    Does the partnership have any foreign partners? If “Yes,” enter the number of Forms 8805, Foreign Partner’s
       Information Statement of Section 1446 Withholding Tax, filed for this partnership . . . a
 15    Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
       to this return . . . . . . . . . . . . . . . . . . . . . . . . . . a
 16a Did you make any payments in 2019 that would require you to file Form(s) 1099? See instructions . . . . .
    b If “Yes,” did you or will you file required Form(s) 1099? . . . . . . . . . . . . . . . . . . . .
 17    Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign
       Corporations, attached to this return . . . . . . . . . . . . . . . . . . a
 18    Enter the number of partners that are foreign governments under section 892 . . . . a
 19    During the partnership’s tax year, did the partnership make any payments that would require it to file Form 1042
       and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)? . . . .
 20    Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
       for Form 8938 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 21    Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1T(b)(14)? . . . . .
 22    During the tax year, did the partnership pay or accrue any interest or royalty for which the deduction is not allowed
       under section 267A? See instructions . . . . . . . . . . . . . . . . . . . . . . . . .
       If “Yes,” enter the total amount of the disallowed deductions . . . . . . . . . a $
 23    Did the partnership have an election under section 163(j) for any real property trade or business or any farming
       business in effect during the tax year? See instructions . . . . . . . . . . . . . . . . . . . .
 24    Does the partnership satisfy one or more of the following? See instructions . . . . . . . . . . . . .
    a The partnership owns a pass-through entity with current, or prior year carryover, excess business interest
       expense.
    b The partnership’s aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
       preceding the current tax year are more than $26 million and the partnership has business interest.
   c The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
       If “Yes” to any, complete and attach Form 8990.
 25    Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.
       If “Yes,” the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
       line 3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . a
       If “No,” complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR a Brent           Simpson
                        F




                                                                                                                   F




                            2901 Queen Mary Dr Flower Mound TX 75022                       U.S. phone number of        (972)807-3195
U.S. address of PR
                                                                                           PR
If the PR is an entity, name of the designated individual for the PR a
                        F




                                                                                                                   F




U.S. address of                                                                            U.S. phone number of
designated individual                                                                      designated individual
 26     Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?    . . . . . . . . . .
        If “Yes,” enter the amount from Form 8996, line 14 . . . . . . . . . . . . a $
 27     Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
        interest in the partnership or of receiving a distribution from the partnership . . . . . a
 28     At any time during the tax year, were there any transfers between the partnership and its partners subject to the
        disclosure requirements of Regulations section 1.707-8? . . . . . . . . . . . . . . . . . . .
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    Schedule K                         Partners’ Distributive Share Items                                                                Total amount
                             1   Ordinary business income (loss) (page 1, line 22) . . . . . . . . . . . . . . .                       1      -144,266.
                             2   Net rental real estate income (loss) (attach Form 8825) . . . . . . . . . . . . .                     2
                             3a  Other gross rental income (loss) . . . . . . . . . . . . .                     3a
                               b Expenses from other rental activities (attach statement) . . . . .             3b
                               c Other net rental income (loss). Subtract line 3b from line 3a . . . . . . . . . . . .                3c
                             4   Guaranteed payments: a Services 4a                                b Capital 4b
     Income (Loss)




                                 c Total. Add lines 4a and 4b . . . . . . . . . . . . . . . . . . . . . .                             4c
                             5   Interest income . . . . . . . . . . . . . . . . . . . . . . . . . .                                   5
                             6   Dividends and dividend equivalents: a Ordinary dividends . . . . . . . . . . . .                     6a
                                 b Qualified dividends 6b                             c Dividend equivalents 6c
                             7   Royalties    . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  7
                             8   Net short-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . .                8
                             9a Net long-term capital gain (loss) (attach Schedule D (Form 1065)) . . . . . . . . . .                 9a
                               b Collectibles (28%) gain (loss) . . . . . . . . . . . . . .                     9b
                               c Unrecaptured section 1250 gain (attach statement)         . . . . . .          9c
                            10   Net section 1231 gain (loss) (attach Form 4797) . . . . . . . . . . . . . . . .                      10
                            11   Other income (loss) (see instructions) Type a                                                        11
                            12   Section 179 deduction (attach Form 4562) . . . . . . . . . . . . . . . . .                           12
Employ- Deductions




                            13a Contributions . . . . . . . . . . . . . . . . . . . . . . . . . . .                                  13a
                               b Investment interest expense . . . . . . . . . . . . . . . . . . . . . .                             13b
                               c Section 59(e)(2) expenditures:       (1) Type a                                       (2) Amount a 13c(2)
                               d Other deductions (see instructions) Type a                                                          13d
                            14a Net earnings (loss) from self-employment . . . . . . . . . . . . . . . . . .                         14a      -144,266.
 ment
 Self-




                               b Gross farming or fishing income . . . . . . . . . . . . . . . . . . . . .                           14b
                               c Gross nonfarm income . . . . . . . . . . . . . . . . . . . . . . . .                                14c     6,902,330.
                            15a Low-income housing credit (section 42(j)(5)) . . . . . . . . . . . . . . . . .                       15a
                               b Low-income housing credit (other) . . . . . . . . . . . . . . . . . . . .                           15b
     Credits




                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) . .    15c
                               d Other rental real estate credits (see instructions) Type a                                          15d
                               e Other rental credits (see instructions) Type a                                                      15e
                               f Other credits (see instructions) Type a                                                             15f
                            16a Name of country or U.S. possession a
                               b Gross income from all sources . . . . . . . . . . . . . . . . . . . . .                             16b
                               c Gross income sourced at partner level . . . . . . . . . . . . . . . . . . .                         16c
     Foreign Transactions




                                 Foreign gross income sourced at partnership level
                               d Reserved for future use a                           e Foreign branch category . . . . . a 16e
                               f Passive category a                 g General category a               h Other (attach statement) a 16h
                                 Deductions allocated and apportioned at partner level
                               i Interest expense a                          j Other . . . . . . . . . . . . . . a 16j
                                 Deductions allocated and apportioned at partnership level to foreign source income
                               k Reserved for future use a                           l Foreign branch category      . . . . . a 16l
                               m Passive category a                 n General category a               o Other (attach statement) a 16o
                               p Total foreign taxes (check one): a Paid             Accrued         . . . . . . . . . . .           16p
                               q Reduction in taxes available for credit (attach statement) . . . . . . . . . . . . .                16q
                               r Other foreign tax information (attach statement)
                            17a Post-1986 depreciation adjustment . . . . . . . . . . . . . . . . . . . .                            17a
Minimum Tax
(AMT) Items




                               b Adjusted gain or loss     . . . . . . . . . . . . . . . . . . . . . . . .                           17b
 Alternative




                               c Depletion (other than oil and gas)      . . . . . . . . . . . . . . . . . . . .                     17c
                               d Oil, gas, and geothermal properties—gross income . . . . . . . . . . . . . .                        17d
                               e Oil, gas, and geothermal properties—deductions . . . . . . . . . . . . . . .                        17e
                               f Other AMT items (attach statement) . . . . . . . . . . . . . . . . . . . .                          17f
                            18a Tax-exempt interest income . . . . . . . . . . . . . . . . . . . . . .                               18a
     Other Information




                               b Other tax-exempt income . . . . . . . . . . . . . . . . . . . . . . .                               18b
                               c Nondeductible expenses . . . . . . . . . . . . . . . . . . . . . . .                                18c
                            19a Distributions of cash and marketable securities . . . . . . . . . . . . . . . .                      19a        -54,462.
                               b Distributions of other property     . . . . . . . . . . . . . . . . . . . . .                       19b
                            20a Investment income . . . . . . . . . . . . . . . . . . . . . . . . .                                  20a
                               b Investment expenses . . . . . . . . . . . . . . . . . . . . . . . .                                 20b
                               c Other items and amounts (attach statement)                                                 Knapton 228
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Form 1065 (2019)                                                                                                                                         Page 5
Analysis of Net Income (Loss)
  1  Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
     Schedule K, lines 12 through 13d, and 16p . . . . . . . . . . . . . . . . . . . .                    1                                  -144,266.
  2  Analysis by            (i) Corporate   (ii) Individual (iii) Individual (iv) Partnership (v) Exempt                                       (vi)
     partner type:                              (active)        (passive)                     Organization                                Nominee/Other
   a General partners
   b Limited partners                          -121,184.                          -23,082.
 Schedule L           Balance Sheets per Books                               Beginning of tax year                               End of tax year
                                 Assets                                      (a)                (b)                        (c)                     (d)
  1     Cash . . . . . . . . . . . . . . . .                                                   697,170.                                       550,392.
  2a    Trade notes and accounts receivable . . . . . .
    b   Less allowance for bad debts . . . . . . . .
  3     Inventories . . . . . . . . . . . . . .
  4     U.S. government obligations . . . . . . . .
  5     Tax-exempt securities        . . . . . . . . . .
  6     Other current assets (attach statement) . . . . .
  7a    Loans to partners (or persons related to partners)    .
    b   Mortgage and real estate loans        . . . . . . .
  8     Other investments (attach statement) . . . . . .
  9a    Buildings and other depreciable assets . . . . .
    b   Less accumulated depreciation . . . . . . .
 10a    Depletable assets . . . . . . . . . . . .
    b   Less accumulated depletion         . . . . . . . .
 11     Land (net of any amortization) . . . . . . . .
 12a    Intangible assets (amortizable only) . . . . . .
    b   Less accumulated amortization         . . . . . . .
 13     Other assets (attach statement) . . . . . . .
 14     Total assets . . . . . . . . . . . . . .                                               697,170.                                       550,392.
                        Liabilities and Capital
 15     Accounts payable . . . . . . . . . . . .
 16     Mortgages, notes, bonds payable in less than 1 year
 17     Other current liabilities (attach statement) . . . .
 18     All nonrecourse loans . . . . . . . . . . .
 19a    Loans from partners (or persons related to partners) .
    b   Mortgages, notes, bonds payable in 1 year or more .
 20     Other liabilities (attach statement) . Ln .20 Stmt
                                                      . . . . .           1,524,601.                                                       1,467,627.
 21     Partners’ capital accounts . . . . . . . . .                       -827,431.                                                        -917,235.
 22     Total liabilities and capital . . . . . . . . .                     697,170.                                                         550,392.
Schedule M-1          Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                     Note: The partnership may be required to file Schedule M-3. See instructions.
  1   Net income (loss) per books . . . .            -144,266. 6 Income recorded on books this year not included
  2   Income included on Schedule K, lines 1, 2, 3c,                     on Schedule K, lines 1 through 11 (itemize):
      5, 6a, 7, 8, 9a, 10, and 11, not recorded on                     a Tax-exempt interest $
      books this year (itemize):
  3   Guaranteed payments (other than health                         7   Deductions included on Schedule K, lines
      insurance) . . . . . . . . . .                                     1 through 13d, and 16p, not charged
  4   Expenses recorded on books this year                               against book income this year (itemize):
      not included on Schedule K, lines 1                              a Depreciation $
      through 13d, and 16p (itemize):
    a Depreciation $                                                 8   Add lines 6 and 7 . . . . . . . .
    b Travel and entertainment $                                     9   Income (loss) (Analysis of Net Income
  5   Add lines 1 through 4 . . . . . .              -144,266.           (Loss), line 1). Subtract line 8 from line 5                        -144,266.
Schedule M-2        Analysis of Partners’ Capital Accounts
  1     Balance at beginning of year . . .      -827,431.                6      Distributions: a Cash    . .           .    .     .   .       -54,462.
  2     Capital contributed: a Cash     .   .   .                                              b Property .            .    .     .   .
                             b Property     .   .                        7      Other decreases (itemize):
  3     Net income (loss) per books . .     .   .      -144,266.
  4     Other increases (itemize):                                       8      Add lines 6 and 7 .        .   .   .   .    .     .   .       -54,462.
  5     Add lines 1 through 4 . . . .       .   .      -971,697.         9                                             Knapton 229
                                                                                Balance at end of year. Subtract line 8 from line 5
                                                                                                                                -917,235.
                                                                                                                                           Form 1065 (2019)
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Form       1125-A                                                      Cost of Goods Sold
(Rev. November 2018)                                                                                                                                             OMB No. 1545-0123
                                                     a Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.
Department of the Treasury                          a Go to www.irs.gov/Form1125A for the latest information.
Internal Revenue Service
Name                                                                                                                                                 Employer identification number
Click Vision Group LLC                                                                                                                                           2893
   1       Inventory at beginning of year   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           1
   2       Purchases . . . . . .            .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           2               13,715,637
   3       Cost of labor . . . . . . . . . . . . . . . . .                                     .   .   .   .   .   .   .   .     .           3
   4       Additional section 263A costs (attach schedule) . . . . . . .                       .   .   .   .   .   .   .   .     .           4
   5       Other costs (attach schedule) . . . . See    . . Statement
                                                             . . . . . .                       .   .   .   .   .   .   .   .     .           5                1,321,708
   6       Total. Add lines 1 through 5 .   .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           6               15,037,345
   7       Inventory at end of year . .     .   .     .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .     .           7
   8       Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
           appropriate line of your tax return. See instructions . . . . . . . . . . . . . . .                                               8               15,037,345
   9a      Check all methods used for valuing closing inventory:
            (i)  Cost
            (ii)  Lower of cost or market
           (iii)  Other (Specify method used and attach explanation.) a
    b      Check if there was a writedown of subnormal goods    . . .                  .   .   .   .   .   .   .   .   .   .     .   .   .       .   .   .   .   .    .    a

    c      Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970)                              .   .   .   .   .    .    a

    d      If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
           under LIFO . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              9d
    e      If property is produced or acquired for resale, do the rules of section 263A apply to the entity? See instructions .                          .           Yes        No
       f   Was there any change in determining quantities, cost, or valuations between opening and closing inventory? If “Yes,”
           attach explanation  . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                             Yes        No


Section references are to the Internal                        merchandise is an income-producing                                  Small business taxpayer. A small
Revenue Code unless otherwise noted.                          factor. See Regulations section 1.471-1. If                      business taxpayer is a taxpayer that (a) has
                                                              inventories are required, you generally                          average annual gross receipts of $25
What's New                                                    must use an accrual method of accounting                         million or less (indexed for inflation) for the
Small business taxpayers. For tax years                       for sales and purchases of inventory items.                      3 prior tax years, and (b) is not a tax shelter
beginning after December 31, 2017, the                        Exception for certain taxpayers. A small                         (as defined in section 448(d)(3)). See Pub.
following apply.                                              business taxpayer (defined below), can                           538.
• A small business taxpayer (defined                          adopt or change its accounting method to                         Uniform capitalization rules. The uniform
below), may use a method of accounting for                    account for inventories in the same manner                       capitalization rules of section 263A
inventories that either: (1) treats inventories               as material and supplies that are non-                           generally require you to capitalize, or
as nonincidental materials and supplies, or                   incidental, or conform to its treatment of                       include in inventory, certain costs incurred
(2) conforms to the taxpayer's financial                      inventories in an applicable financial                           in connection with the following.
accounting treatment of inventories.                          statement (as defined in section 451(b)(3)),                     • The production of real property and
• A small business taxpayer is not required                   or if it does not have an applicable financial                   tangible personal property held in inventory
to capitalize costs under section 263A.                       statement, the method of accounting used                         or held for sale in the ordinary course of
                                                              in its books and records prepared in                             business.
General Instructions                                          accordance with its accounting
                                                                                                                               • Real property or personal property
                                                              procedures. See section 471(c)(3).
Purpose of Form                                                                                                                (tangible and intangible) acquired for resale.
                                                                 A small business taxpayer claiming
Use Form 1125-A to calculate and deduct                                                                                        • The production of real property and
                                                              exemption from the requirement to keep
cost of goods sold for certain entities.                                                                                       tangible personal property for use in its
                                                              inventories is changing its method of
                                                                                                                               trade or business or in an activity engaged
Who Must File                                                 accounting for purposes of section 481.
                                                                                                                               in for profit.
                                                              For additional guidance on this method of
Filers of Form 1120, 1120-C, 1120-F,                          accounting, see Pub. 538, Accounting                                A small business taxpayer (defined
1120S, or 1065, must complete and attach                      Periods and Methods. For guidance on                             above) is not required to capitalize costs
Form 1125-A if the applicable entity reports                  changing to this method of accounting, see                       under section 263A. See section 263A(i).
a deduction for cost of goods sold.                           Form 3115 and the Instructions for Form                             See the discussion on section 263A
Inventories                                                   3115.                                                            uniform capitalization rules in the
                                                                                                                               instructions for your tax return before
Generally, inventories are required at the                                                                                     completing Form 1125-A. Also see
beginning and end of each tax year if the                                                                                      Regulations sections 1.263A-1 through
production, purchase, or sale of                                                                                               1.263A-3. See Regulations section
                                                                                                                               1.263A-4 for rules for property produced in
                                                                                                                               a farming business.




For Paperwork Reduction Act Notice, see instructions. BAA                                                                                    Knapton 230
                                                                                                                                                  1125-A
                                                                                                                                REV 06/30/20 TTBIZ Form  (Rev. 11-2018)



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                                                                                                                                           Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                             2019                                   Part III Partner’s Share of Current Year Income,
                                                                                                                                        Deductions, Credits, and Other Items
Department of the Treasury                                                                                                    1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                                   For calendar year 2019, or tax year
                                                                                                                                                              -121,184.
              beginning              /               /       2019          ending            /       /                        2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                                        3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I        Information About the Partnership                                                                      4a              Guaranteed payments for services
 A      Partnership’s employer identification number
                     2893                                                                                                 4b               Guaranteed payments for capital
 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                                             4c              Total guaranteed payments
        14555 Dallas Parkway, Suite 100
        Dallas, TX 75254                                                                                                      5            Interest income
 C      IRS Center where partnership filed return a Ogden, UT
 D            Check if this is a publicly traded partnership (PTP)                                                         6a              Ordinary dividends
      Part II       Information About the Partner
 E      Partner’s SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                          6b               Qualified dividends
                          410
 F      Name, address, city, state, and ZIP code for partner entered in E. See instructions.                               6c              Dividend equivalents                   17   Alternative minimum tax (AMT) items
        Brent Simpson
        2901 Queen Mary Dr                                                                                                    7            Royalties
        Flower Mound TX 75022
 G            General partner or LLC                                       Limited partner or other LLC                       8            Net short-term capital gain (loss)
              member-manager                                               member

H1            Domestic partner                                             Foreign partner                                 9a              Net long-term capital gain (loss)      18   Tax-exempt income and
                                                                                                                                                                                       nondeductible expenses
H2            If the partner is a disregarded entity (DE), enter the partner’s:
        TIN                                      Name                                                                     9b               Collectibles (28%) gain (loss)
 I1     What type of entity is this partner?                      Individual
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                              9c              Unrecaptured section 1250 gain

 J      Partner’s share of profit, loss, and capital (see instructions):
                         Beginning                                   Ending                                                10              Net section 1231 gain (loss)
        Profit                           84.00000 %                                       84.00000 %                                                                              19   Distributions
        Loss                             84.00000 %                                       84.00000 %                       11              Other income (loss)
        Capital                          84.00000 %                                       84.00000 %
        Check if decrease is due to sale or exchange of partnership interest                              .     .
                                                                                                                                                                                  20   Other information
 K      Partner’s share of liabilities:                                                                                    12              Section 179 deduction
                                                         Beginning                               Ending

        Nonrecourse       .    .             $                                      $                                      13              Other deductions

        Qualified nonrecourse
        financing . . .                      $                                      $
        Recourse      .   .    .             $                                      $
              Check this box if Item K includes liability amounts from lower tier partnerships.
 L                                 Partner’s Capital Account Analysis
                                                                                                                           14              Self-employment earnings (loss)
        Beginning capital account                        .    .    .   $                     -551,653.                  A                                     -121,184.
        Capital contributed during the year .                      .   $
        Current year net income (loss) .                      .    .   $                     -121,184.                  C                                   5,797,958.
        Other increase (decrease) (attach explanation) $                                                                  21                   More than one activity for at-risk purposes*
        Withdrawals & distributions                      .    .    .   $(                                           )     22                   More than one activity for passive activity purposes*
        Ending capital account                   .       .    .    .   $                     -672,837.                     *See attached statement for additional information.
                                                                                                                        For IRS Use Only




 M      Did the partner contribute property with a built-in gain or loss?
              Yes             No             If “Yes,” attach statement. See instructions.
 N            Partner’s Share of Net Unrecognized Section 704(c) Gain or (Loss)
        Beginning     .   .    .         .       .       .    .    .   $
        Ending .      .   .    .         .       .       .    .    .   $                                                                                                          Knapton 231
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                           www.irs.gov/Form1065                       BAA                            Schedule K-1 (Form 1065) 2019
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Schedule K-1 (Form 1065) 2019             Brent Simpson                                                                                  2893                   Page 2

This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040 or 1040-SR.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.
 1. Ordinary business income (loss). Determine whether the income (loss) is              Code                                       Report on
     passive or nonpassive and enter on your return as follows.                          H Undistributed capital gains credit       Schedule 3 (Form 1040 or 1040-SR),




                                                                                                                             }
                                              Report on                                                                             line 13, box a
     Passive loss                             See the Partner’s Instructions              I  Biofuel producer credit                See the Partner’s Instructions
     Passive income                           Schedule E, line 28, column (h)            J   Work opportunity credit
     Nonpassive loss                          See the Partner’s Instructions             K   Disabled access credit
     Nonpassive income                        Schedule E, line 28, column (k)            L   Empowerment zone
 2. Net rental real estate income (loss) See the Partner’s Instructions                      employment credit
                                                                                         M Credit for increasing research          See the Partner’s Instructions
 3. Other net rental income (loss)                                                           activities
     Net income                               Schedule E, line 28, column (h)            N Credit for employer social
     Net loss                                 See the Partner’s Instructions                 security and Medicare taxes
4a. Guaranteed payment Services               See the Partner’s Instructions             O Backup withholding
4b. Guaranteed payment Capital                See the Partner’s Instructions             P Other credits
4c. Guaranteed payment Total                                                         16. Foreign transactions



                                                                                                                             }
                                              See the Partner’s Instructions
 5. Interest income                           Form 1040 or 1040-SR, line 2b              A Name of country or U.S.
6a. Ordinary dividends                        Form 1040 or 1040-SR, line 3b                  possession
6b. Qualified dividends                       Form 1040 or 1040-SR, line 3a              B Gross income from all sources           Form 1116, Part I
6c. Dividend equivalents                      See the Partner’s Instructions             C Gross income sourced at
 7. Royalties                                 Schedule E, line 4                             partner level
                                                                                         Foreign gross income sourced at partnership level
 8. Net short-term capital gain (loss)        Schedule D, line 5



                                                                                                                             }
                                                                                         D Reserved for future use
9a. Net long-term capital gain (loss)         Schedule D, line 12
                                                                                         E Foreign branch category
9b. Collectibles (28%) gain (loss)            28% Rate Gain Worksheet, line 4
                                              (Schedule D instructions)                  F Passive category
                                                                                                                                   Form 1116, Part I
                                                                                         G General category
9c. Unrecaptured section 1250 gain            See the Partner’s Instructions
10. Net section 1231 gain (loss)              See the Partner’s Instructions             H Other
11. Other income (loss)                                                                  Deductions allocated and apportioned at partner level
     Code                                                                                 I Interest expense                       Form 1116, Part I
     A Other portfolio income (loss)          See the Partner’s Instructions             J Other                                   Form 1116, Part I
     B Involuntary conversions                See the Partner’s Instructions             Deductions allocated and apportioned at partnership level to foreign source




                                                                                                                             }
     C Sec. 1256 contracts & straddles        Form 6781, line 1                          income
                                                                                         K Reserved for future use




                                         }
     D Mining exploration costs recapture See Pub. 535
                                                                                         L Foreign branch category
     E Cancellation of debt
                                                                                         M Passive category                        Form 1116, Part I
     F Section 743(b) positive adjustments
                                                                                         N General category
     G Section 965(a) inclusion
                                              See the Partner’s Instructions             O Other
     H Income under subpart F (other
          than inclusions under sections                                                 Other information
          951A and 965)                                                                  P Total foreign taxes paid                Form 1116, Part II
      I Other income (loss)                                                              Q Total foreign taxes accrued             Form 1116, Part II
12. Section 179 deduction                     See the Partner’s Instructions             R Reduction in taxes available for credit Form 1116, line 12




                                         }
13. Other deductions                                                                     S Foreign trading gross receipts          Form 8873
     A Cash contributions (60%)                                                          T Extraterritorial income exclusion       Form 8873
     B Cash contributions (30%)                                                          U through V                               Reserved for future use
     C Noncash contributions (50%)
     D Noncash contributions (30%)
                                                                                         W Section 965 information
                                                                                         X Other foreign transactions           }  See the Partner’s Instructions




                                                                                                                              }
                                              See the Partner’s Instructions         17. Alternative minimum tax (AMT) items
     E Capital gain property to a 50%
          organization (30%)                                                             A Post-1986 depreciation adjustment
     F Capital gain property (20%)                                                       B Adjusted gain or loss                 See the Partner’s
     G Contributions (100%)                                                              C Depletion (other than oil & gas)      Instructions and
     H Investment interest expense            Form 4952, line 1                          D Oil, gas, & geothermal—gross income   the Instructions for
      I Deductions—royalty income             Schedule E, line 19                        E Oil, gas, & geothermal—deductions     Form 6251
     J Section 59(e)(2) expenditures          See the Partner’s Instructions             F Other AMT items
     K Excess business interest expense See the Partner’s Instructions               18. Tax-exempt income and nondeductible expenses
     L Deductions—portfolio (other)           Schedule A, line 16                        A Tax-exempt interest income            Form 1040 or 1040-SR, line 2a
     M Amounts paid for medical insurance Schedule A, line 1, or Schedule 1              B Other tax-exempt income               See the Partner’s Instructions
                                              (Form 1040 or 1040-SR), line 16            C Nondeductible expenses                See the Partner’s Instructions
     N Educational assistance benefits        See the Partner’s Instructions         19. Distributions

                                                                                                                             }
     O Dependent care benefits                Form 2441, line 12                         A Cash and marketable securities
     P Preproductive period expenses          See the Partner’s Instructions             B Distribution subject to section 737   See the Partner’s Instructions
     Q Commercial revitalization deduction                                               C Other property
          from rental real estate activities  See Form 8582 instructions             20. Other information
     R Pensions and IRAs                      See the Partner’s Instructions
                                                                                         A Investment income                     Form 4952, line 4a
     S Reforestation expense deduction        See the Partner’s Instructions
                                                                                         B Investment expenses                   Form 4952, line 5
     T through U                              Reserved for future use

                                         }
                                                                                         C Fuel tax credit information           Form 4136


                                                                                                                             }
     V Section 743(b) negative adjustments
                                                                                         D Qualified rehabilitation expenditures
     W Other deductions                       See the Partner’s Instructions                 (other than rental real estate)
     X Section 965(c) deduction                                                          E Basis of energy property              See the Partner’s Instructions
14. Self-employment earnings (loss)                                                      F through G
Note: If you have a section 179 deduction or any partner-level deductions, see the       H Recapture of investment credit        See Form 4255
Partner’s Instructions before completing Schedule SE.                                     I Recapture of other credits           See the Partner’s Instructions
     A Net earnings (loss) from
                                                                                         J Look-back interest—completed




                                                                                                                             }
          self-employment                     Schedule SE, Section A or B
                                                                                             long-term contracts




                                         }
     B Gross farming or fishing income        See the Partner’s Instructions                                                     See Form 8697
                                                                                         K Look-back interest—income forecast
     C Gross non-farm income                  See the Partner’s Instructions                 method                              See Form 8866
15. Credits                                                                              L Dispositions of property with
     A Low-income housing credit                                                             section 179 deductions
          (section 42(j)(5)) from pre-2008                                               M Recapture of section 179 deduction
          buildings                                                                      N Interest expense for corporate
     B Low-income housing credit                                                             partners
          (other) from pre-2008 buildings                                                O through Y
     C Low-income housing credit                                                         Z Section 199A information
          (section 42(j)(5)) from                                                       AA Section 704(c) information
          post-2007 buildings                 See the Partner’s Instructions                                                     See the Partner’s Instructions
                                                                                        AB Section 751 gain (loss)
     D Low-income housing credit
          (other) from post-2007                                                        AC Section 1(h)(5) gain (loss)
          buildings                                                                     AD Deemed section 1250
     E Qualified rehabilitation                                                              unrecaptured gain
          expenditures (rental real estate)                                             AE Excess taxable income
     F Other rental real estate credits
     G Other rental credits
                                                                                        AF Excess business interest income
                                                                                        AG Gross receipts for section 59A(e)    Knapton 232
                                                                                        AH 06/30/20
                                                                                       REV   Other information
                                                                                                     TTBIZ

                                                                                                                                                      374
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Click Vision Group LLC                                                                      2893                 1



Additional information from your Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (Brent Simpson)

Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (Brent Simpson)
Supplemental Information                                                      Continuation Statement
                                    Description                                                 Amount
Item L. Partner's Capital Account Analysis:
Tax basis




                                                                                        Knapton 233
                                                                                                       375
                     Case 24-42912                                     Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                                                                     Desc
                                                                       Appendix (Exhibits A - M) Page 234 of 318                                                                                         651119
                                                                                                                                          Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                             2019                                  Part III Partner’s Share of Current Year Income,
                                                                                                                                       Deductions, Credits, and Other Items
Department of the Treasury                                                                                                   1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                                   For calendar year 2019, or tax year
                                                                                                                                                               -11,541.
              beginning              /               /       2019          ending            /       /                       2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                                       3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I        Information About the Partnership                                                                     4a              Guaranteed payments for services
 A      Partnership’s employer identification number
                     2893                                                                                                4b               Guaranteed payments for capital
 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                                            4c              Total guaranteed payments
        14555 Dallas Parkway, Suite 100
        Dallas, TX 75254                                                                                                     5            Interest income
 C      IRS Center where partnership filed return a Ogden, UT
 D            Check if this is a publicly traded partnership (PTP)                                                        6a              Ordinary dividends
      Part II       Information About the Partner
 E      Partner’s SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                         6b               Qualified dividends


 F      Name, address, city, state, and ZIP code for partner entered in E. See instructions.                              6c              Dividend equivalents                   17   Alternative minimum tax (AMT) items
        J&J Ainsworth Family LP
        1709 Burning Tree Lane                                                                                               7            Royalties
        Plano TX 75093
 G            General partner or LLC                                       Limited partner or other LLC                      8            Net short-term capital gain (loss)
              member-manager                                               member

H1            Domestic partner                                             Foreign partner                                9a              Net long-term capital gain (loss)      18   Tax-exempt income and
                                                                                                                                                                                      nondeductible expenses
H2            If the partner is a disregarded entity (DE), enter the partner’s:
        TIN                                      Name                                                                    9b               Collectibles (28%) gain (loss)
 I1     What type of entity is this partner?                      Partnership
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                             9c              Unrecaptured section 1250 gain

 J      Partner’s share of profit, loss, and capital (see instructions):
                         Beginning                                   Ending                                               10              Net section 1231 gain (loss)
        Profit                                   8.00000 %                                       8.00000 %                                                                       19   Distributions
        Loss                                     8.00000 %                                       8.00000 %                11              Other income (loss)                    A                        -27,231.
        Capital                                  8.00000 %                                       8.00000 %
        Check if decrease is due to sale or exchange of partnership interest                              .     .
                                                                                                                                                                                 20   Other information
 K      Partner’s share of liabilities:                                                                                   12              Section 179 deduction
                                                         Beginning                               Ending

        Nonrecourse       .    .             $                                      $                                     13              Other deductions

        Qualified nonrecourse
        financing . . .                      $                                      $
        Recourse      .   .    .             $                                      $
              Check this box if Item K includes liability amounts from lower tier partnerships.
 L                                 Partner’s Capital Account Analysis
                                                                                                                          14              Self-employment earnings (loss)
        Beginning capital account                        .    .    .   $                     -137,889.                 A                                       -11,541.
        Capital contributed during the year .                      .   $
        Current year net income (loss) .                      .    .   $                         -11,541.              C                                       552,186.
        Other increase (decrease) (attach explanation) $                                                                 21                   More than one activity for at-risk purposes*
        Withdrawals & distributions                      .    .    .   $(                     -27,231. )                 22                   More than one activity for passive activity purposes*
        Ending capital account                   .       .    .    .   $                     -122,199.                    *See attached statement for additional information.
                                                                                                                       For IRS Use Only




 M      Did the partner contribute property with a built-in gain or loss?
              Yes             No             If “Yes,” attach statement. See instructions.
 N            Partner’s Share of Net Unrecognized Section 704(c) Gain or (Loss)
        Beginning     .   .    .         .       .       .    .    .   $
        Ending .      .   .    .         .       .       .    .    .   $                                                                                                         Knapton 234
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                           www.irs.gov/Form1065                      BAA                            Schedule K-1 (Form 1065) 2019
                                                                                                                                                      REV 06/30/20 TTBIZ
                                                                                                                                                                                                        376
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Schedule K-1 (Form 1065) 2019             J&J Ainsworth Family LP                                                                        2893                   Page 2

This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040 or 1040-SR.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.
 1. Ordinary business income (loss). Determine whether the income (loss) is              Code                                       Report on
     passive or nonpassive and enter on your return as follows.                          H Undistributed capital gains credit       Schedule 3 (Form 1040 or 1040-SR),




                                                                                                                             }
                                              Report on                                                                             line 13, box a
     Passive loss                             See the Partner’s Instructions              I  Biofuel producer credit                See the Partner’s Instructions
     Passive income                           Schedule E, line 28, column (h)            J   Work opportunity credit
     Nonpassive loss                          See the Partner’s Instructions             K   Disabled access credit
     Nonpassive income                        Schedule E, line 28, column (k)            L   Empowerment zone
 2. Net rental real estate income (loss) See the Partner’s Instructions                      employment credit
                                                                                         M Credit for increasing research          See the Partner’s Instructions
 3. Other net rental income (loss)                                                           activities
     Net income                               Schedule E, line 28, column (h)            N Credit for employer social
     Net loss                                 See the Partner’s Instructions                 security and Medicare taxes
4a. Guaranteed payment Services               See the Partner’s Instructions             O Backup withholding
4b. Guaranteed payment Capital                See the Partner’s Instructions             P Other credits
4c. Guaranteed payment Total                                                         16. Foreign transactions



                                                                                                                             }
                                              See the Partner’s Instructions
 5. Interest income                           Form 1040 or 1040-SR, line 2b              A Name of country or U.S.
6a. Ordinary dividends                        Form 1040 or 1040-SR, line 3b                  possession
6b. Qualified dividends                       Form 1040 or 1040-SR, line 3a              B Gross income from all sources           Form 1116, Part I
6c. Dividend equivalents                      See the Partner’s Instructions             C Gross income sourced at
 7. Royalties                                 Schedule E, line 4                             partner level
                                                                                         Foreign gross income sourced at partnership level
 8. Net short-term capital gain (loss)        Schedule D, line 5



                                                                                                                             }
                                                                                         D Reserved for future use
9a. Net long-term capital gain (loss)         Schedule D, line 12
                                                                                         E Foreign branch category
9b. Collectibles (28%) gain (loss)            28% Rate Gain Worksheet, line 4
                                              (Schedule D instructions)                  F Passive category
                                                                                                                                   Form 1116, Part I
                                                                                         G General category
9c. Unrecaptured section 1250 gain            See the Partner’s Instructions
10. Net section 1231 gain (loss)              See the Partner’s Instructions             H Other
11. Other income (loss)                                                                  Deductions allocated and apportioned at partner level
     Code                                                                                 I Interest expense                       Form 1116, Part I
     A Other portfolio income (loss)          See the Partner’s Instructions             J Other                                   Form 1116, Part I
     B Involuntary conversions                See the Partner’s Instructions             Deductions allocated and apportioned at partnership level to foreign source




                                                                                                                             }
     C Sec. 1256 contracts & straddles        Form 6781, line 1                          income
                                                                                         K Reserved for future use




                                         }
     D Mining exploration costs recapture See Pub. 535
                                                                                         L Foreign branch category
     E Cancellation of debt
                                                                                         M Passive category                        Form 1116, Part I
     F Section 743(b) positive adjustments
                                                                                         N General category
     G Section 965(a) inclusion
                                              See the Partner’s Instructions             O Other
     H Income under subpart F (other
          than inclusions under sections                                                 Other information
          951A and 965)                                                                  P Total foreign taxes paid                Form 1116, Part II
      I Other income (loss)                                                              Q Total foreign taxes accrued             Form 1116, Part II
12. Section 179 deduction                     See the Partner’s Instructions             R Reduction in taxes available for credit Form 1116, line 12




                                         }
13. Other deductions                                                                     S Foreign trading gross receipts          Form 8873
     A Cash contributions (60%)                                                          T Extraterritorial income exclusion       Form 8873
     B Cash contributions (30%)                                                          U through V                               Reserved for future use
     C Noncash contributions (50%)
     D Noncash contributions (30%)
                                                                                         W Section 965 information
                                                                                         X Other foreign transactions           }  See the Partner’s Instructions




                                                                                                                              }
                                              See the Partner’s Instructions         17. Alternative minimum tax (AMT) items
     E Capital gain property to a 50%
          organization (30%)                                                             A Post-1986 depreciation adjustment
     F Capital gain property (20%)                                                       B Adjusted gain or loss                 See the Partner’s
     G Contributions (100%)                                                              C Depletion (other than oil & gas)      Instructions and
     H Investment interest expense            Form 4952, line 1                          D Oil, gas, & geothermal—gross income   the Instructions for
      I Deductions—royalty income             Schedule E, line 19                        E Oil, gas, & geothermal—deductions     Form 6251
     J Section 59(e)(2) expenditures          See the Partner’s Instructions             F Other AMT items
     K Excess business interest expense See the Partner’s Instructions               18. Tax-exempt income and nondeductible expenses
     L Deductions—portfolio (other)           Schedule A, line 16                        A Tax-exempt interest income            Form 1040 or 1040-SR, line 2a
     M Amounts paid for medical insurance Schedule A, line 1, or Schedule 1              B Other tax-exempt income               See the Partner’s Instructions
                                              (Form 1040 or 1040-SR), line 16            C Nondeductible expenses                See the Partner’s Instructions
     N Educational assistance benefits        See the Partner’s Instructions         19. Distributions

                                                                                                                             }
     O Dependent care benefits                Form 2441, line 12                         A Cash and marketable securities
     P Preproductive period expenses          See the Partner’s Instructions             B Distribution subject to section 737   See the Partner’s Instructions
     Q Commercial revitalization deduction                                               C Other property
          from rental real estate activities  See Form 8582 instructions             20. Other information
     R Pensions and IRAs                      See the Partner’s Instructions
                                                                                         A Investment income                     Form 4952, line 4a
     S Reforestation expense deduction        See the Partner’s Instructions
                                                                                         B Investment expenses                   Form 4952, line 5
     T through U                              Reserved for future use

                                         }
                                                                                         C Fuel tax credit information           Form 4136


                                                                                                                             }
     V Section 743(b) negative adjustments
                                                                                         D Qualified rehabilitation expenditures
     W Other deductions                       See the Partner’s Instructions                 (other than rental real estate)
     X Section 965(c) deduction                                                          E Basis of energy property              See the Partner’s Instructions
14. Self-employment earnings (loss)                                                      F through G
Note: If you have a section 179 deduction or any partner-level deductions, see the       H Recapture of investment credit        See Form 4255
Partner’s Instructions before completing Schedule SE.                                     I Recapture of other credits           See the Partner’s Instructions
     A Net earnings (loss) from
                                                                                         J Look-back interest—completed




                                                                                                                             }
          self-employment                     Schedule SE, Section A or B
                                                                                             long-term contracts




                                         }
     B Gross farming or fishing income        See the Partner’s Instructions                                                     See Form 8697
                                                                                         K Look-back interest—income forecast
     C Gross non-farm income                  See the Partner’s Instructions                 method                              See Form 8866
15. Credits                                                                              L Dispositions of property with
     A Low-income housing credit                                                             section 179 deductions
          (section 42(j)(5)) from pre-2008                                               M Recapture of section 179 deduction
          buildings                                                                      N Interest expense for corporate
     B Low-income housing credit                                                             partners
          (other) from pre-2008 buildings                                                O through Y
     C Low-income housing credit                                                         Z Section 199A information
          (section 42(j)(5)) from                                                       AA Section 704(c) information
          post-2007 buildings                 See the Partner’s Instructions                                                     See the Partner’s Instructions
                                                                                        AB Section 751 gain (loss)
     D Low-income housing credit
          (other) from post-2007                                                        AC Section 1(h)(5) gain (loss)
          buildings                                                                     AD Deemed section 1250
     E Qualified rehabilitation                                                              unrecaptured gain
          expenditures (rental real estate)                                             AE Excess taxable income
     F Other rental real estate credits
     G Other rental credits
                                                                                        AF Excess business interest income
                                                                                        AG Gross receipts for section 59A(e)    Knapton 235
                                                                                        AH 06/30/20
                                                                                       REV   Other information
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Click Vision Group LLC                                                                              2893                   1



Additional information from your Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (J&J Ainsworth Family LP)

Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (J&J Ainsworth Family LP)
Supplemental Information                                                     Continuation Statement
                                       Description                                                      Amount
Item L. Partner's Capital Account Analysis:
Tax basis




                                                                                               Knapton 236
                                                                                                                378
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                                                                                                                                          Final K-1                   Amended K-1                     OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                             2019                                  Part III Partner’s Share of Current Year Income,
                                                                                                                                       Deductions, Credits, and Other Items
Department of the Treasury                                                                                                   1            Ordinary business income (loss)        15   Credits
Internal Revenue Service                                                   For calendar year 2019, or tax year
                                                                                                                                                               -11,541.
              beginning              /               /       2019          ending            /       /                       2            Net rental real estate income (loss)

Partner’s Share of Income, Deductions,                                                                                       3            Other net rental income (loss)         16   Foreign transactions
Credits, etc.         a See back of form and separate instructions.



      Part I        Information About the Partnership                                                                     4a              Guaranteed payments for services
 A      Partnership’s employer identification number
                     2893                                                                                                4b               Guaranteed payments for capital
 B      Partnership’s name, address, city, state, and ZIP code
        Click Vision Group LLC                                                                                            4c              Total guaranteed payments
        14555 Dallas Parkway, Suite 100
        Dallas, TX 75254                                                                                                     5            Interest income
 C      IRS Center where partnership filed return a Ogden, UT
 D            Check if this is a publicly traded partnership (PTP)                                                        6a              Ordinary dividends
      Part II       Information About the Partner
 E      Partner’s SSN or TIN (Do not use TIN of a disregarded entity. See inst.)                                         6b               Qualified dividends


 F      Name, address, city, state, and ZIP code for partner entered in E. See instructions.                              6c              Dividend equivalents                   17   Alternative minimum tax (AMT) items
        MCT Texas Partners LP
        4911 Cape Coral Dr                                                                                                   7            Royalties
        Dallas TX 75287
 G            General partner or LLC                                       Limited partner or other LLC                      8            Net short-term capital gain (loss)
              member-manager                                               member

H1            Domestic partner                                             Foreign partner                                9a              Net long-term capital gain (loss)      18   Tax-exempt income and
                                                                                                                                                                                      nondeductible expenses
H2            If the partner is a disregarded entity (DE), enter the partner’s:
        TIN                                      Name                                                                    9b               Collectibles (28%) gain (loss)
 I1     What type of entity is this partner?                      Partnership
 I2     If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here                                             9c              Unrecaptured section 1250 gain

 J      Partner’s share of profit, loss, and capital (see instructions):
                         Beginning                                   Ending                                               10              Net section 1231 gain (loss)
        Profit                                   8.00000 %                                       8.00000 %                                                                       19   Distributions
        Loss                                     8.00000 %                                       8.00000 %                11              Other income (loss)                    A                        -27,231.
        Capital                                  8.00000 %                                       8.00000 %
        Check if decrease is due to sale or exchange of partnership interest                              .     .
                                                                                                                                                                                 20   Other information
 K      Partner’s share of liabilities:                                                                                   12              Section 179 deduction
                                                         Beginning                               Ending

        Nonrecourse       .    .             $                                      $                                     13              Other deductions

        Qualified nonrecourse
        financing . . .                      $                                      $
        Recourse      .   .    .             $                                      $
              Check this box if Item K includes liability amounts from lower tier partnerships.
 L                                 Partner’s Capital Account Analysis
                                                                                                                          14              Self-employment earnings (loss)
        Beginning capital account                        .    .    .   $                     -137,889.                 A                                       -11,541.
        Capital contributed during the year .                      .   $
        Current year net income (loss) .                      .    .   $                         -11,541.              C                                       552,186.
        Other increase (decrease) (attach explanation) $                                                                 21                   More than one activity for at-risk purposes*
        Withdrawals & distributions                      .    .    .   $(                     -27,231. )                 22                   More than one activity for passive activity purposes*
        Ending capital account                   .       .    .    .   $                     -122,199.                    *See attached statement for additional information.
                                                                                                                       For IRS Use Only




 M      Did the partner contribute property with a built-in gain or loss?
              Yes             No             If “Yes,” attach statement. See instructions.
 N            Partner’s Share of Net Unrecognized Section 704(c) Gain or (Loss)
        Beginning     .   .    .         .       .       .    .    .   $
        Ending .      .   .    .         .       .       .    .    .   $                                                                                                         Knapton 237
For Paperwork Reduction Act Notice, see Instructions for Form 1065.                                           www.irs.gov/Form1065                      BAA                            Schedule K-1 (Form 1065) 2019
                                                                                                                                                      REV 06/30/20 TTBIZ
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Schedule K-1 (Form 1065) 2019             MCT Texas Partners LP                                                                          2893                   Page 2

This list identifies the codes used on Schedule K-1 for all partners and provides summarized reporting information for partners who file Form 1040 or 1040-SR.
For detailed reporting and filing information, see the separate Partner’s Instructions for Schedule K-1 and the instructions for your income tax return.
 1. Ordinary business income (loss). Determine whether the income (loss) is              Code                                       Report on
     passive or nonpassive and enter on your return as follows.                          H Undistributed capital gains credit       Schedule 3 (Form 1040 or 1040-SR),




                                                                                                                             }
                                              Report on                                                                             line 13, box a
     Passive loss                             See the Partner’s Instructions              I  Biofuel producer credit                See the Partner’s Instructions
     Passive income                           Schedule E, line 28, column (h)            J   Work opportunity credit
     Nonpassive loss                          See the Partner’s Instructions             K   Disabled access credit
     Nonpassive income                        Schedule E, line 28, column (k)            L   Empowerment zone
 2. Net rental real estate income (loss) See the Partner’s Instructions                      employment credit
                                                                                         M Credit for increasing research          See the Partner’s Instructions
 3. Other net rental income (loss)                                                           activities
     Net income                               Schedule E, line 28, column (h)            N Credit for employer social
     Net loss                                 See the Partner’s Instructions                 security and Medicare taxes
4a. Guaranteed payment Services               See the Partner’s Instructions             O Backup withholding
4b. Guaranteed payment Capital                See the Partner’s Instructions             P Other credits
4c. Guaranteed payment Total                                                         16. Foreign transactions



                                                                                                                             }
                                              See the Partner’s Instructions
 5. Interest income                           Form 1040 or 1040-SR, line 2b              A Name of country or U.S.
6a. Ordinary dividends                        Form 1040 or 1040-SR, line 3b                  possession
6b. Qualified dividends                       Form 1040 or 1040-SR, line 3a              B Gross income from all sources           Form 1116, Part I
6c. Dividend equivalents                      See the Partner’s Instructions             C Gross income sourced at
 7. Royalties                                 Schedule E, line 4                             partner level
                                                                                         Foreign gross income sourced at partnership level
 8. Net short-term capital gain (loss)        Schedule D, line 5



                                                                                                                             }
                                                                                         D Reserved for future use
9a. Net long-term capital gain (loss)         Schedule D, line 12
                                                                                         E Foreign branch category
9b. Collectibles (28%) gain (loss)            28% Rate Gain Worksheet, line 4
                                              (Schedule D instructions)                  F Passive category
                                                                                                                                   Form 1116, Part I
                                                                                         G General category
9c. Unrecaptured section 1250 gain            See the Partner’s Instructions
10. Net section 1231 gain (loss)              See the Partner’s Instructions             H Other
11. Other income (loss)                                                                  Deductions allocated and apportioned at partner level
     Code                                                                                 I Interest expense                       Form 1116, Part I
     A Other portfolio income (loss)          See the Partner’s Instructions             J Other                                   Form 1116, Part I
     B Involuntary conversions                See the Partner’s Instructions             Deductions allocated and apportioned at partnership level to foreign source




                                                                                                                             }
     C Sec. 1256 contracts & straddles        Form 6781, line 1                          income
                                                                                         K Reserved for future use




                                         }
     D Mining exploration costs recapture See Pub. 535
                                                                                         L Foreign branch category
     E Cancellation of debt
                                                                                         M Passive category                        Form 1116, Part I
     F Section 743(b) positive adjustments
                                                                                         N General category
     G Section 965(a) inclusion
                                              See the Partner’s Instructions             O Other
     H Income under subpart F (other
          than inclusions under sections                                                 Other information
          951A and 965)                                                                  P Total foreign taxes paid                Form 1116, Part II
      I Other income (loss)                                                              Q Total foreign taxes accrued             Form 1116, Part II
12. Section 179 deduction                     See the Partner’s Instructions             R Reduction in taxes available for credit Form 1116, line 12




                                         }
13. Other deductions                                                                     S Foreign trading gross receipts          Form 8873
     A Cash contributions (60%)                                                          T Extraterritorial income exclusion       Form 8873
     B Cash contributions (30%)                                                          U through V                               Reserved for future use
     C Noncash contributions (50%)
     D Noncash contributions (30%)
                                                                                         W Section 965 information
                                                                                         X Other foreign transactions           }  See the Partner’s Instructions




                                                                                                                              }
                                              See the Partner’s Instructions         17. Alternative minimum tax (AMT) items
     E Capital gain property to a 50%
          organization (30%)                                                             A Post-1986 depreciation adjustment
     F Capital gain property (20%)                                                       B Adjusted gain or loss                 See the Partner’s
     G Contributions (100%)                                                              C Depletion (other than oil & gas)      Instructions and
     H Investment interest expense            Form 4952, line 1                          D Oil, gas, & geothermal—gross income   the Instructions for
      I Deductions—royalty income             Schedule E, line 19                        E Oil, gas, & geothermal—deductions     Form 6251
     J Section 59(e)(2) expenditures          See the Partner’s Instructions             F Other AMT items
     K Excess business interest expense See the Partner’s Instructions               18. Tax-exempt income and nondeductible expenses
     L Deductions—portfolio (other)           Schedule A, line 16                        A Tax-exempt interest income            Form 1040 or 1040-SR, line 2a
     M Amounts paid for medical insurance Schedule A, line 1, or Schedule 1              B Other tax-exempt income               See the Partner’s Instructions
                                              (Form 1040 or 1040-SR), line 16            C Nondeductible expenses                See the Partner’s Instructions
     N Educational assistance benefits        See the Partner’s Instructions         19. Distributions

                                                                                                                             }
     O Dependent care benefits                Form 2441, line 12                         A Cash and marketable securities
     P Preproductive period expenses          See the Partner’s Instructions             B Distribution subject to section 737   See the Partner’s Instructions
     Q Commercial revitalization deduction                                               C Other property
          from rental real estate activities  See Form 8582 instructions             20. Other information
     R Pensions and IRAs                      See the Partner’s Instructions
                                                                                         A Investment income                     Form 4952, line 4a
     S Reforestation expense deduction        See the Partner’s Instructions
                                                                                         B Investment expenses                   Form 4952, line 5
     T through U                              Reserved for future use

                                         }
                                                                                         C Fuel tax credit information           Form 4136


                                                                                                                             }
     V Section 743(b) negative adjustments
                                                                                         D Qualified rehabilitation expenditures
     W Other deductions                       See the Partner’s Instructions                 (other than rental real estate)
     X Section 965(c) deduction                                                          E Basis of energy property              See the Partner’s Instructions
14. Self-employment earnings (loss)                                                      F through G
Note: If you have a section 179 deduction or any partner-level deductions, see the       H Recapture of investment credit        See Form 4255
Partner’s Instructions before completing Schedule SE.                                     I Recapture of other credits           See the Partner’s Instructions
     A Net earnings (loss) from
                                                                                         J Look-back interest—completed




                                                                                                                             }
          self-employment                     Schedule SE, Section A or B
                                                                                             long-term contracts




                                         }
     B Gross farming or fishing income        See the Partner’s Instructions                                                     See Form 8697
                                                                                         K Look-back interest—income forecast
     C Gross non-farm income                  See the Partner’s Instructions                 method                              See Form 8866
15. Credits                                                                              L Dispositions of property with
     A Low-income housing credit                                                             section 179 deductions
          (section 42(j)(5)) from pre-2008                                               M Recapture of section 179 deduction
          buildings                                                                      N Interest expense for corporate
     B Low-income housing credit                                                             partners
          (other) from pre-2008 buildings                                                O through Y
     C Low-income housing credit                                                         Z Section 199A information
          (section 42(j)(5)) from                                                       AA Section 704(c) information
          post-2007 buildings                 See the Partner’s Instructions                                                     See the Partner’s Instructions
                                                                                        AB Section 751 gain (loss)
     D Low-income housing credit
          (other) from post-2007                                                        AC Section 1(h)(5) gain (loss)
          buildings                                                                     AD Deemed section 1250
     E Qualified rehabilitation                                                              unrecaptured gain
          expenditures (rental real estate)                                             AE Excess taxable income
     F Other rental real estate credits
     G Other rental credits
                                                                                        AF Excess business interest income
                                                                                        AG Gross receipts for section 59A(e)    Knapton 238
                                                                                        AH 06/30/20
                                                                                       REV   Other information
                                                                                                     TTBIZ

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Click Vision Group LLC                                                                             2893                  1



Additional information from your Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (MCT Texas Partners LP)

Schedule K-1: Partner's Share of Income, Deductions, Credits, etc. (MCT Texas Partners LP)
Supplemental Information                                                     Continuation Statement
                                       Description                                                     Amount
Item L. Partner's Capital Account Analysis:
Tax basis




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SCHEDULE B-1                                    Information on Partners Owning 50% or
(Form 1065)
(Rev. August 2019)
                                                       More of the Partnership                                                                      OMB No. 1545-0123
                                                                      a Attach to Form 1065.
Department of the Treasury
Internal Revenue Service                             a Go to www.irs.gov/Form1065 for the latest information.
Name of partnership                                                                                                        Employer identification number (EIN)
Click Vision Group LLC                                                                                                                  2893
 Part I        Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
               2009 through 2017))

Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a
partnership), trust, tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in
the profit, loss, or capital of the partnership (see instructions).
                                                                                                                                                        (v) Maximum
                                                                     (ii) Employer
                                                                                                                                   (iv)              Percentage Owned
                        (i) Name of Entity                       Identification Number          (iii) Type of Entity
                                                                                                                         Country of Organization       in Profit, Loss,
                                                                          (if any)
                                                                                                                                                          or Capital




 Part II       Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
               (Question 3b for 2009 through 2017))
Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the
profit, loss, or capital of the partnership (see instructions).
                                                                                                                                                        (iv) Maximum
                                                                 (ii) Identifying Number                                                            Percentage Owned in
                 (i) Name of Individual or Estate                                               (iii) Country of Citizenship (see instructions)
                                                                           (if any)                                                                      Profit, Loss,
                                                                                                                                                           or Capital


Brent Simpson                                                                 410          US                                                               84.0000




For Paperwork Reduction Act Notice, see the Instructions for Form 1065. BAA                                     REV 06/30/20 TTBIZ Schedule B-1 (Form 1065) (Rev. 8-2019)




                                                                                                                                     Knapton 240
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                                  Change of Address or Responsible Party — Business
Form  8822-B
(Rev. December 2019)
                                                                       Please type or print.
                                                                         a
                                                                                                                                                       OMB No. 1545-1163
                                             a See instructions on back.  a Do not attach this form to your return.
Department of the Treasury
Internal Revenue Service                            a Go to www.irs.gov/Form8822B for the latest information.


Before you begin: If you are also changing your home address, use Form 8822 to report that change.

If you are a tax-exempt organization (see instructions), check here

Check all boxes this change affects.
  1     Employment, excise, income, and other business returns (Forms 720, 940, 941, 990, 1041, 1065, 1120, etc.)

  2        Employee plan returns (Forms 5500, 5500-EZ, etc.)

  3        Business location

  4a Business name                                                                                                                    4b Employer identification number

       Click Vision Group LLC                                                                                                                          2893
  5    Old mailing address (no., street, room or suite no., city or town, state, and ZIP code). If a P.O. box, see instructions. If foreign address, also complete spaces
       below, see instructions.

       14241 Dallas Parkway, Suite 650 Dallas TX 75254
       Foreign country name                                                     Foreign province/county                                    Foreign postal code


  6    New mailing address (no., street, room or suite no., city or town, state, and ZIP code). If a P.O. box, see instructions. If foreign address, also complete spaces
       below, see instructions.

       14555 Dallas Parkway, Suite 100 Dallas TX 75254
       Foreign country name                                                     Foreign province/county                                    Foreign postal code


  7    New business location (no., street, room or suite no., city or town, state, and ZIP code). If a foreign address, also complete spaces below, see instructions.
       14555 Dallas Parkway, Suite 100 Dallas TX 75254
       Foreign country name                                                     Foreign province/county                                    Foreign postal code


  8    New responsible party’s name


  9    New responsible party’s SSN, ITIN, or EIN. (CAUTION: YOU MUST REFER TO THE INSTRUCTIONS FOR FORM SS-4 TO SEE WHO MAY USE AN EIN.)


 10    Signature. Under penalties of perjury, I declare that I have examined this application, and to the best of my knowledge and belief, it is true, correct, and complete.
       Daytime telephone number of person to contact (optional) a       (972)807-3195
            FF




Sign             Signature of owner, officer, or representative
                                                                                                                                                    02/01/2020
                                                                                                                                                     Date
Here
                 President
                 Title


Where To File
Send this form to the address shown here that applies to you.

IF your old business address was in . . .                                                                                                 THEN use this address . . .


Connecticut, Delaware, District of Columbia, Georgia, Illinois,
Indiana, Kentucky, Maine, Maryland, Massachusetts, Michigan,
                                                                                                                                        Internal Revenue Service
New Hampshire, New Jersey, New York, North Carolina, Ohio,
                                                                                                                                         Kansas City, MO 64999
Pennsylvania, Rhode Island, South Carolina, Tennessee, Vermont,
Virginia, West Virginia, Wisconsin


Alabama, Alaska, Arizona, Arkansas, California, Colorado, Florida,
Hawaii, Idaho, Iowa, Kansas, Louisiana, Minnesota, Mississippi,                                                                         Internal Revenue Service
Missouri, Montana, Nebraska, Nevada, New Mexico, North Dakota,                                                                            Ogden, UT 84201-0023
Oklahoma, Oregon, South Dakota, Texas, Utah, Washington,
Wyoming, any place outside the United States
                                                                                                                                      Knapton 241
For Privacy Act and Paperwork Reduction Act Notice, see back of form.                        BAA           Cat. No. 57465HREV 11/06/15 TTBIZ Form 8822-B (Rev. 12-2019)

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     Form 1065                             Other Liabilities                       2019
     Schedule L

Name                                                                          Employer ID Number


Click Vision Group LLC                                                                2893

                                                               Beginning of        End of
 Other Current Liabilities:                                      tax year         tax year




 Total to Form 1065, Schedule L, line 17

                                                               Beginning of        End of
 Other Liabilities:                                              tax year         tax year

 Notes                                                         1,450,000.       1,390,490.
 Interest                                                         74,601.          77,137.




 Total to Form 1065, Schedule L, line 20                       1,524,601.       1,467,627.

ptpw1801.SCR 10/21/19




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                                    199A Worksheet by Activity                                         2019
                                           G Keep for your records

Partnership’s name                                                                       Partnership’s EIN
Click Vision Group LLC                                                                            2893


                                   Trade or Business: 1065, Line 22
   Aggregation Code:                             EIN:       2893

                                   Check if activity is NOT a qualified trade/business          X
                                   Specified Service Trade or Business?                             Yes      X No

QBI or qualified PTP items subject to partner-specific determinations:

 1a    Ordinary business income (loss)                             1a
   b   Adjustments                                                  b
   c   Adjusted ordinary business income (loss)                                                1c
 2a    Rental income (loss)                                        2a
   b   Adjustments                                                  b
   c   Adjusted rental income (loss)                                                          2c
 3a    Royalty income (loss)                                      3a
   b   Adjustments                                                 b
   c   Adjusted royalty income (loss)                                                         3c
 4a    Section 1231 gain (loss)                                   4a
   b   Adjustments                                                 b
   c   Adjusted section 1231 gain (loss)                                                      4c
 5     Other income (loss)                                                                    5
 6a    Section 179 deduction                                      6a
   b   Adjustments                                                 b
   c   Adjusted section 179 deduction                                                         6c
 7     Charitable contributions                                                               7
 8     Other deductions                                                                       8
 9a    W-2 wages                                                  9a
   b   Adjustments                                                 b
   c   Adjusted W-2 Wages                                                                     9c
10 a   UBIA of qualified property                                10 a
   b   Adjustments                                                  b
   c   Adjusted UBIA of qualified property                                                   10 c

spsw9906.SCR 04/20/20




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Click Vision Group LLC                                                       2893                 1



Additional information from your 2019 Federal Partnership Tax Return

Form 1065: Partnership Tax Return
Line 20, Other Deductions                                             Continuation Statement
                                    Description                                      Amount
Advertising                                                                                546,831.
Computer services and supplies                                                              21,514.
Legal and professional                                                                     296,172.
Outside services/independent contractors                                               5,226,322.
Travel                                                                                      71,880.
Business Operations                                                                        146,623.
Data Warehouse and Hosting                                                                  54,291.
EHR Partnership Fees                                                                       346,551.
                                                                     Total             6,710,184.

Form 1125-A: Cost of Goods Sold
Other Costs Statement                                                 Continuation Statement
                                    Other Cost                                 Other Amount
Transaction Processing                                                                      641,199
Shipping                                                                                    680,509
                                                                     Total              1,321,708




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CLICK VISION GROUP LLC
14555 Dallas Parkway, Suite 100, Dallas, TX 75254




December 9, 2020

Kurt Knapton
5102 Oak Ln
Arlington, TX 76017




Dear Kurt:

As the terms of our agreement made on June 23, 2020, have not been fulfilled, a cashier’s
check in the amount of $355,000.00 is enclosed. This represents:

$300,000     Membership Redemption in Click Vision Group LLC
$100,000     October 23, 2018 Note
$185,000     December 19, 2019 Note
$597,000

From this payment, the following amounts have been deducted:

$80,000      Return of Consulting Fees
             Cost of Sean Ketterick (per our discussion on February 2, 2020 and June 22,
             2020). As the total costs to projects and relationships have not been fully
$150,000     realized, the amount is a rounding down of salary paid.
$230,000

As previously discussed, Sean did not document the names, contact and payment
information for BAN lenders. Please forward your list prior to December 31, 2020, so their loans
may be returned promptly.

Sincerely,




Brent Simpson
Managing Member
Click Vision Group LLC


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          CHASE�,
                Terms and Conditions (Remltter and Payee):

                          * Please keep this copy for your record of the transaction
                          * The laws of a specific state will consider these funds to be "abandoned"
                            if the Cashier's Check is not cashed by a certain time
                                 - Please cash/deposit this Cashier's Check as soon as possible to
                                    prevent this from occurring
                                 - In most cases, the funds will be considered "abandoned"
                                    before the "Void After" Date
                          * Placing a Stop Payment on a Cashier's Check
                                 - Stop Payment can only be placed if the Cashier's Check
                                    is lost, stolen, or destroyed
                                 - We may not re-issue or refund the funds after the stop payment has
                                    been placed until 90 days after the original check was issued
                          * Please visit a Chase branch to report a lost, stolen, or destroyed Cashier's Check
                            or for any other information about this item


                                                                        FOR YOUR PROTECTION SAVE THIS COPY              Customer Copy
                                                                            CASHIER'S CHECK                                         9309222633
                                                                                                             12/9/2020
                                                                                                             Vold after 7 yea,-

               Remitter:             Click Vision Group LLC

                                                                                                                                  $** 355,000.00 **
               Pay To The            Kurt Knapton
               Order Of:
                                                                                           Drawer: JPMORGAN CHASE BANK, N.A.
              Memo:---------------                                                         NON NEGOTIABLE
             Note: For information only. Comment has no effect on bank's payment.

                                                                                                                                              282111107 NEW 01/08 8810004306



                                                                            CASHIER'S CHECK
       HOlD DOCUf.lENT UP TO THE LIGHT TO Vl'2-II TRUE WATERMARK                                             HOLD DOCUMENT UP TO THE LIGHT TO VIEW TRUE WATERMARK




         CHASEO
                                                                                                                                                                 2 3
                                                                        :
                                                                                                                                    9309222633                    5-
                                                                                                                                                                 440
                                                                                               Date     12/9/2020                 Vold after7 yeara


             Remitter:            Click Vision Group LLC

              Pay To The           Kurt Knapton
              Order Of:

              Pay: THREE HUNDRED FIFTY FIVE THOUSAND AND NO CENTS                                                                    $** 355,000.00 **
                                                                                               Dra-n JPMORGAN CHASE BANK, N.A.
                                        Oo not wl1le outalde 1h11 box


           Memo:---------------
                                                                                                 �IJ-fµ__
                                                                                 Reginald Chambers, Chief Administrative Officer
           Note: For Information only. Comment has no effect on bank's p ayment. JPMorgan Chase Bank, N.A.
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                   Shipment Receipt                   December
                                                 Appendix                                  1Z2R3F801552050783
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                                                          (Exhibits


Where
Ship From                                                 Ship To
Brent Simpson, Brent Simpson                              Kurt Knapton, Kurt Knapton
2901 Queen Mary Dr, FLOWER MOUND, TX 75022                5102 Oak Ln, Arlington, TX 76017-3602
brent@clickoptical.com, 2145322130


What
Package 1 - 1Z2R3F801552050783
Weight                                                    Dimensions
0 lbs                                                     UPS Letter

Service Details - UPS 2nd Day Air
Estimated Delivery Friday December 11, 2020 , End of Day


Additional Options

Payment
Bill Shipping Charges To: MasterCard ending in 8274


Shipping Total
Shipping Fees                                                                          Subtotals

Package 1                                                                               Shipping Fees                                                           $24.75
UPS 2nd Day Air                                                         $22.81          Combined Charges                                                        $24.75
Fuel Surcharge                                                           $1.94
                                                                                       Rate includes a fuel Surcharge, but excludes taxes, duties and other charges
Transportation Charges: for services listed as guaranteed, refunds apply to            that may apply to the shipment.
transportation charges only. See Terms and Conditions in the Service Guide for         Your invoice may vary from the displayed reference rates
details. Certain commodities and high value shipments may require additional
transit time for customs clearance.
Note: This document is not an invoice.
All shipments are subject to the UPS Tariff/Terms and Conditions of Service (“UPS terms”) in effect on the date of shipment, which are available at
www.ups.com/terms. Pursuant to the UPS Terms, UPS’s maximum liability for loss or damage to each domestic package or international shipment is limited to $100,
unless the shipper declares a greater value in the declared value field of the UPS shipping system used and pays the applicable charge (in which case UPS’s maximum
liability is the declared value). Special terms apply to some services and articles. Please review the UPS Terms for liability limits, exclusions from liability, maximum
declared values, prohibited items, and other important terms of service. The shipper agrees that in the absence of a greater declared value, $100 value is a
reasonable limitation under the circumstances of the transportation. Claims not timely made (generally noticed within sixty days and filed within nine months, but filed
within sixty days for international shipments) are deemed waived and will not be paid. See the UPS Terms for details. Under no circumstances will UPS be liable for
any special, incidental, or consequential damages.




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  From: UPS mcinfo@ups.com
Subject: Your UPS Package was delivered
  Date: December 10, 2020 at 3:04 PM
    To: brent@clickoptical.com




                                                            Hi Brent,


                          Your package was delivered.

                                                         Delivered
                                             Thursday 12/10/2020
                                                   2:52 PM


                                                      Track Your Package




                                                        UPS 2nd Day Air
                                                    1Z2R3F801552050783


                                           Get delivery updates by text and email.
                                             Log in to update your preferences.




      ©2020 United Parcel Service of America, Inc. UPS, the UPS brandmark, and the color brown are trademarks of United Parcel
                                            Service of America, Inc. All rights reserved.


                                                  Please do not reply to this email.


                                  Manage Delivery Alerts | Privacy Notice | Service Terms | Opt Out




                                                                                                         Knapton 248
                                                                                                                            428
12/21/2020        Case 24-42912                      Tracking | UPS -Entered
                                   Doc 26-2 Filed 01/07/25           United States01/07/25 18:26:02    Desc
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     Proof of Delivery
     Dear Customer,
     This notice serves as proof of delivery for the shipment listed below.

     Tracking Number
     1Z2R3F801552050783

     Weight
     0.00 LBS

     Service
     UPS 2nd Day Air

     Shipped / Billed On
     12/09/2020

     Delivered On
     12/10/2020 2:52 P.M.

     Delivered To
     Arlington, TX, US

     Received By
     DRIVER RELEASE

     Left At
     Front Door

     Thank you for giving us this opportunity to serve you. Details are only available for shipments delivered within
     the last 120 days. Please print for your records if you require this information after 120 days.
     Sincerely,
     UPS
     Tracking results provided by UPS: 12/21/2020 5:36 P.M. EST




                                                                                             Knapton 249
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RCO Centralized Mail
Mail Code LA4-7300
700 Kansas Lane
Monroe, LA 71203-4774



7/20/2022

STEPHEN W KOTARA
CURNUTT & HAFER LLP
301 WEST ABRAM STREET
ARLINGTON TX 76010


NOTICE OF ADDRESS CHANGE: Please note that as of August 2, 2021, all mail previously managed in our Indianapolis, IN, or Fort
Worth, TX, facility will be managed by our centralized mail processing team in Monroe, LA.

Please update your mailing address records to the following:
RCO Centralized Mail
Mail Code: LA4-7300
700 Kansas Lane
Monroe, LA 71203-4774

Should you have questions regarding this Notice of Change, please contact us at 1-844-751-7728. We accept operator relay calls. Please
note: This is a change to the mailing address only.

Case Name: IN THE MATTER OF THE ARBITRATION BETWEEN KURT KNAPTON, CLAIMANT VS CLICK VISION
GROUP, LLC, DANA BRENT SIMPSON, AND ACUITY ADVISORS LLC, RESPONDENTS
Case No.: 01-21-0002-2315
JPMorgan Chase File No.: SB1346182-F1

Dear Sir/Madam:

Here is the information that fulfills your request on the matter referenced above.

If you have questions, please call us at 1-844-751-7728; we accept operator relay calls. We're here to help Monday through Friday from
8:30 a.m. to 7:00 p.m. Eastern Time. Please know that we are only able to provide the status of this request. We can't verbally disclose
further information related to the records and/or information provided.

Please notify our office immediately of any email address changes to avoid electronic delivery delays for future productions.


Sincerely,


Leah Lucas
Operations Manager, VP
Chase Customer Service




JPMorgan Chase Bank, N.A. Member FDIC
SUBP17




                                                                    1-V                                 Knapton 250
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 Account Number :                    1375
   Checking - Other Records                                            1




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                                             EXHIBIT J
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                                      CAUSE NO.: 01-21-0002-2315

KURT KNAPTON,
          Claimant

v.
                                                                     American Arbitration Association
CLICK VISION GROUP, LLC, DANA BRENT
SIMPSON, AND ACUITY ADVISORS LLC,
             Respondents
______________________________________________________________________________

     RESPONDENTS’ RESPONSE TO MOTION FOR SUMMARY JUDGMENT
______________________________________________________________________________

COMES NOW, Click Vision Group, LLC, Dana Brent Simpson, and Acuity Advisors LLC,

(herein “Respondents”) and file this Response to Motion for Summary Judgment and in support

thereof would show the Arbitrator as follows1 :

                                                Legal Standard

        1.       “A party seeking to recover upon a claim, counterclaim, or cross-claim or to

obtain a declaratory judgment may, at any time after the adverse party has appeared or answered,

move with or without supporting affidavits for a summary judgment in his favor upon all or any

part thereof.” Tex. R. Civ. P. 166a(a). A party moving for summary judgment has the burden to

prove that there is no genuine issue of material fact and that it is entitled to summary judgment as

a matter of law. Tex. R. Civ. P. 166a(c); Provident Life & Acc. Ins. Co. v. Knott, 128 S.W.3d

211, 215 (Tex. 2003). Here, Claimant is not entitled to summary judgment because he has failed

to provide legally sufficient evidence of the amount due under the promissory notes, his lost

profits, and the attorney fees incurred.




1 Counsel for Respondents filed a Motion for Extension of Time to file this Response due in part to having not been

granted access to the AAA portal and having limited access to the filings made in this case. Respondents file this
Response subject to the Motion for Extension of Time.



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                                        Default on Notes

         2.    In June of 2018, Claimant showed interest in investing in Click Vision Group,

LLC (“Click Optical”) by making an initial $100,000.00 investment via convertible promissory

note. Claimant would take three additional convertible promissory notes throughout his

relationship with Click Optical. Claimant showed not only interest in Click Optical, but after

bringing in an additional investor himself through the Baylor Angel Network, Claimant insisted

he be brought on as a consultant. See Exhibit 1. As consultant, Claimant inserted himself into the

day-to-day of Click Optical and became fully aware of its operations. As consultant, he

negotiated convertible notes with three additional investors on behalf of Click Optical. He also

insisted that Click Optical bring on Sean Ketterick as COO. Reluctantly, Click Optical’s majority

shareholder Brent Simpson agreed despite Ketterick’s lack of experience and subpar business

skills on the condition that Claimant guarantee his performance. Claimant agreed. In the Fall of

2020, Simpson had to subsequently fire both Claimant and Ketterick for poor performance. What

followed were a series of demands by Claimant for repayment of his convertible promissory

notes.

         3.    On December 4, 2020, Claimant sent a demand on the note that matured on

October 24, 2020 for $112,715.98. On December 17, 2020, Claimant mailed a second notice of

default demanding a total of $303,316.39. See Exhibits 2 and 3. However, on December 9, 2020,

the Respondent sent to the Claimant a check for $355,000.00 which to date has not been cashed.

This payment represented the amount due under not only the notes as demanded, but all notes

taken by the Claimant, less monies owed by the Claimant pursuant to his agreement to guarantee

Ketterick’s performance plus consulting fees paid to Claimant. Claimant was paid in full at that

time. See Exhibit 4.




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       4.      The Claimant worked as a consultant. Petitioner wanted to insert himself into the

business more, demanding management control. Simpson did not allow that and as sole

managing member of the company had every right to terminate his relationship with the

Petitioner. Although Petitioner agreed to offset for payments to Sean Ketterick as COO, since he

did not work out as COO and Simpson relied on Claimant’s representations to allow Ketterick to

come aboard. Apparently not content with his own promises, the Claimant did not accept

$355,000.00 and now insists on claiming that he was never paid a dime and is seeking penalties

and interest not due to him.

       5.      Even if Claimant shows that the $355,000.00 was not sufficient to repay the notes,

or that Respondent is not entitled to any deductions, Claimant must still mitigate his damages.

“Where a party is entitled to the benefits of a contract and can save himself from the damages

resulting from its breach at a trifling expense or with reasonable exertions, it is his duty to incur

such expense and make such exertions.” Walker v. Salt Flat Water Co., 96 S.W.2d 231, 232

(Tex. 1936). Claimant held a right under the notes to accept less payment without waiving

further collection under the notes or jeopardizing any legal claims he may hold. He failed to do

so. This caused unnecessary increase in interest and penalties for which Claimant now seeks.

Claimant has not accounted for the payment of $355,000.00 and interest borne d ue to his failure

to mitigate. Claimant has not proven what is due under the notes and at a minimum a fact issue

remains with respect to the amount owed.

                               Claimant Not Entitled to Lost Profits

       6.      Claimant is not entitled to lost profits. Lost profits must be proven with

reasonable certainty. “Recovery for lost profits does not require that the loss be susceptible of

exact calculation. However, the injured party must do more than show that they suff ered some




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lost profits. The amount of the loss must be shown by competent evidence with reasonable

certainty.” Holt Atheron Industries, Inc. v. Heine, 835 S.W.2d 80, 84 (Tex. 1992). Evidence

based on pure speculation is legally insufficient. Id.

       7.      Claimant provides no evidence or proof of direct profits lost as a result from any

malfeasance of the Respondent. He provides no potential investments that he forewent in favor

of the Respondent, much less the results of that investment. Claimant provides no expert opinion

on his lost profits, but a mere estimate from a treatise with nothing more than a cursory analysis.

The study cited to speaks of angel investments, in general, but does nothing to provide support

for lost profits as applied to the Claimant’s potential investments. This is insufficient to

determine any lost profits with the specificity required by Texas law. Claimant’s request for lost

profits should be denied.

                                           Attorney Fees

       8.      Claimant, even if successful, is not entitled to the attorney fees he seeks. The fee

affidavit as presented is insufficient because it does not properly segregate the fees as owed nor

do the entries in the invoices provide sufficient detail to determine whether or not they advanced

a claim entitled to recovery. See Gulf States Utilities Co. v. Law, 79 S.W.3d 561, 567 (Tex.

2002). Petitioner has only one cause of action for which he can request attorney fees: breach of

the promissory notes. However, the time entries provided to support the fees detail include such

claims as fraud, alter ego, and arbitration law with respect to non-signatories.

       9.      Not only does the Petitioner fail to properly segregate fees, but the attorney fee

invoices are replete with entries that are substantively lacking. Here are just a few exemplars:




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        10.     These entries explain nothing of what work was done and how the work advanced

the case, and therefore necessary. The entry provides insufficient detail to determine whether or

not the work done was legal work, let alone reasonable and necessary for the advancement of

Claimant’s case.




        11.     These entries are examples of insufficient detail to justify the amount of time

spent. These entries are also an example of improper “block billing.” The entry on November 5

does not distinguish between how much time was spend for researching law or simply looking

into “corporate formation.” Were 5 hours were spent simply researching corporate formation

(whatever that means) and .2 spent on researching law? Or the other way around? Or some other

combination of lawyer and non-lawyer work? We do not know, and this record does not explain.

The same issue plagues the November 6 entry. The entry does not specify how much time was

spent organizing the file (an obvious non-billable task) versus research and drafting (an arguable

billable task given the lack of detail).

        12.     The attorney fee affidavit includes time entries from another law firm, Sheppard

Mullin, and does not attest to the accuracy of those records or the affiant’s authority to




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authenticate those records. The records from Sheppard and Mullin should be disregarded out of

hand due to the failure to properly authenticate the invoices. And should the Arbitrator allow the

introduction of the Sheppard and Mullin invoices, the time entries are also insufficient. The time

entries fail to properly segregate fees into those claims for which recovery of fees is available.

This segregation is required by Texas law and the Petitioner fails to do so here.

       13.     The fee entries for the Sheppard Mullin invoices are equally problematic. The

general theme of the fee entries are clearly for use in an attempt to generate a criminal

prosecution against Mr. Simpson, and not for the recovery of monies for a breach of contract.




       14.     And for example:




       15.     And also:




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       16.     The Claimant’s use of a private attorney to get his pound of flesh through criminal

prosecution is not recoverable. There is very little, if any, segregation or distinction of the

services provided to advance a claim for breach of contract for which attorney fees are

recoverable. The attorneys at Sheppard Mullin have not spoken for themselves in this arbitration,

but surely would not consider the fees incurred to threaten a criminal prosecution in advance of a

civil matter to be recoverable.

       17.     The Claimant has not shown and has provided insufficient evidence to

demonstrate the attorney fees incurred advanced recoverable claims thus at a minimum creating


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a fact issue regarding their availability. The attorney fees with respect to summary judgment

must be denied.

       18.    Respondents have shown that Claimant is not entitled to summary judgment

because he has failed to provide legally sufficient evidence of the amount due under the

promissory notes, his lost profits, and the attorney fees incurred. Respondents pray that the

Arbitrator deny Claimant’s Motion for Summary Judgment.



                                                  Respectfully Submitted,

                                                  HUNNICUTT LAW GROUP

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                               CERTIFICATE OF SERVICE

         I hereby certify that I caused a true and correct copy of the foregoing to be served on
June 13, 2022.

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                                CAUSE NO. 141-335985-22

 KURT KNAPTON,                                §                 IN THE DISTRICT COURT
 Applicant,                                   §
                                              §
                                              §
                                              §
 v.                                           §
                                              §              TARRANT COUNTY, TEXAS
                                              §
 CLICK VISION GROUP, LLC., DANA               §
 BRENTON SIMPSON, AND ACUITY                  §
 ADVISORS, LLC,                               §
 Respondents.                                 §                 141st JUDICIAL DISTRICT

                       DANA BRENTON SIMPSON’S
                 AMENDED WRITTEN DISCOVERY RESPONSES

INTERROGATORY NUMBER 1: Please state your full legal name and any other name
you have used at any time including each nickname and alias.

       ANSWER: Dana Brenton Simpson and Brent.

INTERROGATORY NUMBER 2: Have you or your spouse filed an assumed name
certificate or partnership certificate? If so, for each certificate please state:

       a.    the full assumed or partnership name used;

       b.    the full name(s) of the person(s) (you, your spouse, or both) using it; and

       c.    the city, country, and state that the assumed or partnership name was or is
             primarily used in.

       ANSWER: No.

INTERROGATORY NUMBER 3: Have you or your spouse used an assumed name or
partnership name without filing a certificate? If so, for each name please state:

       a.    the full assumed or partnership name used;

       b.    the full name(s) of the person(s) (you, your spouse, or both) using it; and

       c.    the city, country, and state that the assumed or partnership name was primarily


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INTERROGATORY NUMBER 9: Are you now married? If you are, please state-

      a.    your spouse's full name;

      b.    the date of marriage; and

      c.    your spouse's complete present address.

      ANSWER: No.

INTERROGATORY NUMBER 10: Have you been married to someone whom you are not now
married to? If you have, for each prior marriage please state:

      a.    whether the former spouse is still living;

      b.    the full present name of the former spouse if still living;

      c.    the date of the marriage;

      d.    the date the marriage ended and how it was terminated; and

      e.    the complete present residential address of the former spouse if still living.

      ANSWER: a. Still living
              b. Angie Delayne Hill
              c. April 9, 2006
              d. Divorced on December 10, 2010
              e. 4218 Scott Dr, Rowlett, TX 75088

INTERROGATORY NUMBER 11: Have you and your spouse ever partitioned your
community property by written agreement? If so, please state:

      a.    the date the agreement was signed;

      b.    the contents of the agreement, copying it verbatim, or alternatively, attaching a copy
            of the agreement to your answers; and

      c.    whether the agreement has been filed in the records of any county and, if it has,
            the name of each county in which it has been filed.

      ANSWER: No.

INTERROGATORY NUMBER 12: Do you have one or more children now living? If you do, for

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      e.    the amount of each deposit paid to the landlord.

      ANSWER: No.

INTERROGATORY NUMBER 16: Do you have one or more boarders, tenants, or subtenants?
If you do, for each one, please state:

      a.     the person's full name;

      b.     the amount of rent paid by him or her;

      c.     the date the person began renting from you;

      d.     the rental agreement you have with him or her; and

      e.     the amount of any deposit made by the person to you.

      ANSWER: No.

INTERROGATORY NUMBER 17: What is your usual occupation?

      ANSWER: Executive / marketing analyst.

INTERROGATORY NUMBER 18: Are you presently self-employed (or have you been self-
employed during the past five years), either full time or part time? If so, please state:

      a.     the nature of your occupation, in detail;

      b.     the time frames of when you have been self-employed in various capacities or
             businesses;

      c.     the full names of any self-employed businesses you operated under;

      d.     a complete list of addresses and telephone numbers of any of your self- employed
             places of business;

      e.     your total annual income for each of the last five years, and the amount of total
             income each year for the portion of your time that you have been self-employed;

      f.     your average monthly income for the last six months in total; and your average
             monthly income for the last twelve month from self-employment sources;

       g.    whether any money is presently owed you and, if it is, from whom and in what
             amount is it owed.


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       ANSWER: No.

INTERROGATORY NUMBER 19,: Are you presently employed (or have you been employed
during the last five years), either full time or part time, by someone other than yourself? If so, for
each employer, please state:

       a.     the full name, complete address, and telephone number of each employer;

       b.     the title and nature of your role at each employer;

       c.     the time frames of when you have been employed at each employer;

       d.     your annual income for each of the last five years from each employer;

       e.     your average monthly income for the last twelve months from your employer(s);

      f.      your current wages or salary and how often you are paid; for example, daily,
              weekly, monthly;

       g.     if you work for commissions, the average monthly amount of your commissions
              during the last twelve months;

       h.     the day of the week you are paid or the date or dates you are paid every month or
              the other regular day or dates you are paid; and

       i.     whether any money or compensation is presently owed to you by an employer
              and, if so, from what source and in what amount it is owed.

       ANSWER: a. Click Vision Group LLC, 14555 Dallas Parkway, Suite 100, 972-807-
               3195
               b. President
               c. 12/20/2016 – Present
               d. 2017 - $125,000, 2018-Present - $0
               e. $0
               f. n/a
               g. n/a
               h. n/a
               i. n/a

INTERROGATORY NUMBER 20: Does your spouse work now? If so, for each job your
spouse has, including self-employment, please state:

       a.      whether any income is from self-employment;

       b.      the full name, complete address, and telephone number of each employer;


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       c.     the annual compensation that your spouse has received for each of the last five
              years or for any portion of that time that your spouse has been employed by
              another or self-employed;

       d.     your spouse's average monthly income for the last six months; and

       e.     whether any compensation is presently owed your spouse and, if so, from what
              source and in what amount owed.

       ANSWER: Not applicable.

INTERROGATORY NUMBER 21: Are you the sole support of your family? If you are not,
for each other person who contributes support, please state:

       a.    the full name and complete address of the contributor;

       b.    your relationship to the contributor;

       c.    the amount of each contribution and when it is normally made; and

       d.    the full name and complete address of each person or entity whom the contributor
             acquires the assets from to make the contribution.

       ANSWER: Yes.

INTERROGATORY NUMBER 22: Do you receive income or benefits from any source other than
your employment or family contributions listed above? If you do, for each source, please state:

      a.     the full name and complete address of the source;

      b.     the amount of the income or benefits;

      c.     precisely when each payment is received throughout the year; and

      d.     the full name, complete address, and telephone number of each person, financial
             institution, or other entity that you deposit the payments with.

      ANSWER: No.

INTERROGATORY NUMBER 23: For each of your expenses that recurs on a monthly or
other regular basis and exceeds $100, please state:

       a.     the frequency the payments are made;



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        e.     the full name of the person who pays the expense and, if not you, your relationship
               to that person.

       ANSWER: See the documents in applicant’s possession and control including the
       documents he obtained via subpoena in the arbitration related to this action as well as any
       documents applicant might have been provided by respondent in the past, since such time
       the monthly expenses are the same. The documents are more accessible to applicant or at
       the least are equally accessible and the burden is equal. TRCP 197.2 “Option to produce
       records. If the answer to an interrogatory may be derived or ascertained from . . . records,
       the responding party may answer the interrogatory by specifying . . . the records.” In
       addition, the information sought is not reasonably calculated to lead to the discovery of
       assets, including because for example what does the amount of an electricity bill have to
       do with assets or their location?

INTERROGATORY NUMBER 26: Have you or your spouse made any payment exceeding
$500 to any person or entity during the last twelve months? If so, for each payment, please state:

       a.      the date and amount of the payment;

       b.      the full name and complete address of the recipient;

       c.      the total amount owed the recipient before the payment was made;

       d.      the date the payment was due;

       e.      the balance due the recipient after the payment was made; and

       f.      the name(s) of the person(s) (you, your spouse, or both) who made the payment.

       ANSWER: No.

INTERROGATORY NUMBER 27: Have you or your spouse received any real estate or personal
property by inheritance? Do you or your spouse expect to receive any inheritance? If the answer to
either question is yes, for each property or inheritance, please state, to the greatest extent possible:

        a.     a complete description of the property or inheritance;

        b.     the present estimated market value of the property or inheritance;

        c.     the complete present location of the property or inheritance;

       d.      the full name of the estate or person whom the property or inheritance was or will be
               inherited from;

        e.     name and complete address of the executor or administrator of the estate;

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        f.      the name, number, and location of the court administering the estate;

        g.      the name(s) of the person(s) (you, your spouse, or both) who inherited or will inherit
                the property or inheritance; and
       h.        there has been a final distribution of the estate and, if so, when it was made.

       ANSWER: No.

INTERROGATORY NUMBER 28: Within the last year, have you or your spouse received as a
gift any money or property worth more than $500? If so, for each gift please state-

        a.      the full name, complete address, and telephone number of the person or entity that
                made the gift;

        b.      the date it was received;

        c.      the name(s) of the person(s) (you, your spouse, or both) who received it;

        d.      a complete description of the gift;

        e.      the present estimated market value of the gift;

        f.      the gift's present location; and

        g.      a detailed description of what was done with the gift if the recipient(s) (you, your
                spouse, or both) does not still have it.

        ANSWER: No.

INTERROGATORY NUMBER 29: Do you or your spouse have an ownership interest in, option
to purchase, contract to sell, leasehold in, or other interest in any real estate? If so, for each property,
please state:

        a.      the legal and common descriptions and the location of the property;

        b.      the size of the property;

        c.      a description of every improvement on the property;

        d.      the name of the person (you, your spouse, or both) having the interest;

        e.      the full name and complete address of every other person or entity having any
                kind of interest in the property;
        f.      the present value of your or your spouse's equity in the property;

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       g.     whether the property is encumbered; if it is, also please state:

       (1)    the nature of the encumbrance;

       (2)    the full name and complete address of the holder of the encumbrance; and

       (3)    the amount of the encumbrance;

       h.     the cost of the property, excluding improvements;

       i.     when and how the property was bought or acquired;

       j.     whether any part of the property is within the corporate limits of a town and, if
              so, the name of the town; and

       k.     whether any money or property has been placed in escrow; if it has, also please
              state:

       (1)    the full name and complete address of the person or entity now having
              possession of the escrow amount or property; and

       (2)    the amount of money or value of the property in escrow.

       ANSWER: 2621 Huntly Ln, Flower Mound, TX 75022. See documents from
       Denton County Appraisal District produced which are accurate and closing file on
       current house (currently obtaining from title company). See DCAD records which
       are equally available to applicant and on information and belief are accurate.
       There is no money in escrow. TRCP 197.2 “Option to produce records. If the
       answer to an interrogatory may be derived or ascertained from . . . records, the
       responding party may answer the interrogatory by specifying . . . the records.” In
       addition, the information sought is not reasonably calculated to lead to the
       discovery of assets, including because for example the home is a homestead.

INTERROGATORY NUMBER 30: Is there any checking account, savings account, trust
fund, investment account, credit union account, pension plan, profit-sharing plan, mutual
fund, trading or brokerage account, cryptocurrency account, or other account or fund of
money that you, your spouse, or any family member now residing with you either owns an
interest in or has a right of withdrawal or deposit? If there is, for each account, please state:

       a.     the full name and relationship to you of each person owning an interest in the
              account or having access to it;

       b.     the name (or title) and number of the account;


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        c.     the full name and complete address of the person or entity holding the fund;

        d.     the present balance in the account; and

        e.     the full names and complete addresses of all authorized signatories to the account.

       ANSWER: No.

INTERROGATORY NUMBER 31: Do you or does your spouse or any family member now
residing with you have access to any depository, including but not limited to safes, vaults, and safe-
deposit boxes? If so, for each depository, please state:

        a.     the full name and complete address of each person or entity whom the depository is
               rented or leased to;

        b.     the full name and complete address of the bank or other institution where the
               depository is located;

        c.     the full name and complete address of each person having access to the depository;

        d.     a complete description of the property contained in the depository on the date you are
               answering these interrogatories;

        e.     the date of each inventory of the depository; and

        f.     the complete contents of each inventory, copying the inventories verbatim, or
               alternatively, attaching copies of them to your answers.

       ANSWER: No.

INTERROGATORY NUMBER 32: Has anything been removed from any depository, including
but not limited to safes, vaults, and safe-deposit boxes, during the last twelve months? If it has, for
each thing removed, please state:

        a.     a complete description of the property removed;

        b.     the date it was removed;

        c.     why it was removed;

       d.      the full name and complete address of each person who removed it;

       e.      the full name of the present custodian of the property and either the complete address
               of the property's present location or a detailed description of its disposition,
               whichever applies; and


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       a.     a complete description of the animal, including registration information as applicable;

       b.     the complete address of its present location;

       c.     the present estimated market value of the animal;

       d.     the full name and complete address of the person or entity having possession of the
              animal;

       e.     the date and cost of acquisition of the animal;

       f.     the amount of any lien against the animal and the full name and complete address
              of the holder or owner of the lien; and

       g.     the name(s) of the person(s) (you, your spouse, or both) having title to or an interest
              in the animal and the nature of the interest.
       ANSWER: No.

INTERROGATORY NUMBER 45: Do you or your spouse now own, claim any interest in,
or have title to any farm machinery of any kind that has not been described in a previous answer?
If so, for each item please state-

       a.     a complete description of the item, including as applicable its year, make, model,
              motor number, serial number, and other permanent identification numbers;

       b.     the complete address of its current location;

       c.     the full name and complete address of each person or entity having possession of
              the certificate of title or other document evidencing title to the item;

       d.     whether the item is subject to a lien and, if so, the amount of the indebtedness and
              the full name and complete address of the holder or owner of the lien;

       e.     the present estimated market value of the item;

       f.     the date and cost of acquisition of the item; and

       g.     the name(s) of the person(s) (you, your spouse, or both) having title to or an interest
              in the item and the nature of the interest.

       ANSWER: No.

INTERROGATORY NUMBER 46: Do you or your spouse now own, claim any interest in,
or have title to any of the following kinds of property?


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      a.      stocks, bonds, or other securities;

      b.      mortgages or liens on real or personal property;

       c.     promissory notes, drafts, bills of exchange, or other commercial paper;

       d.     judgments;

       e.     savings bonds or other government-issued bonds;

       f.     any interests in oil, gas, or mineral leases;

       g.     certificates of deposit, letters of credit, money orders, cashier's checks, traveler's
              checks, bank deposits, or escrow funds;

       h.     Keogh plans, individual retirement accounts, profit-sharing plans, deferred
              compensation plans, pension plans, prepaid funeral plans, retirement benefits, or
              other retirement plans;

      1.      leases, life estates, remainder interests, or other interest in real property;

       j.     partnership interest or membership interest;

       k.     cryptocurrency assets, or

       l.     patents, copyrights, trademarks, service marks, franchises, or other such licenses.

       ANSWER: No, except house and car already discussed and interest in other respondents
       which information is known to applicant, has been provided to applicant including by
       respondent, and has been obtained and by applicant through subpoenas and his affidavit
       and possibly other means such that TRCP 197.2 is applicable, “Option to produce
       records. If the answer to an interrogatory may be derived or ascertained from . . .
       records, the responding party may answer the interrogatory by specifying . . . the
       records.”

INTERROGATORY NUMBER 47: Do you or your spouse now own, claim any interest in, or
have title to any personal property including but not limited to household effects, furniture,
tools, appliances, clothing, jewelry, or precious gems that is worth more than
$500 and that has not been described in a previous answer? If so, for each item please state
       a.     a complete description of the item, including as applicable the year, make, model,
              serial number, and other permanent identification numbers;

       b.     the complete address of its present location;

       c.     the full name and complete address of the person or entity having possession or

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       ANSWER: No.

INTERROGATORY NUMBER 50: Do you or any member of your family now residing with you
have an ownership interest in any business, partnership, corporation, limited liability company,
limited partnership, joint venture, or other legal entity? If so, for each interest, please state:

       a.     the full name, complete address, and telephone number of the business or entity;

       b.     a detailed description of the type of business or other endeavor that it is engaged in;

       c.     the full name of the person (you or family member) having the interest and, if
              applicable, your relationship to that person;

       d.     the date, manner, and cost of acquisition of the interest;

       e.     a detailed description of the interest;

       f.     a description of the legal nature of the entity;

       g.     the full name and complete address of each officer, director, or partner in the business;

       h.     the full name and complete address of each bank that the business maintains any type
              of checking or deposit account in that the business has borrowed money from;

       1.     the present estimated market value of the interest and its percentage of the total value
              of the business; and

       J.     the amount of any interest you or a family member has transferred within the last year
              and the full name and complete address of the person or entity receiving the interest.

       ANSWER: Yes, I do have a member interest in the other respondents in this suit. See
       documents in applicant’s possession and control including that respondent already provided to
       applicant, and including that applicant created / possibly created himself. See applicant’s
       affidavit and attachments sworn to in arbitration including in reference to obtaining subpoenas
       during the arbitration. See documents in applicant’s possession and control from his
       subpoenas. As far as “I”, the current present value is zero, but see value prior as indicated in
       the documents referenced and in applicant’s possession and control. TRCP 197.2 is
       applicable, “Option to produce records. If the answer to an interrogatory may be
       derived or ascertained from . . . records, the responding party may answer the
       interrogatory by specifying . . . the records.”

INTERROGATORY NUMBER 51: Are you or your spouse a beneficiary or trustee of
any trust? If so, for each trust, please state:

       a.     the full name of the trust;

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       b.     the full name, complete address, and telephone number of the trustee;

       c.     the full name, complete address, and telephone number of each beneficiary of
              the trust;

       d.     a detailed description of the terms of the trust as they relate to you or your spouse
              as beneficiary;

       e.     a detailed description of how the trust is funded;

       f.     the total amount presently held in the trust;

       g.     the portion of the current balance held in the trust for you or your spouse;

       h.     the date that rights in the trust will vest in you or your spouse;

       i.     a description of the assets owned by the trust and their present estimated market
              value;

       j.     the account number and location of each checking, savings, or other depository
              account of the trust;

       k.     the date and period when trust disbursements are regularly made; and

       I.     the contents of every one of the trust's tax returns for the last five years, copying
              the returns verbatim, or alternatively, attaching copies of the returns to your answer.

       ANSWER: No.

INTERROGATORY NUMBER 52: Do you or your spouse maintain any business or personal
account with any bank, savings and loan association, credit union, or postal savings department?
If so, for each account, please state:

       a.     the full name and complete address of the institution holding theaccount;

       b.     the full name and number that the account is maintained under;

       c.     the balance of the account five calendar days before the day you received these
              Interrogatories; and

       d.     the balance of the account on the day you answered these Interrogatories.

       ANSWER: No.



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       ANSWER: No.

INTERROGATORY NUMBER 72: Do you claim that any real estate or personal property
of yours or your spouse's is exempt from the claims of creditors? If so, for each piece of property
claimed to be exempt, please state:

       a.     the legal and common descriptions of the property;

       b.     the present estimated value of the property;

       c.     your reason for claiming the property is exempt;

       d.     the name of the property, describing it as either "rural" or "urban" if it is real estate;
       e.     the complete address of its location;

       f.     the amount paid for the property when acquired by you or your spouse; and

       g.     the name(s) of the person(s) (you, your spouse, or both) owning or having an
              interest in the property.

       ANSWER: Yes, all of it is exempt, including respondent’s home and car and all
       respondent’s and family’s personal items. Please see documents produced in case and in
       possession and control of applicant and that are equally available to applicant. See
       Sherriff’s Nulla Bona. TRCP 197.2 is applicable, “Option to produce records. If the
       answer to an interrogatory may be derived or ascertained from . . . records, the
       responding party may answer the interrogatory by specifying . . . the records.”

INTERROGATORY NUMBER 73: Do you or your spouse have an interest in a pension plan,
retirement fund, annuity fund, or profit-sharing plan? If so, for each interest please state -

       a.     the full name and complete address of the administrator of the plan or, if you
              cannot provide that information, the full name and address of the employer that
              the plan is provided through;

       b.     the present value of the interest that you or your spouse has in the plan;

       c.     a detailed description of the terms that you or your spouse may receive money or
              property under the plan; and

       d.     the name(s) of the person(s) (you, your spouse, or both) having the interest.

       ANSWER: No.

INTERROGATORY NUMBER 74: At any time in the last five years, have you or your spouse

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INTERROGATORY NUMBER 77: Please state all reasons why you have not paid your
judgment debt to Applicant.

      ANSWER: Objection, this request is not reasonably calculated to lead to the discovery of
      assets, is harassing, is irrelevant and is improper including because settlement
      communications are confidential and privileged. I do not have the money or assets to pay it.

INTERROGATORY NUMBER 78: If Applicant is willing to accept less than the full amount of
the judgment against you, how much money would you be able and willing to pay to Applicant
within the next thirty days?

      ANSWER: Objection, this request is not reasonably calculated to lead to the discovery of
      assets, is harassing, is irrelevant and is improper including because settlement
      communications are confidential and privileged.

INTERROGATORY NUMBER 79: If arrangements for a lump-sum settlement cannot be
made, please state when you could start making monthly or periodic payments and how much
you are able and willing to pay each month toward satisfying your debt to Applicant.

      ANSWER: Objection, this request is not reasonably calculated to lead to the discovery of
      assets, is harassing, is irrelevant and is improper including because settlement
      communications are confidential and privileged.

INTERROGATORY NUMBER 80: Why are you unable or unwilling to pay more than the
amount you listed in the answers to questions 78 and 79?

      ANSWER: Objection, this request is not reasonably calculated to lead to the discovery of
      assets, is harassing, is irrelevant and is improper including because settlement
      communications are confidential and privileged.


INTERROGATORY NUMBER 81: With respect to the real property located at 2621 Huntly
Lane, Flower Mound, Texas, unless you have answered above, please state:

      a.     the date you acquired the property;

      b.     that purchase amount that was paid;

      c.     the full name and complete address of the seller;

      d.     the full name and complete address of your real estate agent;

      e.     the full name and complete address of the seller’s real estate agent;

      f.     the full name and complete address of the title company that did the closing;

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  g.    the method of your payment to the seller, including any down payment;

  h.    the source(s) of the assets or funds that were used to make payment of the
        purchase amount, including any down payment;

  i.    the full name and complete address of each person or entity whom you acquired
        the funds or assets from to make the payment of the purchase amount, including
        any down payment; and
  j.    whether the property is subject to a lien or mortgage and, if so, the amount of the
        indebtedness and the full name and complete address of the holder or owner of
        the lien or mortgage;

 ANSWER: See closing documents/file from title company and document from entity
 where funds came from for purchase which are being produced. Please see documents
 produced in case and in possession and control of applicant and that are equally available
 to applicant. There is no lien or mortgage. TRCP 197.2 is applicable, “Option to
 produce records. If the answer to an interrogatory may be derived or ascertained
 from . . . records, the responding party may answer the interrogatory by specifying
 . . . the records.”




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       applicant’s possession from subpoenas and from previous dealings with respondent.

REQUEST FOR PRODUCTION NUMBER 74: All documents referenced or used by you to
respond to Applicant’s Interrogatories in Aid of Judgment to you.

       RESPONSE: The requested items are being served on the requesting party with the
       response.

REQUEST FOR PRODUCTION NUMBER 75: All documents that constitute or refer in any
way, directly or indirectly, to your purchase of the real property located at 2621 Huntly Lane,
Flower Mound, Texas.

       RESPONSE: The requested items are being served on the requesting party with the
       response.

REQUEST FOR PRODUCTION NUMBER 76: All documents that constitute or refer in any
way, directly or indirectly, to the funds used to purchase the real property located at 2621 Huntly
Lane, Flower Mound, Texas.

       RESPONSE: The requested items are being served on the requesting party with the
       response.

REQUEST FOR PRODUCTION NUMBER 77: All documents that constitute or refer in any
way, directly or indirectly, to your acquisition of the assets or funds used to purchase the real
property located at 2621 Huntly Lane, Flower Mound, Texas.

       RESPONSE: The requested items are being served on the requesting party with the
       response.


                                            Respectfully submitted,
                                            The DOYLE LAW Firm

                                            By: /s/ James J. Doyle III
                                                    James J. Doyle III
                                                    State Bar No. 24036501
                                            4303 N. Central Expressway
                                            Dallas, Texas 75205
                                            Tel: (214) 477-2145
                                            Fax: (214) 390-6262
                                            james@tdlf.com
                                            Attorney for Brent Simpson

                                 CERTIFICATE OF SERVICE


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       I hereby certify that a copy of this document has been served upon all counsel of record on
February 6, 2023, pursuant to the Texas Rules of Civil Procedure.

                                                   /s/ James J. Doyle III
                                                       James J. Doyle III




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                             CAUSE NO. 141-335985-22

KURT KNAPTON,                              §                 IN THE DISTRICT COURT
Applicant,                                 §
                                           §
                                           §
                                           §
v.                                         §
                                           §              TARRANT COUNTY, TEXAS
                                           §
CLICK VISION GROUP, LLC., DANA             §
BRENTON SIMPSON, AND ACUITY                §
ADVISORS, LLC,                             §
Respondents.                               §                141st JUDICIAL DISTRICT

                                  DECLARATION

        “My name is Dana Brenton Simpson, my date of birth is 4/15/73, and my address is
2621 Huntly Ln, Flower Mound, TX 75022, USA. I declare under penalty of perjury that the
interrogatory answers in DANA BRENTON SIMPSON’S AMENDED WRITTEN
DISCOVERY RESPONSES dated 2/6/23 are true and correct. Executed in Denton
County, State of Texas, on the 7th day of February 2023.



_____________________________________
Signature of declarant Dana Brenton Simpson”




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                                               National Title Group, LLC
                                     3360 Long Prairie Roadl ·Suite 200, Flower M.ound, TX 75022·
                                             Phone: (972.)2~1-3521 I F~x:. (972)355-.0719

                                                 BORROWER'S STATEMENT
     Settfement Date: May 18, 2022                                              Escrow Number: 662200574
  Disbursement Date: May 1.8.2022                                                E~crow Officer: Cathy Miller
           Borrower: Dana Brent Simpson



                    Seller: Scott Hamer and Stacy E Hamer



                Property: 2621- Huntly Lane
                              Frower Mound,. TX 7.5022
                              Lot(s): 39, Bicek: 2, Hillcrest'at Wellington Ph 2
                  Lender:


                                                                                                      $     DEBITS        $     CREDIT$

FINANCIAL CONSIDERATION
Sale Price of Property                                                                                  1.000,000.00
Earnest Money Depo$if                                                                                                            15,900.00
Optrqil Money                                                                                                                     3,000.00
PRORATIONS/ADJUSTMENTS
HOA Prorations - Cr.edit Seller s~mi.-      95/19/2°2-08/31/22 ($410,0.d / 184 X 105 days)                      233,97
Annually at $410.00
Cdunty Taxes at $10,294.69                  01/01/22-05(19/2:? ($10,294J39 / 365 >; 13~ d~ys)                                      3,892.24

TITLE & ESCROW CHARGES
Title - SettrernenVCfosing Fee              National Title Group, LLC                                           550.00
Title•- Guaranty fee                        Texas T_itle Insurance Guar;3nty Associ;:ition                        2.00
Title ... Oymer.'s Titl~ insurance          Natipnal Title Group, LLC                                        5_,575.00
Title - TLTA Endorsement. T-3 (Area &       National Title Group; LLC                                           278.75
Boundary ArndmfiSurvey Coverage
Res1d enti~I)
Policies to be issued·:
Owners Policy
 Coverag:e: $1,000,000.00 Premium; $5,57_5.00            Ver.sion: Texas.Residential Owner
                                                         Pql!J:?Y of Tjtle Insurance One ..To-Fow
                                                         Family R~sldences (T-1R)
                                                          Policy Code: NA-TX-9-1-2019 Owner's
                                                          Policy
GOVERNMENT CHARGES
Recording Fees                              National Title Group                                                 38.00
e-R~cording ($4.64)                         Natrona! Title Group                                                  4.64

HOA CHARGES
HOA Clubho~se .Fee                          Wellington of Flower.Mound Residential Assn.                         50.00
                                            In~!
HOA Resale Certificate                      Guardian· Association Management                                       0.00
  $612.95 paid outside.closing· by Borrower
HO~ Transfer Fee                            ~uardian Assodation Manag~ment                                      245.00


                                                                                                          Knapton 281
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                                  Appendix (Exhibits A - M) Page 282 BORROWER'S
                                                                     of 318     STATEMENT - Continued


                                                                                                 $     DEBITS       $      CREDITS

MISCELLANEOUS CHARGES
Survey Fee                               Old Town Surveying, LLC                                          415.00

Subtotals                                                                                        1,007,392.36              21,892.24
Balance Due FROM Borrower                                                                                                985;500.12
TOTALS                                                                                           1,007,392.36           1,007,392.36

                                                 APPROVED and ACCEPTED
Borrower and Seller understand the Closing or Escrow Agent has assembled this information representing the transaction from
the best information available from other sources and cannot guarantee the accuracy thereof. Any real estate agent or lender
involved may be furnished a copy of this Statement. Borrower and Seller understand that tax and insurance prorations and
reserves were based on figures for the preceding year or supplied by others or estimates for current year, and in the event of
any change for current year, all necessary adjustments must be made between Borrower and Seller direct The undersigned
hereby authorizes National Title Group, LLC to make expenditures and disbursements as shown and approves same for
payment. The undersigned also acknowledges receipt of Loan Funds, if applicable, in the amount shown above and a receipt of
a copy of this Statement. understand the Closing or Escrow Agent has assembled this information representing the transaction
from the best information available from other sources and cannot guarantee the accuracy thereof. The Lender involved may be
furnished a copy of this Statement. The undersigned hereby authorizes National Title Group, LLC to make expenditures and
disbursements as shown and approves same for payment. The undersigned also acknowledges receipt of loan funds in the
amount shown above and a receipt of a copy of this Statement.

I have carefully reviewed the Settlement Statement and to the best of my knowledge and belief, it is a true and accurate
statement of all receipts and disbursements made on my account or by me in this transaction. I further certify that I have
received a copy of the Settlement Statement.


                                                                                    BORROWER:




                                                                                    Dana Brent Simpson




To the best of my knowledge, the Settlement Statement which I have prepared is a true and accurate account of the funds which
were received and have been or will be disbursed by the undersigned as part of the settlement of this transaction.



                                                                                    National Title Group,LL
                                                                                    Settlement Agent




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May 5. 2022


 Motropornan Ue lrsu@r.ee Com~a~y
 Total ControJ Account
 PO Box 6300
 Scranton. PA 18505--6300




 RE: REQUEST CASHIER'S CHECK



 I hereby request Mctlifo to st.v1d a cast:11;!'!' s <,,heo; bv overn,g'"n service in the arrtO\.lnt of $: 8,000.00 froni
 proceeds rcroroncod oy· oohcy r.umber ■■■■■I to trie followir"IJ v.Ynpany:


 Natl()t)al I Itta Group
 3360 Long Pra1r,e Ru.ad
 Suite 200
 flower Mound. TX 75022

 MEMO: 6622005 74


 l understand then:~ are- f P.e!'l for such a tra<Jsact,on dnu approve them to oe paid per your terms of serv-lC.o
 Please cont.ad me to confirm ver:fy th~s transaction and cont,rm the transac!:on once it has been
 procossed I wol-'d g,eatty aporociate ttiis request to bo exocuted wth,r 24 hc'k.Jrs


 S1rn;tm:tly.




 Dana Bnmton Sirnpson
 214-532-2 i30




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Farm   712                                                    Life Insurance
(Rev. April 2006)                                                                                                                              0MB No. 1545-0022
Dopartment oJ the Treasury
lnlomal Rev81lue Service
             Decedent-Insured (To be filed by the eKecutor w:th Form 706, United Stales Estate (and Generation-Skipping Transfer) Tax Return, or
             Fotm 706-NA, United States Estate. (and Generation-Skipping Transfer) Tax Return, Eslale of nonres:dant not a citizen of the United StateS.)
       Decedent's first name and middle lnitlal     2 Decedent's last name            3 Decedent's social secure number                   4 Date of deattl
       Clinton O                                   Simpson                               (if known)                  ■                  11/07/2018
 5     Name and address of Insurance company
        Metropolitan life Insurance Company
 6     Type of poficy                                                                      7 Polley number
        Term
 8     Owner's name. If decedent ls not owner,                 9 Date Issued             10 Assignor's name. Attach copy of                 11 Date assigned
       attach copy of application.                                                            assignment.
        Clinton D Simpson




                                                                             -
12     'value of the policy at 1.he     13 Amount of premium (see lnstru:::tions) 14 Name of beneficiaries
        time of assignment



15     Face amount of policy .                                                                                                         15 $
16     Indemnity benefits • •                                                                                                          16 $
17     Additional insurance                                                                                                            17 $
18     01her benefits. . .                                                                                                             18 $
19     Principal of any indebtedness to the company that Is deductible. fn determining net proceeds .                                  19 $
20     Interest on Indebtedness (line "19) accrued to date of death.                                                                   20
21     Amount of accumulated dividends                                                                                                  21 $
22     Amount of post-mortem dividends . . .                                                                                            22 $
23     Amount of returned premium        . . . .                                                                                        23 $
24     Amount of proceeds if payable In one sum                                                                                         24 $
25     Value of proceeds as of date of death (if not payable in one sum)                                                                25 $
26     Policy provisions concerning deferred payments or installments.
       Note. If other than lump-sum settlement is authorized for a surviving spouse, attach a copy of
       the Insurance policy.



27      Amount of installments        , , . . . • . . . . . . , . . . . . . . • . .                               .,_2_7+-'-$_ _ _ _ _ __
28      Date of birth, sex, and name of any person the duration of whose life may measure the number of payments.


29      Amount applied by the insurance company as a single premium representing the purchase of
        installment benefits • . . , . . . . . . . . . . . . . . . . . . . . . •                      ~2_9~-------
30      Basis (mortality table and rate of Interest) used by insurer rn valuing installment benefits.

31      Were there any transfers of the policy within the throe years prior to the death of the decedent?                                . . D Yes           Ill No
32      Date of assignment or transfer:            /         /
                                                    Montt·,       Day          Year
33      Was the Insured the annuitant or beneficiary of any annuity contract issued by the company? .                                            D Yes       [l] No
34      Did the decedent have any incidents of ownership on any policies on his/her life, but not owned by
        him/her at the date of death? . . . . . . . . . .                 . . . . . . . . . . . •                                                D Yes 121 No
                     ~~~e~~~- ~~Ith, ~~I.~~ -~~~-~~~~-t-~~~-~ -~~~~~-~~i-~i~-~ ~~~. ~~~-~~~ ~f- ~~~~ -~~'.I~~~~- ~f- ~~i~ ~~~~:~~~!~-~ ~~.~~~~~~~~~ ~~ ~~~~ _r_~~~~~·
35
        ~ames -o~


 The undersigned officer of the above-named insurance company (or appropriate federal agenc~• o, retirement system official) hereby certifies that this statement sets
 forth ln,e and correct Information.

 Slgnatur@ ►                                                                   Title ►                                        Date of Certification   ►:-
 For Paperwork Reduction Act Notice, see page 3.                                         Cat. No. '10170V                                     Form 712 (Rev, 4-2006)




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                                                           Metropolitan Life Insurance Company
                                                           200 Park Avenue
                                                           New York, NY 10166

                                                           Vivak Gupta
                                                           Phone    888-773-6959
                                                           Fax:      855-274-0798
                                                           Email:    garnishmentsandsubpoenas@metlife.com


March 29, 2023


VIA EMAIL TO: SKotara@curnutthafer.com

Stephen W. Kotara
SBA #: 11693200
Curnutt & Hafer, L.L.P.
301 West Abram Street
Arlington, TX 76010




Re:        Name: Clinton Simpson               Case No.: 141-335985-22


This will acknowledge your recent request for information pertaining to the above-
referenced matter.

MetLife is unable to locate any records requested in the subpoena. Provide any
policy/account/claim number so that we can search our databases once again and
provide the requested records to you.

If we do not hear from you, we will consider this case closed.



Feel free to contact me should you have any questions.




Vivak Gupta




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           Vivak Gupta




X




     Vivak Gupta

        200 Park Avenue, New York, New York 10166




                                                       05/05      23


                                                    Vivak Gupta


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                                   CAUSE NO. 141-335985-22

 KURT KNAPTON,                                  §         IN THE DISTRICT COURT
                                                §
                                                §
                      Plaintiff,                §
                                                §
 vs.                                            §         141st JUDICIAL DISTRICT
                                                §
 CLICK VISION GROUP, LLC; DANA                  §
 BRENT SIMPSON; AND ACUTIY                      §
 ADVISORS, LLC,                                 §
                                                §
                      Defendants.               §         DENTON COUN1Y, TEXAS

                                 AFFIDAVIT OF
                            NATIONAL TITLRGROUP LLC
        Before me, the undersigned authority, personally appeared Lori Lindsey, who,
 being by me duly sworn, deposed as follows:

        My name is Lori Lindsey, I am over 18 years of age, of sound mind, capable of
 making this affidavit, and personally acquainted with the facts herein stated and they are
 true and correct.

       I am a Senior Vice President, Research and Development, for National Title Group,
 LLC, and a custodian of records for National Title Group, LLC.

        Attached hereto are 122 pages of records from National Title Group, LLC. These
 said pages of records are kept in the regular course of business, and it was the regular
 course of business of National Title Group, LLC, for an employee or representative of
 National Title Group, LLC, with knowledge of the act, event, condition, opinion recorded
 to make the record or to transmit information thereof to be included in such record; and
 the record was made at or near the time or reasonably soon thereafter.

        The records attached hereto are the original or exact duplicates of the original or
 are true copies of the microfiche on which the image of the original documents have been
 transferred and nothing has been removed from the original file before making these
 copies, although some redactions have been made.

       The records attached hereto are true, correct and complete.



                                                    Lori Linds , Senior Vice President,
                                                    Research and Development
                                                    National Title Group, LLC

 NON-PARTY'S RESPONSE TO SUBPOENA DUES TECUM                                     PAGE1OF2




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            Sworn to and subscribed before me on February           Jt:,    2023.

                                                                   :. . . /' ./"",.-~•·7 /,;7                   'J
                                                                                      eof
                                                       ---,,;..-----,---:,-'-;''/F-,-=/--..,..-->::;,'/"'-'.- - - ~ - -•.. .,_ .
                                                       Notary Public,_ ,S,x'·
           u/:J.,:J
            ~~•-;:,z,~JUSTIN MITCHELL ROBERTS
                      01     Notary Public
           1!\_7A)*5 STATE OF TEXAS
           \.;..•~--'~      ID# 13121650·2             My Commi~ion Expires: ______
            ~~~p My Comm. Exp. Julv 20, 2025                           //




   p:\crd\16\16-1037\Pleadings\NTG.Response Subpoena


   NON-PAR1Y'S RESPONSE TO SUBPOENA DUES TECUM                                                           PAGE2OF2




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                                                Cause No. 141-335985-22
 KURT KNAPTON                                                            §                  IN THE DISTRICT COURT OF
                                                                         §
                                                                         §
 vs.                                                                     §                       TARRANT COUNTY, TEXAS
                                                                         §
 CLICK VISION GROUP, LLC; DANA BRENT                                     §
 SIMPSON; and ACUITY ADVISORS LLC                                        §                       141ST JUDICIAL DISTRICT

                   NOTICE OF INTENTION FOR PRODUCTION OF DOCUMENTS

TO: ALL PARTIES BY AND THROUGH THEIR ATTORNEY(S) OF RECORD AS PROVIDED IN THE ATTACHED
SERVICE LIST.

You will take notice that ten (10) days after the service hereof, the custodian ofrecords for:

NATIONAL TITLE GROUP, LLC-(Client Record Scope)
C/O LATHRAM POU
4131 N. CENTRAL EXPY, STE 450, DALLAS, TX 75204


Shall receive a Subpoena to produce documents on or after 02/16/2023, or any other agreed upon time and/or place, before a
Notary Public at the instance of:
                                              Written Deposition Service, LLC
                                               1755 Wittington Place, Suite 750
                                                       Dallas, TX 75234
or its designated agent, to be used in evidence upon the trial of the above-styled and numbered cause pending in the above
named cou11. Notice is further given that request is hereby made as authorized under Rule 205.2 & 205.3, Texas Rules of
Civil Procedure, that the authorized officer shall issue a Subpoena Duces Tecum and cause it to be served on the witness to
produce any and all records as described on the attached Subpoena(s) and/or Exhibit(s) and any other such record in the
possession, custody or control of the said witness, and every such record to which the witness may have access, and to tum all
such records over to the authorized officer so that photographic reproductions of the same may be made and attached.




                                                                                                    Knapton 290
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                                      Respectfully Submitted,


                                      ls/Stephen W. Kotara

                                      Stephen W. Kotara
                                      SBA#: 11693200
                                      Curnutt & Hafer, L.L.P.
                                      301 West Abram Street
                                      Arlington, TX 76010
                                      817-548-1000; Fax 817-548-1070
                                      SKotara@curnutthafer.com

                                      Attorney for: Applicant




                                                                Knapton 291
                                                                          530
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                                            CERTIFICATE OF SERVICE
    I ce1iify that a true and exact copy of foregoing Notice of Intention for the Production of Documents was
    served to all attorneys of record in the above-styled and numbered matter, said service being effected in the
    following manner:

            CERTIFIED MAIL/RETURN RECEIPT REQUESTED

            HAND DELIVERY

            TELECOPY

            OVERNIGHT/NEXT DAY DELIVERY VIA LONE STAR OR UPS

            E-MAIL

            E-FILE

            DATED:

                                                        BY: /s//(aren Glentz

    SERVED TO ALL PARTIES LISTED BELOW:
    Kurt Knapton vs. Click Vision Group, LLC, et al
                                                      ATTORNEYS OF RECORD

    Brent Simpson, Pro Se
~ 2901 Queen Mary Drive
7'\ Flower Mound, TX 75022

    James J. Doyle, III
    The Doyle Law Firm
    4303 N. Central Expwy
    Dallas, TX 75205
    214-522-6202; Fax: 214-390-6262
    Attorney For: Respondent




                                                                                    Knapton 292
                                                                                                   531
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                                                    A - M) Page 293 of 318


                               SUBPOENA DUCES TECUM
                                 THE STATE OF TEXAS
County of Tarrant
Greeting, to any Sheriff or Constable of the State of Texas or other person authorized to serve subpoenas under Rule 176 of
Texas Rules of Civil Procedure: You are hereby commanded to subpoena and summon the following witness(es):

Designated Custodian of Records for:                       NATIONAL TITLE GROUP LLC
to be and appear before a Notary Public of my designation for Written Deposition Service, LLC, j755 Wittington Place,
Suite 750, Dallas, TX 75234, on orafter 02/16/2023, at the office of the summoned witness. There to bring and produce for
inspection and photocopying RECORDS AS NAMED IN THE ATTACHED EXHIBIT; at any and all times whatsoever.

Then and there to give evidence at the instance of the Applicant, Kurt Knapton, represented by Stephen Kotara, Texas Bar
No. l 16'>3200 Attorney of Record, in that Certain Cause No. 141-335985-22, pending on the docket of the District Court of
the 141st Judicial District of Tarrant County, Texas.
This Subpoena is issued under and by virtue of Rule 205.3 with the above named court, styled
                                       Kurt Knapton vs. Click Vision Group, LLC, et al
and there remain from day to day and tir~me until di        arged according to law.

WITNESS MY HAND, t h i s ~ ·d;y of_--""'""'-----H-""L--¥-'~¥-"1P'-c.ft-----r'r-'ji;=




                                ¾
with attached witness fee of$ _ _~ ~ - - ·


Jlotumcd t h i s ~ day of                          ,20_,0.


                                                                    PROCESS SERVER
Order No. 72502.004




                                                                                                  Knapton 293
                                                                                                                   532
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                                         EXHIBIT
DEFINITIONS AND INSTRUCTIONS

       The following definitions and instructions shall apply with respect to this Subpoena for

Production of Documents:

        1.     The terms "communication" or "communications" include all forms of written or

verbal interchange, however transmitted, including but not limited to transmission by social media

or email, and requests for communications include all documents (as defined below) evidencing

any communications.

       2.      The terms "document" or "documents" shall be used in their broadest sense and

shall include all written, printed, typed, electronically stored, taped, recorded, or graphic matter of

every kind and description, however produced or reproduced, both originals and copies, and all

attachments and appendices thereto in your actual or constructive possession, custody, or control,

whether now existing or hereafter generated or prepared. Where a document is identified or

produced, identical copies thereof that do not contain any markings, additions, or deletions

different from the original need not be separately identified or produced.

       3.      A document "relates to" or is "relating to" a subject matter described herein when

that document contains information concerning, or is in any way pertinent to, the subject matter,

whether directly or indirectly.

       4.      "You" or "Your" shall mean and refer to National Title Group, LLC.

       5.      Each request below shall operate and be responded to independently and, unless

otherwise indicated, no request limits the scope of any other request.

       6.      All Requests are for the time period 2022 through the present.




Order #72502.4                                                                   Knapton 294
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REQUESTS FOR PRODUCTION


       Produce the following documents and things in conformity with the Definitions and

Instructions set forth above.

       1.      All communications between you and Dana Brenton Simpson that relate to, refer

to, or discuss 2621 Huntly Lane, Flower Mound, Texas, GF No. 662200574, or the May 2022

closing on 2621 Huntly Lane, Flower Mound, Texas.

       2.      All communications between you and Texas Capital Bank that relate to, refer to, or

discuss Dana Brenton Simpson, 2621 Huntly Lane, Flower Mound, Texas, or GF No. 662200574.

       3.      Your complete May 2022 closing file for 2621 Huntly Lane, Flower Mound, Texas,

GF No. 662200574.

       4.      All documents that relate to, refer to, or evidence funds received from Texas Capital

Bank for the May 2022 closing on 2621 Huntly Lane, Flower Mound, Texas, GF No. 662200574,

including but not limited to wire transfers or cashier's checks.

       5.      All documents that relate to, refer to, or evidence funds received from any other

person or entity for the May 2022 closing on 2621 Huntly Lane, Flower Mound, Texas, GF No.

662200574, including but not limited to wire transfers or cashier's checks.




Order #72502.4                                                                Knapton 295
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                                 CAUSE NO. 141-335985-22

KURT KNAPTON,                                §         IN THE DISTRICT COURT
                                             §
                                             §
                    Plaintiff,               §
                                             §
vs.                                          §         141st JUDICIAL DISTRICT
                                             §
CLICK VISION GROUP, LLC; DANA                §
BRENT SIMPSON; AND ACUTIY                    §
ADVISORS, LLC,                               §
                                             §
                    Defendants.              §         DENTON COUNTY, TEXAS

                            NON-PARTY'S RESPONSE
                           TO SUBPOENA DUES TECUM

      Non-party, National Title Group, LLC ("NTG"), pursuant to Rule 176.6 of the Texas

Rules of Civil Procedure, hereby serves its responses to the Subpoena issued by Plaintiff,

Kurt Knapton, in the above-entitled and numbered action.

      Request No. 1: All communications between you and Dana Brenton Simpson that

relate to, refer to, or discuss 2621 Huntly Lane, Flower Mound, Texas, GF No. 662200574,

or the May 2022 closing on 2621 Huntly Lane, Flower Mound, Texas.

      Response: NTG has produced the documents responsive to this request for

production of documents.

      Request No. 2: All communications between you and Texas Capital Bank that

relate to, refer to, or discuss Dana Brenton Simpson, 2621 Huntly Lane, Flower Mound,

Texas, or GF No. 662200574.

      Response: NTG has produced the documents responsive to this request for

production of documents.

      Request No. 3: Your complete May 2022 closing file for 2621 Huntly Lane, Flower

Mound, Texas, GF No. 662200574.

NON-PARTY'S RESPONSE TO SUBPOENA DUES TECUM                                    PAGE 1OF 3


                                                                          Knapton 296
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          Response:   NTG has produced the documents responsive to this request for

production of documents.

       Request No. 4: All documents that relate to, refer to, or evidence funds received

from Texas Capital Bank for the May 2022 closing on 2621 Huntly Lane, Flower Mound,

Texas, GF No. 662200574, including but not limited to wire transfer's or cashier's checks.

       Response: NTG has produced the documents responsive to this request for

production of documents.

       Request No. 5: All documents that relate to, refer to, or evidence funds received

from any other person or entity for the May 2022 closing on 2621 Huntly Lane, Flower

Mound, Texas, GF No. 662200574, including but not limited to wire transfer's or cashier's

checks.

      Response: NTG has produced the documents responsive to this request for

production of documents.

                                                Respectfully submitted,



                                                David M. O'Dens
                                                Texas Bar I.D. 15198100
                                                odens@settlepou.com

                                                SettlePou
                                                3333 Lee Parkway, Eighth Floor
                                                Dallas, Texas 75219
                                                (214) 520-3300
                                                (214) 526-4145 (Facsimile)

                                                ATTORNEYS FOR NON-PARTY
                                                NATIONAL TITLE GROUP, LLC




NON-PARTY'S RESPONSE TO SUBPOENA DUES TECUM                                   PAGE2OF3


                                                                          Knapton 297
                                                                                        536
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                                          Certificate of Service

      I certify that this document was served in accordance with the Texas Rules of Civil
Procedure on February 16, 2023.




                                                        David M. O'Dens




p:\crd\16\16-1037\Pleadings\NTG.Response Subpoena


NON-PARTY'S RESPONSE TO SUBPOENA DUES TECUM


                                                                          Knapton 298
                                                                                       537
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                                                                                       Single Ledger Balance
                                                                                                                 By Transaction Dale

                      LedgerlD:     662200574
                 Trust Account:     FLOWER MOUND ESCROW-TX CAP I FLOWER MOUND ESCROW ACCOUNT (Acct                                       0(;
              Transa ction Date:    All
           Format I Sort Options:   Sort by reference number; include pending transactions

             LedgerlD: 662200574                                    Buyer/Borrower: Dana Brent Simpson
       Settlement Date: 05/18122                                           Property: 2621 Huntly Lane, Flower Mound, TX 7502;
     Responsible Party: LAWYERSTITLE\Cathy.M/1/er                  Ledger Comment:

                                                                                    Beginning balance:                                0.00
  Ref/Ck                   Tran.                                                                      Cleared
  Number                   Date     Payee / Payor                           Medium                     Date                      Amount
INCOMING WIRES
 POSTED

                                                                                                               - - - --  - --
  2080                   05/17/22 Acuity Advisors LLC                       Wire                 05/17/22              985,500.12
                                                                                     1 INCOMING WIRE:                 $985,500.12


RECEIPTS
 POSTED
                                                                                                               - - - - $18,000.00
                                                                                                                       ----
  819                    05/03/22 Dana Brent Simpson                        Cashier Check             05/03/22                 18,000.00
                                                                                             1 RECEIPT:


CHECKS
 POSTED
  7669                   05/18/22 CertSimple, Inc.                          Check                                                 60.00
  7670                   05/18/22 National Title Group, LLC                 Check                                              6,075.69
  7671                   05/18/22 Coldwell Banker Apex                      Check                                              4,800.00
  7672                   05/18/22 Lisa Wiggins                              Check                                             25,200.00
  7673                   05/18/22 Old Town Surveying, LLC                   Check                                                415.00
  7674                   05/18/22 Christy Arnold                            Check                                              9,675.00
  7675                   05/18/22 Wellington of Flower Mound Residentia     Check                                                250.00
  7676                   05/18/22 Guardian Association Management           Check                                                275.00
  7677                   05/18/22 CTC Rachel Jorgenson                      Check                                                325.00
                                                                                             9 CHECKS:                       $47,075.69


OUTGOING WIRES
 POSTED
  2773                   05/18/22 Scott Hamer and Stacy E Hamer             Wire                                       V
                                                                                                                        ~    733,333.nt :
  2774                   05/18/22 Chase                                     Wire                                  ~ 1 0 121,992.9~
                                                                                    2 OUTGOING WIRES:                   $955,326.73


LEDGER TRANSFERS(-)
 POSTED
  3461            05/18/22 R.L. Pou, PC                                                                                            175.00
                           To: RLPOU2022Q2
  3462            05/18/22 National TIiie Group                                                                                     42.64
                           To: REC2022Q2
  3463            05/18/22 Texas Title Insurance Guaranty Associ,                                                                     2.00
                           To: TTIGA2022Q2
  3464            05/18/22 North American TIiie Insurance Compa,                                                                   878.06
                           To: UW-TX2022Q2
                                                                             4 LEDGER TRANSFERS(-):                            $1,097.70

Single Ledger Balance                                                                                                            Page 1 of2
                                                                                             Printed on 05118/22 al 4 :00 PM by Jeanne.Reyes


                                                                                                             Knapton 299
                                                                                        National Title Group, LLC
                                                                                                                538- 00051
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                                                                                   Single Ledger Balance
                        Trust Account: FLOWER MOUND ESCROW-TX CAP/ FLOWER MOUND ESCROW ACCOUNT (Acct 1411030€

Ledger ID: 662200574 (continued)
   Ref/Ck                      Tran.                                                       Cleared
   Number                      Date    Payee/ Payor                Medium                   Date                      Amount



                                                                       Ending ledger balance:                            $0.00




Single Ledger Balance
                                                                                                                      Page 2 of2
                                                                                 Printed on 05/18122 al 4:00 PM by Jeanne.Reyes

                                                                                                  Knapton 300
                                                                             National Title Group, LLC
                                                                                                     539- 00052
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                                                                                           Disbursements Summary
           Order Number: 662200574
               Borrower: Dana Brent Simpson
                  Seller: Scott Harner and Stacy E Hamer
               Lender:
      Settlement Agent: National TIiie Group, LLC
                        3360 Long Prairie Road
                        Suite 200
                        Flower Mound, TX 75022
                        (972)221-3521
       Settlement Date: May 18, 2022
    Disbursement Date: May 18, 2022
     Property Location: 2621 Huntly Lane
                        Flower Mound, TX 75022

 RECEIPTS
 Posted
 Trans.                       Reference       Trans. Deposit                                     Memo/
 Type           Medium        Number           Date Number            Payor                      Trans. From                                Amount
 Wire(c)        Wire         2080           05/17/22              Acuity Advisors LLC            Cash from Buyer                        985,500.12
                                 Cash To Close From Borrower $985,500. 12
 Receipt(c)     Cashier Check819            05/03122 297          Dana Brent Simpson                                                      18,000.00

                                                                                           Total Posted Receipts (2):                 1,003,500.12

                                                                            Total Pending and Posted Receipts (2):                    1,003,500.12
 DISBURSEMENTS
 Posted
 Trans.                       Reference       Trans.                                             Memo/
 Type           Medium        Number           Date Payee                                        Trans. To                                 Amount
 Check          Check         7669           05/18/22 CertSlmple, Inc.                           Tille• Ta)( Certificate                       60.00
                                 Title• Tax Certificate (C.03) $60.00
 Wire           Wire          2774           05/18/22 Chase                                      Payoff of First Mortgage               221,992.96
                                  Payoff of First Mortgage Loan (N.04) $221,992.96 Expires on    Loan
                                  5/20/2022, Payoff amount $221,992.96, From 511/2022
                                  Through 5/18/2022, 17 Days
 Check          Check         7674            05118/22 Christy Arnold                            Commissions                               9,675.00
                                  Listing Agent Commission (H.06) $9,675.00
 Check          Check         7671            05/18122 Coldwell Banker Apex                      Commissions                               4,800.00
                                  Selling Agent Commission (H.07) $4,800.00
 Check          Check         7677            05/18/22 CTC Rachel Jorgenson                      Commissions                                  325.00
                                  Listing Agent Commission (H.06) $325.00
 Check          Check         7676            05118122 Guardian Association Management           HOA Transfer Fee                            275.00
                                  HOA Transfer Fee (H.04) $275.00 Buyer's share $0.00, 0
                                  Days of 0, Per diem, Plus $0.00 From Buyer for
 Check          Check         7672           05/18/22 Lisa Wiggins                               Commissions                              25,200.00
                                  Selling Agent Commission (H.07) $25,200.00
 L Transfer                   3462           05118122 National TIiie Group                       REC2022Q2                                     42.64
                                 Recording Fees (E.01) $38.00; e-Recording (E.02) $4.64
 Check          Check         7670           05/18/22 National Title Group, LLC                  Settlement Agent Fees                     6,075.69
                                 Title - Owner's Title Insurance (optional) (H.10) $4,738.75;
                                 Title - TLTA Endorsement T-3 (Area & Boundary
                                 Amdmt/SuNey Coverage Residential) (H.11) $236.94; Title -
                                 Settlement/Closing Fee (C.02) $1,100.00

Disbursements Summary                                                                                                                      Page 1 of 2

                                                                                                                    Knapton 301
                                                                                                      Prlnled on 05/18/22 at 4:00 PM by Jeanne.Reyes




                                                                                                National Title Group, LLC
                                                                                                                        540- 00080
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                                                                                           Disbursements Summary
  (continued)

 L Transfer              3464            05/18/22 North American 1itle Insurance Compani UW-TX2022O2                                     878.06
                             Title - Owner's Title Insurance (optional) (H.10) $836.25; Title
                             - TLTA Endorsement T-3 (Area & Boundary Amdmf/SuNey
                             Coverage Residential) (H.11) $41.81
 Check          Check    7673            05/18/22 Ofd Town Surveying, LLC                       Survey Fee                               415.00
                             SuNey Fee (H.08) $415.00
 L Transfer             3461            05/18/22 R.L. Pou, PC                             RLPOU2022Q2                                    175.00
                            Title • Document Preparation (C.01) $175.00
 Wire           Wire    2773            05/18/22 Scott Hamer and Stacy E Hamer            Closing Proceeds                         733,333.77
                            Cash To Seller $733,333.77
 L Transfer             3463            05/18/22 Texas Tille Insurance Guaranty Associati TTIGA2022Q2                                       2.00
                            Title• Guaranty Fee (H.09) $2.00
 Check          Check   1675            05/18/22 Wellington of Flower Mound Residential , HOA Clubhouse Fee;                             250.00
                            HOA Clubhouse Fee (H.01) $50.00 Buyer's share $0.00, o        HOA Conveyance Fee
                            Days of 0, Per diem . Plus $0.00 From Buyer for; HOA
                            Conveyance Fee (H.02) $200.00 Buyer's share $0.00. 0
                            Days of O. Per diem. Plus $0.00 From Buyer for
                                                                                Total Posted Disbursements (15):                 1,003,500.12

                                                                 Total Pending and Posted Disbursements (15):                    1,003,500.12


  Order Summary

                                                    Total Posted Receipts minus Total Posted Disbursements: ========O=
                                                                                                                     .O=O

                         Total Posted Receipts minus Total Pending and Posted Disbursements = Balance:                                      0.00
                                                                                 Balance with Pending Receipts:                             0.00




Disbursements Summary                                                                                                                  Page 2of 2

                                                                                                               Knapton 302
                                                                                                   Pnnted on 05118/22 at 4:00 PM by Jeanne.Reyes




                                                                                            National Title Group, LLC
                                                                                                                    541- 00081
                  Case 24-42912                           Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                                                                          Desc
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dotloop signatur e verification: dtlp.ustwTxn-Odd~-2FrP
  DocuSign Envelope ID: E7269843-2EA4-4BED-A771-1160EE4F7AFO




                           f
                                ~*
                                 *""-
                                                            PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC)
                                                  ONE TO FOUR FAMILY RESIDENTIAL CONTRACT (RESALE)
                                                                                                                                                                               11-08-2021
                                                                                                                                                                                   (=)-
                           !~~                                     NOTICE: Not For Use For Condominium Transactions                             ~                                   ~:,~~~
                                                                                                                                                                                                      05/02/2 2


                      1.       PARTIES: The parties to this contract are                    Scott E. Hamer Stacy E Hamer
                               (Seller) and                              Dana Brent Simpson                              (Buyer).
                                                                                                                                                                                                     SE#
                                                                                                                                                                                                      OS/0 /
                                                                                                                                                                                                    2:10 PM CDT
                               Seller agrees to sell and convey to Buyer and Buyer agrees to buy from Seller the Property defined                                                                  dotloop verified
                               below.
                      2.       PROPERTY: The land, improvements and accessories are collectively referred to as the
                               Property (Property).
                               A. LAND: Lot            39         Block        2                         HILLCREST AT WELLINGTON PH 2 BLK A LOT 39
                                   Addition, City of              Flower Mound                         , County of                                                     Denton
                                   Texas, known as                               2621 Huntly Ln                                                                               75022-5136
                                   (address/zip code), or as described on attached exhibit.
                               B. IMPROVEMENTS: The house, garage and all other fixtures and improvements attached to the
                                  'above-described real property, including without limitation, the following permanently installed
                                   and built-in items, if any: all equipment and appliances, valances , screens, shutters,
                                   awnings, wall-to-wall carpeting, mirrors, ceiling fans , attic fans , mail boxes, television
                                   antennas, mounts and brackets for televisions and speakers, heating and air-conditioning units,
                                   security and fire detection equipment, wiring , plumbing and lighting fixtures , chandeliers, water
                                   softener system, kitchen equipment, garage door openers, cleaning equipment, shrubbery,
                                   landscaping, outdoor cooking equipment, and all other property attached to the above
                                   described real property.
                               C. ACCESSORIES: The following described related accessories, if any: window air conditioning
                                   units, stove, fireplace screens, curtains and rods. blinds, window shades, draperies and rods ,
                                   door keys, mailbox keys, above ground pool , swimming pool equipment and maintenance
                                   accessories , artificial fireplace logs, security systems that are not fixtures, and controls for: (i)
                                   garage doors, (ii) entry gates, and (iii) other improvements and accessories. "Controls" includes
                                   Seller's transferable rights to the (i) software and applications used to access and control
                                   improvements or accessories, and (ii) hardware used solely to control improvements or
                                   accessories.
                               D. EXCLUSIONS : The following improvements and accessories will be retained by Seller and
                                   must be removed prior to delivery of possession: .=.tv,_'e:cs..1.(m==o:.:u:.:.n:.:t=cs_,_to::....:.re:ce:.:.rn""a""inc:..ll!.._ _ _ _ _ _ _ _ _ __ _

                               E.    RESERVATIONS: Any reservation for oil, gas, or other                                           minerals,        water,      timber,       or     other
                                     interests is made in accordance with an attached addendum.
                      3.       SALES PRICE:
                               A. Cash portion of Sales Price payable by Buyer at closing .. ........... ............................ ..... $                   1,000,000.00
                               B. Sum of all financing described in the attached: D Third Party Financing Addendum,
                                     D
                                    Loan Assumption Addendum ,                   D
                                                                        Seller Financing Addendum .... ..... ... ......... .... ........ $ _ _ __ _ _ __
                               C. Sales Price (Sum of A and B) ........................... ... .... .. ....................... ................. ..... ...... $ 1,000,000.00
                      4.  LEASES: Except as disclosed in this contract, Seller is not aware of any leases affecting
                          the Property. After the Effective Date, Seller may not, without Buyer's written consent, create a
                          new lease, amend any existing lease , or convey any interest in the Property. (Check all applicable
                          boxes)
                        D A. RESIDENTIAL LEASES: The Property is subject to one or more residential leases and the
                              Addendum Regarding Residential Leases is attached to this contract.
                        D B. FIXTURE LEASES: Fixtures on the Property are subject to one or more fixture leases (for
                              example, solar panels, propane tanks, water softener, security system) and the Addendum
                              Regarding Fixture Leases is attached to this contract.
                        D C. NATURAL RESOURCE LEASES: "Natural Resource Lease" means an existing oil and gas,
                              mineral , water, wind, or other natural resource lease affecting the Property to which Seller is a
                              party.
                          D (1) Seller has delivered to Buyer a copy of all the Natural Resource Leases.
                          D (2) Seller has not delivered to Buyer a copy of all the Natural Resource Leases. Seller shall
                                   provide to Buyer a copy of all the Natural Resource Leases within 3 days after the Effective
                                   Date. Buyer may terminate the contract within _ _ days after the date the Buyer
                                   receives all the Natural Resource Leases and the earnest money shall be refunded to
                                   Buyer.



                                                                                                                                                                           TREC NO. 20-16


         Coldwell Banker Apex, 465 W George Bush Turnpike #100 Ri chardson TX 75080                                             Phone: (254) 913-1576        Fax: (972} 755-8945          2621 Huntly Ln
         Lisa Wi.f;J!;ins                          Produced with Lone Wolf Transactions (z;pform Edition) 717 N Harwood St, Suite 2200, Dallas, TX 75201   www.lwolf com

                                                                                                                                                                 Knapton 303
                                                                                                                                      National Title Group, LLC
                                                                                                                                                              542- 00082
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                                                                                                                                   {Address of Property)
                        5. EARNEST MONEY AND TERMINATION OPTION:
                             A. DELIVERY OF EARNEST MONEY AND OPTION FEE: Within 3 days after the Effective Date, Buyer
                                   must deliver to                                                                        National Title                        , as escrow agent, at 3360 Long
                                  ~P~ra=i'--'ri-=-e-'-R"'"'o'--=a'-"d"-,-'--F"'"'lo'-'w-'--e=-.cr---'M=o=-u;,c
                                                                                                           nd =-,.___T'-'X-'----'7'""'5'--=0=2=2_ _ _ _ _ _ _ _ _ _ (address): $ -'-1-=-5'-'0-'-0-=-0.c.:.0:..::0_ _ ~ --
                                   as earnest money and $.,..3~,0~0_0~.o_o_____ as the Option Fee. The earnest money and Option
                                   Fee shall be made payable to escrow agent and may be paid separately or combined in a single
                                  payment.
                                   ( 1) Buyer shall deliver additional earnest money of $ ....coc.c.0-=-0=--------- to escrow agent
                                             within                  n/a days after the Effective Date of this contract.
                                  (2) If the lastday to deliver the earnest money, Option Fee, or the additional earnest money
                                             falls on a Saturday, Sunday, or legal holiday, the time to deliver the earnest money, Option
                                              Fee, or the additional earnest money, as applicable, is extended until the end of the next
                                             day that is not a Saturday, Sunday, or legal holiday.
                                   (3) The amount(s) escrow agent receives under this paragraph shall be applied first to the
                                              Option Fee, then to the earnest money, and then to the additional earnest money.
                                  (4) Buyer authorizes escrow agent to release and deliver the Option Fee to Seller at any time
                                              without further notice to or consent from Buyer, and releases escrow agent from liability for
                                              delivery of the Option Fee to Seller. The Option Fee will be credited to the Sales Price at
                                              closing.
                             B. TERMINATION OPTION : For nominal consideration, the receipt of which Seller acknowledges ,
                                  and Buyer's agreement to pay the Option Fee within the time required , Seller grants Buyer the
                                   unrestricted right to terminate this contract by giving notice of termination to Seller within
                                  __    4_ days after the Effective Date of this contract (Option Period). Notices under this
                                   paragraph must be given by 5:00 p.m. {local time where the Property is located) by the date
                                  specified. If Buyer gives notice of termination within the time prescribed: {i) th e Option Fee will
                                  not be refunded and escrow agent shall release any Option Fee remaining with escrow agent to
                                   Seller; and (ii) any earnest money will be refunded to Buyer.
                             C. FAILURE TO TIMELY DELIVER EARNEST MONEY: If Buyer fails to deliver the earnest money
                                   within the time required, Seller may terminate this contract or exercise Seller's remedies under
                                   Paragraph 15, or both , by providing notice to Buyer before Buyer delivers the earnest money.
                             D. FAILURE TO TIMELY DELIVER OPTION FEE: If no dollar amount is stated as the Option Fee or if
                                   Buyer fails to deliver the Option Fee within the time required , Buyer shall not have the
                                  unrestricted right to terminate this contract under this paragraph 5.
                             E. TIME: Time is of the essence for this paragraph and strict compliance with the time fo r
                                   performance is required.
                        6. TITLE POLICY AND SURVEY:
                             A. TITLE POLICY: Seller shall furnish to Buyer at D Seller's                                                          !xJ                Buyer's expense an owner policy of
                                  title insurance (Title Policy) issued by                                                                                 National Title                          (Title Company)
                                   in the amount of the Sales Price, dated at or after closing, insuring Buyer against loss under the
                                   provisions of the Title Policy, subject to the promulgated exclusions (including existing building
                                   and zoning ordinances) and the following exceptions :
                                  (1) Restrictive covenants common to the platted subdivision in which the Property is localed.
                                  (2) The standard printed exception for standby fees , taxes and assessments.
                                  (3) Liens created as part of the financing described in Paragraph 3.
                                  (4) Utility easements created by the dedication deed or plat of the subdivision in which the
                                              Property is located.
                                  (5) Reservations or exceptions otherwise permitted by this contract or as may be approved by
                                              Buyer in writing .
                                   (6) The standard printed exception as to marital rights.
                                   (7) The standard printed exception as to waters, tidelands, beaches, streams, and related
                                              matters.
                                  (8) The standard printed exception as to discrepancies, conflicts, shortages in area or boundary
                                              lines, encroachments or protrusions, or overlapping improvements:
                                  D (i) will not be amended or deleted from the title policy; or
                                  ~ (ii) will be amended to read , "shortages in area" at the expense of Bu yer Seller.                                  !xi         D
                                  (9) The exception or exclusion regarding minerals approved by the Texas Department of
                                              Insurance.
                             B. COMMITMENT: Within 20 days after the Title Company receives a copy of this contract, Seller
                                   shall furnish to Buyer a commitment for title insurance (Commitment) and, at Buyer's expense,
                                  legible copies of restrictive covenants and documents evidencing exceptions in the Commitment
                                   (Exception Documents) other than the standard printed exceptions. Seller authorizes the Title
                                  Company to deliver the Commitment and Exception Documents to Buyer at Buyer's address
                                  shown in Paragraph 21. If the Commitment and Exception Documents are not delivered to
                                   Buyer within the specified time, the time for delivery will be automatically extended up to 15
                                   days or 3 days before the Closing Date, whichever is earlier. If the Commitment and Exception
                                   Documents are not delivered within the time r uired Bu er may terminate this contract and
                                  the earnest money will b: refunded to Buyer.                                                                        ~ ~ 1---- - -- - - - -- -- - - ~
                     Initialed for identification by Buyerin:'c                                                     ___ and Seller O 101122                   5101122                                            TREC NO. 20-16
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                                                                            (Address of Property)
                             C. SURVEY: The survey must be made by a registered professional land surveyor acceptable to the
                                 Title Company and Buyer's lender(s}. (Check one box only)
                             0 (1} Within            days after the Effective Date of this contract, Seller shall furnish to Buyer and
                                      Title Company Seller's existing survey of the Property and a Residential Real Property
                                       Affidavit promulgated by the Texas Department of Insurance (T-47 Affidavit}. If Seller fails to
                                       furnish the existing survey or affidavit within the time prescribed, Buyer shall
                                       obtain a new survey at Seller's expense no later than 3 days prior to Closing Date.
                                       If the existing survey or affidavit is not acc~table to Title Company or Buyer's lender(s},
                                       Buyer shall obtain a new survey at                                            D
                                                                                  Seller's LJ Buyer's expense no later than 3 days prior to
                                      Closing Date.
                             ~ (2) Within ___!!_ days after the Effective Date of this contract, Buyer shall obtain a new survey
                                      at Buyer's expense. Buyer is deemed to receive the survey on the date of actual receipt or
                                      the date specified in this paragraph, whichever is earlier.
                             D  (3) Within _ _ days after the Effective Date of this contract, Seller, at Seller's expense shall
                                      furnish a new survey to Buyer.
                             D. OBJECTIONS: Buyer may object in writing to defects , exceptions, or encumbrances to title:
                                 disclosed on the survey other than items 6A(1 } through (7) above; disclosed in the
                                 Commitment other than items 6A(1) through (9) above; or which prohibit the following use or
                                      activity: - .,---;--;--,-..,.,---,,...--:-:-:,.--,,---=--:--=--c-- ---,,,.,..------...,----c,--=--- ---,---,-
                                      Buyer must object the earlier of (i) the Closing Date or (ii)                   2     days after Buyer receives the
                                      Commitment, Exception Documents, and the survey. Buyer's failure to object within the time
                                      allowed will constitute a waiver of Buyer's right to object; except that the requirements in
                                      Schedule C of the Commitment are not waived by Buyer. Provided Seller is not obligated to
                                      incur any expense, Seller shall cure any timely objections of Buyer or any third party lender
                                      within 15 days after Seller receives the objections (Cure Period) and the Closing Date will be
                                      extended as necessary. If objections are not cured within the Cure Period, Buyer may, by
                                      delivering notice to Seller within 5 days after the end of the Cure Period : (i) terminate this
                                      contract and the earnest money will be refunded to Buyer; or (ii) waive the objections. If
                                      Buyer does not terminate within the time required , Buyer shall be deemed to have waived the
                                      objections. If the Commitment or Survey is revised or any new Exception Document(s) is
                                      delivered, Buyer may object to any new matter revealed in the revised Commitment or Survey
                                      or new Exception Document(s) within the same time stated in this paragraph to make
                                      objections beginning when the revised Commitment, Survey, or Exception Document(s) is
                                      delivered to Buyer.
                              E.      TITLE NOTICES:
                                      (1} ABSTRACT OR TITLE POLICY: Broker advises Buyer to have an abstract of title covering the
                                           Property examined by an attorney of Buyer's selection, or Buyer should be furnished with or
                                           obtain a Title Policy. If a Title Policy is furnished , the Commitment should be promptly
                                           reviewed by an attorney of Buyer's choice due to the time limitations on Buyer's right to
                                           object.
                                      (2) MEMBERSHIP IN PROPERTY OWNERS ASSOCIATION(S): The Property ~ is                                   is not subject                                                O
                                           to mandatory membership in a property owners association(s). If the Property is subject to
                                           mandatory membership in a property owners association(s), Seller notifies Buyer under
                                           §5.012 , Texas Property Code, that, as a purchaser of property in the residential community
                                           identified in Paragraph 2A in which the Property is located , you are obligated to be a
                                           member of the property owners association(s}. Restrictive covenants governing the use and
                                           occupancy of the Property and all dedicatory instruments governing the establishment,
                                           maintenance, or operation of this residential community have been or will be recorded in
                                           the Real Property Records of the county in which the Property is located. Copies of the
                                           restrictive covenants and dedicatory instruments may be obtained from the county clerk.
                                           You are obligated to pay assessments to the property owners association(sl. The
                                           amount of the assessments is sub ject to change. Your failure to pay the
                                           assessments could result in enforcement of the association's lien on and the
                                           foreclosure of the Property.
                                           Section 207.003 , Property Code, entitles an owner lo receive copies of any document that
                                           governs the establishment, maintenance, or operation of a subdivision, including, but not
                                           limited to, restrictions , bylaws, rules and regulations, and a resale certificate from a
                                           property owners' association . A resale certificate contains information including , but not
                                           limited to, statements specifying the amount and frequency of regular assessments and the
                                           style and cause number of lawsuits to which the property owners' association is a party,
                                           other than lawsuits relating to unpaid ad valorem taxes of an individual member of the
                                           association. These documents must be made available to you by the prop erty own ers'
                                           association or the association's agent on your request.
                                           If Buyer is concerned about these matters, the TREC promulgated Addendum for
                                           Property Subject to Mandatory Membership in a Property Owners Association(s)
                                           should be used.
                                      (3) STATUTORY TAX DISTRICTS : If the Property is situated in a utility or other statutorily
                                           created district providing water,                            ·             od control facilities and services,
                   Initialed for identification by BuyerifT~a                                 ___ and Selle                                                                                                        TREC NO. 20-16
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                         Contract Concerning _ _ _ _ _ _2_62_1_H_un_t~IY~L_n~1_F_lo_w~e~r_M_o~u~n_d~1 _TX_7_5_0_2_2-_5_1_36_ _ _ _ _ _ Page 4 of 11    11-08-2021
                                                                               (Address of Property)
                                             Chapter 49, Texas Water Code, requires Seller to deliver and Buyer to sign the statutory
                                             notice relating to the tax rate, bonded indebtedness, or standby fee of the district prior to
                                             final execution of this contract.
                                        (4) TIDE WATERS: If the Property abuts the tidally influenced waters of the state, §33.135,
                                             Texas Natural Resources Code, requires a notice regarding coastal area property to be
                                             included in the contract. An addendum containing the notice promulgated by TREC or
                                             required by the parties must be used.
                                        (5) ANNEXATION : If the Property is located outside the limits of a municipality, Seller notifies
                                             Buyer under §5.011, Texas Property Code, that the Property may now or later be included in
                                             the extraterritorial jurisdiction of a municipality and may now or later be subject to
                                             annexation by the municipality. Each municipality maintains a map that depicts its
                                             boundaries and extraterritorial jurisdiction . To determine if the Property is located within a
                                             municipality's extraterritorial jurisdiction or is likely to be located within a municipality's
                                             extraterritorial jurisdiction, contact all municipalities located in the general proximity of the
                                             Property for further information.
                                        (6) PROPERTY LOCATED IN A CERTIFICATED SERVICE AREA OF A UTILITY SERVICE PROVIDER:
                                             Notice required by §13.257, Water Code: The real property, described in Paragraph 2, that
                                             you are about to purchase may be located in a certificated water or sewer service area ,
                                             which is authorized by law to provide water or sewer service to the properties in the
                                             certificated area. If your property is located in a certificated area there may be special costs
                                             or charges that you will be required to pay before you can receive water or sewer service.
                                             There may be a period required to construct lines or other facilities necessary to provide
                                             water or sewer service to your property. You are advised to determine if the property is in a
                                             certificated area and contact the utility service provider to determine the cost that you will
                                             be required to pay and the period , if any, that is required to provide water or sewer service
                                             to your property. The undersigned Buyer hereby acknowledges receipt of the foregoing
                                             notice at or before the execution of a binding contract for the purchase of the real property
                                             described in Paragraph 2 or at closing of purchase of the real property.
                                        (7) PUBLIC IMPROVEMENT DISTRICTS: If the Property is in a public improvement district, Seller
                                             must give Buyer written notice as required by §5.014, Property Code. An addendum
                                             containing the required notice shall be attached to this contract.
                                        (8) TRANSFER FEES: If the Property is subject to a private transfer fee obligation, §5.205,
                                             Property Code, requires Seller to notify Buyer as follows: The private transfer fee obligation
                                             may be governed by Chapter 5, Subchapter G of the Texas Property Code.
                                        (9) PROPANE GAS SYSTEM SERVICE AREA: If the Property is located in a propane gas system
                                             service area owned by a distribution system retailer, Seller must give Buyer written notice
                                             as required by §141.010, Texas Utilities Code. An addendum containing the notice approved
                                             by TREC or required by the parties should be used.
                                        (10) NOTICE OF WATER LEVEL FLUCTUATIONS: If the Property adjoins an impoundment of
                                             water, including a reservoir or lake, constructed and maintained under Chapter 11 , Water
                                             Code, that has a storage capacity of at least 5,000 acre-feet at the impoundment's normal
                                             operating level, Seller hereby notifies Buyer: 'The water level of the impoundment of water
                                             adjoining the Property fluctuates for various reasons, including as a result of: ( 1) an entity
                                             lawfully exercising its right to use the water stored in the impoundment; or (2) drought or
                                             flood conditions."
                         7.     PROPERTY CONDITION:
                                A. ACCESS , INSPECTIONS AND UTILITIES: Seller shall permit Buyer and Buyer's agents access
                                   to the Property at reasonable times. Buyer may have the Property inspected by inspectors
                                   selected by Buyer and licensed by TREC or otherwise permitted by law to make inspections.
                                   Any hydrostatic testing must be separately authorized by Seller in writing. Seller at Seller's
                                   expense shall immediately cause existing utilities to be turned on and shall keep the utilities
                                   on during the time this contract is in effect.
                                B. SELLER'S DISCLOSURE NOTICE PURSUANT TO §5.008 , TEXAS PROPERTY CODE (Notice):
                                   (Check one box only)
                                ~ (1) Buyer has received the Notice.
                                D (2) Buyer has not received the Notice . Within _ _ _ _ _,--days after the Effective Date of this
                                       contract, Seller shall deliver the Notice to Buyer. If Buyer does not receive the Notice ,
                                       Buyer may terminate this contract at any time prior to the closing and the earnest money
                                       will be refunded to Buyer. If Seller delivers the Notice, Buyer may terminate this contract
                                       for any reason within 7 days after Buyer receives the Notice or prior to the closing,
                                       whichever first occurs, and the earnest money will be refunded to Buyer.
                                D (3) The Seller is not required to furnish the notice under the Texas Property Code.
                                C. SELLER'S DISCLOSURE OF LEAD-BASED PAINT AND LEAD-BASED PAINT HAZARDS is required by
                                   Federal law for a residential dwelling constructed prior to 1978.


                                                                                                                                                  TREC NO. 20-16
                                                                                                                                                  2621 Huntly L,n


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                      Contract Concerning                           2621 Huntly Ln, Flower Mound, TX 75022-5136           Page 5 of 11    11-□ s-2 02 1
                                                                                    (Address of Property)
                            D. ACCEPTANCE OF PROPERTY CONDITION: "As Is" means the present condition of the Property
                               with any and all defects and without warranty except for the warranties of title and the
                               warranties in this contract. Buyer's agreement to accept the Property As Is under Paragraph
                               70(1) or (2) does not preclude Buyer from inspecting the Property under Paragraph 7A, from
                               negotiating repairs or treatments in a subsequent amendment, or from terminating this
                               contract during the Option Period, if any.
                                  heck one box only)
                                    (1) Buyer accepts the Property As Is.
                               ~    (2) Buyer accepts the Property As Is provided Seller, at Seller's expense, shall complete the
                                        following specific repairs and treatments:

                                         (Do not insert general phrases, such as "subject to inspections" that do not identify specific
                                         repairs and treatments.)
                            E. LENDER REQUIRED REPAIRS AND TREATMENTS: Unless otherwise agreed in writing , neither
                               party is obligated to pay for lender required repairs, which includes treatment for wood
                               destroying insects. If the parties do not agree to pay for the lender required repairs or
                               treatments, this contract will terminate and the earnest money will be refunded to Buyer. If
                               the cost of lender required repairs and treatments exceeds 5% of the Sales Price, Buyer may
                               terminate this contract and the earnest money will be refunded to Buyer.
                            F. COMPLETION OF REPAIRS AND TREATMENTS: Unless otherwise agreed in writing : (i) Seller
                               shall complete all agreed repairs and treatments prior to the Closing Date; and (ii) all required
                               permits must be obtained, and repairs and treatments must be performed by persons who are
                               licensed to provide such repairs or treatments or, if no license is required by law, are
                               commercially engaged in the trade of providing such repairs or treatments. At Buyer's
                               election, any transferable warranties received by Seller with respect to the repairs and
                               treatments will be transferred to Buyer at Buyer's expense. If Seller fails to complete any
                               agreed repairs and treatments prior to the Closing Date, Buyer may exercise remedies under
                               Paragraph 15 or extend the Closing Date up to 5 days if necessary for Seller to complete the
                               repairs and treatments.
                            G. ENVIRONMENTAL MATTERS: Buyer is advised that the presence of wetlands, toxic substances,
                               including asbestos and wastes or other environmental hazards, or the presence of a threatened
                               or endangered species or its habitat may affect Buyer's intended use of the Property. If Buyer
                               is concerned about these matters, an addendum promulgated by TREC or required by the
                               parties should be used.
                            H. RESIDENTIAL SERVICE CONTRACTS: Buyer may purchase a residential service contract from a
                               residential service company. If Buyer purchases a residential service contract, Seller shall
                               reimburse Buyer at closing for the cost of the residential service contract in an amount not
                               exceeding $ 0.00                           . Buyer should review any residential service contract for the
                               scope of coverage, exclusions and limitations. The purchase of a residential service contract is
                               optional. Similar coverage may be purchased from various companies authorized to
                               do business in Texas.
                      8.    BROKERS AND SALES AGENTS:
                            A. BROKER OR SALES AGENT DISCLOSURE: Texas law requires a real estate broker or sales
                               agent who is a party to a transaction or acting on behalf of a spouse, parent, child, business
                               entity in which the broker or sales agent owns more than 10%, or a trust for which the
                               broker or sales agent acts as a trustee or of which the broker or sales agent or the broker or
                               sales agent's spouse, parent or child is a beneficiary, to notify the other party in writing
                               before entering into a contract of sale. Disclose if applicable: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                            B. BROKERS' FEES: All obligations of the parties for payment of brokers' fees are contained in
                               separate written agreements.
                      9.    CLOSING:
                            A. Th e closing of the sale will be on or before           May 18             , 2022 , or within 7 days
                               after objections made under Paragraph 60 have been cured or waived , whichever date is later
                               (Closing Date). If either party fails to close the sale by the Closing Date, the non-defaulting
                               party may exercise the remedies contained in Paragraph 15.
                            B. At closing:
                               (1) Seller shall execute and deliver a general warranty deed conveying title to the Property to
                                    Buyer and showing no additional exceptions to those permitted in Paragraph 6 and furnish
                                    tax statements or certificates showing no delinquent taxes on the Property.
                               (2) Buyer shall pay the Sales Price in good funds acceptable to the escrow agent.
                               (3) Seller and Buyer shall execute and deliver any notices, statements, certificates, affidavits,
                                    releases, loan documents and other documents reasonably required for the closing of the
                                    sale and the issuance of the Title Policy.
                               (4) There will be no liens, assessments, or security interests against the Property which will
                                    not be satisfied out of the sales proceeds unless securing the payment of any loans
                                    assumed by Buyer and assumed loans will not be in default.


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                                                                              (Address of Property)



                      10. POSSESSION:
                          A. BUYER'S POSSESSION : Seller shall deliver to Buyer possession of the Property in its present or
                             required condition, ordinary wear and tear excepted :                  D
                                                                                               upon closing and funding ~ according
                             to a temporary residential lease form promulgated by TREC or other written lease required by
                             the parties. Any possession by Buyer prior to closing or by Seller after closing which is not
                             authorized by a written lease will establish a tenancy at sufferance relationship between the
                             parties. Consult your insurance agent prior to change of ownership and possession because
                             insurance coverage may be limited or terminated. The absence of a written lease or
                             appropriate insurance coverage may expose the parties to economic loss.
                          B. SMART DEVICES: "Smart Device" means a device that connects to the internet to enable
                             remote use, monitoring , and management of: (i) the Property; (ii) items identified in any Non-
                             Realty Items Addendum; or (iii) items in a Fixture Lease assigned to Buyer. At the time Seller
                             delivers possession of the Property to Buyer, Seller shall:
                             (1) deliver to Buyer written information containing all access codes, usernames, passwords,
                                  and applications Buyer will need to access, operate, manage, and control the Smart
                                  Devices; and
                             (2) terminate and remove all access and connections to the improvements and accessories
                                  from any of Seller's personal devices including but not limited to phones and computers.

                      11. SPECIAL     PROVISIONS:     (Insert only factual statements  and  business  details applicable
                          to the sale. TREC rules prohibit license holders from adding factual statements or business
                          details for which a contract addendum, lease or other form has been promulgated by TREC for
                          mandatory use.}




                      12. SETTLEMENT AND OTHER EXPENSES:
                          A. The following expenses must be paid at or prior to closing:
                             (1) Expenses payable by Seller (Seller's Expenses):
                                 (a) Releases of existing liens, including prepayment penalties and recording fees ; release of
                                      Seller's loan liability; tax statements or certificates; preparation of deed; one-half of
                                      escrow fee; and other expenses payable by Seller under this contract.
                                 (b) Seller shall also pay an amount not to exceed$ 0.00                      to be applied in the
                                      following order: Buyer's Expenses which Buyer is prohibited from paying by FHA, VA,
                                      Texas Veterans Land Board or other governmental loan programs, and then to other
                                      Buyer's Expenses as allowed by the lender.
                             (2) Expenses payable by Buyer (Buyer's Expenses): Appraisal fees; loan application fees;
                                 origination charges; credit reports; preparation of loan documents; interest on the notes
                                 from date of disbursement to one month prior to dates of first monthly payments;
                                 recording fees; copies of easements and restrictions ; loan title policy with endorsements
                                 required by lender; loan-related inspection fees; photos; amortization schedules; one-half
                                 of escrow fee ; all prepaid items, including required premiums for flood and hazard
                                 insurance, reserve deposits for insurance, ad valorem taxes and special governmental
                                 assessments; final compliance inspection; courier fee; repair inspection; underwriting fee;
                                 wire transfer fee ; expenses incident to any loan; Private Mortgage Insurance Premium
                                 (PMI), VA Loan Funding Fee, or FHA Mortgage Insurance Premium (MIP) as required by the
                                 lender; and other expenses payable by Buyer under this contract.
                          B. If any expense exceeds an amount expressly stated in this contract for such expense to be
                             paid by a party, that party may terminate this contract unless the other party agrees to pay
                             such excess. Buyer may not pay charges and fees expressly prohibited by FHA, VA, Texas
                             Veterans Land Board or other governmental loan program regulations .

                      13. PRORATIONS: Taxes for the current year, interest, maintenance fees , assessments, dues and
                          rents will be prorated through the Closing Date. The tax proration may be calculated taking into consideration
                          any change in exemptions that will affect the current year's taxes. If taxes for the current year vary from the




                                                                                                                                          TREC NO. 20-16
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                      Contract Concerning -----~2=62=1~H=u=nt=ly~L"=•~F~lo=w=e=r...M=o=u=n=d=•~TX~7~5~0=2=2...
                                                                                                           •5~1=36~----- Page 7 of 11                                      11-08-202 1
                                                                          {Address of Property)
                          amount prorated at closing, the parties shall adjust the prorations when tax statements for the current year are
                          available. If taxes are not paid at or prior to closing, Buyer shall pay taxes for the current year.
                      14. CASUAL TY LOSS: If any part of the Property is damaged or destroyed by fire or other
                          casualty after the Effective Date of this contract, Seller shall restore the Property to its previous
                          condition as soon as reasonably possible, but in any event by the Closing Date. If Seller fails to do
                          so due to factors beyond Seller's control, Buyer may (a) terminate this contract and the earnest
                          money will be refunded to Buyer (b) extend the time for performance up to 15 days and the
                          Closing Date will be extended as necessary or (c) accept the Property in its damaged condition
                          with an assignment of insurance proceeds, if permitted by Seller's insurance carrier, and receive
                          credit from Seller at closing in the amount of the deductible under the insurance policy. Seller's
                          obligations under this paragraph are independent of any other obligations of Seller under this
                          contract.
                      15. DEFAULT: If Buyer fails to comply with this contract, Buyer will be in default, and Seller
                          may (a) enforce specific performance, seek such other relief as may be provided by law, or both,
                          or (b) terminate this contract and receive the earnest money as liquidated damages, thereby
                          releasing both parties from this contract. If Seller fails to comply with this contract, Seller will be
                          in default and Buyer may (a) enforce specific performance , seek such other relief as may be
                          provided by law, or both, or (b) terminate this contract and receive the earnest money, thereby
                          releasing both parties from this contract.
                      16. MEDIATION: It is the policy of the State of Texas to encourage resolution of disputes
                          through alternative dispute resolution procedures such as mediation. Any dispute between Seller
                          and Buyer related to this contract which is not resolved through informal discussion will be
                          submitted to a mutually acceptable mediation service or provider. The parties to the mediation
                          shall bear the mediation costs equally. This paragraph does not preclude a party from seeking
                          equitable relief from a court of competent jurisdiction.
                      17. ATTORNEY'S FEES: A Buyer, Seller, Listing Broker, Other Broker, or escrow agent who
                          prevails in any legal proceeding related to this contract is entitled to recover reasonable attorney's
                          fees and all costs of such proceeding.
                      18. ESCROW:
                          A. ESCROW: The escrow agent is not (i) a party to this contract and does not have liability for the
                               performance or nonperformance of any party to this contract, (ii) liable for interest on the
                               earnest money and (iii) liable for the loss of any earnest money caused by the failure of any
                               financial institution in which the earnest money has been deposited unless the finan cial
                               institution is acting as escrow agent. Escrow agent may require any disbursement made in
                               conne ction with this contract to be conditioned on escrow agent's collection of good fu nds
                               acceptable to escrow agent.
                          B. EXPENSES: At closing , the earnest money must be applied first to any cash down payment,
                               then to Buyer's Expenses and any excess refunded to Buyer. If no closing occurs, escrow agent
                               may: (i} require a written release of liability of the escrow agent from all parties ; and (ii)
                               require payment of unpaid expenses incurred on behalf of a party. Escrow agent may deduct
                               authorized expenses from the earnest money payable to a party. "Authorized expenses" means
                               expenses incurred by escrow agent on behalf of the party entitled to the earnest money that
                               were authorized by this contract or that party.
                          C. DEMAND: Upon termination of this contract, either party or the escrow agent may send a
                               release of earnest money to each party and the parties shall execute counterparts of the
                               release and deliver same to the escrow agent. If either party fails to execute the release, either
                               party may make a written demand to the escrow agent for the earnest money. If only one party
                               makes written demand for the earnest money, escrow agent shall promptly provide a copy of
                               the demand to the other party. If escrow agent does not receive written objection to the
                               demand from the other party within 15 days, escrow agent may disburse th e earnest money to
                               the party making demand reduced by the amount of unpaid expenses incurred on behalf of the
                               party receiving the earnest money and escrow agent may pay the same to the creditors. If
                               escrow agent complies with the provisions of this paragraph, each party hereby releases escrow
                               agent from all adverse claims related to the disbursal of the earnest money.
                          D. DAMAGES: Any party who wrongfully fails or refuses to sign a release acceptable to the escrow
                               agent within 7 days of receipt of the request will be liable to the other party for (i) damages;
                               (ii) the earnest money; (iii) reasonable attorney's fees; and (iv) all costs of suit.
                          E. NOTICES: Escrow agent's notices will be effective when sent in compliance with Paragraph 21 .
                               Notice of objection to the demand will be deemed effective upon receipt by escrow agent.
                      19. REPRESENTATIONS: All covenants, representations and warranties in this contra ct suNive
                          closing. If any representation of Seller in this contract is untrue on the Closing Date, Seller will be
                          in default. Unless expressly prohibited by written agreement, Seller may continue to show the
                          Property and receive, negotiate and accept back up offers.
                      20. FEDERAL TAX REQUIREMENTS: If Seller is a "foreign person," as defined by Internal
                          Revenue Code and its regulations , or if Seller fails to deliver an affidavit or a certificate of non-
                          foreign status to Buyer that Seller is not a "foreign person," then Buyer shall withhold from the
                          sales proceeds an amount sufficient to comply , 1ith ;:innl'cable tax law and deliver the same to the

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                                                                                                     ::';!~:. :,     :~~'
                   Initialed for identification by Buyer1n:r          ___ and Seller                                                                                  TREC NO. 20-16
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                   Case 24-42912                            Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                                     Desc
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                       Contract Concerning -----~2~62=1~H~un=t=ly~L=n=1~F~lo~w=e-r~M~o~u=n-d~,~T~X~7~5~0=2=2-~5~1~36~----- Page 8 of 11       11-08-2021
                                                                        (Address of Property}

                              Internal   Revenue Service together with         appropriate tax forms . Internal Revenue Service
                              regulations require filing written reports if currency in excess of specified amounts is received in
                              the transaction .

                       21 . NOTICES; All notices from one party to the other must be in writing and                                   are     effective
                            when mailed to, hand-delivered at, or transmitted by fax or electronic transmission as follows :
                              To Buyer at: _ _ _ _ _ __ _ _ _ _ _ __                       To Seller at: _ __ _ _ _ _ _ _ _ _ _ __




                              Phone:                                                       Phone:


                              E-mail/Fax:         cc:lisa@wigginsrealtygroup.com           E-mail/Fax: cc: Christyarnold@kw.com


                              E-mail/Fax:         brent.simpson@me.com                     E-mail/Fax: sehamer01@gmail.com

                       22. AGREEMENT OF PARTIES: This contract contains the                               entire agreement of the parties
                           and cannot be changed except by their written agreement.                      Addenda which are a part of this
                           contract are (Check all applicable boxes):

                       D Third Party Financing Addendum                                   ~      Seller's Temporary Residential Lease
                       D Seller Financing Addendum                                        0 Short Sale Addendum
                       ~      Addendum for Property Subject to
                              Mandatory Membership in a Property
                                                                                          D Addendum for Property Located Seaward
                                                                                                 of the Gulf lntracoastal Waterway
                              Owners Association
                       D Buyer's Temporary Residential Lease                              D Addendum for Seller's Disclosure of
                                                                                                 Information on Lead-based Paint and Lead-
                       □ Loan Assumption Addendum                                                based Paint Hazards as Required by
                       □ Addendum
                         Buyer
                                   for Sale of Other Property by                                 Federal Law
                                                                                          0      Addendum for Property in a Propane Gas
                       □ Addendum  for Reservation of Oil, Gas
                         and Other Minerals
                                                                                                 System Service Area

                       0 Addendum for "Back-Up" Contract                                  0      Addendum Regarding Residential Leases

                       D Addendum for Coastal Area Property                               0      Addendum Regarding Fixture Leases
                       0 Addendum for Authorizing Hydrostatic                             0      Addendum containing Notice of Obligation
                              Testing                                                            to Pay Improvement District Assessment
                       ~      Addendum Concerning Right to                                D Other (list): _ _ _ _ _ _ _ _ _ _ __
                              Terminate Due to Lender's Appraisal
                       D Environmental Assessment, Threatened
                              or Endangered Species and Wetlands
                              Addendum

                       23. CONSULT AN ATTORNEY BEFORE SIGNING: TREC                     rules                   prohibit   real      estate     license
                           holders from giving legal advice. READ THIS CONTRACT CAREFULLY.

                              Buyer's                                                     Seller's
                              Attorney is:                                                Attorney is:




                              Phone:                                                      Phone:


                              Fax:                                                        Fax:


                              E-mail:                                                     E-mail :


                                                                                                                                        TREC NO. 20-16

                                                                                                                                        2621 Huntly Ln


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                                                                                                             National Title Group, LLC
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                                                                                                          (Address of Property)




                                EXECUTED the ____ day of ~M=a=y=l=='=2=02=2===========~--,                                                                                                                                  (Effective Date).
                                (BROKER: FILL IN THE DATE OF FINAL ACCEPTANCE.)




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                                           r, ,Dana Brent Simpson                                                                                                            Seller Scott E. Hamer




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                                                                                                                                                                                                                                   GNPB-UOYW-LJKN-QG6V

                                Buyer                                                                                                                                        Seller Stacy E. Hamer




                           .,A.,.                   The form of this contract has been approved by the Texas Real Estate Commission. TREC forms are
                     .E*"'- intended for use only by trained real estate license hold ers. No representation is made as to the legal
                     TREC
                                                       validity or adequacy of any provision in any specific transactions. II is not intended for complex
                                                       transactions. Texas Rea l Estate Commission, P.O. Box 12188, Austin, TX 78711-2188, (512) 936-3000
                     .-..-.. -,P-..-...-..-,.-    ,.. (http://www.trec.texas.gov) TREC NO. 20-16. This form replaces TREC NO. 20-15.
                                            ,.-,.."'""

                                                                                                                                                                                                                                      TREC NO. 20-16

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                                                                                                                                                                                                          National Title Group, LLC
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                  Case 24-42912                                  Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                                                                             Desc
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                                                                                     (Address of Property)




                                                                                                     BROKER INFORMATION
                                                                                                  (Print name(s) only. Do not sign)


                      -,cC....,B""'A~p""e=x~R~e'-'a""lt=o"-rs-=-=L=L-=-C_ _ _ _ _ _ _ _. . :5:..::9..::.0. ::.9. :. . .:.14   Keller Williams Realty-FM                               9005113
                       Other Broker Firm                                             License No.                              Listing Broker Firm                                  License No.

                      represents                      ~ Buyer only as Buyer's agent                                           represents       0 Seller and Buyer as an intermediary
                                                      0 Seller as Listing Broker's subagent                                                    ~ Seller only as Seller's agent

                      =L--'is~a~W~ig~g~i=ns~------------=0..::.6-=-54-'-5;..4~7                                               Christy Arnold                                            0646338
                      Associate's Name                             License No.                                                Listing Associate's Name                               License No.


                      Team Name                                                                                               Team Name

                      lisa@wigginsrealtygroup.com                                               (469)758-7900                 christyarnold@kw.com                             (214)701-8700
                      Associate's Email Address                                                         Phone                 Listing Associate's Email Address                        Phone

                      Tonja Demaret                                                                      507485               Berek B. Mcewen                                           0532775
                      Licensed Supervisor of Associate                                               License No.              Licensed Supervisor of Listing Associate               License No.

                      4151 Cross Timbers Dr. Ste 130                                            (214)223-9870                 2611 Cross Timbers Ste 100                       (972)874-1905
                      Other Broker's Address                                                            Phone                 Listing Broker's Office Address                          Phone

                      -=F:-:-lo_w
                               _e_r_M_o_u_n_d_ _ _ _ _ _ _--,C"'."'-T~X~___7~5~0'="2=8                                        Flower Mound                               TX                 75028
                      City                                    State            Zip                                            City                                      State                 Zip


                                                                                                                              Selling Associate's Name                               License No.


                                                                                                                              Team Name


                                                                                                                              Selling Associate's Email Address                            Phone


                                                                                                                              Licensed Supervisor of Selling Associate              License No.


                                                                                                                              Selling Associate's Office Address


                                                                                                                              City                                      State                    Zip




                      Disclosure: Pursuant to a previous, separate agreement (such as a MLS offer of compensation or other
                      agreement between brokers), Listing Broker has agreed to pay Other Broker a fee " 3 ~ - - - - - - - - - , - - -
                      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,. This disclosure is for informational purposes and does not change
                      the previous agreement between brokers to pay or share a commission.




                                                                                                                                                                                    TREC NO. 20-16

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                   Case 24-42912                                   Doc 26-2 Filed 01/07/25 Entered 01/07/25 18:26:02                                                                                                          Desc
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                                                                                                                 e r'--'M=ou"'n"'d::.,.,....:T..:.cX:......:...75:..:0:..:2:.:2....:•5'-'1..::3.:.6_ _ _ _ _ _ Page 11 of 11 11-os-202 1
                                                                                                     (Address of Property)




                                                                                                          OPTION FEE RECEIPT

                       Receipt of $_ _ _ _ _ _ _ _ _ (Option Fee} in the form of
                       is acknowledged.


                       Escrow Agent Nat ional Title                                                                                                                                                                            Date


                                                                                                     EARNEST MONEY RECEIPT

                       Receipt of $_ _ __ __ _ __                                          Earnest Money in the form of _ _ _ _ _ _ _ _ _ __ _ _ _ _ __
                       is acknowledged.

                       Escrow Agent                                                                        Received by                 Email Address                                                                  Date/Time



                       Address                                                                                                                                                                                               Phone


                       City                                                                    State                                      Zip                                                                                     Fax




                               National Title G
                       Adiffl§O Long Prairie Ad, Ste 200                                                                                                               972-221-3521                                          Phone
                          Flower Mound, Texas 75022
                       City                                                                    State                                      Zip                         972-355-0719                                                Fax


                                                                                       ADDITIONAL EARNEST MONEY RECEIPT

                       Receipt of $_ _ _ _ _ _ _ _ _ additional Earnest Money in the form of
                       is acknowledged.

                       Escrow Agent                                                                        Received by                 Email Address                                                                   Date/Time



                       Address                                                                                                                                                                                               Phone


                       City                                                                    State                                      Zip                                                                                     Fax




                                                                                                                                                                                                                 TREC NO. 20- 16

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From:               wireroom@texascapitalbank.com
To:                 fmwires
Subject:            [Cust Inc Wire Advice - eMail] Message ID:220517152408F100 Advice Code:INCSADEM
Date:               Tuesday, May 17, 2022 3:32:42 PM




From: PNCBANK PITT Wire Transfer Dept.


This funds transfer was received on 2022-05-17, for $985,500.12.
The funds have been CREDITED to account # **********0677.

Sender:
    Name                : PNCBANK PITT
    ABA #               : 043000096
    Reference #         : 225HK205522UD5P6
    Received from       : PNC BANK, N.A.
    By Order Of         : ACUITY ADVISORS LLC


OMAD Reference #          : 20220517K1B7041C00204705171624FT03

Additional Funds Transfer Information:

Beneficiary: NATIONAL TITLE CROUP, LLC

Beneficiary Bank:

                    ***

Originator Info: ACUITY ADVISORS LLC

Originator Bank: PNC BANK, N.A.

Originator Bank Info:


Bank to Bank and all other FRB info fields: {6500}/REF/225HK205522UD5P6*

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CTP Information
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Local Instrument Code:
 Cover Payment Information:




Unstructured Remittance Data:

Related Remittance Information:



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Strucutred Remittance Originator:




Strucutured Remittance Beneficiary:




                                                                     Knapton 317
                                                                                 556
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Structured Remittance Invoices:




  0.00
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  0.00


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